 Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 1 of 196 Page ID #:150




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 7
 8   Attorneys for Petitioner
 9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13
      INTERNATIONAL                                Case No.: 2:18-cv-03681-KS
14
      BROTHERHOOD OF
15    TEAMSTERS, LOCAL 396,
16                                                 REQUEST FOR JUDICIAL
                        Petitioner,                NOTICE IN SUPPORT OF
17
                  vs.                              MOTION TO COMPEL
18                                                 ARBITRATION
19    NASA SERVICES, INC.; and DOES
      I through X,                                 Date: August 20, 2018, 1:30 p.m.
20
                                                   Judge: Hon. Stephen Wilson
21                      Respondents.
                                                   Location: Courtroom 10A
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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO COMPEL   CASE NO. 2:18-cv-03681-KS
 Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 2 of 196 Page ID #:151




 1         Petitioner Teamsters Local 396 (the “Union”) requests that the Court
 2   take judicial notice of the documents attached hereto and marked as
 3   Exhibits 1-8 in connection with the Union’s motion to compel arbitration.
 4   This request is made pursuant to Federal Rule of Evidence 201 and the
 5   authorities cited below.
 6         Exhibit 1: City of Los Angeles, “Zero Waste LA” Exclusive Franchise
 7   Ordinance, Ordinance No. 182986, available at: https://www.lacitysan.org/
 8   cs/groups/public/documents/document/mhfh/mdax/~edisp/qa001023.pdf
 9   (last visited July 23, 2018).
10         Exhibit 2: City of Los Angeles, Bureau of Sanitation, “Request for
11   Proposals: Citywide Exclusive Franchise System for Municipal Solid-Waste
12   Collection and Handling” (June 11, 2014), available at: https://www.lacity
13   san.org/cs/groups/public/documents/document/mhfh/mdax/~edisp/qa001022.
14   pdf (last visited July 23, 2018).
15         Exhibit 3: City of Los Angeles, Department of Public Works,
16   Authority to Award Contracts for the Zero Waste LA Exclusive Franchise
17   System for Commercial and Multifamily Solid Waste Collection and
18   Handling – Bureau of Sanitation (LASAN)” (September 26, 2016), available
19   at: https://www.lacitysan.org/cs/groups/public/documents/document/y250/
20   mde0/~edisp/cnt014114.pdf (last visited July 23, 2018).
21         Exhibit 4: City of Los Angeles, Board of Public Works, “Journal of the
22   Board of Public Works” (September 26, 2016), available at: http://clkrep.
23   lacity.org/bpwgranicus/granicus/2016/09262016_bpwjou.htm (last visited
24   July 23, 2018).
25         Exhibit 5: Mayor of the City of Los Angeles, “Transmittal: Seven
26   Franchise Agreements for Commercial and Multi-family Solid Waste
27   Collection and Handling” (November 3, 2016), available at:
28

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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO COMPEL   CASE NO. 2:18-cv-03681-KS
 Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 3 of 196 Page ID #:152




 1   http://clkrep.lacity.org/onlinedocs/2010/10-1797-S17_rpt_MAYOR_11-03-
 2   2016.pdf (last visited July 23, 2018).
 3         Exhibit 6: City Council of the City of Los Angeles, Energy and
 4   Environment Committee Report, File No. 10-1797-S17; 10-1797-S16,
 5   available at: http://clkrep.lacity.org/onlinedocs/2010/10-1797-s17_rpt
 6   _ee_12-7-16.pdf (last visited July 23, 2018).
 7         Exhibit 7: Official Action of the Los Angeles City Council, File No. 10-
 8   1797-S17, available at: http://clkrep.lacity.org/onlinedocs/2010/10-1797-
 9   S17_CA_12-13-2016.pdf (last visited July 23, 2018).
10         Exhibit 8: Personal Services Contract Between the City of Los
11   Angeles and NASA Services, Inc., Contract No. C-128876, available at:
12   http://clkrep.lacity.org/onlinecontracts/2017/C-128876_c_2-1-2017.pdf (last
13   visited July 23, 2018).
14                  BASIS FOR REQUESTING JUDICIAL NOTICE
15         Exhibit 1: City ordinances are proper subjects for judicial notice.
16   Santa Monica Food Not Bombs v. City of Santa Monica, 450 F.3d 1022,
17   1025 n. 2 (9th Cir. 2006); Lamle v. City of Santa Monica, No. CV 04-6355-
18   GHK SH, 2010 WL 3734868, at *4 (C.D. Cal. July 23, 2010), report and
19   recommendation adopted, No. CV 04-6355-GHK SH, 2010 WL 3734864
20   (C.D. Cal. Sept. 22, 2010), aff’d, 498 F. App’x 738 (9th Cir. 2012).
21         Exhibits 2-8: Official records contained on government websites are
22   proper subjects for judicial notice. Santa Monica Food Not Bombs, 450
23   F.3d at 1025 n. 2 (9th Cir. 2006) (taking judicial notice of “public records”
24   that “can be accessed at Santa Monica's official website”); Preciado v. Wells
25   Fargo Home Mortgage, No. 13-00382 LB, 2013 WL 1899929, at *3 (N.D.
26   Cal. May 7, 2013).
27         Official memoranda of local government entities are proper subjects of
28   judicial notice. City of San Jose v. Office of Comm’r of Baseball, No. C-13-

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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO COMPEL   CASE NO. 2:18-cv-03681-KS
 Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 4 of 196 Page ID #:153




 1   02787 RMW, 2013 WL 5609346, at *4 (N.D. Cal. Oct. 11, 2013), aff’d sub
 2   nom. City of San Jose v. Office of the Com’r of Baseball, 776 F.3d 686 (9th
 3   Cir. 2015).
 4
 5   Dated: July 23, 2018           Respectfully Submitted,
 6
                                    McCRACKEN, STEMERMAN &
 7                                  HOLSBERRY LLP
 8
 9
                                    By:    /s/Paul L. More
                                          Paul L. More
10                                        Attorneys for Petitioner
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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO COMPEL   CASE NO. 2:18-cv-03681-KS
 Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 5 of 196 Page ID #:154




 1                                 PROOF OF SERVICE
 2         STATE OF CALIFORNIA, CITY AND COUNTY OF SAN FRANCISCO
 3
           I am employed in the city and county of San Francisco, State of
 4   California. I am over the age of eighteen years and not a party to the within
 5   action; my business address is: 595 Market Street, Suite 800, San Francisco,
 6   California 94105.

 7           On July 23, 2018 I served a copy of the following document(s) described
 8   as:
 9
     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO
10   COMPEL ARBITRATION
11
     on the interested party(ies) to this action as follows:
12
13   By ECF System - Court’s Notice ofElectronic Filing:
14
            L Brent Garrett
15          Atkinson Andelson Loya Ruud and Romo
16          12800 Center Court Drive South Suite 300
            Cerritos, CA 90703
17
            562-653-3200
18          Fax: 562-653-3333
19          Email: bgarrett@aalrr.com

20          Attorneys for NASA Services, Inc.
21
22         I declare under penalty of perjury under the laws of the State of
23   California that the foregoing is true and correct.
24          Executed on this 23rd day of July 2018, at San Francisco, California.
25
26
27                                                     Katherine Maddux
28

                                                1
     CERTIFICATE OF SERVICE                                    CASE NO. 2:18-cv-03681-KS
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 6 of 196 Page ID #:155




                               EXHIBIT 1
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 7 of 196 Page ID #:156




                              ORDINANCE      NO.
                                                       182986         _

             An ordinance retitling Chapter VI, Article 6; adding new Sections 66.03 and 66.33
      to 66.33.11 of the Los Angeles Municipal Code relating to the collection of solid waste
      from commercial establishments and multifamily dwellings; amending Sections 66.00,
      66.00.1,66.01, 66.02, 66.0B.1, 66.0B.3through 66.0B.6, 66.17.1, 66.23 through 66.25,
      66.27 through 66.30, and 66.32; and repealing Sections 66.01.1, 66.04, 66.06, 66.07,
      66.08.2, 66.09, 66.10, 66.18 through 66.22; and 66.26.

                         THE PEOPLE OF THE CITY OF LOS ANGELES
                                DO ORDAIN AS FOLLOWS:

             Section 1. Article 6 of Chapter VI of the Los Angeles Municipal Code is retitled to
      read as follows:
                                             ARTICLE 6

                                   SOLID WASTE COLLECTION

              Sec. 2. Section 66.00 of the Los Angeles Municipal Code is amended to read as
      follows:

      SEC. 66.00. DEFINITIONS.

              For the purpose of this Article, the following words and phrases are defined and
      shall be construed as set out here, unless it is apparent from the context that they have
      a different meaning:

                    1.    Board shaH mean the City of Los Angeles Board of Public \Norks.

                  2.      Bureau shall mean the Bureau of Sanitation of the City of Los
            Angeles or its duly authorized representative.

                   3.     City shall mean the City of Los Angeles.

                    4.     Collection Services shall mean the collection, transportation and
            delivery for processing or disposal of solid waste from commercial
            establishments and multifamily dwellings.

                    5.    Commingled Recyclables shall mean recyclables that have been
            separated or kept separate from other solid waste at the point of generation for
            the purpose of additional sorting or processing for recycling or reuse in order to
            return the material to the economic mainstream in the form of raw material for
            new, reused, or reconstituted products which meet the quality standards
            necessary to be used in the marketplace. Commingled recyclables shall not
            consist of construction and demolition waste.




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                                                                                            Exhibit 1
                                                                                                 1-1
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 8 of 196 Page ID #:157




                    6.    Commercial Establishment shall mean all real property in the
           City, except residential premises and premises that receive solid waste disposal
           service from the City, upon which for-profit or not for-profit activity is conducted,
           including but not limited to manufacturing, transportation, retail sales, wholesale
           operations, services, hotel or motel operations, education, or other businesses or
           institutional activity.

                   7.      Construction and Demolition Waste shall mean solid waste that
           results directly from construction, remodeling, repair, demolition, or
           deconstruction of buildings and other structures, does not contain hazardous
           waste, and contains no more than one percent (1 %) putrescible wastes by
           volume, calculated on a monthly basis. Construction and demolition waste
           includes, but is not limited to, asphalt, concrete, Portland cement, brick, lumber,
           wallboard, roofing material, ceramic tile, pipe, glass, carpet or associated
           packing.

                   8.    Director shall mean the Director of the bureau of Sanitation of the
           city of Los Angeles.

                  9.     Dwelling Unit shall mean one or more rooms, one of which is a
           kitchen, designed for occupancy by one family for living and sleeping purposes,

                    10.   Gross Receipts shall mean those receipts defined as gross
           receipts in Los Angeles Municipal Code Section 21.00(a) generated by the
           collection of solid waste including, but not limited to, service, container rental,
           disposal and processing charges. For purposes of Sections 66.32.1 through
           66,32,5, gross receipts shall not be applicable to receipts generated by the
           collection and sale of source-separated materials or commingled recyclables.

                  11.   Hazardous Waste shall mean any waste as defined in California
           Health and Safety Code Section 25117.

                   12.   Multifamily Dwelling shall mean any building, structure, unit or
           location designed for residential occupancy, exclusive of "Single Family Dwelling"
           and dwelling units that receive solid waste disposal service from the City.

                   13.    Organics shall mean compostable solid waste that is source
           separated and placed in a container for collection. Organics include, but are not
           limited to, grass, leaves, tree branches, clean wood free of paint, nails or any
           treatment, food scraps, food soiled boxes and paper.

                  14.     Person shall mean natural person, business, contractor, joint
           venture, joint stock company, firm, partnership, association, club, company,
           corporation, business trust, or organization, or the manager, employer, agent,
           servant, officer, or employee of any of them. Person shall not mean the City of




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                                                                                                 Exhibit 1
                                                                                                      1-2
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 9 of 196 Page ID #:158




           Los Angeles, or any of its constituent entities, departments, boards, employees
           or officers.

                  15.    Recyclables shall mean solid waste that is capable of being
           recycled or re-reused in the marketplace, whether source separated or
           commingled with other solid waste.

                  16.    Residential Premises shall mean single family dwellings and
           multifamily dwellings.

                   17.    SelfmHaulershall mean a person who is not primarily engaged in
           the business of collection, removal or transportation of solid waste but in the
           course of performing the person's primary business function incidentally
           transports solid waste. Examples of self-haulers include, but are not limited to,
           gardeners, landscapers and household cleanup service firms. A person who
           collects, removes or transports construction and demolition waste is not a self-
           hauler under any circumstance, but rather a solid waste hauler subject to all of
           the requirements applicable to solid waste haulers.

                  18, Single Family Dwelling shall mean a building designed for
           residential occupancy, and containing one or two dwelling units.

                  19.    Solid Waste shall mean all putrescible and nonputrescible solid,
           semisolid, and liquid wastes, including garbage, trash, refuse, paper, rubbish,
           ashes, industrial wastes, construction and demolition waste, abandoned vehicles
           and parts thereof, discarded home and industrial appliances, dewatered, treated,
           or chemically fixed sewage sludge which is not hazardous waste, manure,
           vegetable or animal solid and semisolid wastes, and other discarded solid and
           semisolid wastes.

                  "Solid waste" does not include any of the following wastes:

                         (i)    Hazardous waste;

                         (il)   Radioactive waste regulated pursuant to Part 9 of Division
                  104 of the California Health and Safety Code;

                         (iii)    Med ical waste regulated pursuant to Part 14 of Division 104
                  of the California Health and Safety Code;

                        (lv) Pharmaceutical waste as defined in California Health and
                 Safety Code Section 117748.

                  20.    Solid Waste Disposal Facility shall mean a facility fully permitted
           under applicable local, state, and federal laws and regulations to accept and
           dispose of solid waste.



                                                 3



                                                                                             Exhibit 1
                                                                                                  1-3
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 10 of 196 Page ID #:159




                     21.    Solid Waste Hauler shall mean any person engaged in the
              business of providing for the collection, removal or transportation of solid waste.

                      22.   source-separated Material shall mean recyclables that have been
              separated or kept separate from other solid waste at the point of generation and
              sorted by material type, such as wood, metal, glass, concrete, or organics,
              without being commingled with other solid waste, including recyclables. To
              qualify as source-separated material, each type of material must be transferred in
              a separate container to a recycling center.

               Sec. 3. Section 66.00.1 of the Los Angeles Municipal Code is retitled to read as
       follows:

       SEC. 66.00.1. SOLID WASTE SERVICES.

              Sec. 4. Section 66.00.1(a)(1) of the Los Angeles Municipal Code is amended to
       read as follows:

                     1.     The collection of household solid waste combined in one or more
              containers by a single pickup except when more than one pickup is required by
              the Board and approved by Council resolution, on a regularly scheduled basis,
              but not to provide for the collection of commercial solid waste.

              Sec. 5. Section 66.00.1 (b) of the Los Angeles Municipal Code is amended to
       read as follows:

               (b)    It is the policy of the City of Los Angeles to dispose of solid waste
       collected by the City, including metals, in land reclamation sites owned and operated or
       otherwise controlled by the City or in City-owned incinerators when economically
       feasible, or by contractual arrangement where appropriate. Contractual arrangements
       involving consideration in excess of $5,000 shall be approved by the Council by
       ordinance or resolution, except in the case of an emergency as determined by the
       Director.

             Sec. 6. Section 66.00.1 (e) of the Los Angeles Municipal Code is amended to
       read as follows:

               (e)     The Board shall adopt rules and regulations, not inconsistent with this
       Article, to effectuate the purposes and intent of this Section and the further provisions of
       this Article. Any such rule or regulation pertaining to solid waste collection shall be
       approved by the Council.

              Sec. 7. Section 66.00.1 (f) of the Los Angeles Municipal Code is amended to
       read as follows:




                                                    4



                                                                                               Exhibit 1
                                                                                                    1-4
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 11 of 196 Page ID #:160




               (f)    The Board, subject to the approval of the Council in each instance by
       resolution, may from time to time institute and conduct one or more pilot programs
       within an area or areas of the City designated by the Board for the separate collection
       and disposal of solid waste on a regularly scheduled basis, for the purpose of studying
       costs to the City and other factors of such program or programs compared with the
       policies set forth in Subsection (a) of this Section.

            Sec, 8. Section 66.01 of the Los Angeles Municipal Code is retitled and
       amended to read as follows:

       SEC. 66.01. SOLID WASTE COLLECTION.

               No person shall remove or convey any solid waste upon or along any street in
       this City, provided, however, that the provisions of this section shall not apply to any
       person in the employ of this City who shall be assigned by the Board to the work of solid
       waste disposal or to any person with whom this City has entered into, or may hereafter
       enter into, a contract for the collection, removal and disposal of solid waste or to any
       employee of such contractor during the time his contract shall be in force, and provided
       further that solid waste collection and disposal contractors serving neighboring
       municipalities, County sanitation districts, State or Federal institutions, or any person in
       the employ of any such governmental agency may haul garbage over the streets of this
       City after having first obtained a permit therefor pursuant to Section 66.32, et seq.

              Sec. 9. Section 66.01.1 of the Los Angeles Municipal Code is hereby repealed.

            Sec. 10. Section 66.02 ofthe Los Angeles Municipal Code is retitled and
       amended to read as follows:

       SEC. 66.02. SOLID WASTE CONTAINER SPECIFICATIONS.

               It shall be the duty of every owner, manager, or person in possession, charge or
       control of any commercial establishment, and every person occupying a residential
       premises within the City to provide, and at all times to keep containers for holding solid
       waste. Each container shall be constructed to be nonabsorbent, watertight, vector-
       resistant, durable, easily cleanable, and designed for safe handling. Each such
       container and its cover shall be made of such materials as may be approved for such
       use by the Board and by the City Council. The cover shall not be removed except when
       necessary to place solid waste therein or to remove solid waste therefrom. Each
       container and its cover shall be kept cleaned on the outside from accumulating grease
       and decomposing material and shall be of an adequate size and in sufficient numbers to
       contain, without overflowing, all the solid waste that a household or other establishment
       generates within the designated removal period. Each such container when filled shall
       not exceed reasonable lifting weights for an average physically fit individual except
       where mechanical loading systems are used. Any such vessel, tank or receptacle shall
       comply with Part 1301 of Title 16 of the Code of Federal Regulations to the extent that
       such Part is applicable to any such vessel, tank or receptacle.



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                                                                                               Exhibit 1
                                                                                                    1-5
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 12 of 196 Page ID #:161




               Sec. 11. Section 66.03 is added to the Los Angeles Municipal Code to read as
       follows:

       SEC. 66.03. SOLID WASTE SERVICE REQUIRED,

              (a)   No person shall keep any solid waste, or allow any solid waste, excluding
       organics used for composting or mulch, to remain upon any premises within the City for
       more than seven days. All solid waste shall be placed in containers that meet the
       requirements of Section 66.02.

              (b)    Owners of    commercial establishments and multifamily dwellings or the
       generator of solid waste   at such premises or the agent of the owner or generator shall
       subscribe to and pay for   collection services provided by a solid waste hauler authorized
       to provide such services   pursuant to the provisions of this Article.

               (c)    The minimum level of service to which the owner, generator or agent shall
       subscribe shall be the number and size of solid waste containers suitable for garbage
       collection and the frequency of collection which is necessary for the removal and
       disposal of all solid waste generated at the premises, excluding commingled recyclables
       and source-separated material, in a seven-day period. Such minimum level of service
       shall be determined by the owner, generator or agent and the solid waste hauler. In the
       event the owner, generator or agent and the solid waste hauler do not agree on the
       minimum level of service necessary, such determination shall be made by the Director.

              (d)  All commercial establishments shall have collection services for source-
       separated materials or commingled recyclables.

              Sec. 12. Sections 66.04,66.06     and 66.07 of the Los Angeles Municipal Code
       are hereby repealed.

              Sec. 13. Section 66.08.1 of the Los Angeles Municipal Code is retitled amended
       to read as follows:

       SEC. 66.08.1. SOLID WASTE DISPOSAL FACILITY FRANCHISES                   OR
             CONTRACTS.

              Should the City at any time award a franchise or contract for the disposal of solid
       waste, then no person, other than the franchisee or contractor, shall thereafter be
       permitted to provide services covered by such franchise or contract within the granted
       franchise or contract area except as otherwise permitted by the Board.

              Sec. 14. Section 66.08.2 of the Los Angeles Municipal Code is hereby repealed.

              Sec. 15. Section 66.08.3 of the Los Angeles Municipal Code is retitled amended
       to read as follows:




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                                                                                               Exhibit 1
                                                                                                    1-6
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 13 of 196 Page ID #:162




       SEC. 66.08.3. OPERATION OF SOLID WASTE DISPOSAL FACILITIES.

              (a)    It is unlawful for any person to own, establish, operate or carry on the
       business of a solid waste disposal facility in the City unless, at the City's sole option,
       such person has been granted a non-exclusive franchise by the City Council.

              (b)    Section (a) does not apply to any person who owns or operates a solid
       waste disposal facility operating as of January 1, 1999, under a valid conditional use
       permit or other authorizing permit issued by the City, until anyone of the following
       events occurs:

                     (1)    the conditional use permit or other authorizing permit expires, or

                     (2)    the conditional use permit or other authorizing permit is renewed, or

                     (3)    the conditional use permit or other authorizing permit is modified.

               Sec. 16. Section 66.08.4 of the Los Angeles Municipal Code is retitled to read as
       follows:

       SEC. 66.08.4. SOLID WASTE DISPOSAL FRANCHISE TERMS AND CONDITIONS.

            Sec. 17. Section 66,08.5 of the Los Angeles Municipal Code is retitled and
       amended to read as follows:

       SEC. 66.08.5. SOLID WASTE DISPOSAL FACILITY FRANCHISE FEES.

              The City shall impose a franchise fee each year equal to 12 percent of the annual
       gross receipts from fees and charges collected by the operator of the solid waste
       disposal facility.

             Sec. 18. Section 66.08.6 of the Los Angeles Municipal Code is retitled to read to
       read as follows:

       SEC. 66.08.6. OTHER SOLID WASTE DISPOSAL FACILITY FRANCHISE
             PROVISIONS.

             Sec. 19. Sections 66.09 and 66.10 of the Los Angeles Municipal Code are
       hereby repealed.

            Sec. 20. Section 66.17.1 ofthe Los Angeles Municipal Code is retitled and
       amended to read as follows:




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                                                                                                    Exhibit 1
                                                                                                         1-7
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 14 of 196 Page ID #:163




       SEC. 66.17.1. PROOF OF SOLID WASTE COLLECTION                 SERVICE.

               Irrespective of any other provision of this Code, the manager or person in charge
       of, or in control of, any solid waste of any residential premises or commercial
       establishment shall furnish written proof, whether in the form of contracts or receipts, to
       any appropriate municipal authority on request that said premises maintains collection
       services that collects solid waste generated from said premises in a manner in keeping
       with current health regulations and in compliance with the requirements of this Article
       and other provisions of the Los Angeles Municipal Code.

             Sec. 21. Sections 66.18 through 66.22 of the Los Angeles MuniCipal Code are
       hereby repealed.

            Sec. 22. Section 66.23 of the Los Angeles Municipal Code is retitled and
       amended to read as follows:

       SEC. 66.23. SOLID WASTE VEHICLES - USE OF STREETS.

               (a)    No person shall permit any vehicle hauling or used for hauling or carrying
       any solid waste or other nauseous or offensive substance to remain in or upon any
       street longer than is necessary for loading and hauling such substance to its destination
       or permit any such vehicle to be in a filthy or offensive condition, or to remain uncovered
       when in transit upon streets or near public places.

               (b)   No person shall remove or convey any solid waste or other nauseous or
       offensive substance along any street, except in watertight vessels, receptacles or
       carriers.

               Sec. 23. Section 66,24 of the Los Angeles Municipal Code is amended to read
       as follows:

       SEC. 66.24. REPLACING       FALLEN MATERIAl.

              No person removing or conveying any solid waste shall fail, refuse or neglect to
       replace immediately in any container any solid waste that shall have fallen therefrom, in
       or upon any street or in or upon any premises.

            Sec. 24. Section 66.25 of the Los Angeles Municipal Code is retitled and
       amended to read as follows:

       SEC. 66.25. DEPOSITING SOLID WASTE ON STREETS OR IN THE LOS ANGELES
             RIVER PROHIBITED.

              (a)   No person shall deposit or cause to be deposited any solid waste of any
       kind whatsoever upon or in any street, or upon any premises in this City, or in the
       Los Angeles River.



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                                                                                               Exhibit 1
                                                                                                    1-8
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 15 of 196 Page ID #:164




              (b)    Any person whose identifying information is found in or who is otherwise
       responsible for the deposit of solid waste of any kind whatsoever, upon or in any street,
       shall be responsible for depositing it on the public right-of-way and shall be subject to
       administrative penalties as defined in Subsection (c).

               (c)    The first violation of Subsection (b) in a calendar year is subject to warning
       or an administrative monetary penalty not to exceed $500.00. Subsequent violations in
       the same calendar year will result in a second penalty not to exceed $750.00 for the
       second violation after receiving the initial $500.00 penalty. The penalty for the third
       administrative violation in a calendar year is $1000.00. More than three administrative
       fines in one calendar year shall result in the violation being charged as a misdemeanor
       in Superior Court and subject to all penalties applicable to criminal violations. The
       Bureau is authorized to assess a processing fee established by the Board for all
       citations with an administrative monetary penalty. All noncriminal enforcement actions
       are subject to the administrative hearing process as mandated in the California
       Government Code Section 53069.4, as now existing and as may be amended.

              Sec. 25. Section 66.26 of the Los Angeles Municipal Code is hereby repealed.

               Sec. 26. Section 66.27 of the Los Angeles Municipal Code is amended to read
       as follows:

       SEC. 66.27. RULES AND REGULATIONS              - EFFECT OF NON~COMPLIANCE WITH.

             The collection of solid waste not prepared and placed for collection in
       accordance with the rules and regulations adopted by the Board may be rejected by the
       City.

            Sec. 27. Section 66.28 of the Los Angeles Municipal Code is retitled and
       amended to read as follows:

       SEC. 66.28. SOLID WASTE - TAMPERING WITH.

              No person, other than the owner thereof, his agents or employees, or an officer
       or employee of this City or any person holding a contract with this City for the collection,
       management and/or disposal of solid waste, shall tamper with or remove any solid
       waste, solid waste container or the contents thereof from any location where the same
       had been placed by the owner thereof or his agent, whether or not such container
       conforms to requirements or description set forth in the rules and regulations of the
       Board.

            Sec. 28. Section 66.29 of the Los Angeles Municipal Code is retitled and
       amended to read as follows:




                                                     9




                                                                                                 Exhibit 1
                                                                                                      1-9
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 16 of 196 Page ID #:165




       SEC. 66.29. CITY EMPLOYEES - USE OF SOLID WASTE.

               No employee of this City shall remove or dispose of, for said employee's
       individual use or benefit, any of the contents of any container used for the collection,
       removal or disposal of solid waste.

               Sec. 29. Section 66.30 of the Los Angeles Municipal Code is amended to read
       as follows:

       SEC. 66.30. CONSTRUCTION OF ARTICLE.

               Nothing contained in this Article shall be deemed to conflict with any section of
       this Code regulating the collection, removal or disposal of solid waste, but any such
       sections of this Code and any law shall each be so construed as to give effect to every
       provision thereof and each shall be deemed to be independent of the other.

              Sec. 30. Section 66.32 of the Los Angeles Municipal Code is retitled amended to
       read as follows:

       SEC. 66.32. PURPOSE.

               In order to meet the diversion goals of AS 939 and the City of Los Angeles which
       is Zero Waste by 2025, solid waste haulers, contractors and recyclers shall register with
       the City to obtain a permit. As used in this Section and in Sections 66.32.1 through
       66.32.5, the following terms shall have the meanings set forth below:

                      1.     AB 939 shall mean the State of California's Integrated Waste
              Management Act of 1989, as may be amended from time to time, and as set forth
              in California Public Resources Code Sections 40050, et seq., and implementing
              regulations of the Department of Resources Recycling and Recovery
              (CaIRecycle).

                    2.      AB 939 Compliance Permit shall mean a permit issued pursuant
             to the provisions of Subsection (a) of Section 66.32.1.

                    3.      Appellant shall mean a person who files a written request for a
             hearing pursuant to the provisions of Subdivision (1) of Subsection (d) of Section
             66.32.3 of this Article.

                     4.     Certified Construction and Demolition Waste Processing
             Facility shall mean a waste processing facility, operating lawfully pursuant to all
             applicable permits and possessing valid and current certification from the City of
             Los Angeles, that accepts construction and demolition waste for the purpose of
             recovering reusable and recyclable materials and disposing of non-recyclable
             residual materials.




                                                    10




                                                                                                  Exhibit 1
                                                                                                      1-10
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 17 of 196 Page ID #:166




                      5.    Contractor shall mean any Person who enters into a contract for
              any construction or demolition project that requires a permit from the Department
              of Building and Safety.

                     6.    Permittee shall mean a person issued an AB 939 Compliance
              Permit pursuant to the provisions of Subsection (a) of Section 66.32.1.

               Sec. 31. Section 66.33 is added to the Los Angeles Municipal Code to read as
       follows:

       SEC. 66.33. PURPOSE.

               Under the City's RENEW LA Plan, the City committed reaching Zero Waste by
       diverting 70% of the solid waste generated in the City by 2013, diverting 90% by 2025,
       and becoming a zero waste city by 2030. State law currently requires at least 50% solid
       waste diversion and establishes a state-wide goal of 75% diversion by 2020. Moreover,
       state law requires mandatory commercial recycling in all businesses and multifamily
       complexes and imposes additional reporting requirements on local agencies, including
       the City. In order to meet these requirements and goals, increasing recycling and
       diversion in the commercial and multifamily waste sectors is imperative. The
       commercial and multifamily sectors produce most of the City's solid waste. Currently, a
       significant amount of commercial and multifamily solid waste generated in the City,
       including recyclables and organics, is going to landfills, resulting in unnecessary
       greenhouse gas emissions. The City has a responsibility under state law to ensure
       effective and efficient waste and recycling service for its businesses and residents. It
       will most successfully fulfill that responsibility, and also meet its own Zero Waste policy
       goals, by ensuring that its solid waste, including recyclables and organics, are collected,
       transported and processed in a manner that reduces environmental and social impacts
       on the City and the region.

                An exclusive, competitive franchise system for the collection, transportation and
       processing of commercial and multifamily solid waste will aid the City in meeting its
       diversion goals by, among other things: (i) requiring franchisees to meet diversion
       targets; (ii) increasing the capacity for partnership between the City and solid waste
       haulers; (iii) allowing the City to establish consistent methods for diversion of
       recyclables and organics; (iv) increasing the City's ability to track diversion, which will
       enable required reporting and monitoring of state mandated commercial and multifamily
       recycling; (v) increasing the City's ability to ensure diversion quality in the processing
       facilities handling its waste and recyclables; and (vi) increasing the City's capacity to
       enforce compliance with federal, state, county, and local standards.

               An exclusive, competitive franchise system will also have other beneficial effects,
       including reducing adverse environmental impacts such as unnecessary solid waste
       truck traffic, emissions and street impacts, protecting ratepayers, ensuring high
       customer service standards, and increasing solid waste hauler accountability.




                                                    11




                                                                                               Exhibit 1
                                                                                                   1-11
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 18 of 196 Page ID #:167




               While the move to an exclusive franchise system will generate many benefits for
       the City and its residents, it will also increase the risk that a labor dispute will interfere
       with collection services. To protect the City's interest in efficient and uninterrupted
       collection services, the City will require franchisees to produce evidence that they are
       parties to written, enforceable agreements that prohibit labor organizations and their
       members from engaging in picketing, work stoppages, boycotts or other economic
       interference with collection services.

       SEC. 66.33.1. DEFINITIONS.

             As used herein and in Sections 66.33 to 66.33.17, the following terms shall have
       the meanings set forth below:

                    1.     Clean Fuel Vehicles shall mean those vehicles that meet or
              exceed the requirements of Southern California Air Quality Management District
              Rule 1193, as now existing and as may be amended.

                      2.      Customer shall mean any individual, firm, partnership, joint
              venture, association, fraternal organization, corporation, estate trust, business
              trust, receiver, trustee, executor, administrator, syndicate, the United States, any
              state, any county, city and county, municipality, district or other political
              subdivision of any state or of the United States, or any other group or
              combination acting as a unit.

                      3.   Franchise Agreement shall mean a written contract between the
              Bureau and a franchisee setting forth the terms and conditions under which the
              franchisee shall perform collection services in the City.

                      4.    Franchisee shall mean a solid waste hauler granted an exclusive
              franchise to provide collection services in a franchise zone.

                      5.    Franchise Zone shall mean a geographic area of the City within
              which a franchisee shall provide collection services pursuant to the terms of a
              franchise agreement.

                      6.    Labor Peace Agreement shall mean an enforceable agreement
              between a franchisee, or a franchisee's subcontractor, and a labor organization
              (as defined by 29 U.S.C. §152(5») that represents or seeks to represent the
              franchisee's or subcontractor's employees providing collection services and that
              contains provisions under which the labor organization for itself and its members
              agrees to refrain from engaging in any picketing, work stoppages, or any other
              economic interference with the franchisee'S performance of collection services.

                     7.     On-location Filming Waste shall mean solid waste generated and
             collected at a commercial film production permitted pursuant to Section 12.22
             A.13. of this Code or Section 22.350 of the Los Angeles Administrative Code.



                                                     12




                                                                                                  Exhibit 1
                                                                                                      1-12
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 19 of 196 Page ID #:168




                     8.      Studio shall mean one or more adjacent parcels of real property
              occupied by a motion picture or television production and distribution enterprise
              and containing sound stages totaling no less than 50,000 square feet in area and
              18 feet in height designed for motion picture or television production and utilized
              by that enterprise specifically for such purpose.

       SEC. 66.33.2. EXCLUSIVE FRANCHISE FOR COLLECTION                   SERVICES.

               (a)   The City may award contracts for collection services for commercial
       establishments and multifamily dwellings through an exclusive franchise agreement
       authorizing and obligating the holder to provide collection services within a franchise
       zone.

               (b)    A franchisee's exclusive right to provide collection services shall not
       include the right to collect the following materials, the collection of which is not
       prohibited by this Article:

                     (1)    Solid waste removed from a commercial establishment or
              multifamily dwelling by a self hauler;

                     (2)    Construction and demolition waste;

                     (3)    Solid waste collected by the City;

                     (4)    On-location filming waste.

              (c)    Any franchisee may contract with a studio for collection services
       regardless of the franchise zone where the studio is located.

       SEC. 66.33.3. UNLAWFUL ACTIVITIES.

              (a)    Provision of CollectionServices.

                Except as provided in Sections 66.33.2(b) through (c) and Section 66.33.3(b), it
       is unlawful for any person to provide collection services to a commercial establishment
       or multifamily dwelling within a franchise zone unless a written franchise agreement
       therefor has been executed between such person and the City, and such agreement is
       in full force and effect.

              (b)    Transition Period.

               The City, in its sole discretion and consistent with state law, may authorize a
       solid waste hauler possessing a valid permit issued pursuant to Section 66.32, et seq.,
       to continue providing collection services in a franchise zone to the extent necessary to
       meet the needs of any customer in that zone until the franchisee is able to perform the
       collection services.



                                                    13



                                                                                                 Exhibit 1
                                                                                                     1-13
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 20 of 196 Page ID #:169




       SEC. 66.33.4. FRANCHISE ZONES.

              The Bureau shall divide the territory within the City into eleven (11) franchise
       zones, the designation of which shall be subject to the approval of the Board and City
       Council. Three (3) of the franchise zones shall be designed as "single" zones, which
       shall not be granted in combination with any other franchise zone.

       SEC. 66.33.5. FRANCHISE AGREEMENT FEES.

               The Bureau shall include in each franchise agreement a negotiated annual
       franchise fee to be paid to the City by the respective franchisee.

       SEC. 66.33.6. MINIMUM FRANCHISE AGREEMENT STANDARDS.

              The following minimum standards shall apply to all franchises granted under this
       part, and shall be made binding terms of all franchise agreements:

              (a)    RequiredCollection Services.

               During the term of the franchise agreement and subject to its terms and
       conditions, each franchisee shall collect, transport, and deliver for processing or
       disposal all solid waste generated at all commercial establishments and multifamily
       dwellings located within that franchise zone.

              (b)   Clean Fuel Vehicles.

              All vehicles used by a franchisee to provide collection services under a franchise
       agreement shall at all times be in compliance with all applicable air pollution control
       laws and regulations, including but not limited to the California Air Resources Board
       "Diesel Particulate Matter Control Measure for On-Road Heavy Duty Residential and
       Commercial Solid Waste Collection Vehicle Diesel Engines" and South Coast Air
       Quality Management District Amended Rule 1193.

             (c)    Labor PeaceAgreement.

              As a condition for the grant of a franchise agreement, a condition precedent to
      any franchisee or subcontractor performing collection services, and as an ongoing,
      material condition of the franchise agreement, each franchisee shall provide satisfactory
      evidence that it, and any subcontractor who will provide collection services, are a party
      to labor peace agreement(s) with any labor organization that represents any group of
      the franchisee's or subcontractor's employees who are or will be involved in providing
      collection services, and with any labor organization that seeks to represent any group of
      a franchisee's or subcontractor's employees who are or will be involved in providing
      collection services, under the following limitation:




                                                   14



                                                                                              Exhibit 1
                                                                                                  1-14
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 21 of 196 Page ID #:170




                      (1)    This Subsection does not require an employer to recognize a
              particular labor organization.

                      (2)   This Subsection does not require an employer to enter into a
             collective bargaining agreement establishing the substantive terms and
             conditions of employment.

                     (3)    This Subsection is not intended to, and shall not be interpreted to,
             enact or express any generally applicable policy regarding labor/management
             relations, or to regulate those relations in any way.

                    (4)    This Subsection is not intended to provide a preference for any
             outcome in the determination of employee preference regarding union
             representation.

              (d)   Processing and Disposal.

               A Franchisee shall deliver all recyclables and organics collected from commercial
       establishments and multifamily dwellings exclusively to facilities certified by the City
       pursuant to Section 66.33.8.

             (e)    Diversion.

                   (1)     Each franchisee shall provide every customer within its franchise
             zone a container specifically designated for the collection of recyclables.

                     (2)   Each franchisee shall offer every multifamily dwelling within its
             franchise zone a container specifically designated for the collection of organics.

                      (3)   All franchise agreements shall require franchisees to meet specific
             landfill disposal reduction requirements.

            (f)  Compliance with Living Wage and Responsible Contractor
       Requirements.

               Each franchisee shall comply with all requirements of an "Employer" under the
       City's Living Wage Ordinance, Los Angeles Administrative Code Section 10.37, et. seq.
       Each franchise agreement is hereby deemed a "contract" for purposes of the City's
       Responsible Contractor Program, Los Angeles Administrative Code Section 10.40, et
       seq., and each franchisee shall comply with all requirements of a "Contractor"
       thereunder.

             (g)    Whistleblower Protection.

              A franchisee shall not retaliate against an employee who, in good faith, has made
       a protest or raised a complaint against some practice of the franchisee on the basis of a



                                                  15



                                                                                               Exhibit 1
                                                                                                   1-15
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 22 of 196 Page ID #:171




       reasonable belief that the practice is in violation of any provision of this Article or other
       applicable laws. A franchisee will not retaliate against an employee who discloses or
       threatens to disclose to a supervisor or to the City or another public body any activity,
       policy, or practice of the franchisee that the employee reasonably believes is in violation
       of this Article or other applicable laws.

       SEC. 66.33.7. REVENUE FROM SALE OF RECYLABLES.

               The Bureau and franchisees shall negotiate, and all franchise agreements shall
       include, provisions addressing revenue sharing from the sale of recyclables by
       franchisees and processing facilities.

       SEC. 66.33.8. CERTIFICATION         OF PROCESSING FACILITIES.

                (a)    The Board may certify for a five-year period facilities to accept solid waste
       collected by franchisee's providing collection services under a franchise agreement
       under criteria established by the Bureau and approved by the Board. Facilities shall be
       inspected by the City prior to certification, and each certification shall be conditioned on
       the facility granting the City the right to inspect the facility during the period of
       certification to verify compliance with the terms of certification.

              (b)    The City may suspend or revoke certification of a facility upon 30 days
       notice by issuance of a notice of suspension or notice of revocation, if the facility fails to
       comply with any of the terms and conditions specified in the certification or in this Code,
       under the process set forth in Section 66.32.3(d).

       SEC. 66.33.9. PERMIT REQUIREMENT.

               Nothing in Sections 66.33 through 66.33.8 relieves any franchisee from the
       requirement to obtain and maintain a permit pursuant to Sections 66.32 through 66.32.5
       of this Article or any other permit or license otherwise required by law for the provision
       of such services.

       SEC. 66.33.10.   SEVERABILITY.

               If any part or provision of this Section or the application of this Section to any
       person or circumstance is found to be unconstitutional or otherwise invalid by any court
       of competent jurisdiction, the remainder of this Section, including the application of such
       part or provisions to other persons or circumstances, shall not be affected by such
       holding and shall continue in full force and effect, and to this end, the provisions of this
       Section are severable.




                                                     16



                                                                                                  Exhibit 1
                                                                                                      1-16
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 23 of 196 Page ID #:172




              Sec. 32. The City Clerk shall certify to the passage of this ordinance and have it
       published in accordance with Council policy, either in a daily newspaper circulated
       in the City of Los Angeles or by posting for ten days in three public places in the City of
       Los Angeles: one copy on the bulletin board located at the Main Street entrance to the
       Los Angeles City Hall; one copy on the bulletin board located at the Main Street
       entrance to the Los Angeles City Hall East; and one copy on the bulletin board located
       at the Temple Street entrance to the Los Angeles County Hall of Records.

       I hereby certify that the foregoing ordinance was introduced at the meeting of the Council of the
       City of Los Angeles 'lm. 0 1 2014 ,and was passed at its meeting of ~APR 0 8 2014




       Approved __             ·YH/....-J_:f+l..o-I   +¥               _

                                                                                                  Mayor

       Approved as to Form and Legality:

                                                           orney


       By              ~ __ ----     __ ----                            -
                JO       A. CARVALHO
                     puty City Attorney

       Date __        .s+-II--'--,'-II--I 1-+-1                    _
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                                                                                                     Exhibit 1
                                                                                                         1-17
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 24 of 196 Page ID #:173




                                  DECLARATION OF POSTING ORDINANCE

            I, MARIA VIZCARRA, state as follows:        I am, and was at all times hereinafter mentioned, a

  resident of the State of California, over the age of eighteen years, and a Deputy City Clerk of the City

  of Los Angeles, California.

  Ordinance No. 182986 - Citywide Exclusive Franchise System for the Municipal Solid Waste

  Collection and Handling Program - a copy of which is hereto attached, was finally adopted by the

  Los Angeles City Council on April 8, 2014, and under the direction of said City Council and the City

  Clerk, pursuant to Section 251 of the Charter of the City of Los Angeles and Ordinance No. 172959,

 on April 18, 2014 I posted a true copy of said ordinance at each of the three public places located in

 the City of Los Angeles, California, as follows: 1) one copy on the bulletin board located at the Main

  Street entrance to the Los Angeles City Hall; 2) one copy on the bulletin board located at the Main

  Street entrance to the Los Angeles City Hall East; 3) one copy on the bulletin board located at the

 Temple Street entrance to the Los Angeles County Hall of Records.

            Copies of said ordinance were posted conspicuously       beginning on April 18, 2014 and will be

 continuously posted for ten or more days.

            I declare under penalty of perjury that the foregoing is true and correct.

            Signed this 18th day of April, 2014 at Los Angeles, California.




                                                      Maria Vizcarra, Deputy     ity Clerk




 Ordinance Effective Date: May 28,2014                                      Council File No. 10-1797-516
 Rev. (2/21/06)




                                                                                                  Exhibit 1
                                                                                                      1-18
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 25 of 196 Page ID #:174




                               EXHIBIT 2
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 26 of 196 Page ID #:175




                                                                May 27, 2014



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                                                                      Exhibit 2
                                                                           2-1
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 27 of 196 Page ID #:176




                                                          II


                                                                     Exhibit 2
                                                                          2-2
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 28 of 196 Page ID #:177

  Contents
         ARTICLE 1 - GENERAL INFORMATION...................................................................................... 1
         1.1  Article Headings ........................................................................................................................ 1
         1.2  Introduction................................................................................................................................ 6
              1.2.1 Background ................................................................................................................... 6
              1.2.2 Objectives of the RFP Process ...................................................................................... 7
              1.2.3 General Project Description .......................................................................................... 7
                      1.2.3.1 Major Elements of the System ......................................................................... 7
                      1.2.3.2 Description and Map of Franchise Zones ...................................................... 10
                      1.2.3.3 Additional Information and Data for Each Franchise Zone ........................... 11
         1.3  Franchise Zones for Award...................................................................................................... 11
         ARTICLE 2 - SCOPE OF SERVICES ............................................................................................. 13
         2.1  Excluded from the Franchise System ...................................................................................... 13
         2.2  Included in the Franchise System ............................................................................................ 14
         2.3  Customer Service, Outreach and Education/Training.............................................................. 14
              2.3.1 Customer Service Business Processes and Capabilities ............................................. 14
              2.3.2 Outreach and Education .............................................................................................. 15
              2.3.3 Billing ......................................................................................................................... 16
              2.3.4 Technology Requirements .......................................................................................... 17
              2.3.5 Customer Service and Transition Plan........................................................................ 21
                      2.3.5.1 Transition Period ........................................................................................... 21
                      2.3.5.2 Transition Team – CONTRACTOR Participation Requirements ................. 22
                      2.3.5.3 Transition Schedule and Plan Requirements ................................................. 22
                      2.3.5.4 Setting up Service with CUSTOMERs .......................................................... 23
                      2.3.5.5 Container Transition Plan .............................................................................. 23
         2.4  Service Plan ............................................................................................................................. 24
              2.4.1 Collection Services ..................................................................................................... 24
                      2.4.1.1 Specific Requirements for MULTIFAMILY CUSTOMERs ........................ 24
                      2.4.1.2 Specific Requirements for Existing ORGANICS CUSTOMERs.................. 25
                      2.4.1.3 Collection Days and Hours ............................................................................ 25
                      2.4.1.4 Extra Services ................................................................................................ 25
              2.4.2 Container Requirements ............................................................................................. 28
                      2.4.2.1 Container Sizes .............................................................................................. 28
                      2.4.2.2 Container Specifications ................................................................................ 28
                      2.4.2.3 Container Maintenance and Repair................................................................ 30
                      2.4.2.4 Lid Lockable Containers................................................................................ 30
                      2.4.2.5 Horse Manure Containers .............................................................................. 31
              2.4.3 Vehicle and Routing Requirements ............................................................................ 31
                      2.4.3.1 Clean Fuel Requirement ................................................................................ 31
                      2.4.3.2 Requirement for Efficient Routing ................................................................ 31
                      2.4.3.3 Other Vehicle Requirements .......................................................................... 31
              2.4.4 Special Service Requirements .................................................................................... 32
              2.4.5 Contingency Plan ........................................................................................................ 35
                      2.4.5.1 LABOR PEACE AGREEMENT................................................................... 35
                      2.4.5.2 Contingency Plan Service Requirements ....................................................... 35
                      2.4.5.3 Events Causing Potential Service Interruptions – Expectations to Perform .. 36
                      2.4.5.4 CITY Requests for Support during and after a Disaster ................................ 36
              2.4.6 Reporting Requirements ............................................................................................. 37
                      2.4.6.1 Performance Data reporting ........................................................................... 37
              2.4.7 Safety .......................................................................................................................... 39
              2.4.8 Performance Standards ............................................................................................... 39
         2.5  Transfer, Disposal and Processing Facilities ........................................................................... 42
              2.5.1 Capacity Requirements ............................................................................................... 42
                                                                        III


                                                                                                                                            Exhibit 2
                                                                                                                                                 2-3
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 29 of 196 Page ID #:178
                  2.5.2   Capability Requirements............................................................................................. 43
                          2.5.2.1 Transfer Station Capability ............................................................................ 43
                          2.5.2.2 Disposal Facility Capability........................................................................... 43
                          2.5.2.3 Processing Facility Capability ....................................................................... 44
                          2.5.2.4 Facility Capability Requirements for COMMINGLED RECYCLABLES ... 44
                          2.5.2.5 Facility CAPABILITIES REQUIREMENTS FOR Organics – Materials .... 44
                          2.5.2.6 City Provided Transfer Service...................................................................... 45
                  2.5.3 Facility Compliance .................................................................................................... 45
                          2.5.3.1 Compliance with laws, regulation and standards ........................................... 45
                          2.5.3.2 MATERIAL TRACKING Requirements ...................................................... 45
       2.6        Diversion Plan.......................................................................................................................... 46
                  2.6.1 Diversion Plan Strategy .............................................................................................. 46
                  2.6.2 Organics Implementation Plan.................................................................................... 47
       2.7        Cost and Franchise Fee Proposal ............................................................................................. 48
       2.8        Innovative Ideas ....................................................................................................................... 49
       ARTICLE 3 - GENERAL REQUIREMENTS FOR RESPONDING TO THE RFP................... 50
       3.1  Submission Deadline and Address........................................................................................... 50
            3.1.1 Resources .................................................................................................................... 50
            3.1.2 RFP Schedule.............................................................................................................. 51
       3.2  Proposal Presentation ............................................................................................................... 51
       3.3  Number of Copies .................................................................................................................... 52
       3.4  Signature and Authority ........................................................................................................... 52
       3.5  Pre-Proposal Meeting .............................................................................................................. 52
            3.5.1 Pre-Proposal Training ................................................................................................. 53
       3.6  Questions Regarding the RFP .................................................................................................. 53
       3.7  Confidential Information ......................................................................................................... 54
       3.8  RFP Items Not Covered ........................................................................................................... 54
       3.9  Proposal Cost and Ownership .................................................................................................. 54
       3.10 Proposal Format ....................................................................................................................... 55
            3.10.1 Cover Letter ................................................................................................................ 57
            3.10.3 Performance Security Commitment ............................................................................ 57
            3.10.4 Acknowledgement of Addenda................................................................................... 58
            3.10.5 Table of Contents ........................................................................................................ 58
            3.10.6 Proposal Form for Franchise Zones ............................................................................ 58
            3.10.7 Project Team and Resumes ......................................................................................... 58
            3.10.8 Firm Qualifications, Experience and Past Performance ............................................. 58
            3.10.9 Litigation History........................................................................................................ 59
            3.10.10 Workplace Safety History ........................................................................................... 60
            3.10.11 Financial Qualifications .............................................................................................. 60
            3.10.12 References................................................................................................................... 61
            3.10.13 Customer Service, Outreach and Education/Training................................................. 61
                    3.10.13.1 Customer Service Business Processes and Capabilities .......................... 61
                    3.10.13.2 Outreach and Education .......................................................................... 62
                    3.10.13.3 Billing...................................................................................................... 62
            3.10.14 Transition Plan ............................................................................................................ 65
                    3.10.14.1 CUSTOMER Contact and Account Set Up ............................................ 65
                    3.10.14.2 Procurement and Hiring Plan .................................................................. 66
                    3.10.14.3 Container Delivery Plan .......................................................................... 66
                    3.10.14.4 Transition Staffing and Business Processes for Customer Service ......... 66
            3.10.15 Service Plan ................................................................................................................ 66
                    3.10.15.1 Collection Services.................................................................................. 66
                    3.10.15.2 Containers ............................................................................................... 66
                    3.10.15.3 Vehicles and Routing .............................................................................. 67

                                                                       IV


                                                                                                                                            Exhibit 2
                                                                                                                                                 2-4
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 30 of 196 Page ID #:179
                          3.10.15.4 Transfer, Disposal and Processing Facilities ........................................... 67
                          3.10.15.5 Special Services....................................................................................... 67
                          3.10.15.6 Contingency Plan .................................................................................... 68
                          3.10.15.7 Facilities Compliance .............................................................................. 68
                          3.10.15.8 Reporting ................................................................................................. 68
                          3.10.15.9 Safety....................................................................................................... 69
                          3.10.15.10 PERFORMANCE STANDARDS .......................................................... 69
                  3.10.16 Diversion Plan............................................................................................................. 69
                          3.10.16.1 DIVERSION Plan Strategy ..................................................................... 69
                          3.10.16.2 Organics Implementation Plan ................................................................ 70
                  3.10.17 Cost and Franchise Fee Proposals............................................................................... 70
                          3.10.17.1 Cost Proposal .......................................................................................... 70
                          3.10.17.2 FRANCHISE Fee Proposal ..................................................................... 70
                  3.10.18 Innovative Ideas .......................................................................................................... 71
       ARTICLE 4 - SELECTION AND CONTRACT AWARD PROCESS ......................................... 72
       4.1  Proposal Evaluation ................................................................................................................. 72
            4.1.1 General ........................................................................................................................ 72
            4.1.2 Non-responsive Proposals........................................................................................... 72
            4.1.3 Non-Conforming Proposal .......................................................................................... 73
            4.1.4 Required Documents................................................................................................... 73
       4.2  Proposal Criteria ...................................................................................................................... 73
       4.3  Evaluation ................................................................................................................................ 74
       ARTICLE 5 - PROPOSER TECHNICAL AND FINANCIAL QUALIFICATIONS .................. 75
       5.1  Experience ............................................................................................................................... 75
       5.2  Financial Qualifications ........................................................................................................... 75
            5.2.1 Demonstration of Financial Qualifications ................................................................. 75
            5.2.2 Project Financing ........................................................................................................ 76
       ARTICLE 6 - BUSINESS ARRANGEMENTS ............................................................................... 77
       6.1  Term of Proposed Agreement .................................................................................................. 77
       6.2  Performance Guarantees .......................................................................................................... 77
       6.3  Performance Bond ................................................................................................................... 77
       6.4  Liability of Selected Proposer .................................................................................................. 77
            6.4.1 Fifth Year Review of Contractor Performance ........................................................... 78
       6.5  Key Personnel .......................................................................................................................... 78
       6.6  Contractor Personnel................................................................................................................ 78
       6.7  Subcontractors ......................................................................................................................... 78
       6.8  Maintenance of Records .......................................................................................................... 79
       6.9  Changes or Modifications ........................................................................................................ 79
       6.10 Termination.............................................................................................................................. 79
       6.11 Indemnification ........................................................................................................................ 80
       6.12 Claims for Labor and Materials ............................................................................................... 81
       6.13 Independent Contractor............................................................................................................ 81
       6.14 Ownership and License ............................................................................................................ 81
       6.15 Successors and Assigns ........................................................................................................... 82
       6.16 Force Majeure .......................................................................................................................... 82
       6.17 Severability .............................................................................................................................. 82
       6.18 Disputes ................................................................................................................................... 82
       6.19 Applicable Law, Interpretation, and Enforcement ................................................................... 83
       6.20 Breach ...................................................................................................................................... 83
       6.21 Rights Reserved by the City .................................................................................................... 83
            6.21.1 Right to Audit ............................................................................................................. 84
            6.21.2 Right of Inspection...................................................................................................... 84

                                                                       V


                                                                                                                                            Exhibit 2
                                                                                                                                                 2-5
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 31 of 196 Page ID #:180
       6.22       Acceptance of Terms and Conditions ...................................................................................... 84
       6.23       Compensation and Payment ..................................................................................................... 84
                  6.23.1 Fees for Recycling Services not Provided .................................................................. 85
                  6.23.2 Methodology for Calculating Contractor Compensation ............................................ 85
                  6.23.3 CONTRACTOR’s monthly compensation is the total dollar value of the
                         payments it has received from CUSTOMERs in the previous quarter less the fees
                         due the CITY .............................................................................................................. 85
                  6.23.4 Annual Compensation Adjustment ............................................................................. 85
       ARTICLE 7 – CITY STANDARD PROVISIONS (LEGAL REQUIREMENTS) ....................... 87
       7.1  Insurance Requirements ........................................................................................................... 87
       7.2  Business Tax Registration Certificate Requirement ................................................................ 87
       7.3  Non-Collusion.......................................................................................................................... 87
       7.4  Los Angeles Residence Information ........................................................................................ 88
       7.5  Contract History....................................................................................................................... 88
       7.6  Nondiscrimination/Equal Employment Opportunity/Affirmative Action ............................... 88
       7.7  Business Inclusion Program ..................................................................................................... 89
       7.8  Service Contractor Worker Retention Ordinance/Living Wage Ordinance ............................ 91
       7.9  Equal Benefits Ordinance ........................................................................................................ 91
       7.10 Contractor Responsibility Ordinance ....................................................................................... 91
       7.11 Slavery Disclosure Ordinance.................................................................................................. 92
       7.12 Municipal Lobbying Ordinance ............................................................................................... 92
       7.13 Child Support Ordinance ......................................................................................................... 92
       7.14 Americans with Disabilities Act .............................................................................................. 93
       7.15 Conflict Of Interest .................................................................................................................. 93
       7.16 First Source Hiring Ordinance ................................................................................................. 93
       7.17 Contract Bidder Campaign Contribution and Fundraising Restrictions .................................. 94
       7.18 Contractor Performance Evaluation Ordinance ....................................................................... 94
       7.19 Local Business Preference Program ........................................................................................ 95
       7.20 IRAN CONTRACTING ACT OF 2010 .................................................................................. 95




                                                                     VI


                                                                                                                                       Exhibit 2
                                                                                                                                            2-6
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 32 of 196 Page ID #:181

   APPENDICES
   Appendix 1– Reference Information
          1.1 Proposal Instructions
          1.2 Franchise Zone Map Showing Street Detail
          1.3 Estimated Material Volume by Franchise Zone
          1.4 Target Disposal Tonnage by Zone
          1.5 Restaurants Participating in Food Waste Program
          1.6 Rate and Compensation Examples
          1.7 Technology Requirements – Customer Service Call Center Performance Standards
   Appendix 2 – General Information Forms (Electronic Forms)
          2.1 Franchise Zones
                  Form 1: Franchise Zones (Proposal Forms – City of Los Angeles.xslm)
          2.2 Zone-Specific Delivery Approach
                  Form 2: Zone-Specific Capabilities (Proposal Forms – City of Los Angeles.xslm)
          2.3 Litigation
                  Form 3: Litigation History (Proposal Forms – City of Los Angeles.xslm)
          2.4 Safety Performance
                  Form 4: Safety Performance Questionnaire (Proposal Forms – City of Los Angeles.xslm)
          2.5 References
                  Form 5: References (Proposal Forms – City of Los Angeles.xslm)
   Appendix 3 – Customer Service, Outreach and Education/Training Forms ( Electronic Forms)
          3.1 Customer Service Staffing Plan
                  Form 6: Customer Service Staffing Plan (Proposal Forms – City of Los Angeles.xslm)
          3.2 Proposed Transition Plan
                  Form 7: Proposed Transition Plan (Proposal Forms – City of Los Angeles.xslm)
          3.3 Collection Vehicles
                  Form 8: Collection Vehicles (Proposal Forms – City of Los Angeles.xslm)
          3.4 Collection and Field Response Staff
                  Form 9: Collection and Field Response Staff (Proposal Forms – City of Los
                    Angeles.xslm)
          3.5 Collection Routes
                  Form 10: Collection Routes and VMTs (Proposal Forms – City of Los Angeles.xslm)
          3.6 Facilities
                  Form 11: Facilities (Proposal Forms – City of Los Angeles.xslm)
   Appendix 4 – Diversion Plan Forms (Electronic Form)


                                                    VII


                                                                                                 Exhibit 2
                                                                                                      2-7
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 33 of 196 Page ID #:182
          4.1 Diversion Plan
                 Form 12: Diversion Plan (Proposal Forms – City of Los Angeles.xslm)
   Appendix 5 – Cost and Franchise Forms (Electronic Form)
          5.1 Cost and Franchise Fees
                 Form 13: Cost and Franchise Fee Proposal (Proposal Forms – City of Los Angeles.xslm)
   Appendix 6 – Innovations Forms (Electronic Form)
          6.1 Innovations
                 Form 14: Innovations (Proposal Forms – City of Los Angeles.xslm)
   Appendix 7 – City Policy Attachments and Forms
          Attachment A – Contractor Responsibility Ordinance
          Attachment B – City Business Tax Registration
          Attachment C – Insurance and Bonds
          Attachment D – Business Inclusion Program Requirements
          Attachment E –Intentionally Left Blank Attachment F – Los Angeles Residence Information
          Attachment G – Non-Collusion Affidavit
          Attachment H – Municipal Lobbying Ordinance/Bidder Certification CEC Form 50
          Attachment I – Standard Contract Provisions
          Attachment J – City of Los Angeles Contract History form
          Attachment K – First Source Hiring Ordinance
          Attachment L – Contract Bidder Campaign Contribution and Fundraising Restrictions, Form
          CEC 55 – Prohibited Contributors
          Attachment M – Local Business Preference Program
          Attachment N – Iran Contracting Act of 2010


   Appendix 8 - Proposal Checklist

   Appendix 9 - Labor Peace Agreement
          Form 15 - Evidence of Signed Labor Peace Agreement




                                                   VIII


                                                                                             Exhibit 2
                                                                                                  2-8
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 34 of 196 Page ID #:183


           ARTICLE 1 - GENERAL INFORMATION
           1.1        ARTICLE HEADINGS
     The article headings presented herein shall not be deemed to govern, limit, modify or in any
     manner affect the scope, meaning or intent of the provisions of this document.

     Definitions
     TABLE 1-1
     DEFINITIONS AND ABBREVIATIONS

                   Terms                                                 Definition

     1-800-773-CITY                The 1-800-773-CITY, is SANITATION’s call center accepting calls on a variety of
     CALL CENTER                   SANITATION related services.

     AB 32                         Assembly Bill 32, The State of California Global Warming Solutions Act of 2006; for
                                   more information go to http://www.arb.ca.gov/cc/ab32/ab32.htm.

     AB 939                        Assembly Bill 939 (Chapter 1095, Statutes of 1989) is also known as the Integrated
                                   Waste Management Act. It created the California Integrated Waste Management Board,
                                   now known as CalRecycle. AB 939 required each jurisdiction in the state to submit
                                   detailed solid waste planning documents for CalRecycle approval and set DIVERSION
                                   requirements of 25 percent by 1995 and 50 percent by 2000. AB 939 established a
                                   comprehensive statewide system of permitting, inspections, enforcement, and
                                   maintenance for solid waste facilities, and it authorized local jurisdictions to impose
                                   fees based on the types or amounts of solid waste generated.
                                   A more detailed description of the Integrated Waste Management Act is found at the
                                   CalRecycle Web site
                                   (http://www.calrecycle.ca.gov/Laws/Legislation/CalHist/1985to1989.htm).

     AB 939 COMPLIANCE PERMIT      A permit issued to PERMITTED HAULERs under the provisions of subsection (a) of
                                   Section 66.32.1 (of the Los Angeles Municipal Code).

     AB 939 FEE                    AB939 Compliance fee of 10 percent of the SOLID WASTE component of GROSS
                                   RECEIPTS

     ACD                           Automated Call Distribution

     ACH                           Automated Clearing House (ACH) is an electronic network for financial transactions.
                                   ACH credit transfers include direct deposit payroll and vendor payments. ACH direct
                                   debit transfers include consumer payments on a full range of consumer bills.

     AGREEMENT/CONTRACT            The contractual agreement between the CITY and the selected PROPOSER.

     BAVN                          The City of Los Angeles’ Business Assistance Virtual Network, available at
                                   http://labavn.org/

     BCA                           The City of Los Angeles, Bureau of Contract Administration; for more information, go
                                   to http://bca.lacity.org/index.cfm

     BID                           Business Improvement District(s) as designated by the City of Los Angeles.

     BIP                           City of Los Angeles’ Business Inclusion Program. It is the policy of the CITY to
                                   provide Minority Business Enterprises (MBEs), Women Business Enterprises (WBEs),
                                   Small Business Enterprises (SBEs), Emerging Business Enterprises (EBEs), Disabled
                                   Veteran Business Enterprises (DVBEs), and all Other Business Enterprises (OBEs) an
                                   equal opportunity to participate in the performance of CITY contracts, on the CITY’s
                                   web site, LABAVN.org.

     BLACK BIN                     Black or grey CONTAINERs of any size used for the collection of SOLID WASTE



                                                          1


                                                                                                             Exhibit 2
                                                                                                                  2-9
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 35 of 196 Page ID #:184
    TABLE 1-1
    DEFINITIONS AND ABBREVIATIONS

                 Terms                                                  Definition

    BLUE BIN                   Blue recycling CONTAINERs of any size used for the collection of COMMINGLED
                               RECYCLABLES.

    BOARD                      The City of Los Angeles’ Board of Public Works

    BROWN BIN                  Brown CONTAINERs of any size used for the collection of manure.

    BUNDLED FRANCHISE ZONES    Combinations of FRANCHISE ZONES, designated by the CITY for which
                               PROPOPERs may submit bids

    CALENDAR DAY               Each day beginning at 12:01 AM and ending twenty-four (24) hours thereafter at 12:00
                               AM midnight.

    CalOSHA                    California State Occupational Safety and Health Administration; for more information,
                               go to http://www.dir.ca.gov/dosh/

    CalRECYCLE                 The Department of Resources Recycling and Recovery of the State of California.
                               CalRECYCLE is the State's regulatory agency on solid waste management.

    CEC                        City of Los Angeles’ City Ethics Commission

    CITY                       The City of Los Angeles, Board of Public Works or its subordinate Bureaus. Depending
                               on the context in which it is used, the term City may also refer to the geographic area
                               known as the City of Los Angeles, the City Council, other Departments of the City of
                               Los Angeles, or any person employed by the City of Los Angeles who is authorized to
                               represent the City of Los Angeles in manners concerning this document.

    CITY COUNCIL               Los Angeles City Council

    CITY PROJECT MANAGER       The CITY’s designated representative for all issues related to this CONTRACT.

    CLARTS                     Central Los Angeles Recycling and Transfer Station

    CLASS III LANDFILL         A landfill used for the disposal of nonhazardous solid waste. In accordance with Title 27
                               California Code of Regulations Section 20310, CLASS III LANDFILL shall have
                               containment structures which are capable of preventing degradation of waters of the
                               state as a result of waste discharges to the landfills if site characteristics are inadequate.

    CLEAN FUEL VEHICLE         Alternative-fuel solid resources heavy-duty collection vehicle as defined by the South
                               Coast Air Quality Management District (SCAQMD) Rule 1193.

    COLLECTION SERVICES        Shall mean the collection, transportation and delivery for processing or diposal of solid
                               waste from COMMERCIAL ESTABLISHMENTS.

    COMMERCIAL ESTABLISHMENT   All industrial, retail, wholesale, services, restaurant, hotel, motel, institutional and other
                               premises, which are subject to the existing City of Los Angeles AB 939 COMPLIANCE
                               PERMIT and FRANCHISE SYSTEM regulating the collection and management of
                               SOLID RESOURCES. COMMERCIAL ESTABLISHMENTs shall not include
                               CUSTOMERS that receive SOLID RESOURCES services from the CITY. For
                               purposes of this RFP for the Exclusive Commercial FRANCHISE SYSTEM, a
                               MULTIFAMILY ESTABLISHMENT is a COMMERCIAL ESTABLISHMENT.

    COMMINGLED RECYCLABLES     Material that has been SOURCE-SEPARATED or kept separate from any other waste
                               stream at the point of generation, for the purpose of additional sorting or processing the
                               material before recycling or reuse, which enables the return of the material to the
                               economic mainstream in the form of raw material for new, reused, or reconstituted
                               products that meet the quality standards necessary to be used in the marketplace.
                               COMMINGLED RECYCLABLES do not include CONSTRUCTION AND
                               DEMOLITION DEBRIS (defined below).

    COMPACTOR                  A large sealed CONTAINER that allows for compaction of SOLID RESOURCES that
                               can then be loaded onto a collection vehicle.



                                                       2


                                                                                                              Exhibit 2
                                                                                                                  2-10
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 36 of 196 Page ID #:185
    TABLE 1-1
    DEFINITIONS AND ABBREVIATIONS

                Terms                                                    Definition

    CONSTRUCTION AND             The material stream that results directly from construction, remodeling, repair,
    DEMOLITION (C&D) DEBRIS      demolition, or deconstruction of buildings and other structures, does not contain
                                 HAZARDOUS WASTE, and contains no more than one percent putrescible wastes by
                                 volume, calculated on a monthly basis.

    CONTAINER                    Bins used for collection of SOLID RESOURCES that are emptied at the
                                 CUSTOMERS’ premises into a collection vehicle during collection.

    CONTRACT                     (See AGREEMENT/CONTRACT)

    CONTRACT PROJECT MANAGER     The PROPOSER’s, designated representative for all issues related to this RFP.

    CONTRACTOR                   The PROPOSERs selected for contract award by the CITY through the evaluation
                                 process.

    CUSTOMER                     Any COMMERCIAL ESTABLISHMENT and/or MULTIFAMILY
                                 ESTABLISHMENT served by the CONTRACTOR under the FRANCHISE SYSTEM.

    CUSTOMER RESPONSE FIELD      Non-collection activities provided to assist in safe and efficient collection, such as route
    SERVICES                     supervision, waste audits, CUSTOMER training, on-site inspections, etc.

    DIVERSION                    The combined efforts of waste prevention, reuse, recycling, and recovery practices.

    ELECTRONIC WASTE (E-WASTE)   As defined in California Electronic Waste Recycling Act of 2003, SB20, electronic
                                 waste is loosely applied to consumer and business electronic equipment that is near or at
                                 the end of its useful life. Examples include but are not limited to computers, televisions,
                                 computer monitors, VCRs, stereos, copiers, and fax machines.

    EMR                          Experience Modification Rate (EMR) is a guide used by private industry to evaluate
                                 overall quality of a company and its commitment to safety. It is calculated by comparing
                                 a company’s actual losses to industry average losses in a specific industry classification.
                                 No matter the industry, the national average is 1.0. The lower the EMR, the lower the
                                 company’s risk compared to other firms in the same industry.

    EXTRA SERVICES               Services provided, that are not included in the base service fee, such as lid lockable
                                 CONTAINERs, listed in Table 2.3, Extra Collection Services and Associated Fees.

    FEMA                         Federal Emergency Management Agency

    FRANCHISE FEE                Negotiated CONTRACTOR fee,

    FRANCHISE SYSTEM             The project as described in this document, for a CITY-wide exclusive franchise system
                                 for the collection and handling of SOLID RESOURCES, known as ZERO WASTE
                                 LA.

    FRANCHISE ZONE               Any of the eleven (11) geographic regions defined in Figure 1-2 of this RFP
                                           WV – West Valley
                                           NEV – North East Valley
                                           SEV – South East Valley
                                           WLA – West Los Angeles
                                           NC – North Central
                                           NE – North East
                                           SLA – South Los Angeles
                                           HB - Harbor
                                           DT – Down Town
                                           EDT – East Down Town
                                           SE – South East



                                                         3


                                                                                                               Exhibit 2
                                                                                                                   2-11
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 37 of 196 Page ID #:186
    TABLE 1-1
    DEFINITIONS AND ABBREVIATIONS

                Terms                                                  Definition

    GHG                        Greenhouse Gas

    GPS                        Global Positioning System

    GREEN BIN                  Green CONTAINERs of any size used for the collection of ORGANICS

    GROSS RECEIPTS             Those receipts defined under GROSS RECEIPTS in Los Angeles Municipal Code
                               Section 21.00(a) as generated by the collection of SOLID RESOURCES including, but
                               not limited to service, covered container rental, disposal, and processing charges.

    HAZARDOUS WASTE            Any waste material which is toxic, corrosive, flammable, an irritant, a strong sensitizer
                               or which generates pressure through decomposition, heat, or other means, if such a
                               waste may cause substantial injury, serious illness or harm to humans, domestic
                               livestock or wildlife.

    HOLIDAYS                   New Year’s Day, Independence Day, Thanksgiving, Christmas Day and other holidays
                               officially designated and observed as such by the CITY

    IT                         Information Technology

    LARWQCB                    Los Angeles Regional Water Quality Control Board; for more information go to
                               http://www.swrcb.ca.gov/rwqcb4/.


    MANDATORY COMMERCIAL       Assembly Bill (AB) 341 of 2011, as modified by, but not limited to, AB1398 of 2013,
    RECYCLING (MCR)            which, among other actions, requires commercial businesses to subscribe to a recycling
                               service beginning July 2012. AB 341 also requires CalRecycle to submit a report to the
                               Legislature with a plan for reaching a statewide 75 percent DIVERSION rate by 2020.
                               For more information, please see: CalRecycle’s website at
                               http://www.calrecycle.ca.gov/recycle/commercial/

    MEDICAL/BIOMEDICAL WASTE   Biohazards waste or sharps waste that has been generated during the diagnosis,
                               treatment or immunization of human beings or animals, in research pertaining thereto, in
                               the production or testing of biologicals, or which may contain infectious agents, those
                               organisms classified as Biosafety Level II, III, or IV by the Federal Centers for Disease
                               Control and Prevention and may pose a substantial threat to health.

    MULTIFAMILY                Any single property, building or structure that contains multiple residential dwelling
    ESTABLISHMENT/             units as defined in the ORDINANCE. For purposes of this RFP for an Exclusive
    MULTIFAMILY                Commercial FRANCHISE SYSTEM, a MULTIFAMILY is a COMMERCIAL
                               ESTABLISHMENT. For purposes of this RFP customers receiving Solid Resources
                               collection service provided by the CITY are not MULTIFAMILY/COMMERCIAL
                               ESTABLISHMENTs

    NOISE ORDINANCE            The Section of the CITY’s Municipal Code pertaining to noise levels in the CITY. For
                               more information, go to http://www.nonoise.org/lawlib/cities/losangel.htm

    OCC                        The City of Los Angeles’ Bureau of Contract Administration, Office of Contract
                               Compliance

    ORGANICS                   The compostable materials that are SOURCE-SEPARATED from other waste streams
                               and placed in a CONTAINER for collection. ORGANICS may include, but are not
                               limited to, grass, leaves, tree branches, clean wood free of paint, nails or any treatment,
                               food scraps, food soiled boxes and paper.

    OSHA                       Occupational Safety and Health Administration. For more information, go to
                               https://www.osha.gov/

    PERFORMANCE SECURITY       A performance bond commitment letter or a letter stating that the PROPOSER will
    BOND                       guarantee a letter of credit in accordance with the CONTRACT.




                                                       4


                                                                                                             Exhibit 2
                                                                                                                 2-12
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 38 of 196 Page ID #:187
    TABLE 1-1
    DEFINITIONS AND ABBREVIATIONS

                 Terms                                              Definition

    PERMITTED HAULER        Any person or entity engaged in the business of providing, or who is responsible for the
                            collection, removal, or transportation of SOLID RESOURCES (including
                            CONSTRUCTION AND DEMOLITION DEBRIS, SOURCE-SEPARATED materials,
                            SOLID WASTE, COMMINGLED RECYCLABLES, and ORGANICS) generated
                            within the CITY, with a CITY permit to do so.

    PHARMACEUTICAL WASTE    Prescription and over-the-counter drugs, except all drugs that fall within the definition
                            of HAZARDOUS WASTE by the Resource Conservation and Recovery Act (RCRA) or
                            the California Radiation Control Law (RCL).

    PROCESSING FACILITY     A facility used to receive, sort, process, bale, store, and otherwise recover material for
                            reuse, or prepare commingled and SOURCE-SEPARATED recyclable materials,
                            including ORGANICS, for sale to other processors or manufacturers.

    PROPOSER                A vendor who has submitted a proposal for evaluation in response to this Request for
                            Proposals (RFP) for the FRANCHISE SYSTEM.

    RADIOACTIVE WASTE       Any waste containing radioactive material

    RECOVERY RATE           The RECOVERY RATE of materials brought to a PROCESSING FACILITY from any
                            source, will define the facility’s recycling rate for the relevant waste stream applied to
                            the amount of the materials processed that were generated within the CITY.

    RFP                     This Request for Proposals

    ROLL OFF (DROP BOX)     A large, portable, open-top metal CONTAINER for the collection of SOLID
    CONTAINER               RESOURCES, typically 10 cubic yards or larger.

    RULE 1193               Rule 1193 of the SCAQMD, which regulates refuse collection vehicles within the
                            SCAQMD jurisdictional area. For more information, go to
                            http://www.aqmd.gov/tao/FleetRules/1193Refuse/index.htm

    SANITATION              The City of Los Angeles’ Bureau of Sanitation; for more information, go to
                            http://san.lacity.org/

    SCAQMD                  South Coast Air Quality Management District; f or more information, go to
                            http://www.aqmd.gov/Default.htm

    SOLID RESOURCES         The materials generated which include COMMINGLED RECYCLABLES (BLUE
                            BIN), ORGANICS (GREEN BIN), and SOLID WASTE (BLACK BIN) materials, as
                            well as and source-separated material, in the City of Los Angeles. For purposes of this
                            RFP, SOLID RESOURCES includes only materials generated at COMMERCIAL
                            ESTABLISHMENTs.

    SOLID WASTE             Residual waste that the Department of Resources Recycling and Recovery
                            (CalRECYCLE) has deemed acceptable for disposal at a CLASS III LANDFILL, and
                            does not include SOURCE-SEPARATED material, COMMINGLED RECYCLABLES,
                            or ORGANICS. For purposes of this document, residual SOLID WASTE does not
                            include CONSTRUCTION AND DEMOLITION DEBRIS or other exempt wastes.

    SOURCE-SEPARATED        Segregation of individual components of SOLID RESOURCES into separate containers
                            for the purposes of recycling such components.

    SUBCONTRACTOR           Any contractor, supplier, or vendor who is subcontracted by the selected PROPOSER to
                            work on this CONTRACT.

    TARE WEIGHT             The weight of an empty collection vehicle, or container. TARE WEIGHT is deducted
                            from gross weight to obtain the net weight or gross tons of the delivered SOLID
                            RESOURCES.




                                                    5


                                                                                                          Exhibit 2
                                                                                                              2-13
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 39 of 196 Page ID #:188
   TABLE 1-1
   DEFINITIONS AND ABBREVIATIONS

             Terms                                                   Definition

   TRANSFER STATION            A facility which receives, handles, separates, converts, or otherwise processes SOLID
                               RESOURCES, whose activities are governed by the Registration Permit tier or Full
                               Solid Waste Facility Permit requirements. Such facilities typically transfer SOLID
                               RESOURCES directly from one container to another, from one vehicle to another for
                               transport, or temporarily store SOLID RESOURCES prior to being taken to a
                               processing facility, or for final disposal at a CalRECYCLE-permitted landfills or
                               transformation facility.

   UNIVERSAL WASTE             As defined by California Universal Waste Rule, the California Department of Toxic
                               Substances Control (DTSC) Number R-97-08, UNIVERSAL WASTE is a category of
                               HAZARDOUS WASTE that includes batteries, fluorescent lamps, electronic devices,
                               instruments that contain mercury, and others. UNIVERSAL WASTE may not be
                               discarded in CLASS III LANDFILLs. Beginning February 9, 2006, the DTSC deemed
                               that UNIVERSAL WASTE generated by small generators including households shall be
                               taken to a household HAZARDOUS WASTE collection facility or other authorized
                               UNIVERSAL WASTE handler.

   VMT                         Vehicle Miles Traveled

   WHITE GOOD                  Discarded major appliances of any color. These items are often enamel-coated.
                               Examples include but are not limited to washing machines, clothes dryers, hot water
                               heaters, stoves, and refrigerators.

   ZERO WASTE                  90% DIVERSION of SOLID RESOURCES from CLASS III LANDFILLS by 2025.




   1.2       INTRODUCTION
         1.2.1 BACKGROUND
   The City of Los Angeles’ (CITY) Bureau of Sanitation (SANITATION), was directed by the
   CITY COUNCIL on November 14, 2012, to develop an implementation plan for the Exclusive
   Commercial and Multifamily Solid Waste Franchise System (FRANCHISE SYSTEM) for the
   collection, diversion and disposal of SOLID RESOURCES. On April 24, 2013 the CITY
   COUNCIL approved SANITATION’s FRANCHISE SYSTEM recommendations from the
   Energy and Environment and the Ad Hoc on Waste Reduction and Recycling Committees'
   Report and adopted the “Final Implementation Plan for Exclusive Commercial and Multifamily
   Franchise Hauling System,” as amended. On April 8, 2014, the CITY COUNCIL certified the
   Final EIR and adopted the Ordinance for the FRANCHISE
   SYSTEM, and on April 15, 2014, the MAYOR signed the
   Ordinance (C.F.10-1797-S15).

   Sixty-nine (69%) percent of the SOLID RESOURCES
   generated within the CITY is generated at
   COMMERCIAL ESTABLISHMENTs (which includes
   MULTIFAMILTY ESTABLISHMENTS). Figure 1-1
   shows the estimated composition of the SOLID
   RESOURCES disposed by COMMERCIAL
   ESTABLISHMENTs under the current system.

                                                                          FIGURE 1-1
                                                                          Commercial Waste Composition
                                                     6


                                                                                                         Exhibit 2
                                                                                                             2-14
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 40 of 196 Page ID #:189

     This Request for Proposals (RFP) provides the opportunity for SOLID RESOURCES collection
     companies to submit proposals for ten-year AGREEMENTs with the CITY to be the exclusive
     provider of SOLID WASTE, COMMINGLED RECYCLABLES and ORGANICS collection,
     transfer, processing and disposal services in one or more of the FRANCHISE ZONEs defined by
     the CITY. The CITY has established eleven (11) FRANCHISE ZONEs, three (3) of which are
     “small” in order to create opportunities for smaller private collection companies to compete for
     AGREEMENTs.

     Articles 2 to 7 describe the requirements for proposals to be deemed responsive including
     specific format and content and the criteria that will be used to evaluate proposals. Instructions
     for responding to the RFP are provided in Appendix 1.1.

          1.2.2 OBJECTIVES OF THE RFP PROCESS
     The primary objectives of this RFP process are to:
      Ensure that equitable services, at reasonable rates are available in the CITY;
      Ensure the Franchise System contributes to the City’s Environmental and Sustainability
        efforts;
      Identify processes so that the CITY’s recycling rate and landfill diversion rates increase over
        time in order to achieve ZERO WASTE by 2025;
      Identify CONTRACTORs to provide highest levels of customer service and satisfaction; and
      Provide recycling services to MULTIFAMILY and COMMERCIAL ESTABLISHMENTS.

     Successful PROPOSERs will demonstrate the ability to successfully implement and execute the
     terms of a FRANCHISE AGREEMENT throughout the term of an AGREEMENT. The City
     will be looking for innovation in every portion of a PROPOSERs proposal.

          1.2.3 GENERAL PROJECT DESCRIPTION
     The CITY is requesting proposals from SOLID RESOURCES collection companies to provide
     SOLID WASTE, COMMINGLED RECYCLABLES and ORGANICS collection, transfer,
     disposal and processing services to COMMERCIAL ESTABLISHMENTs (which includes
     businesses and MULTIFAMILY ESTABLISHMENTS) in the CITY. The CITY intends to enter
     into negotiations with selected PROPOSERs with the goal to enter into exclusive
     AGREEMENTs with the CITY which give each PROPOSER the exclusive right to provide the
     services described in this RFP. The following sections describe the services that each
     CONTRACTOR will be required to provide. It is the CITY’s desire to begin servicing
     COMMERCIAL ESTABLISHMENTS in January 2017.

          1.2.3.1 MAJOR ELEMENTS OF THE SYSTEM

     The CITY’s FRANCHISE SYSTEM will include the following major elements:

  1. Ten-Year (10) AGREEMENTs with Two, Five-Year Renewal Options: Successful
     PROPOSERs will enter into ten (10) year AGREEMENTs with the CITY, which will give them
     the right to be the sole provider of services described in this RFP in the FRANCHISE ZONEs
     stipulated in the AGREEMENT. At the CITY’s sole discretion, any or all of these
     AGREEMENTs may be extended for up to two (2) additional five (5)-year terms.


                                                       7


                                                                                               Exhibit 2
                                                                                                   2-15
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 41 of 196 Page ID #:190

  2. Eleven (11) Exclusive FRANCHISE ZONES: The CITY has defined eleven (11) FRANCHISE
     ZONEs, each of which will be served by one CONTRACTOR upon implementation of the
     FRANCHISE SYSTEM. Three (3) FRANCHISE ZONEs (Downtown, East Downtown, and
     Southeast L.A.) have substantially fewer accounts than the other eight. This provides
     opportunities for smaller collection companies to submit proposals that are appropriate for the
     scale of their operations. A map of these FRANCHISE ZONEs is provided in Figure 1-2.

  3. Services Provided in a Consistent Manner throughout the CITY: One objective of the
     FRANCHISE SYSTEM is that services be provided consistently throughout the CITY. For
     example, the CITY will require that all CUSTOMERs receive a base (i.e., minimum) level of
     COMMINGLED RECYCLABLES collection bundled together with the SOLID WASTE
     collection.

  4. High Level of Customer Service: The CITY will require that CONTRACTORs provide a high
     level of customer service and be held to specific performance standards for metrics such as
     missed collections, and wait times for CUSTOMERs that call with billing issues or calls
     generated from SANITATION’s CALL CENTER. CONTRACTORs will be required to have
     customer services systems compatible with state of the art technologies, including web based
     tools and mobile applications to allow CUSTOMERs, in real time 24 hours per day, 7 days per
     week, to report a missed collection, make a service request, CONTAINER repair or address
     other customer service related needs. A CONTRACTOR’s failure to meet these minimum
     performance standards will result in liquidated damages and, should poor performance fail to be
     corrected, jeopardize that CONTRACTOR’s AGREEMENT. Performance standards and
     associated liquidated damages for non-performance are described in Section 2.6.1 and 2.4.8.

  5. Ongoing Outreach and Education to Customers: The CONTRACTOR will be required to submit
     and implement an outreach and education plan, with elements encompassing both CITY-wide
     program elements as well as direct CUSTOMER contact, and continuing throughout the term of
     the AGREEMENT. CITY-wide Outreach and Education will be directed and designed by the
     CITY for implementation by the CONTRACTOR.

  6. Support for the CITY’s ZERO WASTE Goals: The CITY will require the CONTRACTOR to
     meet DIVERSION standards over the ten-year term of the CONTRACTOR’s AGREEMENT. A
     CONTRACTOR’s failure to meet these DIVERSION standards will result in liquidated
     damages. A poor DIVERSION standards compliance record may jeopardize that
     CONTRACTOR’s AGREEMENT. DIVERSION standards and associated penalties are
     described in Section 2.4.8.

  7. AB 939 FEE: AGREEMENTs shall include the AB 939 FEE of 10 percent of the SOLID
     WASTE portion of GROSS RECEIPTS paid to the CITY quarterly.

  8. FRANCHISE FEE: AGREEMENTs shall include a proposed FRANCHISE FEE.

  9. Phasing in ORGANICS Collection: The CITY seeks to expand ORGANICS collection over the
     term of the AGREEMENTs. Initially the CONTRACTOR will continue to provide food waste
     collection and processing service to approximately 846 CUSTOMERs in various parts of the
     CITY that currently receive those services and must provide these services to COMMERCIAL
     ESTABLISHMENTS that request food waste collection. Additionally, CONTRACTORs will be
     required to continue providing ORGANICS collection and processing to CUSTOMERs that are

                                                     8


                                                                                           Exhibit 2
                                                                                               2-16
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 42 of 196 Page ID #:191

     currently receiving yard trimmings collection service. CONTRACTOR shall actively encourage
     participation in ORGANIC DIVERSION. Ultimately ORGANIC recycling shall be provided to
     all COMMERCIAL ESTABLISMENTS that produce ORGANICS. PROPOSERs shall provide
     a plan for expanding organics service in response to this RFP.

  10. Service Day(s) for SOLID WASTE, COMMINGLED RECYCLABLES and ORGANICS:
      CONTRACTORs will be required to provide collection of SOLID WASTE, COMMINGLED
      RECYCLABLES and ORGANICS according to the CUSTOMER’s needs. The CUSTOMER’s
      collection frequency for all SOLID RESOURCES shall be a least once per week. Residual
      materials will be collected in BLACK BINS for SOLID WASTE after SOURCE
      SEPARATION, BLUE BINS for COMMINGLED RECYCLABLES and GREEN BINS for
      ORGANICS. CUSTOMERS’ CONTAINERs may be collected on the same day or different days
      of the week, depending on the CUSTOMER’s needs. ORGANICS collection shall be provided to
      the CUSTOMER based on CUSTOMER request.

  11. EXTRA SERVICES Provided at Pre-established Rates: The CITY will require
      CONTRACTORs to charge the same unit prices for EXTRA SERVICES (e.g., container
      cleaning services, extra collections, etc.), and apply these charges in a consistent manner
      throughout the CITY. The CITY has developed a price schedule for these EXTRA SERVICES
      that is presented in Section 2.4.1.4, Table 2-3. PROPOSERs should use this price schedule for
      purposes of developing their cost proposal. The CITY will not consider alternative proposals for
      price schedules for extras. Any services required that do not appear on the EXTRA SERVICES
      price schedule are to be included by the PROPOSER in their costs for service.

  12. Clean Air Vehicle Requirements: The CITY will require all vehicles providing COLLECTION
      SERVICES to be certified under the SCAQMD Low Emission Vehicle (LEV) clean fuel
      program and the CONTRACTORs shall utilize late model vehicles (less than 8 years old) to take
      advantage of new technologies, reduce greenhouse gas (GHG) production in the CITY and
      reduce localized impacts to neighborhoods, as described in Section 2.4.3.

  13. The CITY Will Serve as the First Point of Contact for CUSTOMER Calls: SANITATION’s
      CALL CENTER (1-800-773-CITY) will serve as the first point of contact for CUSTOMER
      complaints, service requests and informational inquiries. The CITY will require
      CONTRACTORs to interface timely and smoothly with SANITATION and SANITATION’s
      CALL CENTER and respond to CUSTOMER calls according to specific performance standards.

  14. CUSTOMER Billing: CONTRACTORs shall provide all billing and payment collection
      activities for the FRANCHISE ZONEs they are awarded. Customer service, billing and payment
      collection requirements are described in detail within Article 2.3.

  15. A Review of Each CONTRACTOR’s Performance in the Fifth Year: The CITY will conduct a
      review of each CONTRACTOR’s performance following the fifth (5th) year of the term of the
      AGREEMENT. The review will assess the adequacy of the CONTRACTOR’s performance over
      the first five (5) years of the AGREEMENT in relation to the service related performance
      requirements, DIVERSION Plan targets, and other measurable elements of performance included
      in the AGREEMENT.

  16. Plans that Ensure a Smooth Transition to the FRANCHISE SYSTEM: Each PROPOSER shall
      submit a detailed transition plan for each FRANCHISE ZONE or BUNDLED FRANCHISE

                                                      9


                                                                                             Exhibit 2
                                                                                                 2-17
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 43 of 196 Page ID #:192

   ZONEs that addresses, among other things, how the PROPOSER will provide a smooth
   transition of service accounts from previous service providers, how the PROPOSER will procure
   CONTAINERs for CUSTOMER needs (e.g., by purchasing existing CONTAINERs from
   existing service providers, or purchasing new CONTAINERs) and how the PROPOSER will
   perform outreach and education about the transition process, new services and service levels
   available, etc. Each CONTRACTOR that is awarded a FRANCHISE ZONE will be required to
   participate in a joint CITY-CONTRACTOR transition team prior to and after implementation
   that will be charged with providing a smooth transition to the FRANCHISE SYSTEM.




                                               FIGURE 1-2
                                               Franchise Zone Map
        1.2.3.2 DESCRIPTION AND MAP OF FRANCHISE ZONES

                                                 10


                                                                                        Exhibit 2
                                                                                            2-18
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 44 of 196 Page ID #:193

    The map in Figure 1-2 shows the eleven (11) FRANCHISE ZONEs that will comprise the
    CITY’s FRANCHISE SYSTEM. The map also includes information about the estimated number
    of combined MULTIFAMILY and COMMERCIAL ESTABLISHMENT accounts in each
    FRANCHISE ZONE, as well as the estimated total number of cubic yards of SOLID WASTE
    collected per week in each zone. These figures are based on data provided by PERMITTED
    HAULERs collecting in the CITY as of July 2013; the CITY does not guarantee the accuracy of
    the data.

    Table 1-2 below presents the same account data displayed on the map in tabular format.

    TABLE 1-2
    FRANCHISE ZONE ACCOUNT DATA


    FRANCHISE     Total Service   Percent of total based on   Total Cubic Yards of
      ZONE         Locations         Service Locations         Service per week

       WV            8,032                  13%                     91,324

       NEV           7,050                  11%                     70,613

       SEV           7,624                  12%                     52,751

       WLA           8,984                  14%                     75,051

       NC            8,810                  14%                     78,035

       NE            5,877                  9%                      48,584

       SLA           9,266                  15%                     62,429

       HB            3,029                  5%                      26,698

       DT            1,769                  3%                      21,915

       EDT           1,055                  2%                      10,863

        SE           1,963                  3%                      14,180

     TOTAL:          63,459                                         552,444




          1.2.3.3 ADDITIONAL INFORMATION AND DATA FOR EACH FRANCHISE ZONE

    A more detailed street level map for the FRANCHISE ZONEs is provided in Appendix 1.2.

    Certain FRANCHISE ZONEs and access routes of the CITY have special traffic considerations
    and restrictions. It is incumbent upon each PROPOSER, including their SUBCONTRACTORs,
    to thoroughly research each FRANCHISE ZONE for which they propose. It is the sole
    responsibility of the PROPOSER to review and account for collection constraints of any kind
    that will impact their proposal.

    1.3         FRANCHISE ZONES FOR AWARD
    Table 1-3 below describes the FRANCHISE ZONEs and combinations of FRANCHISE ZONEs
    for which a PROPOSER may submit proposals. If a PROPOSER chooses to propose on more
    than one FRANCHISE ZONE, and/or BUNDLED FRANCHISE ZONEs the PROPOSER will

                                                        11


                                                                                             Exhibit 2
                                                                                                 2-19
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 45 of 196 Page ID #:194

   need to submit a master proposal, with elements that are universal to all zones, in addition to
   zone specific proposals for elements such as the cost proposal and other zone-specific elements
   as detailed in the proposal forms provided in the appendices. Article 3 describes the proposal
   format and requirements in more detail. No PROPOSER will be awarded more than 49 percent
   of all accounts. If a PROPOSER is awarded one of the three (3) smaller zones (DT, EDT, or SE) it will
   not be awarded any of the other ten (10) FRANCHISE ZONEs.


   TABLE 1-3
   FRANCHISE ZONES FOR AWARD

   Zones for Award                                              Description

   Individual Zones (WV, NEV, SEV, WLA, NC, NE, SLA, HB,        PROPOSERs may submit proposals for each of the eleven (11)
   DT, EDT, SE)                                                 FRANCHISE ZONEs; there is no restriction on how many
                                                                FRANCHISE ZONE for which PROPOSERs may submit
                                                                proposals.
                                                                If a PROPOSER is awarded one of the three (3) smaller zones
                                                                (DT, EDT, or SE) it will not be awarded any of the other ten
                                                                (10) zones.

   BUNDLED FRANCHISE ZONES Designated by the CITY:              In addition to submitting proposals for an individual
   Bundle 1 – HB, SLA and WLA                                   FRANCHISE ZONE, a PROPOSER may submit proposals for
                                                                any or all of these three (3) BUNDLED FRANCHISE ZONES
   Bundle 2 – HB, NC, NE, and WLA                               designated by the CITY.
   Bundle 3 – WLA and WV                                        If a PROPOSER submits one or more BUNDLED
                                                                FRANCHISE ZONE proposals, it shall submit individual
                                                                proposals for each of the FRANCHISE ZONEs within its
                                                                proposed BUNDLED FRANCHISE ZONE.

   BUNDLED FRANCHISE ZONES SELECTED BY THE
                                                                In addition to the BUNDLED FRANCHISE ZONES
   PROPOSER
                                                                designated by the CITY, the PROPOSER may propose one
                                                                other BUNDLED FRANCHISE ZONE consisting of
                                                                FRANCHISE ZONES of its choosing. This BUNDLED
                                                                FRANCHISE ZONES may not include any of the three
                                                                (3)SMALL ZONES (DT, EDT, or SE).




                                                           12


                                                                                                                  Exhibit 2
                                                                                                                      2-20
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 46 of 196 Page ID #:195


      ARTICLE 2 - SCOPE OF SERVICES
      This RFP is seeking proposals for providing collection, transfer, processing and disposal services
      for SOLID WASTE, COMMINGLED RECYCLABLES, and ORGANICS from
      COMMERCIAL ESTABLISHMENTs, as defined in this RFP. This Article describes the scope
      of services, which the CITY expects CONTRACTORs to perform. PROPOSERs should
      carefully review all Articles of the RFP and its appendices, and perform their own due diligence
      for the FRANCHISE ZONEs for which they plan to propose. CONTRACTORs will be required
      to demonstrate how they plan to provide these services. Article 3 describes in more detail the
      specific requirements that should be included in proposals, proposal organization and how to
      submit questions related to the RFP. Article 4 provides an explanation of evaluation criteria that
      will be applied to proposals, and other related information.

      PROPOSERs should read this Article and attachments carefully to ensure a full understanding of
      the CITY’s requirements.

      2.1        EXCLUDED FROM THE FRANCHISE SYSTEM
      The following wastes are excluded from the FRANCHISE SYSTEM.

         MEDICAL WASTE
         HAZARDOUS WASTE
         RADIOACTIVE WASTE
         PHARMACEUTICAL WASTE
         CONSTRUCTION AND DEMOLITION DEBRIS (C&D)
         All recyclable materials SOURCE-SEPARATED from SOLID WASTE by the owner and/or
          operator of the premises from which the SOLID WASTE was generated, whereby the
          generator of the waste sells or is otherwise compensated by a collector of the recyclable
          materials in a manner resulting in a net payment to the owner and/or operator.
         Recyclable materials and ORGANICS that are SOURCE-SEPARATED at the premises by
          the owner and/or operator of the premises and donated.
         Yard waste removed from a site as incidental to a landscaping business.
         Other specialty waste as designated by the CITY (e.g., biosolids, fats, oils, and grease,
          electronics, UNIVERSAL WASTE, etc.)
         Bulky Items collected from MULTIFAMILY ESTABLISHMENTS subject to the Multi-
          Family Bulky Item Fee (BIF) as defined in Section 66.41(c)

      Federal, State and County facilities may choose to receive SOLID RESOURCES collection
      disposal and processing services under non-FRANCHISE SYSTEM arrangements. However,
      collection, disposal and processing shall be performed in compliance with CITY, State and
      Federal law.

      Institutional and residential customers, including multifamily establishments, that receive
      CITY collection services, are not part of the FRANCHISE SYSTEM.




                                                      13


                                                                                             Exhibit 2
                                                                                                 2-21
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 47 of 196 Page ID #:196

    2.2          INCLUDED IN THE FRANCHISE SYSTEM
    The FRANCHISE SYSTEM includes all SOLID WASTE, COMMINGLED RECYCLABLES
    and ORGANICS (i.e., green waste and food waste) placed out for collection at COMMERCIAL
    ESTABLISHMENTs within the CITY limits. All CUSTOMERs are required to subscribe, at a
    minimum, to once-per-week collection of SOLID WASTE and COMMINGLED
    RECYCLABLES collection using the CONTRACTOR serving the applicable FRANCHISE
    ZONE. CONTRACTORs will be required to maintain an AB 939 COMPLIANCE PERMIT
    from the CITY.

    2.3          CUSTOMER SERVICE, OUTREACH AND
                 EDUCATION/TRAINING
    Customer service and communication is a critical part of the CITY’s FRANCHISE SYSTEM.
    The CITY will be the first point of contact for CUSTOMER inquiries. It is the intention of the
    CITY that all forms of communication, including internet and mobile device applications, will be
    utilized to record and respond to CUSTOMER needs. SANITATION’s CALL CENTER will
    receive all CUSTOMER calls at 1-800-773-CITY and route the inquiry to the appropriate
    CONTRACTOR, as necessary, for prompt resolution as prescribed by CONTRACTOR
    performance standards (see Section 2.4.8).

    The following sections describe the customer service, billing and payment requirements that
    CONTRACTORs are expected to meet. Table 2-7, Performance Standards and Liquidated
    Damages, presents the liquidated damages that CONTRACTORs will be subject to for failing to
    meet certain performance standards.

            2.3.1 CUSTOMER SERVICE BUSINESS PROCESSES AND
                  CAPABILITIES
    Each CONTRACTOR will be required to perform the following customer service related
    activities:

       Maintain a fully staffed call center, at the CONTRACTOR’S facility, open 24 hours, 7 days
        per week to receive and resolve all CUSTOMER inquiries and service complaints. Each
        CONTRACTOR must provide a web site specifically for providing service for the CITY’s
        FRANCHISE SYSTEM. This web site shall include on-line billing services, account set up
        and closing functionality, complaint reporting forms, service request forms, information
        regarding rates and service options, and programmatic information to be determined by the
        CITY, and be linked to the CITY’s web site.
       CONTRACTOR’S call center Telephony system that will provide reporting on:
            Percentage of calls answered within specified period of time (after the call is transferred from the
             CITYs call center to CONTRACTORs call center)
            Percentage of calls/chat sessions directed to call center staff where the customer disconnects
             before being responded to
            Amount of time it takes the Call Center Staff to complete a customer support call/session,
             including all documentation
            Average amount of time required to pick up a call
            Average amount of time callers spend in agent-induced hold


                                                          14


                                                                                                        Exhibit 2
                                                                                                            2-22
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 48 of 196 Page ID #:197
             Percent of logged in time spent in a “work” state (for calls, a work state is generally talk and after
              call work time)
             Average amount of time it takes to respond to a non-real time contact (web, email , etc.)
             Total number of contacts received for processing per day
        Answer referred calls from SANITATION’s CALL CENTER within four (4) rings, for at
         least 95 percent of total calls received.
        Respond to CUSTOMER complaints, service requests and other CUSTOMER inquiries
         transmitted by mobile devise applications to be developed specifically with the CITY to
         support FRANCHISE SYSTEM customer service.
        Participate in the execution of programs, as the CITY deems necessary, to acknowledge and
         reward CUSTOMERs that implement innovative strategies to meet the CITY’s ZERO
         WASTE goals.
        Maintain an adequately staffed CUSTOMER RESPONSE FIELD SERVICES function to
         address customer service issues promptly, without involvement of CITY staff.
        Participate in any business process development and training required to effectively execute
         all customer service related activities requiring CITY and CONTRACTOR involvement.
        Provide accurate monthly and annual reporting of CONTRACTOR service performance; the
         format for this report will be established by the CITY.
        Meet or exceed all customer service performance standards (Table 2-7), including standards
         required to meet the needs of CUSTOMERs with unique or special needs as described in
         Section 2.4.4

        CONTRACTOR shall provide a “Customer Service Center” in each zone awarded. The
         Customer Service Centers shall be staffed during normal business hours 6 days per week
         (Monday – Saturday) and allow CUSTOMERS to make service enquiries and pay bill by
         cash, check, debit and credit cards.
             2.3.2 OUTREACH AND EDUCATION
     Outreach and Education will be continuously provided to CUSTOMERs through and by the
     CONTRACTOR. In the proposal, each PROPOSER will describe their vision and strategic
     initiatives to engage and inform CUSTOMERs of the programs and services available to them
     under the AGREEMENT.

     Each CONTRACTOR will be required to perform the following outreach and education
     activities:

             Implement CUSTOMER outreach and education strategies as specified in the
              CONTRACTOR’s AGREEMENT.
             Submit for CITY review and approval all communications to the public prior to
              distribution
             Utilize CITY designed and produced outreach material, web hosted material, and other
              outreach and education media that the CITY deems necessary to advance the goals of the
              FRANCHISE SYSTEM, as specified in the CONTRACTOR’s proposal
             Educate CUSTOMERs prior to and after the service start date, regarding service options,
              requirements regarding source separation and other information that will promote a high
              level of customer service and diversion
             Educate CUSTOMERs on the best practices on managing hazardous material including
              electronic waste (e-waste)

                                                            15


                                                                                                         Exhibit 2
                                                                                                             2-23
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 49 of 196 Page ID #:198

          Work with community groups, educational institutions, business groups and/or non-
           profits in order to assist in providing outreach and information regarding collection
           services, particularly focusing on COMMINGLED RECYCLABLES and ORGANICS
           collection and waste prevention
   Potential strategies for outreach are presented below in Table 2-1
   Table 2-1
   POTENTIAL STRATEGIES FOR OUTREACH

   Outreach campaigns conducted at       Identification of Outreach CUSTOMERs (e.g., who they are, what
   MULTIFAMILY and                        their concerns are, how do they do business, etc.)
   COMMERCIAL
                                         Outreach themes that address the concerns of each CUSTOMER type
   ESTABLISHMENTs
                                          (e.g., recycle at work, in your apartment/condo, restaurant
                                          ORGANICS, waste prevention, etc.)
                                         Materials needed for different CUSTOMER types (e.g., desk-side bin
                                          premiums, multifamily ORGANICS pail, multifamily reusable indoor
                                          bag, indoor color coded kitchen bins, compostable kitchen bag liners,
                                          reusable bags, etc.)
                                         Campaign frequency (e.g., one-time, annual, quarterly, monthly, on-
                                          going)
                                         Number of CUSTOMERs to be targeted for each CUSTOMER type
                                          and how they will be reached (e.g. specific outreach theme or method)
                                         Number and title of staff to be assigned to outreach campaign
                                         Type of metrics collected to analyze the effectiveness of the campaign
                                         Reporting and effectiveness analysis of campaign to be provided to
                                          CITY
   Community Engagement                  Community groups, educational institutions, business groups and/or
                                          non-profits that the CONTRACTOR plans to engage in order to assist
                                          in providing outreach and information regarding collection services,
                                          particularly focusing on COMMINGLED RECYCLABLES and
                                          ORGANICS collection and waste prevention
                                         Types of metrics collected to analyze the effectiveness of the
                                          community engagement plan
                                         Reporting mechanism for reporting community engagement statistics
                                          and analysis to CITY


               2.3.3   BILLING
   Each CONTRACTOR is responsible for:

          Establishing, preparation and execution of a service agreement with each CUSTOMER,
          Monthly billing of all of its CUSTOMERs,
          Collection of payments (including late payments and bad debts),
          Receiving, and accurately recording and accounting of payments.

   The CITY assumes no liability for bad debts (either those owed to the CONTRACTOR or a
   previous service provider). CONTRACTORs shall not suspend service before the CUSTOMER
   is 90 days past due.


                                                     16


                                                                                                       Exhibit 2
                                                                                                           2-24
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 50 of 196 Page ID #:199

   Each CONTRACTOR is responsible for providing a smooth transfer of account information
   from the CUSTOMER’s previous service provider to the CONTRACTOR. To ensure this,
   CONTRACTORs will:

         Be responsible for obtaining all information from the CUSTOMER required to accurately
          bill and collect payments from the CUSTOMER.
         Provide CUSTOMERs, prior to the transition of service, with easy to understand
          information regarding how to pay bills, contact the CONTRACTOR regarding account
          set up questions, etc. CUSTOMERs shall be provided the option to pay electronically
          (via the web, ACH debit, or e-check) as well as by mail.

   Service agreements will follow a template provided by the CITY.

   Billing throughout the CITY will be presented using the same format. Ensuring clear and
   uniform use of terms for the same service provided, clear descriptions of the services being
   charged, all billing procedures, and messaging for additional information (including, but not
   limited to: telephone numbers, web links, new program information, an announcement of
   Christmas tree collection services in December, any promotions, customer education, etc.). All
   CITY-approved EXTRA SERVICES provided will have a clear description and presentation of
   charges, including the dates that those services were provided and their unit prices.

   Fees shall be paid by the CONTRACTOR to the CITY quarterly. Within 30 days after the end of
   the last calendar month of each quarter, each CONTRACTOR shall transmit to the CITY all
   FRANCHISE FEEs and AB 939 FEEs owed for the prior quarter, along with supporting
   documents to show the calculation of fees.

   At its discretion, the CITY may audit a CONTRACTOR’s billing practices, billing and payment
   receipt data and other billing related activities. CONTRACTORs shall comply and cooperate
   with CITY’s auditors at no cost to the CITY or CUSTOMERs.

            2.3.4    TECHNOLOGY REQUIREMENTS
   The technology requirements described in this section apply to customer service, outreach and
   education, as well as all other elements of the RFP. These requirements shall commence at the
   beginning of the transition period. This section starts with high level functional requirements
   followed by detailed technical requirements.

            2.3.4.1 FUNCTIONAL REQUIREMENTS

   Each CONTRACTOR will be required to fulfill the following functionality elements:

   1. Customer Service, Outreach and Education
       Respond to, update status and provide notifications on customer support requests that are
         forwarded from the CITY. Requests are submitted to the CITY via Internet/web,
         automated phone system, or email. CONTRACTOR systems are expected to respond to
         requests 24/7.
       Allow CUSTOMERs forwarded from a CITY website to update account information, pay
         and view historical billing information and track current status and location of collection
         vehicles

                                                   17


                                                                                             Exhibit 2
                                                                                                 2-25
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 51 of 196 Page ID #:200

         Allow CITY staff to view up to date CUSTOMER service levels
         Track and report customer outreach and educational activities and their effects

   2. Field Operations
       Track and provide details on CUSTOMER service levels and extra services provided
       Provide vehicle inventory prior to implementation of the program and provide monthly
          updates. The vehicle inventory shall include, but not limited to, a list of all vehicles to be
          utilized to fulfill the requirement of the AGREEMENT by make, model (including VIN
          Number), and function, such as the collection of BLUE BINS
       Provide hauling route details prior to implementation of the program and provide
          monthly updates
       Track and provide details on vehicle inspections, location data and vehicle operational
          data
       Capture and provide photographic and/or video surveillance from collection vehicles in a
          digital format
       Track and submit details relating to accidents, incidents or collisions

   3. SOLID RESOURCES Collection
       Track and report on quantities of SOLID WASTE, RECYCLABLES, and ORGANICS
        collected

   4. Cost and Fee (Franchise Administration) Information
       Track and provide details of CUSTOMER billing, GROSS RECEIPTS, fees and
         liquidated damages due to the CITY

      Data elements for reporting are listed in Table 2-6. The format of these individual reports
      will be Comma Separated Value (CSV), unless otherwise noted. The reports shall be
      uploaded to a CITY provided Secure File Transfer Protocol (SFTP) server. Naming
      convention and folder hierarchy will be provided at a later date.

            2.3.4.2 CUSTOMER SERVICE

   The CITY is to be the first point of contact for customer service inquiries, referred to as service
   requests, regardless of how the CUSTOMER contact is initiated. CUSTOMERs are to be given a
   number of ways to initiate service requests, complaints and inquiries either through phone,
   Internet/website, and mobile/smart-phone application.

   The CONTRACTOR will be responsible for following service request workflow and procedures
   for updating and closing service requests that will meet the CITY’s standards, which will be
   provided at a later date. Additionally, the CONTRACTOR will be responsible for properly
   training their customer support staff on these processes.

   The CONTRACTOR will maintain the integrity and measurability of the customer service
   process and ensure high quality customer service. The CONTRACTOR will be required to use
   the CITY’s Siebel Customer Relationship Management (CRM) system for all service requests.
   The CONTRACTOR will be required to purchase sufficient client licenses to cover the
   CONTRACTOR’s customer support staff and agree to and sign a system use policy for the
   CRM, licensing, and associated network resources.


                                                     18


                                                                                               Exhibit 2
                                                                                                   2-26
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 52 of 196 Page ID #:201

   The CONTRACTOR’s customer support performance will be monitored and sufficient
   technology shall be in place to support the performance metrics specified in Appendix 1.7.
   Beyond the CITY provided CRM for service requests, the CONTRACTOR shall comply with
   the following requirements for the website, call center, account information, payment, and fleet
   tracking.

   1. Web Standards
       The CONTRACTOR shall utilize the CITY’s website and customer portal. This
        requirement applies to websites and mobile applications. This includes home page, site
        registration, and site navigation.

   2. Call Center Access to Customer Service
       SANITATION’s CALL CENTER will be the first point of contact for CUSTOMERs.
         Requests will be routed to the CONTRACTOR’s call centers.

   3. Customer Self-Service Requirements
       The CONTRACTOR shall provide automated self-service options for requests that can
         be handled without CSR assistance if this method is preferred by the CUSTOMER.
         However, the CUSTOMER should be able to access immediate assistance via call center
         support. The CUSTOMER should also be able to utilize a mobile application with similar
         capabilities to the website functionality defined below.

   4. When a CUSTOMER is routed from the CITY’s website to the CONTRACTOR’s site for
      customer service, the visitor should have the option to:
       Log into a secure site to access information, make payments, and track current fleet
          locations for their route. Customer account validation must be included.
       View unsecured information without needing to log into the system (i.e., as a visitor).
          Unsecured information includes, but is not limited to, education and outreach
          information, standard service descriptions and service pricing information. Visitors
          should also be able to interact directly with CONTRACTOR customer service
          representatives through email regarding billing inquiries. A log of this information must
          be kept and reported to the CITY, including noting if the issue was resolved to the
          CUSTOMER’s satisfaction.

   5. The following CUSTOMER transactions will be supported both by automation (computer
      interaction) and by a live CSR, depending on customer preference. These transactions
      include, but are not limited to the following types:
       Creating a new account including billing, service level and pickup schedule options.
       Closing an account including a request for a final bill and pickup. The CUSTOMER
          should also be notified of the related container removal services that will take place as a
          result of the closure of their account.
       Modifying service levels (add or delete services, change pick-up frequency).
       Submitting billing information inquiries via email or chat. The CUSTOMER must
          receive an acknowledgement and an estimated response time.
       Viewing bin information for their currently assigned and pending containers. This may
          include photo and location information.
       Identifying the next service date (this is especially important when the pickup date is
          impacted by a holiday or other schedule change).

                                                    19


                                                                                              Exhibit 2
                                                                                                  2-27
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 53 of 196 Page ID #:202

   6. The CUSTOMER must be able to view their most recent invoice and payment information
      along with the next invoice date. The CUSTOMER shall be able to see the details of past
      invoices. The invoice information displayed should include, but is not limited to:
       Monthly Service Fee
       One-time fee service invoicing
       Per Container Charges

   7. The CUSTOMER must be able to view and make account payment. The payment
      information displayed should include, but is not limited to:
       Amount due/outstanding balance
       Payment options and methods
       Account status (current, past due, delinquent)

   8. The CUSTOMER should be able to view the current location of the waste hauling vehicle
      servicing the CUSTOMER’s premise. Location information shall be accurate to within a 10
      minute window

   9. Customer Notifications will be offered via voice, email, text and other technologies as they
      become available. Notifications to be sent from the CONTRACTOR to the CUSTOMER
      include, but are not limited to the following capabilities:
       Notification within two (2) hours that the CONTRACTOR was unable to make a
          scheduled collection (such as locked mechanism, obstructed access, contamination, etc.)
       Notification of route change
       Notification of excess waste, any fees to be assessed (in the case of excess solid waste)
          and the expected corrective action
       Notification of any claim of a damaged container resulting from CUSTOMER negligence
          or destruction. The notification should inform the CUSTOMER of any fees to be
          assessed and the expected corrective action.
       Notification when container is missing at the time of their regularly scheduled collection.
          If the missing container is discovered by the CONTRACTOR, the CUSTOMER should
          be directed to the transactions necessary to correct the issue. If the CUSTOMER reports
          a missing container, the CONTRACTOR should take the necessary actions to restore or
          replace the container to the correct location. If the container has been moved, the
          CUSTOMER account should be updated to reflect the new location.

            2.3.4.3 FIELD OPERATIONS

   PROPOSERs are expected to utilize appropriate technologies (software and hardware) to meet
   the CITY’s requirements for field operations data reporting as described in Section 2.4.6. All
   hauling trucks are expected to be equipped with data recording capabilities to capture data from
   global positioning system (GPS) devices, vehicle dynamics monitoring, lift monitoring,
   container ID readers and engine performance monitoring systems. This data will be
   communicated from the truck in real-time and maintained by the hauler either directly or through
   a third party service. These systems allow for the monitoring of fuel consumption, idle time,
   unsafe driving practices, vehicle maintenance, engine emissions, and container lifts. In addition,
   these systems can be used to document irregular situations (such as spills, overflow conditions,
   hazardous material discovery, inaccessibility, etc.).

   1. Fleet Details
                                                   20


                                                                                             Exhibit 2
                                                                                                 2-28
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 54 of 196 Page ID #:203

      CONTRACTORs will be expected to record and report on measures relating to field
      operations for each truck in their fleet. Prior to the start of service date, CONTRACTORs
      shall provide the CITY with a list of hauling vehicles including the make, model year,
      hauling capacity and fuel type. Changes to the fleet will be reported to the CITY on a
      monthly basis. CONTRACTORs will provide a summary of daily vehicle safety inspection
      reports and safety issue remediation on a monthly basis.

   2. Route Information
      CONTRACTORs are expected to provide monthly summary reports to the CITY. This report
      shall detail collection services provided by route and by truck and includes, but is not limited
      to, vehicle miles traveled, vehicle hours traveled, idle time, unsafe driving practices, and
      vehicle safety issues. The CONTRACTOR will allow for detailed tracking information to be
      accessed by CITY staff to aid in dispute resolution. Route information and subsequent
      changes to routes shall be provided by the CONTRACTOR to the CITY in a format
      compatible with the CITY’s Geographic Information System (GIS).

   3. Photo and Video
      All hauling trucks are expected to have photo and video recording equipment to document
      EXTRA SERVICES that are billed for, safety incidents, spills, VMTs and other items that
      may be of interest to the CITY. CONTRACTORs are expected to retain these photos and
      video in an electronic format for a year, indefinitely if there is an open dispute associated
      event captured, and provide to the CITY upon request (e.g., during a CUSTOMER billing
      dispute investigation).

            2.3.4.4 Service Level Reporting

   Prior to service start date, CONTRACTORs are expected to provide the CITY with a list of
   CUSTOMERs and their respective service levels including bin size for each waste type, number
   of each type of bin, and frequency of collection (number of pickups per week). This detail must
   also be cross-linked to the CITY’s account database. CONTRACTORs are expected to maintain
   service level information in an electronic database and to provide the CITY with monthly reports
   detailing changes in service levels.

            2.3.4.5 SOLID RESOURCES Collection Reporting

   CONTRACTORs are expected to maintain an electronic database of tonnages for each waste
   stream collected and delivered to transfer station, landfill or processing facilities from each truck
   with route details on a daily basis. CONTRACTORs will provide the CITY with monthly reports
   detailing this data.

            2.3.4.6 Franchise Administration

   CONTRACTORs are expected to electronically retain all records related to their Franchise
   AGREEMENT with the CITY. Detailed reports including CUSTOMER billing by service level,
   GROSS RECEIPTS, fees and liquidated damages due to the CITY will be required on a monthly
   basis.

            2.3.5     CUSTOMER SERVICE AND TRANSITION PLAN
            2.3.5.1 TRANSITION PERIOD

                                                     21


                                                                                               Exhibit 2
                                                                                                   2-29
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 55 of 196 Page ID #:204

       A Draft Transition Plan shall be submitted by the PROPOSER. The Transition Period begins
       when the AGREEMENTs are executed, and extends nine (9) months after the service start date
       of the FRANCHISE SYSTEM. The service start date is expected to begin in January 2017,
       however, the exact start date will be determined by the CITY upon the execution of the
       AGREEMENTs.

       PROPOSERs shall provide strategies for providing a smooth transition to the FRANCHISE
       SYSTEM in each FRANCHISE ZONE or FRANCHISE ZONE BUNDLE for which they submit
       a proposal, including processes for quickly rectifying any problems that may arise during
       Transition Period. These strategies will be considered a part of the evaluation package. The
       following sections describe in more detail what will be expected of CONTRACTORs during the
       Transition Period.

                   2.3.5.2 TRANSITION TEAM – CONTRACTOR PARTICIPATION
                           REQUIREMENTS

       Each PROPOSER awarded a FRANCHISE ZONE will be required to participate in a CITY-led
       joint Transition Team that will include all CONTRACTORs, CITY staff, and other transition
       staff, as designated by the CITY. Transition Team meetings will occur frequently (potentially
       weekly), and attendance is mandatory. Meetings of the Transition Team will begin within one (1)
       week after all AGREEMENTs are executed, and continue as long as the CITY deems necessary.

                   2.3.5.3 TRANSITION SCHEDULE AND PLAN REQUIREMENTS

       Each PROPOSER that is awarded a FRANCHISE ZONE shall submit a final Transition Plan
       within two (2) weeks of the execution of the AGREEMENTs. Table 2-2 presents the major
       milestones that shall be met to ensure a smooth transition of the FRANCHISE SYSTEM. Each
       PROPOSER shall include a schedule that will work for their organization and each
       FRANCHISE ZONE or BUNDLED FRANCHISE ZONEs. Proposed due dates for each of the
       milestones listed below shall be submitted (see Form 7 – Proposed Transition Plan in Appendix
       3). The CITY reserves the right to change the schedule, as required to meet the start of service
       date. The current goal for the FRANCHISE SYSTEM is the start of service date of January 9,
       2017.

       Within one week of the execution of AGREEMENTs, all CONTRACTORs shall attend all
       mandatory Transition Team meetings.

       TABLE 2-2
       TRANSITION PLAN SCHEDULE

       Milestone                                                                             Due Date

       PROPOSERs submit proposed Draft Transition Plan with
       Proposal

       Successful PROPOSERs submit final draft Transition Plan -
       within (2) two weeks after execution of the AGREEMENTs            Dates to be proposed by CONTRACTOR using Form 7 –
                                                                                         Proposed Transition Plan
       Kickoff meeting of Transition Team – potential weekly
       mandatory meetings of Transition Team thereafter

       Risk Reviews/Fatal Flaw Assessments (with Transition Team)


                                                                    22


                                                                                                             Exhibit 2
                                                                                                                 2-30
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 56 of 196 Page ID #:205
   TABLE 2-2
   TRANSITION PLAN SCHEDULE

   Milestone                                                              Due Date

   Initial CUSTOMER List

   Initial CUSTOMER contact

   Account transfer, set up and billing

   CONTAINER removal

   CONTAINER procurement, delivery, and labeling

   Call Center and Field Services staffing

   Problem resolution

   Clean fuel collection vehicles procurement
   GPS of vehicles


               2.3.5.4 SETTING UP SERVICE WITH CUSTOMERS

   CONTRACTORs shall establish processes for contacting and setting up accounts for its
   CUSTOMERs. Each CUSTOMER shall be provided information about the methods by which
   bills can be paid, information on how to access account information and customer service, and
   rules related to payment (i.e., such as penalties for late payment).

   PROPOSERs shall establish processes for educating customers about new service options,
   service requirements schedule for the exchange and or delivery of CONTAINERs, SOURCE-
   SEPARATION requirements, and rates. CUSTOMERs shall be provided information for all
   service level options available to them and the EXTRA SERVICES rates and options.

   PROPOSERs shall develop and implement business processes in anticipation of a high volume
   of calls prior to and after transition and to have in place trained staff to address both high call
   volumes and a large number of field service requests. This plan shall include the approach to hire
   temporary field, customer service, office and any other staff necessary for the transition, as well
   as emergency staff for unusual events.

               2.3.5.5 CONTAINER TRANSITION PLAN

   PROPOSERs shall present their plan for procuring necessary CONTAINERs, the removal of
   CONTAINERs that they do not intend to use and hiring additional staff, as necessary.
   PROPOSERS shall prepare and execute a CONTAINER delivery plan to ensure that all
   CUSTOMERs have the appropriate CONTAINERs in accordance with the transition plan in
   each AGREEMENT. The plan shall reflect any plan to use or purchase existing containers, as
   well as the procurement and placement of new CONTAINERs. Recycling CONTAINERs
   already placed for the CITY’s Multifamily Residential Recycling Program will remain for use by
   the CONTRACTOR.




                                                   23


                                                                                             Exhibit 2
                                                                                                 2-31
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 57 of 196 Page ID #:206

      2.4           SERVICE PLAN
            2.4.1    COLLECTION SERVICES
   All COMMERCIAL ESTABLISHMENTs shall receive a base package of services that includes
   SOLID WASTE collection and COMMINGLED RECYCLABLES collection. ORGANICS
   service shall continue to be provided to all CUSTOMERS that currently participate in the
   ORGANICS programs. ORGANICS collection must be available and provided to all
   CUSTOMERS that request it, at the start of service.

   Collection of SOLID RESOURCES shall conform to the CUSTOMERs service needs. The rate
   charged to CUSTOMERs for SOLID WASTE service shall include a container for
   COMMINGLED RECYCLABLES of any size requested by the CUSTOMER at no additional
   charge.

   Collection of COMMINGLED RECYCLABLEs shall be at the collection frequency of SOLID
   WASTE. However, if a CUSTOMER wants the BLUE BIN collected at a frequency higher than
   SOLID WASTE, the CUSTOMER will be charged the rate established in the AGREEMENT for
   additional collection service.

   CUSTOMERs shall receive at least one collection per week for SOLID WASTE,
   COMMINGLED RECYCLABLES, and ORGANICS (if the CUSTOMER receives this service),
   Monday through Saturday. CUSTOMERs may request and receive Sunday collection services
   for an additional cost. PROPOSERs are required to propose a rate for Sunday collection.

   CONTRACTORs shall work with each CUSTOMER to provide the appropriate number and size
   of CONTAINERs and collection frequency to meet the CUSTOMER’s service needs, including
   CONTAINER space constraints. All CONTAINERs, including BLUE BINs, shall be delivered
   to CUSTOMERs on or before a date to be determined in AGREEMENT negotiations.

   Section 2.7 describes how PROPOSERs are expected to prepare their cost proposals for SOLID
   WASTE, COMMINGLED RECYCLABLES and ORGANICS.

            2.4.1.1 SPECIFIC REQUIREMENTS FOR MULTIFAMILY CUSTOMERS

   The CITY currently provides a valet recycling service for approximately 18,000
   MULTIFAMILY accounts CITY-wide. CONTRACTORs shall be required to continue to
   provide this valet service to all MULTIFAMILY ESTABLISHMENTs that currently receive this
   service. PROPOSERs shall include the cost of valet service for MULTIFAMILY CUSTOMERs
   within their cost proposal, not as a separate charge. Valet service requires the CONTRACTOR
   remove and replace collection CONTAINERs from within the building or an enclosure.
   PROPOSERs shall perform their own due diligence regarding how this service is currently being
   performed for accounts within the FRANCHISE ZONEs for which they wish to propose in order
   to include this service for MULTIFAMILY accounts within their cost proposals at no additional
   charge to these MULTIFAMILY accounts.

   Bulky items and WHITE GOODs from MULTIFAMILY ESTABLISHMENTs will continue to
   be collected by the CITY as per Los Angeles Municipal Code Section 66.41. Bulky items and
   WHITE GOODs from other COMMERCIAL ESTABLISHMENTs will be collected and
   charged as shown in Table 2.3, Extra Collection Services and Associated Fees.

                                                24


                                                                                        Exhibit 2
                                                                                            2-32
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 58 of 196 Page ID #:207

            2.4.1.2 SPECIFIC REQUIREMENTS FOR EXISTING ORGANICS CUSTOMERS

   Approximately 846 COMMERCIAL ESTABLISHMENTs currently receive food waste
   collection service and CONTRACTOR must provide these services to COMMERCIAL
   ESTABLISHMENTS that request food waste collection. An additional number of CUSTOMERs
   currently receive yard waste collection service. PROPOSERs who are awarded CONTRACTs in
   FRANCHISE ZONEs where these CUSTOMERs are located shall continue to provide these
   services to CUSTOMERs. CONTRACTOR shall actively encourage participation in ORGANIC
   DIVERSION. Ultimately ORGANIC recycling shall be provided to all COMMERCIAL
   ESTABLISMENTS that produce ORGANICS. There will be a charge for this service in
   addition to SOLID WASTE collection service. Section 2.6.2, Organics Implementation Plan,
   provides additional information about ORGANICS collection service requirements.

            2.4.1.3 COLLECTION DAYS AND HOURS

   CONTRACTORs shall provide collection service for SOLID WASTE, COMMINGLED
   RECYCLABLES, and ORGANICS Monday through Saturday, fifty two (52) weeks per year,
   excluding certain HOLIDAYS (listed below), at regular collection rates.

   Collection of SOLID WASTE, COMMINGLED RECYCLABLES, and ORGANICS shall be
   performed Monday through Saturday only between the hours of 6:00 am and 9:00 pm within 200
   feet of any residential building, per City of Los Angeles Municipal Code SEC. 113.01, Rubbish
   And Garbage Collection And Disposal. Collection from COMMERCIAL ESTABLISHMENTs
   farther than 200 feet from any residential building may be conducted Monday through Sunday at
   any time of day, which follows the needs of the CUSTOMER.

   Collection service will not be provided on the following HOLIDAYS, except as directed by the
   Director of SANITATION:

         New Year’s Day
         Labor Day
         Independence Day
         Thanksgiving
         Christmas

   If a CUSTOMER’s collection service day happens to fall on one of these HOLIDAYS,
   collection shall be performed on the following CALENDAR DAY.

   CONTRACTORs are expected to plan around these limitations to provide the quickest possible
   collection of on-call and missed collection services.

   PROPOSERs are responsible for understanding and complying with any street use restrictions,
   or other local regulations that may impact how, when, and where they may provide collection
   services in each FRANCHISE ZONE for which they submit a proposal. The CITY will not
   assume any responsibility for a PROPOSER’s failure to perform proper due diligence related to
   any factors that may impact the PROPOSER’s collection operations.

            2.4.1.4 EXTRA SERVICES


                                                 25


                                                                                         Exhibit 2
                                                                                             2-33
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 59 of 196 Page ID #:208

   The CITY has established the following list of other services, which CONTRACTORs shall
   offer their CUSTOMERs at the accompanying rate. Any services not listed in Table 2-3 shall be
   provided at no extra cost to the CUSTOMER, unless approved by the CITY manager. Items
   listed in Table 2-3 below with an X shall be proposed by the PROPOSER and negotiated, if the
   PROPOSER is selected. EXTRA SERVICES will be increased annually in accordance with the
   formula specified in Section 6.23.4.


   TABLE 2-3
   EXTRA COLLECTION SERVICES AND ASSOCIATED FEES

   Service                               Condition under which fee applies                     Total Rate

   Locks

   Gravity Lock Installation – Per       CUSTOMER request – one-time fee per
                                                                                               $25
   CONTAINER                             CONTAINER

   Lockbar Installation – Per            CUSTOMER request – one-time fee per
                                                                                               $25
   CONTAINER                             CONTAINER

   Locks for CONTAINERs – Per lock       CUSTOMER request – one-time fee per lock              $10

   Unlocking and Locking                 CUSTOMER request – per CONTAINER per pick
                                                                                               No charge
   CONTAINERs – Per CONTAINER            up rate

   Distance/Access

                                         Site requirement, per CONTAINER per pickup
   Distance Charge Between 100-200 ft                                                          $25
                                         charge

                                         Site requirement, per CONTAINER per pickup
   Distance Charge Over 200 ft                                                                 $35
                                         charge

                                         Driver observation, document with picture and note
   Blocked Access – Requiring Return
                                         uploaded to electronic customer service system with   $50
   or Delay
                                         24 hours, notify CUSTOMER within 2 hours.

   Entering Secured Building/Unlocking   CUSTOMER request – per CONTAINER per
                                                                                               $10
   and Locking Gates                     pickup charge

   Supplemental Cleaning

   Cart Cleaning (after one free
                                         CUSTOMER request – Fixed Fee Per CONTAINER            $15
   cleaning/year)

   CONTAINER Pressure Wash/Steam
   Cleaning (after one free              CUSTOMER request – Fixed Fee Per CONTAINER            $30
   cleaning/year)

   COMPACTOR CONTAINER
   Pressure Washing/Steam Cleaning       CUSTOMER request – Fixed Fee Per CONTAINER            $150
   (after one free cleaning/year)

   ROLL OFF CONTAINER Pressure
   Washing/Steam Cleaning (after one     CUSTOMER request – Fixed Fee Per CONTAINER            $150
   free cleaning/year)

   CONTAINER Replacement/Repair




                                                              26


                                                                                                            Exhibit 2
                                                                                                                2-34
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 60 of 196 Page ID #:209
    TABLE 2-3
    EXTRA COLLECTION SERVICES AND ASSOCIATED FEES

    Service                               Condition under which fee applies                        Total Rate

                                          CUSTOMER request; Time and Materials Fee;
                                          CONTRACTOR may direct replacement for
    Repair or Replacement of              safety/operational reasons; CONTRACTOR shall             $60 per repair hour plus
    CUSTOMER Owned                        submit a list of replacements and deliver it with the    materials, no charge for pick
    CONTAINER(s)                          monthly report. The list shall include a description     up and delivery
                                          of why the CONTAINER was replaced, including
                                          pictures detailing the necessity of replacement.

    Repair or Replacement of
    CONTRACTOR Owned
                                          CUSTOMER request or CONTRACTOR decision                  No charge
    CONTAINER(s) – Normal Wear and
    Tear or CONTRACTOR Error



    Changing CONTAINERs for an            CONTRACTOR shall submit a list of replacements
    Increase or Decrease in Level of      and deliver it with the monthly report. The list shall   No charge
    Service                               include a description of the service level change.

    Overflow of Materials

                                          Driver observation, document with picture and note
                                                                                                   Equal to fee for 32 gal SOLID
    Overfill Charge                       uploaded to electronic customer service system with
                                                                                                   WASTE cart
                                          24 hours, notify CUSTOMER within 2 hours

    Administrative Fees

    Re-instatement fee (i.e., returning
    CONTAINER (s) after service           CUSTOMER request – Fixed Fee                             $70
    stopped)

                                                                                                   $5 or 1.5% of the debt/month,
    Late Payment fee (>30 days overdue)   CUSTOMER inaction
                                                                                                   whichever is more

                                          CUSTOMER remits payment using check rejected
    Return Check Fee                                                                               $25
                                          due to insufficient funds

    Other Fees

    Collection of Bulky Waste from
    COMMERCIAL ESTABLISHMENT
                                          CUSTOMER request – Fixed Fee Per Item                    $35
    not subject to CITY Multifamily
    Bulky Item Fee– Per Item

    Collection of WHITE GOODs – Per
                                          CUSTOMER request – Fixed Fee Per Item                    $30
    Item



    Collection of Mattress – Per Item     CUSTOMER request – Fixed Fee Per Item                    $40



                                          If driver has to wait in excess of 15 minutes
    Idle Time Charge                                                                               $15 per every 15 minutes
                                          (documented using GPS technology)




                                                                 27


                                                                                                                    Exhibit 2
                                                                                                                        2-35
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 61 of 196 Page ID #:210

            2.4.2     CONTAINER REQUIREMENTS
             2.4.2.1 CONTAINER SIZES

   CONTRACTORs shall offer the following CONTAINER size choices to all CUSTOMERs in
   their FRANCHISE ZONE(s):

   TABLE 2-4
   CONTAINER TYPES AND SIZES

                    CONTAINER Type                                     CONTAINER Size Choices

   SOLID WASTE and COMMINGLED RECYCLABLES             32 gallon, 64 gallon, 96 gallon, 1-8 cubic yard detachable or
   (Cans/Carts, CONTAINERs/ Compactors)               COMPACTOR CONTAINERs, as required by the
                                                      CUSTOMER

   ROLL OFF CONTAINERs (SOLID WASTE,                  10 cubic yard, 20 cubic yard, 30 cubic yard, 40 cubic yard
   COMMINGLED RECYCLABLES, yard trimmings)

   ORGANICS CONTAINERs (Cans/Carts, detachable        The CONTRACTOR may limit CUSTOMERs Cans/Carts and
   CONTAINERs, COMPACTORs)                            CONTAINERs to 4 cubic yards or less, as necessary to
                                                      account for weight limitations.



   The CONTRACTOR shall provide new or replacement CONTAINERs within two (2) business
   days after notice from the CITY or request (phone, email or written) from a CUSTOMER.

   CUSTOMERs may elect to own or secure Cans, Carts, CONTAINERs (including
   COMPACTOR CONTAINERs) and/or ROLL OFF CONTAINERs from sources other than the
   CONTRACTOR, and shall not be subject to discrimination by the CONTRACTOR in collection
   services on that account. However, CUSTOMERs containers shall be inspected and approved by
   the CONTRACTOR to ensure that they can be serviced by their front, side load, rear load, tilt
   frame or other collection vehicles. In the event of disagreement between the CONTRACTOR
   and the CUSTOMER, the CUSTOMER may appeal to the CITY. The appeals process will be
   specified in AGREEMENTs.

   The CONTRACTOR shall investigate the possibility of refurbishing existing CONTAINERs for
   use under the FRANCHISE SYSTEM, as long as they meet the needs of the CUSTOMER.

   A CONTRACTOR may provide previously used containers to a CUSTOMER as long as the
   containers have been refurbished to like-new condition, pressure washed and repainted if
   necessary before being supplied to the CUSTOMER. CONTAINERs shall meet the
   specifications listed in Table 2-5.

             2.4.2.2 CONTAINER SPECIFICATIONS

   CONTAINERs provided by the CONTRACTOR, or owned by the CUSTOMER, shall meet the
   following specifications:




                                                 28


                                                                                                           Exhibit 2
                                                                                                               2-36
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 62 of 196 Page ID #:211
   TABLE 2-5
   CONTAINER SPECIFICATIONS
             CONTAINER Type                                             Specifications

   Applicable to All CONTAINERs           CONTRACTOR provided serial number
                                          Prominently display account address on CONTAINER
                                          CITY 1-800-773-CITY CALL CENTER contact information on
                                           CONTAINER and web site
                                          Rodent and insect proof
                                          Leak proof
                                          No jagged edges or holes
                                          Compliant with CITY Fire Code
                                          Follows CITY-wide color coding and displays the appropriate materials for
                                           the CONTAINER (approved by the CITY)
                                          All plastic CONTAINERs shall consist of a minimum of 30% recycled
                                           content.

   Cans/Carts (SOLID WASTE)               Black or Grey
                                          Lightweight durable plastic, galvanized or sheet metal
                                          At least two wheels
                                          Tight fitting lid with handle
                                          At least one handle to facilitate transport across pavement
                                          “Solid Waste Only” label (approved by the CITY)
   CONTAINERs/Smaller COMPACTORs          Black or Grey
   (SOLID WASTE)                          Metal or plastic
                                          A least four wheels
                                          Tight fitting lid with handle (CONTAINERs)
                                          At least one handle to facilitate transport across pavement
                                          “Solid Waste Only” label (approved by the CITY)

   ROLL OFF CONTAINERs (SOLID WASTE,      Black or Grey (SOLID WASTE), blue (COMMINGLED
   COMMINGLED RECYCLABLES,                 RECYCLABLES), green (ORGANICS)
   ORGANICS)                              Metal
                                          Tight fitting, impermeable screen lid, or covered by tarp during transport
                                          At least two wheels
                                          Label describing materials that can be placed in the CONTAINER
                                           (approved by the CITY)

   Compactor ROLL OFF CONTAINERs          Black or Grey
   (SOLID WASTE)                          Metal
                                          At least four wheels or track
                                          “Solid Waste Only” label (approved by the CITY)

   COMMINGLED RECYCLABLES                 Blue (same shade as CITY residential COMMINGLED RECYCLABLES
   (Cans/Carts, CONTAINERs,                carts)
   COMPACTORs)                            Lightweight durable plastic, or metal in the case of CONTAINERs
                                          At least two wheels (cans/carts); four wheel for CONTAINERs
                                          Tight fitting lid with handle
                                          At least one handle to facilitate transport across pavement
                                          Label describing COMMINGLED RECYCLABLES materials that can be
                                           placed in the CONTAINER (approved by the CITY)

   ORGANICS (Cans/Carts)                  Green (same shade as CITY residential ORGANICS cans/carts)
                                          Lightweight durable plastic
                                          At least two wheels (cans/carts)
                                          Tight fitting lid with handle
                                          At least one handle to facilitate transport across pavement
                                          Label describing organic materials that can be placed in the CONTAINER
                                           (approved by the CITY)




                                                    29


                                                                                                         Exhibit 2
                                                                                                             2-37
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 63 of 196 Page ID #:212

            2.4.2.3 CONTAINER MAINTENANCE AND REPAIR

   All CONTAINERs shall be in good repair and absent of graffiti, or other markings, except those
   required and approved by the CITY.

   The CITY reserves the right to direct a CONTRACTOR to paint, replace, repair or clean a
   CONTAINER based on its condition. Repair or replacement required as result of normal wear
   and tear, or damage resulting from CONTRACTOR actions is at the expense of the
   CONTRACTOR. Repair or replacement of CUSTOMER owned CONTAINERs is at the
   expense of the CUSTOMER, except when caused by CONTRACTOR actions (e.g., damage
   caused by the CONTRACTOR). In the event of disagreement between the CONTRACTOR and
   the CUSTOMER, the CUSTOMER may appeal to the CITY. The CITY’s decision shall be final.

   CUSTOMERs are entitled to one free steam cleaning in a twelve month period (per
   CONTAINER). Additional cleanings in a twelve month period shall be at the CUSTOMER’s
   expense.

   CONTRACTORs are responsible for removing graffiti from their cans/carts, CONTAINERs
   (including COMPACTORs) and ROLL OFF CONTAINERs. Collection drivers shall regularly
   note CONTAINERs containing graffiti. The CONTRACTOR shall remove any graffiti reported
   within five (5) business days of notification. CONTRACTOR shall provide CUSTOMER with
   paint to cover graffiti at CUSTOMER’s request, without charge.

   CUSTOMERs are responsible for removing graffiti from CONTAINERs they own. The graffiti
   shall be removed within five (5) business days after notification by the CONTRACTOR or the
   CITY. The CUSTOMER may request that the CONTRACTOR remove the graffiti, but the
   CUSTOMER will be billed for the work.

            2.4.2.4 LID LOCKABLE CONTAINERS

   The CONTRACTOR shall install requested lock(s) within five (5) working days of a
   CUSTOMER’s request for a container lid lock(s) for one or more detachable CONTAINERs. A
   locking mechanism may be:

         A gravity lock; or
         Lockbar mechanism
           For a Lockbar system, the CONTRACTOR shall provide at least fifty (50) different
             key or lock combinations for CUSTOMERs with one master key or combination to
             be used by the CONTRACTOR’s collection workers.

   The only authorized lid lock mechanisms on CONTRACTOR owned CONTAINERs are those
   installed by the CONTRACTOR. The CONTRACTOR shall have no obligation to render
   CUSTOMER-supplied containers compatible with the CONTRACTOR's padlocks, or to supply
   padlocks for use with such containers.

   The CONTRACTOR may decline to make collections of CONTAINERs fitted by others with
   locking mechanisms, whether or not such CONTAINERs are locked on the date of scheduled
   service, if the locking mechanisms are of a configuration that prevents collection with the
   CONTRACTOR's equipment or poses a threat to health and safety.

                                                 30


                                                                                          Exhibit 2
                                                                                              2-38
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 64 of 196 Page ID #:213

            2.4.2.5 HORSE MANURE CONTAINERS

   CONTRACTORs are required to provide horse manure collection in colored containers that are
   the same shade of brown as the CITY’s current collection CONTAINERs. This material is to be
   recovered for beneficial use, either with the collected ORGANICS materials, or in another
   system that the CONTRACTOR selects.

            2.4.3    VEHICLE AND ROUTING REQUIREMENTS
   PROPOSERs are required to utilize vehicles that meet South Coast Air Quality Management
   District (SCAQMD) clean air and State and local fuel efficiency standards, travel daily collection
   routes to maximize efficiency, and meet certain other standards related to maintenance,
   appearance and on-board equipment.

            2.4.3.1 CLEAN FUEL REQUIREMENT

   All collection vehicles, including tractor trailers that carry ROLL OFF CONTAINERs, shall be
   eight (8) model years old or newer, and (as of January 1, 2017) in compliance with the
   SCAQMD Rule 1193 definition for Alternative-Fuel Heavy-Duty Vehicle [Rule 1193(c)(1)].



            2.4.3.2 REQUIREMENT FOR EFFICIENT ROUTING

   PROPOSERs will include proposed vehicle miles traveled (VMT) for each FRANCHISE ZONE.
   PROPOSERs shall demonstrate that they have in place technologies and processes to minimize
   VMTs during the course of the collection day. Examples of such technologies and processes
   include:

         On-board route maps to ensure drivers are performing routes in the most efficient
          manner; and
         State of the art route optimization software (e.g., RouteSmart, Routeware, etc.) to assist
          in designing highly efficient collection routes.

   CONTRACTORS shall have GPS systems (e.g., Zonar, Radio Satellite Integrators, ect.) installed
   and operating in all collection vehicles. CONTRACTORs shall track and report VMT to the
   CITY on a monthly basis.

            2.4.3.3 OTHER VEHICLE REQUIREMENTS

   Collection vehicles shall not leak from the power train or the body of the truck, per Los Angeles
   Regional Water Quality Control Board regulations, nor shall they leak from the collection vessel.

   All vehicles (including ROLL OFFs) used within the FRANCHISE ZONE shall be in good
   repair and appropriate to the collection task. Trucks shall be repainted as needed to present a
   uniform and tidy appearance at the CONTRACTORs expense; this includes washing trucks at
   least weekly, as presented in Table 2-7.

   All CONTRACTOR vehicles used within the FRANCHISE ZONE shall identify the truck as
   Franchise hauler for the City of Los Angeles, bear the CITY’s 1-800-773-CITY contact
                                                   31


                                                                                              Exhibit 2
                                                                                                  2-39
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 65 of 196 Page ID #:214

   information, and the name and telephone number of the CONTRACTOR, and bear a serial
   number coded for that vehicle. The CITY shall provide the form and format of the identifying
   placard/decal. No advertising shall be permitted on the vehicles, other than the name of the
   CONTRACTOR, and CITY required educational information.

   The number of collection vehicles (including spares) shall be sufficient to service all
   FRANCHISE ZONE CUSTOMERs at the frequency of collection specified. Trucks utilized for
   the FRANCHISE shall be dedicated to CITY FRANCHISE system.

           2.4.4     SPECIAL SERVICE REQUIREMENTS
   HOSPITALS

   The CONTRACTOR will also be required to meet the unique needs of each HOSPITAL located
   within their respective FRANCHISE ZONE. A responsive proposal must include satisfactory
   evidence of the PROPOSER’S capacity to fulfill the following requirements:

   1) OPERATIONS & CERTIFICATION REQUIREMENTS
      a) CONTRACTOR/SUBCONTRACTOR and the software used under the AGREEMENT
         shall comply with all requirements of the Health Insurance Portability and Accountability
         Act of 1996 (HIPAA) and the Health Information Technology for Economic and Clinical
         Health Act (HITECH), enacted as part of the American Recovery and Reinvestment Act
         of 2009, CCMIA and any other applicable federal or state privacy rules and regulations..
         In accordance to HIPAA regulations, the CONTRACTOR agrees not to sell, share,
         discuss, assign, transfer or otherwise disclose any confidential information.
      b) During the term of this AGREEMENT and for a period of four (4) years after the
         termination hereof, CONTRACTOR agrees that the Department of Health and Human
         Services and the Comptroller General of the United States shall have the right of access
         to all books, documents, and records of the Contractor, which are necessary to verify the
         costs of the contract.
      c) CONTRACTOR agrees that the Department of Health and Human Services and the
         Controller General of the United States shall have the right of access to all books,
         documents, and records of the Contractor, which are necessary to verify the costs of the
         of the services provided.
      d) CONTRACTOR shall comply with Hospital’s Code of Conduct, which references among
         other items compliance with many applicable laws and regulations incumbent upon
         hospitals.
      e) All equipment, containers or items furnished by CONTRACTOR under this program will
         comply with all agencies having jurisdiction over the hospital. These include but are not
         limited to federal, state and health oversight agencies, CMS, JTC, and OSHA.
         CONTRACTOR further agrees that as these agencies modify their standards and
         requirements CONTRACTOR will promptly exchange and replace any such equipment,
         containers, or items as necessary.
      f) CONTRACTOR shall assure that the integrity of the Hospital waste stream from pick up
         to ultimate disposal is uncompromised, and that PHI is not improperly used or disclosed
         under any circumstance.
      g) CONTRACTOR attests that Contractor has never been listed on any government
         database (including but not limited to LEIE and EPLS) excluding them from government
         contracts, participation in federally funded health care programs, nor the Department of

                                                  32


                                                                                          Exhibit 2
                                                                                              2-40
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 66 of 196 Page ID #:215

         the Treasury’s list of Specially Designated Nationals. CONTRACTOR, its workforce
         members, and/or its affiliates may not be excluded from participation under any federal
         health care program. Contractor shall notify the City if it or any of its workforce
         members become excluded.
      h) All CONTRACTOR and SUBCONTRACTOR staff assigned to hospitals must comply
         with Hospital’s medical screening and testing requirements.
      i) Contractor employees assigned to Hospital will have undergone a criminal background
         check for felony convictions and selected misdemeanors according to HOSPITAL’s
         policy. Contractor will ensure such background check has been completed within the six-
         month period preceding the assignment, or for the period defined by Hospital and advise
         hospital of any felony conviction to allow for review and a determination as to the
         acceptability of Contractor employee. Contractor will maintain documentation of
         criminal background checks and will make that documentation available to Hospital upon
         request. Contractor will also be responsible for completing such other background
         checks as may be required by Hospital
      j) CONTRACTOR shall provide validated competency training for all technical
         support/education personnel, engaged in on-site training, per The Joint Commission
         Standards at no cost to Hospital.



   2) SERVICE PROVISION REQUIREMENTS
      a) The CONTRACTOR shall provide a dedicated point of contact to hospitals who will be
         available by cell phone and/or landline 24 hours per day. The actual required response
         time may vary from hospital to hospital.
      b) The CONTRACTOR shall prioritize collection for hospitals in the event of any
         interruption in operations of the franchisee, for any reason, including but not limited to
         business failure, or natural disaster
      c) The CONTRACTOR shall detail response procedures for emergency situations (such as
         hazardous waste or other contaminants commingled with solid waste)
      d) Contractor shall provide semi-annual audits to identify trends of Hospital waste volume,
         recycling quantities by type, etc. at no cost to Hospital.
      e) CONTRACTOR shall develop a driver- training program that fully addresses the unique
         needs of each hospital.
      f) CONTRACTOR shall ensure that no significant workflow changes will be necessary to
         maintain HIPAA compliance, such as with respect to PHI labeling (IV bags and
         medication bottles as an example).
      g) CONTRACTOR shall perform a waste assessment at no cost to the hospital prior to the
         commencement of service. This waste assessment would include, but not be limited to, a
         review and approval of the type, size, and location of all waste containers, and a report
         identifying the impact of waste handling and pickups on the workflow of hospital staff on
         floors, clinical areas, and the loading dock and receiving yard.
      h) CONTRACTOR shall monitor and stay abreast of changes in federal, state or local rules
         and regulations and be able to implement those changes throughout the duration of the
         AGREEMENT.
      i) CONTRACTOR shall take any steps necessary to insure that the current waste diversion
         and recycling efforts, including type and quantity of recyclables and any allocated
         resources shall at a minimum continue. CONTRACTOR shall work with the Hospital to
         explore opportunities to increase the recycling and waste diversion opportunities.

                                                  33


                                                                                           Exhibit 2
                                                                                               2-41
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 67 of 196 Page ID #:216

      j) Contractor shall have electronic delivery methods and capable of full report analyses
         reflecting total purchases, volume, and costs can be run at the user’s convenience without
         additional cost to Hospital.
      k) Contractor agrees to identify and adhere to BMP’s (Best Management Practices) where
         applicable in all areas of the contract.



   3) Additionally, hospitals often have unique service needs and programming goals.
      PROPOSER shall address, at minimum, the following requests.
      a) Ability to commit to response time to hospitals’ complaints, changes in volume or
         emergency pickup situations and proposed response time.
      b) Ability to commit to specific collection windows (often hospitals need waste picked up
         within a predetermined window).
      c) Ability to provide necessary resources and accommodate any specialized recycling
         requirement.



   4) SERVICE COMMITMENTS
      a) In the event the CONTRACTOR is unable to provide a discreet and specific operational
         request or requirement of a HOSPITAL, CONTRACTOR shall utilize a City-approved
         SUBCONTRACTOR to provide those specific services. The CITY shall consult with the
         HOSPITAL in the assignment of the SUBCONTRACTOR;
      b) In the event the CONTRACTOR fails to provide the SOLID WASTE services as
         required by a HOSPITAL, the CITY shall provide those services temporarily until which
         time the CONTRACTOR is able to meet service requirements, a new FRANCHISEE
         assumes exclusive responsibility for collection and processing in that service zone, or a
         City-approved SUBCONTRACTOR is selected. The CITY shall act as sole arbiter in
         determining CONTRACTOR failure. In the event the CITY assumes temporary
         responsibility for servicing a HOSPITAL, the CONTRACTOR shall reimburse the CITY
         for all costs incurred by CITY and the HOSPITAL for the CONTRACTOR'S failure to
         provide those services. The CITY shall consult with the HOSPITAL in the assignment of
         the SUBCONTRACTOR.
      c) In the event the CONTRACTOR commits a material breach of the franchise contract as it
         relates to the service of a HOSPITAL , the CITY shall provide those services temporarily
         until which time the CONTRACTOR can begin service or a new FRANCHISEE assumes
         exclusive responsibility for collection and processing in that service zone. The CITY
         shall act as sole arbiter in determining the material breach. In the event the CITY assumes
         temporary responsibility for servicing a HOSPITAL, the CONTRACTOR shall
         reimburse the CITY for all costs incurred by CITY and the HOSPITAL for the
         CONTRACTOR'S failure to provide those services. The CITY will consult with and will
         keep the affected HOSPITAL abreast throughout the process noted herein.

   Christmas Tree Recycling
   CONTRACTORs shall be responsible for the Christmas Tree collection services for all of their
   CUSTOMERS.



                                                  34


                                                                                            Exhibit 2
                                                                                                2-42
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 68 of 196 Page ID #:217

            2.4.5    CONTINGENCY PLAN
            2.4.5.1 LABOR PEACE AGREEMENT

   In accordance with Section 66.33.6(c) of the Los Angeles Municipal Code, the CONTRACTOR
   shall provide satisfactory evidence that it, and any SUBCONTRACTOR who will provide
   collection services, are a party to labor peace agreement(s) with any labor organization that
   represents any group of the CONTRACTOR's or SUBCONTRACTOR's employees who are or
   will be involved in providing collection services, and with any labor organization that seeks to
   represent any group of a CONTRACTOR's or SUBCONTRACTOR's employees who are or will
   be involved in providing collection services. A labor peace agreement is an enforceable
   agreement between a CONTRACTOR or SUBCONTRACTOR and a labor organization (as
   defined by 29 U.S.C. §152(5)) that contains provisions under which the labor organization for
   itself and its members agrees to refrain from engaging in any picketing, work stoppages, or any
   other economic interference with the CONTRACTOR's or SUBCONTRACTOR's performance
   of collection services.

   Nothing in this section requires a CONTRACTOR or SUBCONTRACTOR to recognize a
   particular labor organization or to enter into a collective bargaining agreement establishing the
   substantive terms and conditions of employment. Nor is this section intended to enact or express
   any generally applicable policy regarding labor/management relations, or to regulate those
   relations in any way, or to provide a preference for any outcome in the determination of
   employee preference regarding union representation.

   Any failure to comply with L.A.M.C section 66.33(c) and any service disruption as a result of a
   labor dispute will be subject to liquidated damages and possible termination of the
   AGREEMENT.

            2.4.5.2 CONTINGENCY PLAN SERVICE REQUIREMENTS

   Each CONTRACTOR is required to have a written Contingency Plan that describes how the
   CONTRACTOR will provide uninterrupted collection, disposal and processing services, to the
   greatest practical extent, during an emergency event that may impact service delivery. Such
   events may include, but are not limited to:

         Business failure
         Loss of insurance
         Severe storm
         High wind
         Earthquake
         Flood
         Tsunami
         Hazardous material release
         Transportation system interruption
         Loss of any utility service
         Fire
         Terrorist activity
         Any combination of the above.


                                                   35


                                                                                            Exhibit 2
                                                                                                2-43
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 69 of 196 Page ID #:218

   The Contingency Plan shall describe the CONTRACTOR’s response protocol in the event that
   an emergency or other situation renders its operations yard or equipment unusable. The
   Contingency Plan shall describe the steps that the CONTRACTOR will take to avoid
   interruptions in collection, disposal and processing services.

   Contingency Plans shall be updated annually and all CONTRACTOR personnel shall receive
   annual training on processes and procedures contained in the plan.

   Each AGREEMENT will include plans and provisions for how each CONTRACTOR will be
   expected to provide backup support to other CONTRACTORs in the event of an emergency that
   impacts collection service in one or more zones. Under these provisions, the CITY will have the
   authority to direct available CONTRACTOR resources to FRANCHISE ZONEs in which the
   existing CONTRACTOR is unable to provide continual service.

   The Federal Emergency Management Agency (FEMA) provides guidance on the preparation of
   All Hazards Contingency Plans. FEMA’s Comprehensive Preparedness Guide (CPG) 201,
   Second Edition provides communities additional guidance for conducting a Threat and Hazard
   Identification and Risk Assessment (THIRA).

            2.4.5.3 EVENTS CAUSING POTENTIAL SERVICE INTERRUPTIONS –
                    EXPECTATIONS TO PERFORM

   CONTRACTORs are expected to provide reliable collection and customer service at all times.
   Interruptions in service may be subject to liquidated damages and cancelation of the
   AGREEMENT.

   The following events may cause temporary service interruptions, which are not subject to
   liquidated damages:

         Riots, war, or emergencies affecting the CITY declared by the President of the United
          States or Congress of the United States, the Governor of California, the Los Angeles
          County Board of Supervisors, or the CITY;
         Sabotage, civil disturbance, insurrection, explosion, terrorist attack;
         Natural disasters such as floods, earthquakes, landslides; and
         Other catastrophic events that are beyond the reasonable control of the CONTRACTOR
          despite the CONTRACTOR’s reasonable efforts.

   CONTRACTORS shall resume service at the earliest possible opportunity after the above events.

   Any event that is reasonably within the CONTRACTOR’s control will be subject to liquidated
   damages and, potentially, cancelation of the AGREEMENT.

   See Articles 6 and 7 (Business Arrangements and City Standards Provisions) describe the
   CITY’s performance bond requirement and expectations regarding provision of continual
   service.

            2.4.5.4 CITY REQUESTS FOR SUPPORT DURING AND AFTER A DISASTER



                                                  36


                                                                                              Exhibit 2
                                                                                                  2-44
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 70 of 196 Page ID #:219

   In the event of an emergency or disaster, the CITY may require additional services of the
   CONTRACTOR. Such events may include, but are not limited to, a severe storm, high wind,
   earthquake, flood, tsunami, hazardous material release, and transportation mishap, loss of any
   utility service, fire, terrorist activity or any combination of the above. AGREEMENTs will
   include protocols and procedures to be followed should the CITY require such additional
   services, as well as terms of compensation.

            2.4.6    REPORTING REQUIREMENTS
   As presented in Table 2-6, each CONTRACTOR will be required to provide the CITY with data
   and reports (at no additional cost to the CITY) as a component of complying with the contractual
   obligations of the AGREEMENT. Customer service information (including collection
   information) shall be available to the CITY in real-time, financial reports and payments
   (including liquidated damages) shall be submitted to the CITY on a quarterly basis, and other
   required reporting shall be submitted on a monthly basis.

   CONTRACTORs shall have the ability to provide to the CITY required information in a variety
   of media. CONTRACTORs will be expected to provide some information via real-time, editable
   access in a format compatible with the CITY’s customer service software.

   CONTRACTORs, as well as all SUBCONTRACTORs that they utilize, will be required to
   provide reports of any information that the CITY deems necessary within a specified timeframe.
   Repeated violations of reporting requirements such as failure to submit to the CITY all
   DIVERSION reports within fifteen (15) days of the last day of the previous quarter, as an
   example, will be enforced through liquidated damages identified in the RFP, and may result in
   the termination of the AGREEMENT.

   CONTRACTORs will be required to provide at a minimum, the following categories of
   information to the CITY:

         Day-to-Day Performance
         CITY Reporting Requirements and Verification of State DIVERSION Statistics
         CITY Facility Certification Compliance Reports and Data
         CONTRACT Compensation Compliance Related Data

            2.4.6.1 PERFORMANCE DATA REPORTING

   Performance data, extracted from CONTRACTOR accounts, is required to monitor
   CONTRACTOR performance relative to the performance standards that are included in the RFP
   and that are subject to liquidated damages.

   The CONTRACTOR will be required to collect and provide customer service and complaint
   resolution information regarding the daily performance of their operations, in accordance with
   Section 2.3.4, which covers IT requirements. The customer service account conventions will
   match the CITY’s account database; the CITY has authority over the definition of accounts.




                                                   37


                                                                                            Exhibit 2
                                                                                                2-45
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 71 of 196 Page ID #:220
  TABLE 2-6
  PERFORMANCE DATA REQUIREMENTS

  Required Data        Associated Elements                                    Format               Transmittal Frequency
  CUSTOMER                CUSTOMER complaint/request type (e.g.              Electronic in the    Real Time
  Information              missed collection, change bin size, damaged        format
  Complaint/Request        CONTAINERs, etc.)                                  compatible with
  Data                    Date and time of complaint/request                 SANITATION’s
                          CUSTOMER address                                   CALL CENTER
                          CUSTOMER account number
                          CUSTOMER name
                          CUSTOMER email address
                          Date and time of problem resolution
                          Name/ID of customer service Representative
                           (CSR) who received call
                          Name/ID of Person who resolved problem
  CUSTOMER                CUSTOMER Billing/collections                       Data maintained      Available upon request to CITY
  Billing/collection                                                          by
                                                                              CONTRACTOR
                          Revenue data by service level                      Electronic in        Monthly; within 20 days of end of
                                                                              format to be         the previous calendar month
                                                                              Specified by
                                                                              SANITATION
  Customer Service        Total number of calls received                     Summary reports      Weekly, Monthly, Quarterly,
  Performance             Percent of calls answered within the window of                          Annually
                           time required by the AGREEMENT
                          Average call wait time
  Field operations        GPS tracking of trucks on route                    Publicly available   Daily – real time for customer
  data                                                                        via the              service information
                                                                              CONTRACTORS
                                                                              website
                          Stop/idle time at each stop                        Data maintained      Available upon request to CITY
                                                                              by
                                                                              CONTRACTOR
                          Truck on-board photos/videos – tracked to          Electronic in the    Attached electronically to customer
                           CUSTOMER account for incident/accident             format               service records when extra charges,
                           recovery, CONTAINER empty verification             compatible           incidents (e.g., property damage) or
                           and/or extras charges                              SANITATION’s         a dispute occurs; Available to City
                                                                              CALL CENTER          upon Request
                          Vehicle Miles Traveled                             Summary Reports      Monthly – tracked and saved on-
                          Safety Factors (collected via GPS)                                      going and available to City upon
                           o Vehicle speed                                                         request
                           o Hard Stops
                          Daily vehicle inspection
                          Truck changes (status/changes in
                           maintenance/use of CLEAN FUEL VEHICLEs
  Accidents,              Labor Incidents/Injuries (including reportables)   Incident Report      Provided to CITY within 6 hours
  incidents or            Vehicle incidents/collisions
  collisions              Near-misses and OSHA reportable incidents
                          Spills Requiring Third Party Response
  SOLID                   Tonnage of materials delivered to TRANSFER         Summary Reports      Monthly, Quarterly
  RESOURCES                STATIONs, Processing Facilities, and
  Collection               Landfills/Incinerators, reported by:
                           o SOLID WASTE (BLACK BIN),
                           o COMMINGLED RECYCLABLES
                                (BLUE BIN),
                           o ORGANICS (GREEN BIN),
                           o Manure (BROWN BIN)
                          Service level changes (CUSTOMERs choosing
                           smaller or larger bins or changing service
                           frequency)



                                                              38


                                                                                                                      Exhibit 2
                                                                                                                          2-46
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 72 of 196 Page ID #:221



            2.4.7    SAFETY
   Prior to beginning operations under the FRANCHISE SYSTEM, each CONTRACTOR shall
   develop and submit an annual safety and training plan to the CITY for review and approval. This
   plan shall include standard operating procedures (SOP's) for safety for employees working in the
   field and for those at the facilities that the PROPOSER plans to use. The CONTRACTOR shall
   demonstrate that its safety plan, and the plans of its SUBCONTRACTORs, are in full
   compliance with local, State and Federal Law.

   The CITY will require each CONTRACTOR to submit, annually, verification that all elements
   of its safety and training plan have been implemented and completed.

   Any incident involving the CONTRACTOR that results in a fatality, major injury, or collision
   involving a private citizen’s vehicle, major property damage, or major spill shall be reported to
   SANITATION immediately.

            2.4.8    PERFORMANCE STANDARDS
   To ensure that CONTRACTORs provide a high level of customer service, each will be required
   to meet certain performance standards grouped into eight (8) different categories:

         Implementation of FRANCHISE SYSTEM
         Provision of Services to CUSTOMERs
         CONTRACTOR Operations
         Segregation and Delivery of Collection Materials
         CONTRACTOR Personnel and Property
         DIVERSION Requirements – landfill reduction, RECYCLING and ORGANICS
          programs
         Payment and Reporting Requirements
         Other CONTRACTOR Obligations

   Table 2-7 below lists specific performance standards and the associated liquidated damages for
   failing to meet the target.




                                                    39


                                                                                             Exhibit 2
                                                                                                 2-47
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 73 of 196 Page ID #:222
    TABLE 2-7
    PERFORMANCE STANDARDS and LIQUIDATED DAMAGES
    Category                      Performance Standard and Conditions When                        Monetary Penalty
                                  Liquidated Damages Will Apply

    Implementation of Franchise   Failure to implement all Collection Services enumerated         $10,000 per day
    Services                      in the AGREEMENT.

    Provision of Services to      Failure to commence service to a new CUSTOMER                   $100 per occurrence
    CUSTOMERs                     within five (5) business days of order

                                  Failure to deliver CONTAINER(s) to a CUSTOMER                   $200 per occurrence
                                  within five (5) business days of the CUSTOMER's
                                  request for service

                                  For each occurrence greater than ten (10) in a calendar         $100 per occurrence
                                  year, failure to replace CONTAINERs upright, with lids
                                  in place, in their original location

                                  Failure to repair or replace any can, cart, CONTAINER,          $100 per occurrence
                                  ROLL OFF, or COMPACTOR (any CONTAINER)
                                  within two (2) days of CUSTOMER report

                                  Failure to collect a missed pickup on the same business         $100 per occurrence
                                  day

                                  Failure to collect a missed pickup one business day after       $200; $200 for each day
                                  missed collection                                               thereafter

                                  Repeat miss within twelve (12) months of previous miss          $300 per occurrence

                                  Failure to tag materials not collected due to contamination     $200 per occurrence
                                  or inappropriate set out

                                  Failure to respond to a CUSTOMER complaint within the           $100 per occurrence
                                  same business day

                                  Failure to respond to a CUSTOMER complaint one                  $200; $200 for each day
                                  business day after receiving the complaint                      thereafter

                                  Failure to notify a CUSTOMER of an improper set out of          $100 per occurrence
                                  bins, an obstruction, or other cause for inability to provide
                                  a scheduled collection service within 2 hours

                                  Discourteous behavior by CONTRACTOR staff                       $300 per occurrence

                                  Failure to answer 95 percent of all CUSTOMER calls              $5,000 per Month occured
                                  received each month during normal business hours in less
                                  than 60 seconds (computed as a monthly average)

    CONTRACTOR Operations         Undertaking collection operations outside of allowable          $300 per verified complaint
                                  hours (as prescribed in Section 2.4.1.3 of this RFP)

                                  Failure to complete at least 98 percent of a scheduled          $500 per occurrence day
                                  route on the route's scheduled day

                                  Making changes to routes or route days affecting 5              $100 per CUSTOMER per
                                  percent or more of the CONTRACTOR’s CUSTOMERs                   day
                                  without at least 7 days’ notice to CUSTOMERs

                                  Failure to properly cover material in collection or hauling     $300 per occurrence
                                  vehicles

                                  Failure to correct, upon notification, leakage of fluids        $300 per occurrence
                                  from a collection or hauling vehicle prior to resuming use
                                  of the vehicle in the CITY

                                  Failure to clean up spillage or litter occurring during         $100 per occurrence


                                                           40


                                                                                                                 Exhibit 2
                                                                                                                     2-48
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 74 of 196 Page ID #:223
    TABLE 2-7
    PERFORMANCE STANDARDS and LIQUIDATED DAMAGES
    Category                      Performance Standard and Conditions When                       Monetary Penalty
                                  Liquidated Damages Will Apply
                                  collection at time of collection

                                  Failure to have a vehicle properly licensed, registered and    $100 per vehicle
                                  inspected

                                  Exceeding vehicle weight limits as set forth in the State of   $1,000 per vehicle per
                                  California Vehicle Code                                        occurrence

                                  Failure to clean collection and hauling vehicles once per      $100 per occurrence
                                  week

                                  Excessive noise, each occurrence over five (5) in a            $300 per occurrence
                                  calendar year, as defined in the CITY’s NOISE
                                  ORDINANCE.

                                  Failure to maintain property, facilities and equipment in a    $100 per day
                                  clean, safe and sanitary manner

                                  Failure to convert all collection vehicles that serve the      $10,000 per day
                                  CITY under the CLEAN FUEL VEHICLE standards
                                  required by Section 2.4.3 of this RFP as stated in the
                                  AGREEMENT

    Segregation and Delivery of   Failure to keep SOLID WASTE, COMMINGLED                        $1,000 per occurrence
    Collection Materials          RECYCLABLES and ORGANICS material segregated
                                  once placed out for collection by the CUSTOMER
                                  without CITY approval

                                  Failure to deliver collected SOLID WASTE to an                 $1,000 per occurrence
                                  approved TRANSFER STATION or disposal facility
                                  without CITY approval

                                  Failure to deliver collected RECYCLABLE materials to           $1,000 per occurrence
                                  an approved PROCESSING FACILITY or directly to
                                  market without CITY approval

                                  Failure to deliver collected ORGANICS material to an           $1,000 per occurrence
                                  approved ORGANICS PROCESSING FACILITY
                                  without CITY approval

    CONTRACTOR Personnel and      Failure to have a properly licensed vehicle driver             $300 per occurrence per day
    Property
                                  Failure to provide any required training for vehicle           $1,000 per occurrence
                                  operators, including safety training and training related to
                                  the operation of equipment, as required by Federal and
                                  State Law

                                  Failure to repair damage to a CUSTOMER's property or           $500 per occurrence
                                  other private property, caused by or resulting from the
                                  actions of the CONTRACTOR's personnel within
                                  AGREEMENT specified timeframe.

    DIVERSION Requirements        Failure to comply with the substantive provisions of the       $500 per occurrence
                                  DIVERSION Plan, required by Section 2.6 of this RFP

                                  Failure to implement COMMINGLED RECYCLABLES                    $1,000 per day
                                  or ORGANICS programs upon the schedule proposed in
                                  the CONTRACTOR’s DIVERSION Plan.

                                  Failure to meet Diversion Targets                              $100,000 per 1,000 tons not
                                                                                                 diverted in accordance with
                                                                                                 the AGREEMENT



                                                            41


                                                                                                                  Exhibit 2
                                                                                                                      2-49
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 75 of 196 Page ID #:224
   TABLE 2-7
   PERFORMANCE STANDARDS and LIQUIDATED DAMAGES
   Category                       Performance Standard and Conditions When                      Monetary Penalty
                                  Liquidated Damages Will Apply

   Payment and Reporting          Failure to remit all FRANCHISE FEES and AB 939                $500 per occurrence
   Requirements                   FEES due to the CITY within thirty (30) days of the last
                                  day of the previous quarter; excluding late AB 939 FEEs

                                  Failure to submit to CITY all DIVERSION reports,              $500 per occurrence, with
                                  facility disposal and processing delivery reports, or other   an additional $1000 per day
                                  non-financial reports required by this RFP, within thirty     in excess of 30 days
                                  (30) days of the last day of the previous month

                                  Failure to submit to the CITY all service level reports,      $500 per occurrence, with
                                  billing reports and data, CUSTOMER complaint and              an additional $100 per day
                                  resolution information, or other service and performance      in excess of 30 days
                                  related reports as required by this RFP, within thirty (30)
                                  days of the last day of the previous month

                                  Submission to the CITY of fraudulent reports or data,         $10,000 per occurrence and
                                  including but not limited to DIVERSION reports and            possible termination of the
                                  data, service level information and financial information     AGREEMENT

   Other CONTRACTOR Obligations   Failure to provide to the CITY any customer service,          $1,000 per occurrence
                                  route, or billing related data that the CITY may need to
                                  resolve a customer service or billing complaint

                                  Failure to provide to the CITY any route data or              $10,000 per occurrence
                                  CUSTOMER lists that the CITY may require for the
                                  future procurement of collection, disposal or processing
                                  services




       2.5            TRANSFER, DISPOSAL AND PROCESSING
                      FACILITIES
   Each PROPOSER shall provide certain assurances regarding the capacity and capability of the
   transfer, processing and disposal facilities it plans to use during the term of its AGREEMENT
   with the CITY. These requirements are described in Sections 2.5.1 and 2.5.2. Specific CITY
   requirements for facilities are described in Section 2.5.3. Proposed new facilities shall be
   described in detail in each proposal. The CITY will implement a Facility Certification Program
   and only those facilities Certified may accept materials under this AGREEMENT (see Section
   2.5.3.2). Any facilities receiving materials under the AGREEMENT shall be subject to terms of
   the AGREEMENT as it relates to facilities.

              2.5.1        CAPACITY REQUIREMENTS
   PROPOSERs shall demonstrate their ability to appropriately process, transfer, and/or dispose all
   of the materials they will collect for each FRANCHISE ZONE on which they propose. Appendix
   1.3, Estimated Material Volume by Franchise Zone, shows the estimated current volumes of
   materials being collected in each zone. PROPOSERs are required to perform their own due
   diligence investigation to prepare their proposals.



                                                           42


                                                                                                                 Exhibit 2
                                                                                                                     2-50
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 76 of 196 Page ID #:225

   The PROPOSER shall provide documentation and assurances that each TRANSFER STATION,
   disposal facility, PROCESSING FACILITY, and ORGANICS PROCESSING FACILITY
   proposed to be used over the term of the AGREEMENT – including any proposed new facilities
   – can accept, transfer, dispose and/or process all material to be delivered to the facility by the
   PROPOSER during normal collection hours, six days-per-week (Monday-Saturday), fifty two
   (52) weeks-per-year, excluding designated HOLIDAYS.

   Furthermore, the CONTRACTOR shall agree, that should facilities fail to meet these
   requirements at any point during the term of the AGREEMENT, the CONTRACTOR will
   immediately procure replacement capacity at no cost to the CITY or CUSTOMERs, or risk
   termination of its AGREEMENT.

            2.5.2     CAPABILITY REQUIREMENTS
            2.5.2.1 TRANSFER STATION CAPABILITY

   The PROPOSER shall provide documentation and assurances that the TRANSFER STATIONs
   it proposes to utilize over the term of the AGREEMENT have the following equipment and
   facilities to accept, transfer, and haul for disposal or processing:

         Automated scales that accurately measure the weight of each collection vehicle entering
          the facility (gross weight) and leaving the facility (TARE WEIGHT) after tipping. These
          scales shall be certified by a city or State weights and measures authority and proof of
          certification shall be posted on site at the facility and available to the CITY upon request.
          The CITY will require that CONTRACTORs provide monthly tonnage data for SOLID
          RESOURCES delivered to each TRANSFER STATION it proposes to utilize.

   Proposed transfer facilities shall be in compliance with their local and state permits at all times,
   including requirements specific to storage of all SOLID RESOURCES on site.

            2.5.2.2 DISPOSAL FACILITY CAPABILITY

   The PROPOSER shall provide documentation and assurances that the disposal facilities it
   proposes to utilize, over the term of the AGREEMENT, has at a minimum the following
   capabilities to accept SOLID WASTE:

         Controls to prevent unauthorized access
         Automated scales
         In the case of landfills, lining and leachate systems that meet State and Federal
          requirements for CLASS III LANDFILLs
         In the case of landfills, odor and dust controls systems that meet State and Federal
          requirements for CLASS III LANDFILLs
         Fire suppression systems that meet State and Federal requirements

   All disposal facilities used by CONTRACTORs shall meet all local, State, and Federal
   permitting requirements. Furthermore, the CONTRACTOR shall agree that should one or more
   of the proposed disposal facilities fail to meet these requirements at any point during the term of
   the AGREEMENT, the CONTRACTOR will immediately procure replacement capacity at no
   cost to the CITY or CUSTOMERs or risk termination of its AGREEMENT. These requirements
   apply to disposal facilities to which the CONTRACTOR directly hauls waste, as well as to

                                                     43


                                                                                                Exhibit 2
                                                                                                    2-51
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 77 of 196 Page ID #:226

   disposal facilities that receive waste from the TRANSFER STATIONs utilized by the
   CONTRACTOR.

            2.5.2.3 PROCESSING FACILITY CAPABILITY

   The PROPOSER shall provide documentation and assurances that the processing facilities it
   proposes to utilize over the term of the AGREEMENT has the following equipment, facilities,
   and capabilities to accept, transfer, and haul for disposal:

         Automated scales that accurately measure the weight of each collection vehicle entering
          the facility (gross weight) and leaving the facility after tipping (TARE WEIGHT). These
          scales shall be certified by a city or State weights and measures authority and proof of
          certification shall be posted on site at the facility and available to the CITY upon request.
          The CITY requires that CONTRACTORs provide monthly tonnage data for
          COMMINGLED RECYCLABLES and ORGANICS (detailed by each stream within
          ORGANICS as applicable) material delivered to each PROCESSING FACILITY it
          proposes to utilize.
         Mechanical equipment, including conveyor belts, and screening devices, to efficiently
          separate, bale and containerize COMMINGLED RECYCLABLES for delivery to market
         Mechanical equipment, including de-bagging, pre-screening and turning equipment to
          efficiently compost and/or digest ORGANICS for delivery to market
         A sufficient amount of land to ensure that the amount of ORGANICS to be processed,
          cured and stored on-site can be done safely and within design and permit limitations. A
          sufficient number of short and long haul vehicles and containers to ensure that all
          ORGANICS can be transferred and hauled to market quickly and efficiently
         Any facility utilized in a proposal shall meet or exceed standard safety, code and
          regulatory requirements.

            2.5.2.4 FACILITY CAPABILITY REQUIREMENTS FOR COMMINGLED
                    RECYCLABLES

   PROPOSERs are required to demonstrate how the COMMINGLED RECYCLABLES facilities
   that PROPOSERs plan to use will be able to effectively and efficiently process the same
   COMMINGLED RECYCLABLES that the CITY collects in its residential COMMINGLED
   RECYCLABLES program. At the CITY’s discretion, PROPOSERs may be required to change
   the materials collected from COMMERCIAL ESTABLISHMENTs in the future in order to
   continue consistency between the CITY operated collection program and the FRANCHISE
   SYSTEM. At a minimum, PROPOSERs shall provide COMMINGLED RECYCLABLES
   collection consistent with residential curbside COMMINGLED RECYCLABLES provided by
   the CITY.

            2.5.2.5 FACILITY CAPABILITIES REQUIREMENTS FOR ORGANICS –
                    MATERIALS

   PROPOSERs shall demonstrate how the ORGANICS facilities that they plan to use will be able
   to effectively and efficiently process the yard trimmings and food waste materials collected. At
   the CITY’s discretion, PROPOSERs may be required to change the materials collected from
   COMMERCIAL and MULTIFAMILY CUSTOMERs in the future in order to continue
   consistency between the CITY operated collection program and the FRANCHISE SYSTEM..


                                                    44


                                                                                               Exhibit 2
                                                                                                   2-52
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 78 of 196 Page ID #:227

            2.5.2.6 CITY PROVIDED TRANSFER SERVICE

   The CLARTS facility has the capacity to serve the disposal needs of the three small
   FRANCHISE ZONEs (Downtown, East Downtown and Southeast L.A.). CLARTS is a resource
   for PROPOSERs who do not have their own TRANSFER STATION, as well as for
   PROPOSERs who find the location of CLARTS to be desirable for operational or efficiency
   reasons.

   CONTRACTORs who are awarded one of the three small FRANCHISE ZONES shall deliver all
   SOLID WASTE collected in these zones to CLARTS. Other CONTRACTORs may also use
   CLARTS at their discretion, as facility’s capacity allows.

            2.5.3    FACILITY COMPLIANCE
   Facilities used by CONTRACTORs for transfer, disposal, and processing of SOLID WASTE,
   COMMINGLED RECYCLABLES and ORGANICS shall be subject to City certification. The
   CITY intends to establish a Certification Program to monitor facility requirements, collect
   required data, and perform audits and inspections as needed to document facilities’ compliance
   with certification criteria.

   CONTRACTORs will be required to insert language in their CONTRACTs with all facilities
   they use which will ensure that the CITY’s Facility Certification Requirements are met by the
   facility, whether or not the facility is located within the CITY.

   Violations of the CITY’s facilities requirements may result in the loss of CITY Certification.

            2.5.3.1 COMPLIANCE WITH LAWS, REGULATION AND STANDARDS

   All facilities utilized by the CONTRACTOR are responsible for meeting all pertinent local, State
   and Federal health and environmental laws, regulations, and standards applying to collection of
   SOLID RESOURCES. All facilities utilized by the CONTRACTOR will be required to maintain
   compliance records from other compliance agencies, such as the Cal OSHA. Repeated violations
   including, but not limited to, workplace safety requirements, may result in decertification.


            2.5.3.2 MATERIAL TRACKING REQUIREMENTS

   All facilities utilized by the CONTRACTOR shall be certified by the CITY through an
   application process. The Certification Process shall support the City’s requirement for
   maintaining its compliance with AB939 requirements, meeting MANDATORY COMMERCIAL
   RECYCLING requirements, and meeting its ZERO WASTE goals.

   Each facility applying for certification shall submit a Certified Processor Application/Renewal
   Form and quarterly DIVERSION Reports. The facility will also have to renew certification by
   submitting a renewal form annually. CITY staff will perform site visits to verify information in
   the application. Reporting requirements include but are not limited to:

         Documenting tonnage of all incoming SOLID RESOURCES by material type


                                                   45


                                                                                             Exhibit 2
                                                                                                 2-53
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 79 of 196 Page ID #:228

            Documenting incoming SOLID RESOURCES delivered under the AGREEMENT by
             material type
            Detailing processing procedures, as necessary for processing facilities
            Documenting tonnage of all outgoing SOLID RESOURCES by commodities
            Documenting destination of all SOLID RESOURCES by commodities


        2.6            DIVERSION PLAN
               2.6.1      DIVERSION PLAN STRATEGY
    The CITY has established ZERO WASTE goals which include the reduction of SOLID
    RESOURCES disposed to landfills, and ensuring that all CUSTOMERS have SOURCE-
    SEPARATED COMMINGLED RECYCLABLES collection. The CITY is also required to meet
    the State’s MANDATORY COMMERCIAL RECYCLING rules, and to provide specific
    activities related to waste diversion at COMMERCIAL ESTABLISHMENTS.

    Additionally, ORGANICS collection is to be continued for those that participate in the current
    programs for food waste and yard trimmings, and provided to all CUSTOMERs that request it.
    CONTRACTORs must notify CUSTOMERS that ORGANICS collection is available to them.
    with ORGANICS service available to all CUSTOMERS to be phased in as processing capacity
    becomes available. It is important to note that the CITY’s existing “Rebate Program” for mixed
    SOLID WASTE and ORGANICS will be discontinued upon implementation of the
    FRANCHISE SYSTEM.

    Each PROPOSER’s submittal shall include a DIVERSION Plan. This plan shall demonstrate
    how the PROPOSER plans to reach programmatic milestones and waste disposal reduction
    thresholds in accordance with the CITY’s ZERO WASTE goals. Proposals shall include specific
    annual disposal reduction targets for each FRANCHISE ZONE, using a baseline estimate
    provided by the CITY. Appendix 1.4, Target Disposal Tons by Zone, shows the CITY’s
    estimated 2017 disposal tons and the 2025 target disposal tons (by zone). PROPOSERs shall
    describe in their DIVERSION Plan how they will achieve or exceed the target disposal reduction
    in tons. The CITY’s expectation is that ORGANICS collection is to be expanded to all
    CUSTOMERS.

    The PROPOSER’s DIVERSION Plan shall describe the strategies it will implement to achieve
    its DIVERSION targets. Example strategies are listed in the second column of Table 2-8, below.
    However, PROPOSERs should provide additional strategies, and facilities if required.
    PROPOSERs should assume that a mandatory monthly meeting will be held with the CITY’s
    DIVERSION team to gauge progress on meeting the CITY’s goals. These may be considered
    innovative ideas, as requested in Section 2.8, and may be used in the evaluation of the
    PROPOSAL. The PROPOSER shall identify revenue sharing opportunities with CITY from the
    sale of recyclables by the CONTRACTOR.

    TABLE 2-8
    DIVERSION PLAN EXAMPLE STRATEGIES

        DIVERSION Plan Section                            Example Diversion Strategies

    Waste Audits (On site Waste         Strategy for prioritizing which CUSTOMERs will receive waste audits and


                                                     46


                                                                                                      Exhibit 2
                                                                                                          2-54
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 80 of 196 Page ID #:229
   TABLE 2-8
   DIVERSION PLAN EXAMPLE STRATEGIES

       DIVERSION Plan Section                               Example Diversion Strategies
   Assessments)                          recycling and composting training
                                        Number of CUSTOMERs to be targeted per year, with a minimum of 10
                                         percent of CUSTOMERs after initial assessment and recycling roll out during
                                         transition
                                        Procedure for the inclusion of waste audit information with customer service
                                         information, as well as CONTAINER delivery, route changes, and delivery of
                                         outreach materials as applicable
                                        Number and title of staff to be assigned to waste audit roles, with a minimum
                                         of two (2) full time staff persons per 1,000 accounts
                                        Type of information and metrics collected to analyze the effectiveness of the
                                         waste audits and trainings
                                        Reporting mechanism for reporting waste audit and training statistics and
                                         results to the CITY

   Inspections to ensure SOURCE-        Use of on-site inspections at CUSTOMER locations and feedback from
   SEPARATION of COMMINGLED              PROCESSING FACILITIES and TRANSFER STATIONs that unload
   RECYCLABLES and ORGANICS              COMPACTORS and ROLL-OFFs
                                        Visual inspection, including number and frequency per year and CUSTOMER
                                         follow up procedures, if necessary
                                        Courtesy tags, including procedure of when they will be left, how they will be
                                         tracked and followed up
                                        Warning notices, followed by calls to CUSTOMERs, when contamination is
                                         present
                                        Refusal of collection by CUSTOMER, including under what circumstances,
                                         documentation, tracking procedure, and follow up process
                                        Extra collection charges, including under what circumstances, tracking
                                         procedure, and follow up process
                                        Number and title of staff to be assigned to inspection role
                                        Types of metrics collected to analyze how waste audits and trainings relate to
                                         contamination found during the on-site inspections
                                        Feedback mechanism to improve the outreach process based on the metrics
                                         and inspection analysis outlined above
                                        Reporting mechanism for reporting on-site inspections statistics and analysis
                                         to CITY
                                        Extra collection charges for SOLID WASTE over flow and or reloading on-
                                         site, including under what circumstances, tracking procedure, and follow up
                                         process




   Failure to meet annual disposal reduction targets will result in liquidated damages. Liquidated
   damages for failing to meet disposal targets are presented in Table 2-7, Performance Standards
   and Liquidated Damages. Failure to correct performance issues resulting in liquidated damages
   may result in termination by default of the AGREEMENT.

             2.6.2    ORGANICS IMPLEMENTATION PLAN
   Since 2004, the CITY has been collecting food waste and other organic waste from restaurants.
   Approximately 846 restaurants currently participate in this voluntary program, and 1522 have
   participated in the program. Appendix 1.5, Restaurants Participating in Food Waste Program,

                                                      47


                                                                                                           Exhibit 2
                                                                                                               2-55
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 81 of 196 Page ID #:230

   provides a list and a corresponding map of restaurants participating in the CITY’s food waste
   collection program. The CITY’s expectation is that ORGANICS collection is to be ultimately
   expanded to all CUSTOMERS that generate ORGANICS.

   CONTRACTORs shall continue to serve all CUSTOMERs currently receiving ORGANICS, in
   accordance with the ORGANICS rate schedule, under the FRANCHISE SYSTEM.
   PROPOSERs shall identify in their proposal, the ORGANICS processing facilities they plan to
   use during the initial transition period. Section 3.10.16.2 provides information a PROPOSER
   shall submit.

   Proposals should include a rigorous strategic plan for comprehensive and innovative organic
   waste management throughout the term of the franchise. Examples of elements that could
   be addressed include:
        Plan for complete green bin participation in commercial and multi-family residential
          sectors by the completion of the franchise contract;
        Plan for processing food scraps and organic refuse into market-grade, high quality
          compost and mulch;
        Research, design and development of organics processing and digestion infrastructure;
        Sector-specific food waste recycling to create "super green" waste streams for use by
          manufacturers (e.g. food waste from restaurants or grocery stores for use by livestock
          feed producer or commercial composter);
        Partnerships with colleges, municipal facilities, urban farms, food processors or
          community organizations on consumer education and feedback, and suitable co-location
          of compost or food recycling operations.


      2.7        COST AND FRANCHISE FEE PROPOSAL
   PROPOSERs shall complete the electronic forms, Form 13: Cost and Franchise Fee Proposal.
   Based on information provided in those forms, the CITY shall establish rate tables for SOLID
   RESOURCEs service. The rate charged CUSTOMERs for SOLID WASTE service shall include
   a BLUE BIN CONTAINER for recycling of any size requested by the CUSTOMER (at the same
   collection frequency as SOLID WASTE). There will be a separate rate for ORGANICS service.

   For each size and frequency and material type (SOLID WASTE, COMMINGLED
   RECYCLABLES, and ORGANICS), PROPOSERs shall submit its costs for the following cost
   components:

         Collection
         Processing and Disposal
         Fuel
         Administration, customer service and Profit
         CONTAINER Rental

   As specified in Article 6.23.1, CONTRACTOR shall submit to the CITY all revenue received for
   COMMINGLED RECYCLABLES services not provided i.e., for those customers where
   CONTRACTOR provides solid waste service only. PROPOSERs are expected to conduct
   additional ongoing outreach to those CUSTOMERs that are not initially willing to accept a
   BLUE BIN and/or GREEN BIN CONTAINERS.

                                                  48


                                                                                           Exhibit 2
                                                                                               2-56
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 82 of 196 Page ID #:231

   The CITY will provide CONTRACTORs an exclusive right to serve CUSTOMERs in a
   FRANCHISE ZONE in accordance with the AGREEMENT. The PROPOSERs shall offer the
   CITY a FRANCHISE FEE, anticipated at not less than 10 percent of GROSS RECEIPTS, for
   this exclusive right. The FRANCHISE FEE proposed shall be submitted in Form 14: Cost and
   Franchise Fee Proposal as part of the electronic cost proposal forms. The Fee shall be submitted
   as a percent of GROSS RECEIPTS.
   An example of the relationship between rates and CONTRACTOR compensation is shown in
   Appendix 1.6, Rate and Compensation Examples.


      2.8         INNOVATIVE IDEAS
   Proposers are encouraged to propose innovations that will further the CITY’s FRANCHISE
   SYSTEM goals of achieving a DIVERSION rate of at least 90 percent by 2025, providing the
   highest level of customer service and providing fair and equitable rates. Examples include, but
   are not limited to:

         New facilities, especially recycling and organics processing facilities, that would further
          the CITY’s DIVERSION goals if developed on an accelerated schedule;
         Innovative vehicle designs that increase the efficiency of SOLID RESOURCES
          collection; and
         Innovative incentive strategies that encourage a high level of DIVERSION;
         Innovative customer service standards.

   The CITY is open to receiving proposals that may require a partnership with the CITY, or
   collaboration/partnerships between CONTRACTORs. The format for submitting innovative
   ideas is presented in Section 3.10.18.

   The CITY is committed to a three (3)-stream collection system, BLACK BIN/BLUE
   BIN/GREEN BIN, for the term of all AGREEMENTs. Innovative ideas shall supplement a 3-
   stream collection system.




                                                   49


                                                                                             Exhibit 2
                                                                                                 2-57
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 83 of 196 Page ID #:232


       ARTICLE 3 - GENERAL REQUIREMENTS
       FOR RESPONDING TO THE RFP
      3.1           SUBMISSION DEADLINE AND ADDRESS
   All proposals shall be submitted to the CITY at the following address on or before the
   submission deadline stated below.

   It is solely the responsibility of the PROPOSER to ensure that proposals are received at the
   location noted below, by the due date and time. Proposals received later than the deadline noted
   below will be returned, unopened, to the PROPOSER, and that PROPOSER will be eliminated
   from consideration for this CONTRACT. At the discretion of the CITY and the evaluation panel,
   additional information or documentation may be requested during the proposal review process
   for the purpose of clarity or completeness.

                    DEADLINE DATE: October 29, 2014
                    TIME:          3:00 p.m. PST
                    LOCATION:      1149 S. Broadway, 5th Floor
                                   Los Angeles, CA 90015

                    ATTENTION:          Lisa Carlson
                    TELEPHONE NO.:      213-485-2260
                    FAX NO.:            213-485-3671
                    EMAIL:              zerowastela@lacity.org

   Please allow sufficient time to check-in with building security when attending the mandatory
   Pre-proposal Meeting and when submitting a proposal. A delivery acknowledgement will be
   issued at the receipt of the proposal package and will be provided to the PROPOSER’S delivery
   agent, or in the case of commercial delivery, returned by US Mail to PROPOSER’S address, as
   noted on the outside of the proposal package.

            3.1.1     RESOURCES
   The CITY maintains a web site that provides links to most documents relating to the history of
   the FRANCHISE SYSTEM project. This site can be accessed at:

         http://www.lacitysan.org/ZeroWasteLA/index.html

   PROPOSERs may find documents available on this site to be helpful in preparation of their
   proposals.

   The CITY will also post any and all addenda to the RFP, written answers to questions from
   potential PROPOSERs received prior to the deadline stated in Section 3.6. This information can
   be found at the following web link:

          http://labavn.org/


                                                   50


                                                                                            Exhibit 2
                                                                                                2-58
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 84 of 196 Page ID #:233

              3.1.2      RFP SCHEDULE
   Table 3-1 presents the schedule the CITY currently plans to follow to complete this procurement
   process and implement the FRANCHISE SYSTEM. The CITY reserves the right to change the
   schedule at its sole discretion. Any such changes will be posted as an addendum to the RFP.

   TABLE 3-1
   PROCUREMENT SCHEDULE


   Action                                                        Expected Date

   Mandatory PROPOSERs' Conference with Pre-Proposal
                                                                  July 1, 2014
   Training

   Last day for PROPOSERs’ technical questions                    July 31, 2014

   PROPOSALS due                                                October 29, 2014




       3.2            PROPOSAL PRESENTATION
   All proposal originals shall:

            1.        Be unbound and photocopy ready (original copy);
            2.        Be typed or printed double-sided, on 8-1/2 by 11 inch size 100 percent recycled
                      content paper: minimum font sizes are 11 point for text and 9 point in tables and
                      figures;
            3.        Be enclosed in a single sealed package plainly labeled with the words
                      “PROPOSAL FOR City-wide Exclusive Franchise System for Municipal Solid
                      Waste Collection and Handling”
            4.        Not exceed the number of narrative pages as detailed in Section 3.10, exclusive of
                      required CITY documents, resumes, references and printed materials;
            5.        Have continuously numbered pages
            6.        Label each Article and sub-section with title headers; as detailed in Table 3-2; and
            7.        Submit City required electronic forms in Microsoft Excel file format on a
                      compact disk (CD).


   The cover of the original proposal shall be clearly marked “Original Proposal” and the covers of
   the proposal copies shall be clearly marked “Proposal Copies”. The CITY, at its discretion, may
   request additional copies at no additional cost to the CITY. All required original signatures shall
   be in blue or black ink. All corrections made by the PROPOSER to any part of the RFP
   document shall be initialed in blue or black ink.

   Proposals shall be signed by an individual(s) authorized to negotiate and bind the PROPOSER
   contractually.

   No PROPOSER shall take exception to the specifications set forth in this Article. Proposals
   taking exception to the specifications may be rejected as non-responsive.



                                                       51


                                                                                                  Exhibit 2
                                                                                                      2-59
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 85 of 196 Page ID #:234

        3.3        NUMBER OF COPIES
    Proposal packages shall fully document compliance with all proposal requirements
    detailed throughout this RFP and shall be submitted, by the PROPOSER(S), as follows:

          One (1) unbound original of the entire proposal, including all original signatures.
          Five (5) paper copies of the entire proposal, labeled “COPY”, in 3-ring binders.
          If applicable, one (1) unbound copy of the proposal with confidential material entirely
           blacked out; including statement of defense for actions brought against the CITY
          Two (2) electronic copies of the entire proposal, compatible with Microsoft Office Suite
           and /or Adobe Acrobat, submitted on a CD or USB flash drive.

    In addition to the printed copies, all electronic forms shall be completed and submitted in their
    original file format.
        3.4        SIGNATURE AND AUTHORITY
    The proposal must be signed by an officer of the corporation, principal, partner, or other
    duly authorized person or persons with the authority to make the commitments required
    by this RFP. The signatures produced by the authorized persons representing the
    PROPOSER serve as a consignment, in good faith, to the RFP selection process, with no
    intent by the PROPOSER to withdraw the proposal once it has been submitted to the
    CITY for evaluation or contract award consideration.

    If the proposal is made by a partnership of more than one company, a copy of the
    partnership agreement, the name and post office address of the partnership, a list of all
    partners, and the signature of all general partners must be provided. If made by a
    corporation, the proposal must indicate the name and state or country under which the
    corporation is incorporated and the name, post office address, and federal tax
    identification number of the corporation. If the proposal is made by a corporation, a copy
    of the appropriate section of the bylaws or a resolution of the board of directors of the
    corporation shall be furnished showing the authority of the officer who has signed the
    proposal and proposal forms to execute contracts on behalf of the corporation. If the
    proposal is made by a joint venture, a copy of the joint venture agreement, the name, post
    office address, and organizational status of each of the joint ventures must be provided.
    Where a joint venture is composed of one or more partnerships, corporations, or other
    entities, the information specified in this paragraph must be provided for each entity.
    Each proposal form submitted by a joint venture must be signed by all parties to the joint
    venture agreement.

    In proposals containing proprietary information, proprietary paragraphs and/or other data
    should be clearly marked as noted below in Section 3.7. The PROPOSER must include
    one extra unbound copy of the proposal with the confidential material totally blacked out
    or removed from the text so that one copy is available as public material.
        3.5        PRE-PROPOSAL MEETING
    The CITY will conduct a MANDATORY pre-proposal meeting. Any entity (corporation, joint
    partnership, etc.) that may be considering submitting a proposal to service one or more
    FRANCHISE ZONE is required to attend this meeting. Potential PROPOSERs should send

                                                     52


                                                                                                 Exhibit 2
                                                                                                     2-60
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 86 of 196 Page ID #:235

   technical staff that will be preparing proposals and forms, as well as a member of the proposal
   preparation team, as there will be discussions about proposal preparation. At this meeting, an
   overview of the RFP will be presented by CITY staff, verbal questions taken from those in
   attendance, and an overview provided of the CONTRACT procurement process and schedule,
   including key milestones. This meeting will also include Business Inclusion Program (BIP)
   training and “Pre-Proposal Training” training on how to prepare and submit proposal forms. The
   MANDATORY pre-proposal meeting, including the Business Inclusion Program (BIP) training
   and Pre-Proposal Training will be held on:

                    DATE:     July 1, 2014
                    TIME:     9:00 a.m. PST (please allow at least 3 hours for this meeting)
                    LOCATION: Edward R. Roybal, Board of Public Works Session Room
                              Room 350 City Hall
                              200 North Spring Street (Entrance is off N. Main Street)
                              Los Angeles, California 90012

   NOTE:     ATTENDANCE AT THE PRE-PROPOSAL MEETING IS MANDATORY.
   FAILURE TO ATTEND WILL RESULT IN WITHDRAWAL OF THE PROPOSAL FOR
   NON-COMPLIANCE

            3.5.1      PRE-PROPOSAL TRAINING
   As part of the Pre-Proposal meeting CITY staff will provide training on how to prepare and
   submit proposal forms.. This session will describe how to complete cost proposal forms, as well
   as other required submittal forms. PROPOSERs are encouraged to send the individual(s) who
   may be preparing submittal forms to this training opportunity.

      3.6           QUESTIONS REGARDING THE RFP
   Potential PROPOSERs may submit technical questions regarding the RFP, in writing, to the
   CITY, on or before July 31, 2014. The CITY will make every attempt to answer all written
   technical questions regarding the RFP that are submitted in writing on or before, July 31, 2014.

   Questions shall be submitted in writing to:

                                             Lisa Carlson
                                         Bureau of Sanitation
                                         City of Los Angeles
                                          1149 S. Broadway
                                          5th Floor, MS 944
                                     Los Angeles, CA 90015-2213

   Questions pertaining to the CITY Policy attachments and associated forms (Appendix 7) are to
   be submitted to the department or bureau referenced in the attachment.

   All questions submitted by potential PROPOSERs, and associated answers will be posted on the
   CITY’s web site at: http://labavn.org/.




                                                   53


                                                                                             Exhibit 2
                                                                                                 2-61
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 87 of 196 Page ID #:236

      3.7         CONFIDENTIAL INFORMATION
   Proposals made in response to this RFP may contain technical, financial, or other data whose
   public disclosure could cause substantial injury to the PROPOSER's competitive position or
   constitute a trade secret. To protect such data from disclosure, the PROPOSER should
   specifically identify the pages of the proposal that contain confidential information by properly
   marking the applicable pages and inserting the following notice in the front of the proposal:

          “NOTICE”
          “The data on the pages of this proposal identified by an asterisk (*), or marked along the
          margin with a vertical line, contains information which are trade secrets and/or whose
          disclosure would cause substantial injury to the PROPOSER's competitive position. The
          PROPOSER requests that such data be used only for the evaluation of its proposal, but
          understands that disclosure will be limited to the extent that the CITY determines is
          proper under federal, state, and local law.”

   Failure to include such a statement shall constitute a waiver of the PROPOSER’s right to
   exemption from disclosure and authority for the CITY to provide a copy of the bid or any part
   thereof to the requestor. The CITY assumes no responsibility for disclosure or use of unmarked
   data for any purpose. In the event properly marked data are requested, the PROPOSER will be
   advised of the request and may expeditiously submit to the CITY a detailed statement indicating
   the reasons it has for believing that the information is exempt from disclosure under federal,
   state, and local law. This statement will be used by the CITY in making its determination as to
   whether or not disclosure is proper under federal, state, and local law. The CITY will exercise
   care in applying this confidentiality standard but will not be held liable for any damage or injury
   that may result from any disclosure that may occur. The PROPOSER agrees to assume and pay
   for all costs incurred by the CITY, including attorneys' fees awarded by the court, if the
   PROPOSER requests the CITY to resist disclosure of material provided to the CITY by the
   PROPOSER, provided the CITY determines that said materials are exempt under federal, state,
   and local law.

      3.8         RFP ITEMS NOT COVERED
   Proposals should cover the statement of work and all the RFP specifications. Otherwise,
   PROPOSERs should state why the RFP requirements are not being addressed. If PROPOSERs
   wish to present qualifications in addition to the required items stated, information should be
   presented under the heading “Additional Qualifications We Wish to Present”. PROPOSERs who
   do not wish to present such information should state, “There are no additional qualifications we
   wish to present”.

      3.9         PROPOSAL COST AND OWNERSHIP
   Each proposal prepared in response to this RFP shall be prepared at the sole cost and expense of
   the PROPOSER and with the expressed understanding that no claims against the CITY for
   reimbursement will be accepted. All proposals will become the property of the CITY and will
   not be returned to the PROPOSER. The PROPOSER should not include confidential information
   or trade secrets without expressly stating and identifying the information or trade secrets to be
   considered confidential, since all accepted proposals will become public information following

                                                    54


                                                                                              Exhibit 2
                                                                                                  2-62
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 88 of 196 Page ID #:237

   the closure of the RFP selection process. However, if such information is necessary to assure a
   competitive proposal, then the PROPOSER is to follow the guidelines for confidential
   information as discussed above.

        3.10           PROPOSAL FORMAT
   Each proposal shall be organized in accordance with this Section as outlined in Table 3-2.
   Instructions for preparing each Section of the proposal shown in the outline are given in the
   following sections. Proposals that do not follow the specified format outlined below, or fail to
   provide the required documentation, may receive lower scores. In the event of any conflict
   between any of the proposal documents, resolution thereof shall be at the CITY’s sole discretion.

   PROPOSERs shall provide the information as requested and as applicable to the proposed
   services. Some proposal elements require a proposal for any areas that may be awarded (such as
   billing plans and qualifications), others require information specific (for example, rates) for each
   FRANCHISE ZONE (and BUNDLED FRANCHISE ZONES) for which a PROPOSER is
   submitting a proposal.

   Each subsection of a proposal shall include the following information:

            Required written narrative (where specified, certain subsections may not require this)
            Proposer attachments (certain subsections may not require these)
            Required forms (certain subsections may not require these)

   Heading, Article, and Section numbering utilized in the proposal shall be the same as those
   identified in Table 3-2. Proposals shall include the following information in the format indicated.

   TABLE 3-2
   OUTLINE FOR PROPOSALS
   Major Section                     Sub Section                                Relevant RFP Sections

   1. General Information            Cover Letter                               3.10.1
   (Narrative Limited to 7 Pages)
                                     Executive Summary                          3.10.2

                                     Performance Security Commitment            3.10.3

                                     Acknowledgement of Addenda                 3.10.4

                                     Table of Contents                          3.10.5

                                     Proposal Form for Franchise Zones          3.10.6

                                     Zone Specific Capabilities                 3.10.6

   2. Qualifications                 Project Team and Resumes                   3.10.7
   (Narrative Limited to 10 Pages)   Firm Qualifications, Experience and Past   3.10.8
                                     Performance

                                     Litigation History                         3.10.9

                                     Workplace Safety Record                    3.10.10

                                     Financial Qualifications                   3.10.11

                                     References                                 3.10.12


                                                                55


                                                                                                        Exhibit 2
                                                                                                            2-63
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 89 of 196 Page ID #:238
     TABLE 3-2
     OUTLINE FOR PROPOSALS
     Major Section                         Sub Section                                    Relevant RFP Sections

     3. Customer Service, Outreach and     Customer Service Business Processes and        3.10.13.1, 2.3.1
     Education/Training                    Capabilities
     (Narrative Limited to 20 Pages)       Customer Service Staffing Plan                 3.10.13.1, 2.3.1

                                           Outreach and Education                         3.10.13.2, 2.3.2

                                           Billing                                        3.10.13.3, 2.3.3

                                           Technology                                     3.10.13.4, 2.3.4

                                           Transition Plan                                3.10.14, 2.3.5

     4. Service Plan                       Collection Services                            3.10.15.1, 2.4.1
     (Narrative Limited to 25 Pages)
                                           Containers                                     3.10.15.2, 2.4.2

                                           Vehicles and Routing                           3.10.15.3, 2.4.3

                                           Collection and Field Staffing                  3.10.15.3,

                                           Transfer, Disposal and Processing Facilities   3.10.15.4, 2.5

                                           Special Services Proposal                      3.10.15.5, 2.4.4

                                           Contingency Plan                               3.10.15.6, 2.4.5

                                           Facility Safety and Compliance                 3.10.15.7, 2.5.3

                                           Reporting                                      3.10.15.8, 2.4.6

                                           Safety                                         3.10.15.9, 2.4.7

                                           Performance Standards                          3.10.15.10, 2.4.8

     5. Diversion Plan                     Diversion Plan Strategy                        3.10.16.1, 2.6.1
     (Limited to 13 Pages)
                                           Organics Implementation Plan                   3.10.16.2, 2.6.2

     6. Cost and Franchise Fee Proposals   Cost Proposal                                  3.10.17.1, 2.7.1

     7. Innovative Ideas                   One form to be completed for each innovation   3.10.18, 2.8
     Requires form to be completed for
     each innovation

     8. Appendices                                                                        3.10, Article 8




                                                                     56


                                                                                                              Exhibit 2
                                                                                                                  2-64
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 90 of 196 Page ID #:239

            3.10.1 COVER LETTER
   Required narrative:

   All proposals shall be accompanied by a cover letter and should provide the following
   information:

      1. The name, addresses, telephone number, and e-mail address of PROPOSER’s proposed
         CONTRACT MANAGER.
      2. A description of the type of organization (e.g. corporation, partnership, including joint
         venture teams and SUBCONTRACTORs) submitting the proposal.
      3. The name of the authorized person who will sign the AGREEMENT, in the event one is
         awarded.
      4. A written statement certifying that the PROPOSER has examined, understood, and
         agreed to all requirements set forth in this RFP, signed by the authorized person who will
         sign the AGREEMENT.
      5. A written statement warranting that the service and performance requirements as
         described in this RFP, its enclosures, attachments, and all addenda, by listing all addenda
         and dates received, have been thoroughly reviewed and the PROPOSER has conducted
         all due diligence necessary to confirm material facts upon which the proposal is based.
      6. A written statement acknowledging the validity of the proposal contents including the
         proposed rates through January 9, 2027.

             3.10.2 EXECUTIVE SUMMARY
   The CITY is seeking proposals from SOLID WASTE collection firms with experience as a
   service provider to commercial and multifamily customers, executing DIVERSION programs
   and strategies, providing a high level of customer service, and who demonstrate a commitment to
   environmental excellence and worker safety.

   Required narrative
   The Executive Summary shall highlight the major elements of the PROPOSER’s qualifications
   and proposal, including a brief description of facilities to be used. All information should be
   provided in a concise manner. See Article 5 for additional details on PROPOSER technical and
   financial qualifications.

            3.10.3 PERFORMANCE SECURITY COMMITMENT
   Submit as an attachment: (PROPOSER Attachment 1: Performance Bond Commitment Letter)

   PROPOSERs shall submit a Performance Bond Commitment Letter or a letter stating that the
   PROPOSER will provide a Letter of Credit. Either letter shall be for one of two values: If the
   PROPOSER is proposing only on Zones SE, DT, and/or EDT, the letter shall be for 1.1 million
   dollars ($1,100,000). If the Proposer is proposing on any of the other ZONES, the letter shall be
   for a total of eight million dollars ($8,000,000). The exact amount of the required bond will be
   determined depending on the ZONE(s) awarded.




                                                   57


                                                                                            Exhibit 2
                                                                                                2-65
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 91 of 196 Page ID #:240

            3.10.4 ACKNOWLEDGEMENT OF ADDENDA
   Submit as attachment: (PROPOSER Attachment 2: Acknowledgement of Addenda)

   PROPOSERs shall acknowledge receipt of each addendum to this RFP by signing in the space
   provided on the issued addendum and by submitting all addenda with their proposal.

            3.10.5 TABLE OF CONTENTS
   The PROPOSER’s submittal shall include a Table of Contents with page numbers indicating the
   location in the submittal where each Section of the submittal begins. All attachments or
   appendices shall be identified in the Table of Contents as well (including page numbers).
   The organization shall follow the structure presented above in Table 3-2 and as outlined
   throughout Section 3.10, with sequential page numbering throughout the document.

            3.10.6 PROPOSAL FORM FOR FRANCHISE ZONES
   The PROPOSER’s submittal shall include, following the Table of Contents, a completed
   proposal Form for FRANCHISE ZONEs (Form 1: Franchise Zones). This form requires the
   PROPOSER to identify the FRANCHISE ZONEs for which it is submitting proposal(s). The
   PROPOSER shall also submit a proposal form that identifies those FRANCHISE ZONEs for
   which it is proposing any unique or tailored service delivery approaches that the CITY should
   take note of in the proposal evaluation process (Form 2: Zone Specific Capacity).

            3.10.7 PROJECT TEAM AND RESUMES
   Required narrative

   Each PROPOSER shall describe qualifications and structure of project management team
   including team members who will manage day to day operations, relationships between
   management team and corporate management, and internal controls;

   Submit as attachment: (PROPOSER Attachment 3: Project Team and Resumes)

   The PROPOSER shall provide resumes for the project management team described above.

            3.10.8 FIRM QUALIFICATIONS, EXPERIENCE AND PAST
                   PERFORMANCE
   Required narrative (limited to 10 pages):

   Each PROPOSER shall describe its qualifications, experience and performance history in
   relation to the following:

         Qualifications and structure of project management team including team members who
          will manage day to day operations, relationships between management team and
          corporate management, and internal controls;
         PROPOSER’s performance of similar services in other jurisdictions including California,
          and in the CITY;
         Previous experience providing similar services at a similar scale;

                                                  58


                                                                                           Exhibit 2
                                                                                               2-66
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 92 of 196 Page ID #:241

         Previous history of providing a high level of customer service, consistent with or superior
          to what is required by the CITY;
         A list of previous customers to serve as references, representative of the CUSTOMERS
          that would be served under the FRANCHISE SYSTEM;
         Previous experience in achieving high DIVERSION rates, as required by the CITY’s
          ZERO WASTE goals;
         PROPOSER’s experience and performance in FRANCHISE SYSTEM transitions;
         Experience in coordinating service provisions with other contractors; and

   PROPOSERs are encouraged to submit data, or other supplementary information to support their
   response to this component of the proposal.

           3.10.9 LITIGATION HISTORY
   Submit Form 3: Litigation History:

   The PROPOSER shall provide a history for the last ten (10) years of all claims settlements,
   arbitrations, litigation proceedings, and civil actions involving One Hundred Thousand Dollars
   ($100,000) or more, and all criminal actions in which the company, its parent company,
   subsidiaries, all partners, or principals were involved. For each case, the PROPOSER shall
   provide the following:

         The name of the claim, arbitration, litigation or action;
         The amount at issue or the criminal charges alleged;
         The status of the claim, arbitration, litigation or action; and
         The resolution of the case.

   The PROPOSER shall also provide details of any current or threatened legal actions against the
   PROPOSER or its parent company, subsidiaries, all partners, principals, or joint venture
   company(s) by a governmental entity contracting with the PROPOSER or its parent company for
   services relating to SOLID RESOURCES management, or against such a government entity by
   the PROPOSER or its parent company or joint venture company(s). For each action, the
   PROPOSER shall provide the following:

         The name of the action;
         The court in which the action is pending;
         The action number; and
         The amount at issue.

   The PROPOSER shall provide a list of all enforcement actions taken against it and its
   SUBCONTRACTORs during the last five (5) years by any regulatory agency such as, but not
   limited to, the United States Environmental Protection Agency, State or local Air Quality
   Management District, State Water Resources Control Board or a Local Enforcement Agency
   under the California Integrated Waste Management Act. The list shall include the name of the
   regulatory agency and the date of the enforcement action.

   The PROPOSER shall inform the CITY if it has had a permit, franchise, license, entitlement or
   business license revoked or suspended in the last five (5) years.

                                                     59


                                                                                            Exhibit 2
                                                                                                2-67
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 93 of 196 Page ID #:242

   The PROPOSER shall list any liquidated damages, administrative fines, charges, or assessments
   that total Ten Thousand Dollars ($10,000) or greater in any one (1) calendar year during the last
   five (5) years that have been paid by the PROPOSER to a public agency as a result of collection
   services provided by PROPOSER. The list shall include the name of the public agency, the date
   and amount of the liquidated damages, administrative fines, charges, or assessments, and the
   reason the public agency assessed the liquidated damages, administrative fines, charges, or
   assessments.

   The PROPOSER shall list any claims against a bid, proposal, or performance bond and the
   results and failure to receive a bid, proposal, or performance bond, or any contractual defaults or
   termination in the last twenty (20) years.

            3.10.10 WORKPLACE SAFETY HISTORY
   Submit Form 4: Safety Performance Questionnaire:

   In addition, the PROPOSER shall complete the Form 4: Safety Performance Questionnaire for its
   entities, SUBCONTRACTORs and facilities included in the proposal. The form includes listing
   for the past ten (10) years, any violations of Federal OSHA or Cal OSHA workplace safety laws,
   including the nature of the violation, penalties assessed and corrective actions taken to address
   and prevent the violation from occurring again. The list shall include any such violations by the
   PROPOSER’s SUBCONTRACTORs and facilities which the PROPOSER intends to use as part
   of its proposed operations. All questionnaires will be evaluated against industry standard safety
   statistics and the requirements of the OSHA regulations in relation to the activity to be
   performed.

   Please note that the questionnaire requests copies of the following information:

         OSHA 300 Logs (for the past 5 years)
         Experience Modification Rate (EMR) documentation from your insurance carrier for 3
          most recent years
         If your EMR is over 1.0, please attach a written explanation of the methods that are being
          implemented by your company to reduce this rate. Additional information is requested as
          applicable throughout the questionnaire

   The CITY reserves the right to request additional safety program information to substantiate the
   information provided in the questionnaire.

            3.10.11 FINANCIAL QUALIFICATIONS
   Submit as attachment: (PROPOSER Attachment 4: Financial Qualifications)

   The PROPOSER shall provide copies of audited financial statements for the entity that is
   proposed to sign the AGREEMENT from the three (3) most recent fiscal years. Audited financial
   statements should include: balance sheet, income statement, cash flow statement, footnotes, and
   subsidiary schedules. In the event that a PROPOSER does not have audited financial statements,
   three (3) years of business tax returns, with supporting schedules, may be provided. Tax returns
   are an alternative to providing audited financial statements; if the PROPOSER has audited
   financial statements, those shall be provided.

                                                    60


                                                                                              Exhibit 2
                                                                                                  2-68
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 94 of 196 Page ID #:243


      1. If the entity that will sign the AGREEMENT has a parent company or is proposing a joint
         venture, the parent company or joint venture company(s) shall also provide audited
         financial statements from the three (3) most recent fiscal years. The parent company shall
         provide a statement indicating its intent and means to provide financial assurance of
         performance.
      2. If the entity that will sign the AGREEMENT has been in existence less than three (3)
         years, the PROPOSER shall provide sufficient financial data to substantiate, to the
         satisfaction of the CITY, the PROPOSER’s financial capability and viability of the entity.
      3. In addition to the audited financial statements, the PROPOSER shall provide a statement
         from the Chief Financial Officer indicating that there has been no material change in the
         financial circumstances of the proposing entity (or its parent company or owners if they
         are providing financial assurance of performance) since the date of the last audited
         financial statements.
      4. Financing of the services and equipment will be the sole responsibility of the successful
         PROPOSER. Each PROPOSER shall demonstrate that it can provide the required
         financing from either 1) internally generated funds, or 2) commitments from external
         sources.

   The CITY reserves the right to require submission by the PROPOSER, at no cost to the CITY, of
   an opinion by a Certified Public Accountant with regard to the financial status of such
   PROPOSER, including ownership of, or interest in, equipment and facilities prior to award of an
   AGREEMENT.

   As is set forth in this RFP, the CITY will make reasonable efforts, but makes no representation
   that it will be able to maintain total confidentiality of PROPOSER’s financial information. A
   PROPOSER that submits financial information that it asks to have treated as confidential should
   submit a statement justifying the request, cross reference it in the proposal and label it as a
   separate attachment, clearly identifying it as confidential. At all times, the CITY will comply
   with the provisions of the California Public Records Act.

            3.10.12 REFERENCES
   Submit Form 5: References:

   PROPOSERs shall submit the names and contact information for either three (3) multifamily and
   three (3) commercial customers that can serve as references, or from three (3) municipal clients,
   if available. PROPOSERs shall identify the number of multifamily and commercial accounts
   serviced for each municipal reference, the type of DIVERSION programs, and the DIVERSION
   results for the last three (3) years.

            3.10.13 CUSTOMER SERVICE, OUTREACH AND
                    EDUCATION/TRAINING
   The PROPOSER’s customer service, outreach and education/training plan proposal shall include
   the following (narrative limited to 20 pages):

            3.10.13.1    CUSTOMER SERVICE BUSINESS PROCESSES AND CAPABILITIES


                                                  61


                                                                                            Exhibit 2
                                                                                                2-69
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 95 of 196 Page ID #:244

   Required narrative:

      1. Description of the PROPOSER’s protocols and procedures for receiving, prioritizing and
         ensuring the prompt resolution of customer service complaints; if available, the
         PROPOSER may submit an electronic copy of its Call Center procedures manual and/or
         workflow diagrams that describe how CUSTOMER calls are handled
      2. Describe key performance metrics used to measure Call Center performance
      3. A description of the PROPOSER’s telephone system, including ACD capabilities,
         capability to interface with the SANITATION’s CALL CENTER phone system, and
         features that may impact, positively or negatively, the PROPOSER’s ability to handle a
         large volume of CUSTOMER calls during normal business hours
      4. Description of the PROPOSER’s protocols and procedures for receiving, prioritizing and
         ensuring prompt resolution of customer service complaints outside of normal business
         hours
      5. Description of the PROPOSER’s protocols and procedures for receiving, prioritizing and
         ensuring prompt response to CUSTOMERs with special service needs as described in
         Article 2.4.4

   Submit as attachment: (PROPOSER Attachment 5: Training Plan)

      6. A copy of the PROPOSER’s training plan for all employees, including PROPOSER Call
         Center staff, drivers, and field response staff regarding processes and procedures for
         receiving, prioritizing and effectively responding to customer service complaints, billing
         issues, and other CUSTOMER needs.

   Submit Form 6: Proposed Customer Service Staffing Plan

         Form 6: Proposed Customer Service Staffing Plan

            3.10.13.2    OUTREACH AND EDUCATION

   Required narrative:

      7. A description of the PROPOSER’s overall, ongoing approach to educate and inform the
         CUSTOMERs on opportunities to reduce disposal of SOLID WASTE by increasing
         DIVERSION and ORGANICS DIVERSION. The PROPOSER should describe how its
         proposed approach has worked successfully in other jurisdictions (including in
         California), or within the CITY if the PROPOSER has not undertaken such campaigns
         elsewhere, and describe the unique advantages of its approach.

            3.10.13.3    BILLING

   Required narrative:

      8. A description of the PROPOSER’s billing system (including software vendor, software
         version, server and database platform), a description of the ease with which modifications
         can be made to the system to add additional messages to the bill, change billing
         frequencies, add or reduce the level of detail presented on the CUSTOMER’s bill, etc.



                                                  62


                                                                                            Exhibit 2
                                                                                                2-70
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 96 of 196 Page ID #:245

      9. A description of the PROPOSER’s capabilities to provide electronic billing and payment
         services, including web based billing and payment, ACH debit payment, billing and
         payment by mail, and any other formats.

   Submit as attachments : (PROPOSER Attachment 6: Billing)

      10. A copy of the PROPOSER’s policies and procedures for handling CUSTOMER late
          payments and bad debts;
      11. A copy of five (5) representative MULTIFAMILY residence bills from the past year; and
      12. A copy of five (5) representative COMMERCIAL ESTABLISHMENT bills from the
          past year.




                                                63


                                                                                        Exhibit 2
                                                                                            2-71
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 97 of 196 Page ID #:246

              3.10.13.4   TECHNOLOGY REQUIREMENTS

   This section addresses the PROPOSER’s technology capabilities. The details of the specific
   systems that are used to capture and report Customer Service, Field Operations and Franchise
   Administration data are to be provided, as stipulated in previous sections of the RFP. The
   narrative also provides information on prior experience.

   Required narrative:
   Each PROPOSER shall describe in detail each of the following items related to its technology
   capabilities:

      1. Planned IT roadmap (i.e., detailed timeline) for meeting all technology requirements of
         the FRANCHISE SYSTEM (described in Section 2.3.4) by the start of the transition
         period, including but not limited to: acquisition or expansion of hardware, software,
         network services, data and/or call center facilities, training of staff on technical systems.
      2. Customer Service, Outreach and Education technical approach, including software,
         hardware and processes relating to how the PROPOSER will respond to:

           Respond to, update and provide notifications on customer support requests and how
          the CONTRACTORs systems will be used in conjunction with the CITY’s CRM
           Provide a CUSTOMER facing web self-service system to allow for storing and
          updating account information, paying and viewing historical billing information and to
          track current location of collection vehicles
           Allow CITY staff to view up to date customer bill payment history and service level
           Track and report customer outreach and educational activities and their effects

      3. Field Operations, technical approach, including software, hardware and processes relating
         to how the PROPOSER will:

              Track and provide details on CUSTOMER service levels and extra services provided
              Track and provide details on vehicle inventory
              Provide hauling route details and updates
              Track and provide details on vehicle inspections, location data and vehicle
               operational data
              Capture and provide photographic and/or video surveillance in a digital format
              Track and submit details relating to accidents, incidents or collisions
              Track and submit details relating to personnel training, licenses, safety, and tailgates.

      4. SOLID RESOURCES Collection, technical approach, including software, hardware and
         processes relating to how the PROPOSER will

           Track and report on quantities of SOLID WASTE, RECYCLABLES, and
          ORGANICS collected

      5. Cost and Fee (Franchise Administration) Information technical approach, including
         software, hardware and processes relating to how the PROPOSER will

           Track and provide details for CUSTOMER billing, GROSS RECEIPTS, fees and
          liquidated damages due to the CITY

                                                     64


                                                                                                Exhibit 2
                                                                                                    2-72
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 98 of 196 Page ID #:247

       6. Past experience relating to:

          Technical approaches in fulfilling requirements for Items 2 – 5 above.
          Systems integration and data exchange with other clients. Provide specific examples of
       the integration of customer service data and reporting data (see Table 2-6). Additional
       categories for integration and data exchange may be included to demonstrate the
       PROPOSER’s experience.

       7. Additional detailed information relating to:

        Data backup and storage plans and procedures
        Use of additional software that will enhance the PROPOSER’S ability to implement and
       manage a FRANCHISE SYSTEM AGREEMENT.
        Any technical innovations should be included by completing an innovative idea form.

   Submit as attachments: (PROPOSER Attachment 7: Technology)
      1. Documentation of support for existing IT systems including: response times for the
         resolution of IT system or other system failures and CONTRACTORS IT Help Desk
         Support hours of operation.
      2. Organization charts reflecting the technical support resources, including internal and
         external resources and services
      3. Change management plan, defining how software changes are planned and implemented
      4. Configuration management plan, defining how configuration changes are tested and
         implemented

            3.10.14 TRANSITION PLAN
   The PROPOSER’s transition plan proposal shall include the following (narrative limited to 10
   pages):

            3.10.14.1     CUSTOMER CONTACT AND ACCOUNT SET UP

   Required narrative:

      Describe processes and timelines for contacting CUSTOMERs to set up accounts and billing.

          Description of process to identify, outreach to, and implement collection of all existing
           food waste and yard trimmings CUSTOMERs to be served at the service start date

          Describe processes, media formats (in person, door hangers, web, etc.) and timelines for
           informing and educating CUSTOMERs about new service options available to them;
           source separation requirements and other relevant service information.

          Description of how the availability of ORGANICS collection will be communicated to
           COMMERCIAL ESTABLISHMENTS, including MULTIFAMILY


   Submit the following form:


                                                    65


                                                                                                Exhibit 2
                                                                                                    2-73
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 99 of 196 Page ID #:248

         Form 7: Proposed Transition Plan

            3.10.14.2    PROCUREMENT AND HIRING PLAN

   Required narrative:
       Proposed schedule to procure new CONTAINERs and new vehicles required, and to
          support services provided under the FRANCHISE SYSTEM
       Proposed schedule for hiring and training project staff
       Description of efforts to support the First Source Hiring Ordinance

            3.10.14.3    CONTAINER DELIVERY PLAN

   Required narrative:

         Describe the plan and milestones for delivering all required CONTAINERS to
          CUSTOMERs. Refer to Article 2.3.5.5 for additional details.

            3.10.14.4 TRANSITION STAFFING AND BUSINESS PROCESSES FOR
                     CUSTOMER SERVICE

   Required narrative:

         A description of any technologies, business process changes that will be employed during
          transition to respond to high volumes of CUSTOMER complaints, service requests and
          other inquiries.

           3.10.15 SERVICE PLAN
   The PROPOSER’s service plan proposal shall include the following (narrative limited to 25
   pages):

            3.10.15.1    COLLECTION SERVICES

   Required narrative:

         Describe any strengths or advantages of the PROPOSER’s day to day approach to service
          delivery, including base yard locations, processes for managing daily staffing levels,
          processes for ensuring missed collections are minimized, on board technologies to ensure
          prompt resolution of CUSTOMER issues, and available capacity to send field
          representatives to provide on-site CUSTOMER assistance.

   Submit the following forms:

         Form 8: Collection Vehicles
         Form 9: Collection and Field Response Staff

            3.10.15.2    CONTAINERS




                                                 66


                                                                                          Exhibit 2
                                                                                              2-74
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 100 of 196 Page ID
                                              #:249
 Required narrative:
     Proposed plan for repairing, replacing and maintaining CONTAINERs in accordance
        with requirements of Section 2.4.2

          3.10.15.3    VEHICLES AND ROUTING

 Required narrative:
     Procedures and protocols in place to ensure compliance with the CITY’s restrictions on
        collection hours
     In-vehicle or portable technology to ensure that collection workers properly record work
        performed each day, including provision of EXTRA SERVICES, circumstance where
        service was not performed due to a blocked CONTAINER, etc.
     Proposed processes, procedures, protocols and technology (including GPS and routing
        software) to ensure efficient routing of collection vehicles in a manner that minimizes
        route-miles, provides collection service at the lowest possible costs, enhances safe
        routing such as minimizing left turns, and minimizes vehicle impacts on air quality.

 Submit the following form:

       Form 10: Collection Routes and VMT

          3.10.15.4    TRANSFER, DISPOSAL AND PROCESSING FACILITIES

 Required narrative:
     Capabilities of proposed transfer, disposal and processing facilities in relation to the
        requirements of Section 2.5.2
     Documented performance advantages of all transfer, disposal, and processing facilities
        proposed to be used
     Known plans to expand, retrofit or upgrade facilities, including collection yards proposed
        to be used
     Proposed plans to bring into service additional transfer, disposal or processing facilities
        (including new facilities) during the term of the AGREEMENT

 Submit as attachment: (PROPOSER Attachment 8: Transfer, Disposal and Processing Facilities)

       A letter from an authorized agent of each facility the PROPOSER plans to use over the
        course of its AGREEMENT with the CITY that verifies the facility’s permitted capacity,
        capabilities, and compliance with the requirements of Section 2.5. Each letter of
        agreement shall confirm that the facility will provide the capacity required by the
        PROPOSER over the term of the AGREEMENT.

 Submit the following form:

       Form 11: Facilities

          3.10.15.5    SPECIAL SERVICES




                                                67


                                                                                         Exhibit 2
                                                                                             2-75
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 101 of 196 Page ID
                                                  #:250
 Required narrative:
     Describe proposed plans, including resource commitments, to service the needs of
        industries and CUSTOMERs with unique service needs, as described in Section 2.4.4
     Describe proposed plans to utilize existing service providers, as SUBCONTRACTORs,
        to serve any or all of industries and CUSTOMERs described in Section 2.4.4
     Any distinguishing business processes, capabilities and/or resources the PROPOSER
        offers to provide a superior level of customer service to those industries and
        CUSTOMERs described in Section 2.4.4

          3.10.15.6    CONTINGENCY PLAN

 Required narrative:
     Description of Contingency Plan Training for PROPOSER employers; documentation
        that employees receive training at least annually;
     Description of any events in the past three (3) years where the PROPOSER has had to
        execute its Contingency Plan; and
     Written description and/or other information describing the PROPOSER’s capabilities to
        support the CITY during and after a major emergency or disaster, such as an earthquake.

 Submit as an attachment: (PROPOSER Attachment 9: Evidence of Labor Peace Agreement)

       An affidavit verifying compliance with Article 2.4.5.1 of this RFP and Section 66.33.6(c)
        of the Los Angeles Municipal Code. PROPOSERS may use Form 15 to satisfy this
        requirement.

 Submit as an attachment:

       Contingency Plan: Copy of PROPOSER’s Contingency Plan (provide electronically with
        proposal submittal).

          3.10.15.7    FACILITIES COMPLIANCE

 Required narrative:

       Description of the extent to which the facilities proposed to be used by the PROPOSER
        during the term of the AGREEMENT are in compliance with the requirements of Section
        2.5.3
       For proposed facilities that may be out of compliance at the time of this submittal, a
        statement of commitment from the PROPOSER to bring those facilities, to the extent
        feasible, into compliance with the requirements of Section 2.5.3

          3.10.15.8    REPORTING

 Required narrative:

       Description of the PROPOSER’s technical capabilities to ensure timely reporting and
        data transfer to the CITY as described in Section 2.4.6; the description shall include an
        overview of the server, database and any other IT capabilities that will facilitate the
        efficient and accurate availability and/or transfer of information to the CITY

                                                 68


                                                                                           Exhibit 2
                                                                                               2-76
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 102 of 196 Page ID
                                                 #:251
     Description of how the PROPOSER has effectively implemented the efficient and
       accurate transmittal of electronic data for at least three (3) other clients with requirements
       similar to the CITY’s

          3.10.15.9     SAFETY

 Submit as attachment: (PROPOSER Attachments 11: Safety)

        Copy of the PROPOSER’s safety plan (Injury and Illness Prevention Program including
         protocols and procedures), as well as the safety plans for SUBCONTRACTORs and
         facilities the PROPOSER plans to use during the term of the AGREEMENT
        Copy of the PROPOSER’s annual safety training schedule, as well as annual safety
         training schedule for SUBCONTRACTORs and facilities the PROPOSER plans to use
         during the term of the AGREEMENT
        Documentation confirming the PROPOSER’s (including all SUBCONTRACTORs’ and
         facilities’) compliance with State and Federal Workplace Safety laws for the past five (5)
         years

          3.10.15.10 PERFORMANCE STANDARDS

 Required narrative:

        Describe internal quantitative performance measures used by the PROPOSER to ensure a
         high degree of customer field service, including timely response measures.
        Describe performance measures that have been used by customers and/or other
         jurisdictions to hold the PROPOSER accountable for customer field response.

          3.10.16 DIVERSION PLAN
 The PROPOSER’s diversion plan proposal shall include the following (narrative limited to 13
 pages):

          3.10.16.1     DIVERSION PLAN STRATEGY

 Required narrative:

     •   Description of how the PROPOSER plans to reach programmatic milestones and waste
         disposal reduction thresholds to meet the CITY’s ZERO WASTE goals including a
         description and list of programs to be implemented.

     •   Description of proposed processing facilities (including COMMINGLED
         RECYCLABLES and ORGANICS) if any, including timeline for construction and
         commissioning
     •   For each diversion program discussed in the Diversion Plan, briefly address:
         o Diversion theme, implementing strategy, and/or methodology
         o Target audience
         o Tracking, reporting, feedback, and follow-up procedures

 Submit the following forms:

                                                 69


                                                                                           Exhibit 2
                                                                                               2-77
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 103 of 196 Page ID
                                   #:252

    •   Form 12: Diversion Plan

            3.10.16.2   ORGANICS IMPLEMENTATION PLAN

 Required narrative:

    •   Description of additional ORGANICS to be targeted through new and/or expanded
        collection and diversion programs over the term of the AGREEMENT.
         Develop metrics on how ORGANICS is expanded over the course of the term of the
            AGREEMENT
         Education and outreach on ORGANICS and its expansion
            Description of how the availability of ORGANICS collection will be communicated to
             COMMERCIAL ESTABLISHMENTS, including MULTIFAMILY


            3.10.17 COST AND FRANCHISE FEE PROPOSALS
            3.10.17.1   COST PROPOSAL

       Submit Form 13: Cost and Franchise Fee Proposal:

 The PROPOSER shall complete and submit electronically a cost and franchise fee proposal form
 for each FRANCHISE ZONE (including BUNDLED FRANCHISE ZONEs) for which it
 submits a proposal. The forms require PROPOSERs to provide costs that will be used to
 establish rates for the base service package as well as rates for additional services. The forms
 require that PROPOSERs submit the following:

       FRANCHISE ZONEs and BUNDLED FRANCHISE ZONEs for which PROPOSER is
        submitting a proposal.
       Unit costs for select service levels by component (e.g. collection, fuel,
        administration/customer service, and CONTAINER rent).
       Disposal/processing costs separately for SOLID WASTE, COMMINGLED
        RECYCLABLES, and ORGANICS (separately for green waste and food waste).
       Operating margin (profit) that will apply to all material types, BLACK BIN/BLUE
        BIN/GREEN BIN, sizes, and frequencies. (Note, operating margin is not applied to
        processing or disposal.)
       Bin service additional charges (per use) for extra pick-ups, temporary CONTAINERs,
        and hourly rates separately for SOLID WASTE, COMMINGLED RECYCLABLES, and
        ORGANICS.
       ROLL OFF additional charges (per use) for extra pick-ups, temporary CONTAINERs,
        hourly rates, delivery, connect/disconnect, and demurrage (daily, monthly) separately for
        SOLID WASTE, COMMINGLED RECYCLABLES, and ORGANICS.
       Unit costs for horse manure collection by component (e.g. processing/disposal,
        collection, fuel, administration/customer service, and CONTAINER rent), and relevant
        additional charges.

 The electronic cost proposal forms also require PROPOSERs to submit material density
 estimates, and vehicle spare ratios that will be used to further assess PROPOSER’s


                                                  70


                                                                                             Exhibit 2
                                                                                                 2-78
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 104 of 196 Page ID
                                                 #:253
understanding of the operational requirements for service delivery and the reasonableness of the
costs proposed.

Existing service levels for SOLID WASTE AND RECYCLING CONTAINER service as
reported to SANITATION are provided in the forms for information purposes.

The unit costs and other information provided will be used to evaluate PROPOSERs cost
proposals. The PROPOSER shall only provide the information requested in the forms. The
PROPOSER shall not change or in any way modify the forms or any of the factors or formulas.

        3.10.17.2    FRANCHISE FEE PROPOSAL

      Submit Form 13: Cost and Franchise Fee Proposal:

The electronic Cost and Franchise Fee Proposal Forms also include an entry for a proposed
FRANCHISE FEE, anticipated at not less than 10%, as a percent of GROSS RECEIPTS, that
will be paid to the CITY on a quarterly basis, for each FRANCHISE ZONE (including
BUNDLED FRANCHISE ZONEs) for which it submits a proposal. The FRANCHISE FEE will
be considered in the evaluation of each cost proposal.

        3.10.18 INNOVATIVE IDEAS
Submit the following Form 15: Innovative Ideas
    Form 15: Description of proposed innovation(s), including costs (ongoing and one time),
      proposed partnerships required for implementation, benefit to CUSTOMERs, and/or
      toward advancing the CITY’s goals, including ZERO WASTE.




                                             71


                                                                                       Exhibit 2
                                                                                           2-79
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 105 of 196 Page ID
                                   #:254

      ARTICLE 4 - SELECTION AND
      CONTRACT AWARD PROCESS
      4.1           PROPOSAL EVALUATION
            4.1.1    GENERAL
  The CITY will select the PROPOSER(S) which is determined to be the most qualified, having
  the best experience, provide competitive prices, and possess the ability to successfully perform
  the required tasks. The selection will be based on the pre-established criteria listed in Section 4.2.
  The CITY may deviate from the established evaluation criteria at its sole discretion.

  In order to be evaluated, proposals shall comply with the following:

     PROPOSERs shall have attended the Mandatory Pre-Proposal Conference;
     Proposals shall be received by the submission date and time; and
     Proposals shall be submitted in conformance with the requirements of this RFP.


  The CITY has not determined how many PROPOSERs it will negotiate with to serve the eleven
  (11) FRANCHISE ZONEs that make up the FRANCHISE SYSTEM. As stated in Article 1, no
  PROPOSER will be awarded AGREEMENTs to serve more than forty nine (49) percent of all
  the COMMERCIAL and MULTIFAMILY accounts that comprise the FRANCHISE SYSTEM.
  While a PROPOSER may choose to submit a proposal on any number (or all) of the
  FRANCHISE ZONEs that make up the FRANCHISE SYSTEM, the CITY reserves the right to
  select the number of zones it chooses to negotiate over, based on the evaluation of the proposal
  for each zone. If a PROPOSER is awarded one of the three (3) smaller zones (DT, EDT, or SE) it will
  not be awarded any of the other ten (10) FRANCHISE ZONE

  The CITY reserves the right to suspend negotiation with a PROPOSER, should the CITY
  conclude that an AGREEMENT cannot be reached with the PROPOSER for one or more of the
  FRANCHISE ZONEs under negotiation with the PROPOSER. The CITY further reserves the
  right to enter into simultaneous negotiations with two (2) or more PROPOSERs for any
  FRANCHISE ZONE where reasonably competitive proposals have been received by the CITY,
  as determined by the evaluation process described below.

            4.1.2    NON-RESPONSIVE PROPOSALS
  Factors such as, but not limited to, any of the following may be considered just cause for a
  proposal to be considered non-responsive without further consideration:

     Evidence of collusion, directly or indirectly, among PROPOSERs in regard to the amount,
      terms, or conditions of this proposal;
     Failure to direct all questions/inquiries through the CITY contact as set forth in Section 3.6 of
      this RFP;
     Any attempt to improperly influence any member of the evaluation team;
     Existence of any lawsuit, unresolved contractual claim or dispute between the CITY and the
      PROPOSER and/or the PROPOSER’s related entities;
                                                    72


                                                                                               Exhibit 2
                                                                                                   2-80
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 106 of 196 Page ID
                                               #:255
  Submittal of “non-negotiable” exceptions to the requirements of FRANCHISE SYSTEM
    terms and conditions;
  Any inappropriate conduct or contact with a member of the CITY regarding the
    FRANCHISE SYSTEM;
  Evidence of willfully submitting incorrect information as part of the proposal; and
  Evidence of PROPOSER’s inability to successfully complete the responsibilities and
    obligations of the proposal.
  Failure to attend Pre-Proposal meeting.

           4.1.3      NON-CONFORMING PROPOSAL
 A proposal shall be prepared and submitted in accordance with the provisions of these RFP
 instructions and specifications. Any alteration, omission, addition, variance, or limitation of,
 from or to a proposal may be sufficient grounds for proposal to be deemed non-responsive, at the
 sole discretion of the CITY.

           4.1.4      REQUIRED DOCUMENTS
 Proposals will be reviewed to determine if all required documentation is included. Proposals
 without required documents will be deemed unresponsive and will be disqualified from further
 consideration.

     4.2           PROPOSAL CRITERIA
 The following proposal criteria will be used to determine the most responsive PROPOSER. Each
 proposal will be reviewed, evaluated and assigned a score under each criteria corresponding to
 the designated range of points. A total score will be calculated by adding each criteria score. The
 PROPOSER with the highest score will be determined to be the most responsive. Therefore, it is
 important to note that the criteria listed in the table be satisfied and met in the submitted
 proposals.

 TABLE 4-1
 EVALUATION CRITERIA AND ASSOCIATED WEIGHTING
                                                                   PERCENT
                                                               DISTRIBUTION OF
                                                               PONTS BASED ON
                                                             IMPORTANCE TO THE
 CATEGORY                                                            CITY
 Qualifications                                                     10%
 Customer Service, Outreach and Education/Training                  25%
 Service Plan                                                       20%
 Diversion Plan and Innovative Ideas                                25%
 Cost and Franchise Fee Proposals                                   20%
                                                     Total         100%




                                                     73


                                                                                            Exhibit 2
                                                                                                2-81
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 107 of 196 Page ID
                                   #:256
    4.3         EVALUATION
 Proposals will be reviewed by an evaluation panel consisting of SANITATION staff, and may
 include representatives from outside SANITATION. The evaluation panel may request
 additional information and/or clarification from the PROPOSERS, schedule oral presentations by
 the PROPOSERS, and assess any or all proposals. The final proposal rating will be based on the
 submitted proposal and any additional information or clarification provided in response to the
 evaluation panel’s requests. CONTRACT(s) will be submitted to the BOARD, Mayor, and CITY
 COUNCIL for approval

    4.4         CONFLICT OF INTEREST
 Each Proposer is required to disclose in its proposal any current or contemplated relationship in
 relation to this proposal or subsequent contract with: 1) a current City employee, official, or
 consultant; 2) a former City employee, official, or consultant; or 3) an immediate family
 member of the employee, official, or consultant. A current or contemplated relationship for
 purposes of the disclosure requirement includes, but is not limited to, a Proposer's officer,
 employee, shareholder, contractors, subcontractors, or consultant. Failure to make the requisite
 disclosure may result in the disqualification of the proposal or cancellation of contract or contract
 award.
 Each Proposer is cautioned to carefully consider the following state and City conflict of interest
 laws and restrictions before engaging any current or former City officials, employees or
 consultants in connection with a proposal submitted in response to this RFP. Failure to adhere to
 these restrictions could render any resulting contract void, disqualify a bidder, and/or result in
 personal consequences for the City official or consultant. The City may reject any proposal if
 the proposer or its agent does not adhere to the following:
 Government Code Section 1090 prohibits a current or former public official from receiving a
 direct or indirect financial benefit in relation to a contract involving the official’s agency if the
 official participated in any way in making the contract while in government service. This
 prohibition applies even if the official’s participation in “making” the contract merely involved
 (1) preliminary discussions regarding the creation of a program that would include subsequent
 discretionary contracts, (2) the decision to contract, (3) terms of a possible RFP or contract, or
 (4) the parties to a contract. This restriction may also apply to City consultants.
 Los Angeles Municipal Code Section 49.5.13 prohibits former City officials including
 designated employees from attempting to influence, for compensation, City action on any matter
 pending before either an agency with which the former official previously served or any City
 agency, depending on the status of the former official, for a period of one year. Moreover,
 former City officials and employees are subject to a lifetime ban on attempting to influence or
 advising others, for compensation, regarding City action on any specific matter in which the
 former official personally and substantially participated while in City service if the matter is still
 pending with a City agency or a City agency is still a party to the matter.




                                                    74


                                                                                                Exhibit 2
                                                                                                    2-82
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 108 of 196 Page ID
                                   #:257

      ARTICLE 5 - PROPOSER TECHNICAL
      AND FINANCIAL QUALIFICATIONS
  The CITY desires to receive proposals from qualified and capable PROPOSERs who can
  demonstrate a high degree of technical, operational and financial abilities to develop and provide
  SOLID RESOURCES collection and handling services. The CITY is seeking proposals from
  PROPOSERs with the following qualifications:

             Experience as a service provider to residential and commercial customers for
              collection of SOLID WASTE, COMMINGLED RECYCLABLES and ORGANICS;
             Experience serving a diverse customer base, reflective of those that will be served
              under the FRANCHISE SYSTEM, for the collection of SOLID WASTE,
              COMMINGLED RECYCLABLES and ORGANICS;
             Support for the CITY’s Zero Waste Goal through implementation of diversion
              programs
             Demonstrated success in providing a high level of customer service, include
              responsiveness to CUSTOMER complaints, service requests and other inquiries;
             A demonstrated commitment to worker safety; and
             Sufficient financial capability to implement and execute an AGREEMENT over the
              full term of the AGREEMENT.

     5.1             EXPERIENCE
  The PROPOSER and, where applicable, a parent company, or a partner or partners in the joint
  venture submitting a proposal shall possess no fewer than ten (10) consecutive years of actual
  SOLID WASTE collection experience. In the case of joint venture or partnership proposals, at
  least one general partner of the team shall meet these requirements. In addition, the PROPOSER,
  including all partners to a joint venture or partnership proposal, may not be in default pertaining
  to any material contract obligations during the previous five (5) years.

     5.2             FINANCIAL QUALIFICATIONS
             5.2.1    DEMONSTRATION OF FINANCIAL QUALIFICATIONS
  The PROPOSER is required to demonstrate that it is financially qualified to perform the services
  requested in this RFP. To be considered financially qualified, the PROPOSER or its parent
  company shall:
             Be capable of furnishing a letter of credit or acceptable substitute as specified and
              required in Section 3.10.3 of this RFP.
             Provide the most recent audited financial statements of the entity that will enter into
              the AGREEMENT with the CITY as required in Section 3.10.11. Such statements
              shall be certified by an officer or other responsible representative of the entity and
              accompanied by the expert opinion of an independent certified public accountant. In
              the event that a PROPOSER does not have audited financial statements, three (3)
              most recent years of business tax returns, with supporting schedules, may be provided
              on an exception basis. However, tax returns are an alternative to providing audited
              financial statements; if the PROPOSER has audited financial statements, those shall

                                                   75


                                                                                            Exhibit 2
                                                                                                2-83
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 109 of 196 Page ID
                                                #:258
          be provided. In the case of a joint venture or general partnership of more than one
          company, financial information shall be supplied for all joint venture parties or
          general partners.
        List any current and potential financial liabilities, including potential liabilities for
          issues involving regulatory violations, and pending and current legal actions, etc.

          5.2.2   PROJECT FINANCING
 The CITY will not finance any proposal and will not assume any risks related to financing of an
 existing project or the development of a new project. The PROPOSER shall provide all financing
 for any project associated with the execution of an Agreement (existing or in development),
 including but not limited to land acquisition (if necessary), environmental documentation,
 permitting, design, construction, and operating costs. The PROPOSER shall propose a financing
 strategy to support the service the PROPOSER intends to provide.




                                               76


                                                                                        Exhibit 2
                                                                                            2-84
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 110 of 196 Page ID
                                   #:259

     ARTICLE 6 - BUSINESS ARRANGEMENTS
 The CITY may execute AGREEMENTs with the selected PROPOSERs that will provide the
 services specified in this RFP. The AGREEMENTs will incorporate all of elements of
 PROPOSERs’ business and technical proposals agreed upon. Set forth in this Article are the
 major terms of the business arrangement that the CITY seeks with the selected PROPOSERs, as
 further defined by the proposal items contained the PROPOSERs’ proposals.

    6.1          TERM OF PROPOSED AGREEMENT
 The proposed AGREEMENTs will be for a contractual term of ten (10) years with two (2)
 additional five (5) year renewal options to be exercised at the CITY’s sole discretion. These
 AGREEMENTs are subject to final approval by the BOARD, Mayor, and CITY COUNCIL.

    6.2         PERFORMANCE GUARANTEES
 The selected PROPOSERs warrant that the work hereunder shall be completed in a manner
 consistent with professional standards practiced among those firms within selected
 PROPOSERs’ profession, doing the same or similar work under the same or similar
 circumstances. The selected PROPOSERs shall perform such professional services as may be
 necessary to accomplish the work required to be performed under these AGREEMENTs in
 accordance with these AGREEMENTs. The selected PROPOSERs shall be responsible for the
 professional quality, technical accuracy, timely completion, and the coordination of all services
 furnished by the selected PROPOSERs under these AGREEMENTs. The selected PROPOSERs
 shall, at no additional cost to the CITY, correct or revise any errors, omissions, or other
 deficiencies in its design, drawings, specifications, report, calculations and other services.

    6.3         PERFORMANCE BOND
 As a security for performance under the terms of this RFP and subsequent AGREEMENTs,
 selected PROPOSERs will be required to furnish, upon execution of a CONTRACT with the
 CITY, a performance bond, or equivalent security, in a form acceptable to the CITY. The term of
 the performance bond or approved equivalent shall be renewed annually for the life of the
 CONTRACT.

 Prior to the award of any CONTRACT, selected PROPOSER(s) does not have to post the
 performance bond; however, selected PROPOSER(s) shall show the capability to do so with a
 letter from a bonding company.

    6.4         LIABILITY OF SELECTED PROPOSER
 Except as otherwise provided in the proposed AGREEMENT, each selected PROPOSER shall
 be and remain liable, in accordance with applicable law, for all damages to the CITY caused by
 the selected PROPOSER’s negligent performance of any of the services furnished under the
 AGREEMENT, except for errors, omissions or other deficiencies to the extent attributable to the
 CITY, CITY-furnished data or any third party.


                                                 77


                                                                                           Exhibit 2
                                                                                               2-85
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 111 of 196 Page ID
                                   #:260
          6.4.1    FIFTH YEAR REVIEW OF CONTRACTOR
                   PERFORMANCE
 The CITY will conduct a review of each CONTRACTOR’s performance during the fifth (5th)
 year of the first ten (10) years of the CITY’s AGREEMENT with CONTRACTOR. The review
 will assess the adequacy of the CONTRACTOR’s performance over the first five (5) years of the
 AGREEMENT in relation to the service related performance requirements, DIVERSION targets,
 ORGANICS participation and performance, safety record, and other measurable elements
 included in the CONTRACTOR’s AGREEMENT. Substandard performance will, at a minimum,
 require immediate corrective actions on the part of the CONTRACTOR, and may result in the
 termination of the CONTRACTOR’s AGREEMENT if the review concludes that the
 CONTRACTOR cannot guarantee that it will correct deficiencies.
 While the CITY’s Contractor Performance Evaluation Ordinance allows for the review of
 contracts at any time, this program will be evaluated, at a minimum during the fifth year.

    6.5           KEY PERSONNEL
 Each PROPOSER shall designate, as part of its submittal, a CONTRACT PROJECT
 MANAGER to be assigned to administer its AGREEMENT and serve as the PROPOSER’s
 point of contact with the CITY. Additional personnel shall be assigned, subject to the CITY’s
 approval, on an as-needed basis. The personnel assigned to these positions at the commencement
 of services under the proposed AGREEMENTs shall serve in these positions as long as required.
 The PROPOSER shall not change personnel assigned to these positions without the prior consent
 and approval of CITY, provided such consent shall not be unreasonably withheld.

    6.6           CONTRACTOR PERSONNEL
 Unless otherwise provided or approved by the CITY, each selected PROPOSER shall use its
 own employees to perform the services described in the proposed AGREEMENT. The CITY
 shall have the right to review and approve any personnel who are assigned to work under the
 AGREEMENT. Each selected PROPOSER agrees to remove personnel from performing work
 under the AGREEMENT if requested to do so by the CITY within thirty (30) business days of a
 request by the CITY.

 Selected PROPOSERs shall not use SUBCONTRACTORs to assist in performance of the
 AGREEMENT without the prior written approval of the CITY. If the CITY permits the use of
 SUBCONTRACTORs, selected PROPOSERs shall remain responsible for performing all
 aspects of the AGREEMENT. The CITY has the right to approve selected PROPOSERs’
 SUBCONTRACTORs, and the CITY reserves the right to request replacement of
 SUBCONTRACTORs. The CITY does not have any obligation to pay selected PROPOSERs’
 SUBCONTRACTORs, and nothing herein creates any privity of contract between the CITY and
 the SUBCONTRACTORs.

    6.7           SUBCONTRACTORS
 All subcontracts in excess of $10,000 shall require submission to SANITATION for approval. A
 copy of all subcontracts shall be submitted to SANITATIONs Central Contracting Unit and the
 CONTRACT PROJECT MANAGER showing the SUBCONTRACTOR’s name and dollar

                                               78


                                                                                       Exhibit 2
                                                                                           2-86
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 112 of 196 Page ID
                                              #:261
 amount of each subcontract. Wholly owned subsidiaries of the selected PROPOSERs shall not be
 considered SUBCONTRACTORs. No selected PROPOSER shall change any of its designated
 SUBCONTRACTORs, or reduce their level of effort, without prior written approval of the
 BOARD, provided that such approval is not unreasonably withheld.

    6.8         MAINTENANCE OF RECORDS
 CONTRACTOR shall maintain all records, including records of financial transactions, pertaining
 to the performance of the CONTRACT, in their original form, in accordance with requirements
 prescribed by the CITY. These records shall be retained for a period of no less than four (4)
 years following final payment made by the CITY hereunder or the expiration date of this
 CONTRACT, whichever occurs last. Said records shall be subject to examination and audit by
 authorized CITY personnel or by the CITY’s representative at any time during the term of the
 CONTRACT and within the four (4) years following final payment made by the CITY hereunder
 or the expiration date of the CONTRACT, whichever occurs last. Each CONTRACTOR shall
 provide any reports requested by the CITY regarding performance of CONTRACT within thirty
 (30) business days of the request by the CITY. Any subcontract entered into by CONTRACTOR,
 as authorized under the terms of this AGREEMENT, shall include a like provision for work to be
 performed under the CONTRACT.

    6.9         CHANGES OR MODIFICATIONS
 Changes or modifications in the terms the subsequent AGREEMENT may be made at any time
 by mutual written agreement between the parties hereto. The CITY PROJECT MANAGER’s
 authority to amend the AGREEMENT will be limited to modifications which do not change the
 total compensation for services by more than $10,000, provided that the changes are reflected in
 an Amendment approved by the Mayor, Board of Public Works, and CITY COUNCIL, as
 appropriate.

    6.10        TERMINATION
 6.10.1 The AGREEMENT may be terminated in whole or in part in writing by either party in
        the event of substantial failure by the other party to fulfill its obligations under this
        AGREEMENT through no fault of the terminating party, provided that no termination
        may be effected unless the other party is given (1) not less than ten (10) CALENDAR
        DAYs' written notice (delivered by certified mail, return receipt requested) of intent to
        terminate, and (2) an opportunity for consultation with the terminating party prior to
        termination.

 6.10.2 The AGREEMENT may be terminated in whole or in part in writing by the CITY for its
        convenience, provided that the CONTRACTOR is given (1) not less than thirty (30)
        CALENDAR DAYs' written notice (delivered by certified mail, return receipt requested)
        of intent to terminate, and (2) an opportunity for consultation with the terminating party
        prior to termination. Upon receipt of said written notice, the CONTRACTOR shall
        immediately take action not to incur any additional obligations, cost or expense, except as
        may be reasonably necessary to terminate its activities.



                                                  79


                                                                                            Exhibit 2
                                                                                                2-87
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 113 of 196 Page ID
                                                  #:262
 6.10.3 The AGREEMENT may be immediately terminated in writing by the CITY if (1) a
        federal or state proceeding for relief of debtors is undertaken by or against
        CONTRACTOR, or if CONTRACTOR makes an assignment for the benefit of creditors
        or (2) CONTRACTOR engages in any dishonest conduct related to the performance or
        administration of this AGREEMENT or violates the CITY’S lobbying policies.

 6.10.4 If termination for default is effected by the CITY, an equitable adjustment in the price
        provided for in this AGREEMENT shall be made, but no amount shall be allowed for
        anticipated profit on unperformed services or other work and (2) any payment due the
        CONTRACTOR at the time of termination may be adjusted to cover any additional costs
        to the CITY because of the CONTRACTOR’S default.

         If termination for default is effected by the CONTRACTOR or if termination for
         convenience is effected by the CITY, the equitable adjustment shall include a reasonable
         profit for services or other work performed. The equitable adjustment for any termination
         shall provide for payment to the CONTRACTOR for services rendered and expenses
         incurred prior to the termination, excluding attorney’s fees, in addition to termination
         settlement costs reasonably incurred by the CONTRACTOR relating to written
         commitments that were executed prior to the termination. Thereafter, CONTRACTOR
         shall have no further claims against the CITY under this AGREEMENT.

 6.10.5 Upon receipt of a termination action under Sections 6.10.1, 6.10.2, 6.10.3 above, the
        CONTRACTOR shall (1) promptly discontinue all affected work (unless the notice
        directs otherwise), and (2) deliver or otherwise make available to the CITY within thirty
        (30) business days of said termination action all finished or unfinished documents and
        materials produced or procured under this AGREEMENT, including all intellectual
        property rights thereto, which shall become CITY property upon date of such
        termination. CONTRACTOR agrees to execute any documents necessary for the CITY to
        perfect, memorialize, or record the CITY’s ownership of rights provided herein within
        thirty (30) business days of said termination.

 6.10.6 Upon termination under Sections 6.10.1, 6.10.2, 6.10.3 above, the CITY may take over
        the work and may award another party an AGREEMENT to complete the work under this
        AGREEMENT.

 6.10.7 If, after the termination for failure of the CONTRACTOR to fulfill contractual
        obligations, it is determined that the CONTRACTOR had not failed to fulfill contractual
        obligations, the termination shall be deemed to have been for the convenience of the
        CITY. In such event, a payment to the CONTRACTOR shall be made as provided in
        Section 6.10.4 of this Article.

 6.10.8 The rights and remedies of the CITY provided in this Section shall not be exclusive and
        are in addition to any other rights and remedies provided by law or under this
        AGREEMENT.

     6.11       INDEMNIFICATION
 Except for the active negligence or willful misconduct of the CITY, or any of its Boards,
 Officers, Agents, Employees, Assigns and Successors in Interest, the CONTRACTOR

                                                 80


                                                                                             Exhibit 2
                                                                                                 2-88
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 114 of 196 Page ID
                                                   #:263
 undertakes and agrees to defend, indemnify and hold harmless the CITY and any of its Boards,
 Officers, Agents Employees, Assigns, and Successors in Interest from and against all suits and
 causes of action, claims, losses, demands and expenses, including, but not limited to, attorney’s
 fees (both in house and outside counsel) and cost of litigation (including all actual litigation costs
 incurred by the CITY, including but not limited to, costs of experts and consultants), damage or
 liability of any nature whatsoever, for death or injury to any person, including the
 CONTRACTOR’S employees and agents, or damage or destruction of any property of either
 party hereto or of third parties, arising in any manner by reason of the negligent acts, errors,
 omissions or willful misconduct incident to the performance of the CONTRACT by the
 CONTRACTOR or its SUBCONTRACTORS of any tier. Rights and remedies available to the
 CITY under this provision are cumulative of those provided for elsewhere in this AGREEMENT
 and those allowed under the laws of the United States, the State of California, and the City. The
 provisions of this paragraph survive expiration or termination of the CONTRACT.

     6.12       CLAIMS FOR LABOR AND MATERIALS
 The CONTRACTOR shall promptly pay when due all amounts payable for labor and materials
 furnished in the performance of the AGREEMENT, so as to prevent any lien or other claim
 under any provision of law from arising against any CITY property (including reports,
 documents, and other tangible or intangible matter produced by the CONTRACTOR hereunder),
 against the CONTRACTOR’S rights to payments hereunder, or against the CITY, and shall pay
 all amounts due under the Unemployment Insurance Act with respect to such labor.

     6.13       INDEPENDENT CONTRACTOR
 The PROPOSER is acting as an independent contractor and not as an agent or employee of the
 CITY. The PROPOSER shall not represent or otherwise hold out itself or any of its directors,
 officers, partners, employees, or agents to be an agent or employee of the CITY. The CITY shall
 not represent or otherwise hold itself out or any of its directors, officers, partners, employees or
 agents to be an agent or employee of the PROPOSER.

     6.14       OWNERSHIP AND LICENSE
 Unless otherwise provided for herein, all Work Products originated and prepared by
 CONTRACTOR or its SUBCONTRACTORs of any tier under the CONTRACT shall be and
 remain the exclusive property of the CITY for its use in any manner it deems appropriate. Work
 Products are all works, tangible or not, created under the CONTRACT including, without
 limitation, documents, material, data, reports, manuals, specifications, artwork, drawings,
 sketches, computer programs and databases, schematics, photographs, video and audiovisual
 recordings, sound recordings, marks, logos, graphic designs, notes, web sites, domain names,
 inventions, processes, formulas matters and combinations thereof, and all forms of intellectual
 property. CONTRACTOR hereby assigns, and agrees to assign, all goodwill, copyright,
 trademark, patent, trade secret and all other intellectual property rights worldwide in any Work
 Products originated and prepared by CONTRACTOR under the CONTRACT.

 CONTRACTOR further agrees to execute any documents necessary for the CITY to perfect,
 memorialize, or record the CITY’S ownership of rights provided herein.


                                                  81


                                                                                             Exhibit 2
                                                                                                 2-89
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 115 of 196 Page ID
                                               #:264
 For all Work Products delivered to the CITY that are not originated or prepared by
 CONTRACTOR or its SUBCONTRACTORs of any tier under this CONTRACT,
 CONTRACTOR hereby grants a non-exclusive perpetual license to use such Work Products for
 any CITY purposes.

 CONTRACTOR shall not provide or disclose any Work Product to any third party without prior
 written consent of the CITY.

 Any subcontract entered into by CONTRACTOR relating to this CONTRACT, to the extent
 allowed hereunder, shall include a like provision for work to be performed under this
 CONTRACT to contractually bind or otherwise oblige its SUBCONTRACTORs performing
 work under this CONTRACT such that the CITY’S ownership and license rights of all Work
 Products are preserved and protected as intended herein. Failure of CONTRACTOR to comply
 with this requirement or to obtain the compliance of its SUBCONTRACTORs with such
 obligations shall subject CONTRACTOR to the imposition of any and all sanctions allowed by
 law, including but not limited to termination of CONTRACTOR’S CONTRACT with the CITY.

    6.15        SUCCESSORS AND ASSIGNS
 All of the terms, conditions, and provisions hereof shall inure to the benefit of and be binding
 upon the parties hereto and their respective successors and assigns provided, however, that no
 assignment of the AGREEMENT shall be made without written consent of the parties to the
 AGREEMENT which consent shall not be unreasonably withheld.

    6.16        FORCE MAJEURE
 In the event that performance on the part of any party hereto is delayed or suspended as a result
 of circumstances beyond the reasonable control and without the fault and negligence of said
 party, none of the parties shall incur any liability to the other parties as a result of such delay or
 suspension. Circumstances deemed to be beyond the control of the parties hereunder include, but
 are not limited to, acts of God or of the public enemy; insurrection; acts of the Federal
 Government or any unit of State or Local Government in either sovereign or contractual
 capacity; fires; floods; earthquakes; epidemics; quarantine restrictions; freight embargoes or
 delays in transportation, to the extent that they are not caused by the party's willful or negligent
 acts or omissions, and to the extent that they are beyond the party's reasonable control.

    6.17        SEVERABILITY
 Should any portion of the proposed AGREEMENT be determined to be void or unenforceable,
 such shall be severed from the whole and the proposed AGREEMENT will continue as
 modified.

    6.18        DISPUTES
 Should a dispute or controversy arise concerning provisions of the proposed AGREEMENT or
 the performance of work hereunder, the parties may elect to submit such to a court of competent
 jurisdiction. The party against whom a decision is rendered shall be required to pay, in addition


                                                   82


                                                                                              Exhibit 2
                                                                                                  2-90
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 116 of 196 Page ID
                                                  #:265
 to any judgment, all legal costs and attorney’s fees incurred by both parties pursuant to the
 resolution to the matter.

    6.19        APPLICABLE LAW, INTERPRETATION, AND
                ENFORCEMENT
 Each party’s performance under the AGREEMENT shall comply with all applicable laws of the
 United States of America, the State of California, and the City of Los Angeles, including but not
 limited to, laws regarding health and safety, labor and employment, wages and hours and
 licensing laws which affect employees. The AGREEMENT and its performance shall be
 enforced and interpreted under the laws of the State of California. All causes of action arising
 directly or indirectly from the business relationship evidenced by the proposed AGREEMENT
 shall be filed in the appropriate state or federal court located in Los Angeles County, California,
 and each party agrees to be subject to the jurisdiction of the State of California regardless of their
 residence. The CONTRACTOR shall comply with new, amended, or revised laws, regulations,
 and/or procedures that apply to the performance of this AGREEMENT.

 If any part, term or provision of this AGREEMENT is held void, illegal, unenforceable, or in
 conflict with any law of a federal, state, or local government having jurisdiction over this
 AGREEMENT, the validity of the remaining parts, terms or provisions of the AGREEMENT
 shall not be affected thereby.

    6.20        BREACH
 Except for force majeure, if any party fails to perform, in whole or in part, any promise,
 covenant, or agreement set forth herein, or should any representation made by it be untrue, any
 aggrieved party may avail itself of all rights and remedies, at law or equity, in the courts of law.
 Said rights and remedies are cumulative of those provided for herein except that in no event shall
 any party recover more than once, suffer a penalty or forfeiture, or be unjustly compensated.

    6.21        RIGHTS RESERVED BY THE CITY
 The CITY reserves the right, at its discretion, to pursue any or all of the following actions in
 regard to this RFP:

    1. Select and enter into an AGREEMENT with PROPOSERS who, in the CITY’s sole
       judgment, are responsive to this RFP and whose proposals will satisfy the interests of the
       CITY, and not necessarily on the basis of price alone or any other single factor.
    2. Award AGREEMENTs to more than one PROPOSER.
    3. Request additional information and/or clarification from any or all PROPOSERS.
    4. Reject any or all proposals, permit the timely correction of errors, or waive minor
       deviations.
    5. Supplement, amend, or otherwise modify this RFP, and to withdraw this RFP, with or
       without the substitution of another RFP.
    6. Extend the time for submittal of this RFP.
    7. Short-list any or all proposals and schedule oral presentations by any or all PROPOSERS.
    8. Modify the length of the CONTRACT term and associated renewal options.
    9. Conduct all investigations and background checks as deemed necessary.

                                                   83


                                                                                               Exhibit 2
                                                                                                   2-91
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 117 of 196 Page ID
                                                #:266
   10. Negotiate best and final offers with PROPOSERs.
   11. Take whatever other action it deems in its best interest.

The CITY may still consider proposals that contain provisions that deviate slightly from the
requirements in this RFP, in the event the deviation(s) are not considered material. However, in
the event that a PROPOSER is awarded an AGREEMENT, the PROPOSER shall be in full
compliance with the objectives described herein. This RFP does not obligate the CITY or any of
its member agencies to accept any proposal, negotiate with any PROPOSER, award a
CONTRACT, or proceed with the implementation of any proposal made in response to this RFP.

         6.21.1 RIGHT TO AUDIT
The CITY reserves the right to audit a CONTRACTOR’S records, data, business processes,
licenses and certifications or any other information relevant to the ensuring that the
CONTRACTOR is in compliance with its AGREEMENT and/or local, state and federal law.
The CITY agrees to give a CONTRACTOR no less than ten (10) business days’ notice before
beginning such an audit.

         6.21.2 RIGHT OF INSPECTION
The CITY reserves the right to observe and inspect all records, facilities, equipment, and
operations required for the execution of the AGREEMENT including but not limited to
collection operations; disposal, transfer and processing operations; customer service operations;
and financial and record keeping functions.

CITY inspections staff shall have the right at any time to observe and inspect the operations of
any, or all, facilities used to perform work under AGREEMENT to ensure the CONTRACTOR
is in compliance with all applicable regulations and obligations. This right of inspection shall
extend to all handling, transfer, disposal, recycling, or material processing facilities contracted or
subcontracted, at any tier, pursuant to this RFP.

   6.22        ACCEPTANCE OF TERMS AND CONDITIONS
Submission of a proposal shall constitute acknowledgement of acceptance of all terms and
conditions hereinafter set forth in this RFP unless otherwise expressly stated here in. All
proposals shall be submitted in writing and shall include all required documents including forms,
attachments, and other specifications.

   6.23        COMPENSATION AND PAYMENT
Each CONTRACTOR is responsible for monthly billing and collection of payments from
CUSTOMERs in its FRANCHISE ZONE(s). Each CONTRACTOR shall remit the CITY, thirty
(30) days after the end of the previous quarter, all fees, including the FRANCHISE FEE, AB 939
FEE, and fee for recycling services not provided to the CITY (as detailed in the
CONTRACTOR’s AGREEMENT).




                                                  84


                                                                                               Exhibit 2
                                                                                                   2-92
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 118 of 196 Page ID
                                   #:267
          6.23.1 FEES FOR RECYCLING SERVICES NOT PROVIDED
 Initially, it is possible that not all customers will accept a BLUE BIN for recycling services. For
 each customer that does not accept a BLUE BIN from the CONTRACTOR, the CONTRACTOR
 will still invoice the full SOLID WASTE rate that includes SOLID WASTE and
 COMMINGLED RECYCLABLES services. Because the recycling services are not being
 rendered by the CONTRACTOR, the CONTRACTOR will remit to the CITY the portion of the
 collection fee for recycling service not provided as detailed in the AGREEMENT. An example
 of how these fees will be calculated is provided in Appendix 1.6 Rate and Compensation
 Examples.

          6.23.2 METHODOLOGY FOR CALCULATING CONTRACTOR
                 COMPENSATION
 CONTRACTORS are responsible for billing CUSTOMERs according to the rate and fee
 schedule included in their AGREEMENT. These rates and fees include a FRANCHISE FEE,
 applied as a percent of GROSS RECEIPTs, and a 10 percent AB 939 FEE applied as a percent of
 GROSS RECEIPTs for SOLID WASTE services.

          6.23.3 CONTRACTOR’S MONTHLY COMPENSATION IS THE
                 TOTAL DOLLAR VALUE OF THE PAYMENTS IT HAS
                 RECEIVED FROM CUSTOMERS IN THE PREVIOUS
                 QUARTER LESS THE FEES DUE THE CITY
 At the commencement of service under the AGREEMENTs, rates will include the FRANCHISE
 FEE and AB 939 FEE. The CITY may choose to increase or decrease rates for fees in the future,
 subject to applicable law, and may adjust CUSTOMER rates accordingly.

          6.23.4 ANNUAL COMPENSATION ADJUSTMENT
 Each year, information from the PROPOSERs cost and franchise fee proposal about its
 component costs and readily available price indexes will be used as the basis for adjusting
 CONTRACTOR compensation (plus additional financial information that may be requested by
 SANITATION). Each rate and the rates for SPECIAL SERVICES shall be adjusted in
 accordance with the following percentages, the total annual compensation adjustment shall not
 exceed 5%:


  TABLE 6-2
  ANNUAL COMPENSATION ADJUSTMENT




                                                 85


                                                                                            Exhibit 2
                                                                                                2-93
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 119 of 196 Page ID
                                   #:268
   Index              Escalator Name   Cost Component
   CPI-W              CPI %            Labor, maintenance, insurance, operations, other operating
                                       expense, G&A
   80% CPI-2          Disp/Proc %      Disposal and processing

   PPI-No. 2 Diesel   Fuel %           Fuel

   No Escalation      Int/Dep %        Interest and depreciation




                                              86


                                                                                         Exhibit 2
                                                                                             2-94
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 120 of 196 Page ID
                                   #:269

        ARTICLE – CITY STANDARD
        PROVISIONS (LEGAL REQUIREMENTS)
  All PROPOSERS are required to adhere to the CITY’s policies on Personal Services Contracts.
  Each proposal shall include the relevant completed forms, also included in Attachments.

        7.1      INSURANCE REQUIREMENTS
  The selected PROPOSERS will be required to maintain for the duration of the CONTRACT and
  provide certification of insurance coverage(s) in the following types and amounts as specified by
  the CITY’s Risk Manager and the BOARD:

  (a)     General Liability                     $2,000,000
  (b)     Workers’ Compensation
          Employer’s Liability Insurance        $1,000,000
  (c)     Automobile Liability                  $5,000,000
  (d)     Crime Insurance                       $1,000,000

  All PROPOSERS, as part of their Proposal, are required to provide a notarized declaration from
  their insurance carrier(s) that their firm is able to obtain insurance coverage in the limits stated
  above. Information on how to submit proof of insurance to the CITY, along with conditions for
  acceptance of self-insurance is included in Attachment C. The CITY’s Risk Management, CAO
  Office, will determine actual insurance coverage at the time a specific Proposal is accepted.

        7.2      BUSINESS TAX REGISTRATION
                 CERTIFICATE REQUIREMENT
  If applicable, selected PROPOSER represents that it has obtained and presently holds the
  Business Tax Registration Certification required by the CITY’s Business Tax Ordinance Article
  21.00 et seq, of the CITY Municipal Code. For the term covered by this AGREEMENT,
  CONTRACTORs shall maintain, or obtain as necessary, all such Certificates required of it under
  the Business Tax Ordinance, and shall not allow any such Certificate to be revoked or suspended
  (See Attachment B).

        7.3      NON-COLLUSION
  Each proposal shall contain the following statement signed by a legally authorized officer of the
  PROPOSER. “This proposal is genuine and not sham or collusive or intended to be withdrawn
  once submitted for evaluation in the RFP selection process or during consideration for
  CONTRACT award, nor made in the interest or in behalf of any person herein named; the
  PROPOSER has not directly or indirectly induced or solicited any other PROPOSER to put in a
  sham bid, or any other person, firm or corporation to refrain from submitting a proposal; and the
  PROPOSER has not in any manner sought by collusion to secure himself an advantage over any
  other PROPOSER” (see Attachment G).



                                                    87


                                                                                              Exhibit 2
                                                                                                  2-95
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 121 of 196 Page ID
                                   #:270
    7.4         LOS ANGELES RESIDENCE INFORMATION
 It is the policy of the CITY to require all PROPOSERS or individuals seeking CONTRACTs
 with the CITY to report the headquarters address of the company and declare the percentage of
 the work force residing in the CITY. Proposals shall include the following information:

       Organization headquarters address
       Addresses of all branch offices located within the CITY
       Number of employees in the total workforce
       Percentage of total workforce residing in the CITY
       Percentage of total workforce employed in the CITY
       Number of employees in each Los Angeles branch office
       Percentage of work force in each Los Angeles branch office residing in the CITY

 See Attachment F for sample form.

    7.5         CONTRACT HISTORY
 The CITY COUNCIL passed a resolution on July 21, 1998 requiring that all proposed vendors
 supply in their proposal or bid, a list of all CITY contracts held by the bidder or any affiliated
 entity during the preceding 10 years. PROPOSERs shall complete and return the Contract
 History form included in Attachment J.

    7.6         NONDISCRIMINATION/EQUAL
                EMPLOYMENT
                OPPORTUNITY/AFFIRMATIVE ACTION
 PROPOSERs are advised that any CONTRACT awarded pursuant to this procurement process
 shall be subject to the applicable provisions of Los Angeles Administrative Code Section 10.8.2.,
 Non-discrimination Clause.

 Non-construction services for the CITY for which the consideration is $1,000 or more shall
 comply with the provisions of Los Angeles Administrative Code Articles 10.8.3., Equal
 Employment Practices Provisions. All PROPOSERs shall complete and upload the Non-
 Discrimination/Equal Employment Practices Certification (two (2) pages) available on the City
 of Los Angeles’ Business Assistance Virtual Network (BAVN) residing at www.labavn.org, no
 later than the time when an individual Bid/Proposal is submitted. However, PROPOSERs with
 Certifications previously uploaded to BAVN within the last year do not need to re-submit the
 document.

 Non-construction contracts for which the consideration is $100,000 or more shall comply with
 the provisions of Los Angeles Administrative Code Articles 10.8.4., Affirmative Action Program
 Provisions. All PROPOSERs shall complete and upload, the City of Los Angeles Affirmative
 Action Plan (two (2) pages) available on the City of Los Angeles’ Business Assistance Virtual
 Network (BAVN) www.labavn.org no later than the time when an individual Bid/Proposal is
 submitted. PROPOSERs opting to submit their own Affirmative Action Plan may do so by


                                                  88


                                                                                             Exhibit 2
                                                                                                 2-96
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 122 of 196 Page ID
                                                #:271
 uploading their Affirmative Action Plan onto the CITY’s BAVN. PROPOSERs with Affirmative
 Action Plan previously uploaded to BAVN within the last year do not to re-submit the document.

 Furthermore, subject SUBCONTRACTORs shall be required to submit the Non-
 Discrimination/Equal Employment Practices Certification and Affirmative Action Plan to the
 successful PROPOSER prior to commencing work on the CONTRACT. The
 SUBCONTRACTORs’ Non-Discrimination/Equal Employment Practices Certification(s) and
 Affirmative Action Plan(s) shall be retained by the successful PROPOSER and shall be made
 available to the Office of Contract Compliance upon request.

 Both the Non-Discrimination/Equal Employment Practices Certification and the City of Los
 Angeles Affirmative Action Plan Affidavit shall be valid for a period of twelve (12) months from
 the date it is first uploaded onto BAVN.

 PROPOSERs seeking additional information regarding the requirements of the CITY’s Non-
 Discrimination Clause, Equal Employment Practices and Affirmative Action Program may visit
 the Bureau of Contract Administration’s web site at http://bca.lacity.org.

     7.7       BUSINESS INCLUSION PROGRAM
 It is the policy of the CITY to provide Minority Business Enterprises (MBE), Women Business
 Enterprises (WBE), Small Business Enterprises (SBE), Emerging Business Enterprises (EBE),
 Disabled Veterans Business Enterprises (DVBE) and Other Business Enterprises (OBE) an equal
 opportunity to participate as SUBCONTRACTORs in the performance of CITY contracts.
 PROPOSERS shall assist the CITY in implementing this policy by taking all reasonable steps to
 ensure that all available business enterprises, including MBE(S), WBE(S), SBE(S), EBE(S),
 DVBE(S) and OBE(S) have an equal opportunity to compete for and participate in CITY
 contracts. The BOARD has set anticipated participation levels of eight percent (8%) for MBE,
 five percent (5%) for WBE, five percent (5%) for SBE, one percent (1%) for EBE, one percent
 (1%) for DVBE for this project.

 The Business Inclusion Program (BIP) required in this RFP is in accordance with Mayor’s
 Executive Directive 14. Business Inclusion Program documentation, in which must be completed
 at labavn.org will be evaluated separately from the proposal. PROPOSERs shall submit
 sufficient documentation and meet prescribed deadlines to be deemed responsive. Failure to
 submit adequate Business Inclusion Program documentation will result in the proposal being
 deemed non-responsive. PROPOSERs to this RFP will have until 4:30 P.M. of the following
 CITY working day to complete the BAVN-generated Summary Sheet with responses from all
 Subcontractors.


 The CITY recognizes that the potential subcontracting opportunities and the associated level of
 participation will vary depending on the franchise zone(s) awarded. Due to the nature of these
 services, the CITY is requiring that PROPOSERs submit a Schedule A, List of Potential
 MBE/WBE/SBE/EBE/DVBE/OBE Subcontractors, at the same time when submitting their
 proposals. The list must also be inclusive of all subcontractors for ALL zones for which the
 PROPOSER will be submitting a proposal. The list must include the names of any potential
 MBE/WBE/SBE/EBE/DVBE/OBE subcontractors, vendors, or any business that renders
 services or provides goods or rentals with whom the respondent believes it may do business with

                                                89


                                                                                         Exhibit 2
                                                                                             2-97
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 123 of 196 Page ID
                                                   #:272
 as a result of receiving a contract resulting from this RFP. Following contract negotiation and
 prior to contract award, PROPOSERs will be required to submit to the CITY a Schedule B
 MBE/WBE/SBE/EBE/DVBE/OBE Subcontractor Information Form for each contract for which
 they are awarded that includes the final list of subcontractors (from Schedule A) for that specific
 contract and their pledged subcontractor participation dollar values.

  The outreach shall attempt to provide a portion of the CONTRACT to
  MBE/WBE/SBE/EBE/DVBE/OBE SUBCONTRACTORs. Failure to include supporting
  documentation of a Business Inclusion Program, as outlined in Appendix 7, Attachment D, or
  failure to achieve a passing result, will render the Proposal non-responsive and result in its
  rejection. The following NAICS Codes have been identified as work areas for which
  subcontracting outreach shall be performed:

  LABAVN NAICS - Commercial Franchise Program



  48 Transportation and
  Warehousing
  48     484110               General Freight Trucking, Local
  51 Information
  51     518210               Data Processing, Hosting & Services
  51     519130               Internet Publishing & Broadcasting
  54 Professional Scientific and Technical Services
  54     541512               Computer Systems Design Services
  54     541613               Marketing Consult Services
  54     541810               Advertising Agencies
  54     541820               Public Relations Agencies
  54     541850               Display advertising
  54     541860               Direct Mail Advertising
  54     541870               Advertising Material Distribution
  54     541890               Other services related to advertising
  54     541910               Marketing Research & Public Polling
  54     541930               Translation and Interpretation Serv
  56 Administrative Support, Waste Management and Remediation Services
  56     562111               Solid Waste Collection
  56     562212               Solid Waste Landfill
  81 Other Services
  81     811212               Computer & Office Machine Repair
  81     811213               Communication Equip Repair & Maint
  81     811219               Other Electronic and Precision Equip
  81     811310               Commercial & Industrial Machinery




                                                  90


                                                                                           Exhibit 2
                                                                                               2-98
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 124 of 196 Page ID
                                   #:273
    7.8         SERVICE CONTRACTOR WORKER
                RETENTION ORDINANCE/LIVING WAGE
                ORDINANCE
 Each franchisee shall comply with all requirements of an "Employer" under the City's Living
 Wage Ordinance (LWO), Los Angeles Administrative Code Section 10.37, et. seq. PROPOSERs
 who believe that they meet the qualifications for an exemption as a non-profit or one-person
 contractor shall apply for such exemption from the LWO by submitting with their proposal the
 Non-Profit/One-Person Contractor Certification of Exemption (OCC/LW-13). This exemption
 form is available on the Bureau of Contract Administration web site at
 http://bca.lacity.org/index.cfm.

 Each franchisee shall also be deemed a "contractor" for purposes of the City's Service Contractor
 Worker Retention Ordinance, Los Angeles Administrative Code Section 10.36, et seq, and shall
 comply with all the requirements of a "contractor" thereunder.

    7.9         EQUAL BENEFITS ORDINANCE
 PROPOSERs are advised that any AGREEMENT awarded pursuant to this procurement process
 shall be subject to the applicable provisions of Los Angeles Administrative Code Section
 10.8.2.1, Equal Benefits Ordinance (EBO).

 All PROPOSERs shall complete and upload, the Equal Benefits Ordinance Affidavit (two (2)
 pages) available on the City of Los Angeles’ Business Assistance Virtual Network (BAVN)
 residing at www.labavn.org prior to award of a CITY CONTRACT value of which exceeds
 $5,000. The Equal Benefits Ordinance Affidavit shall be valid for a period of twelve months
 from the date it is first uploaded onto the CITY’s BAVN. PROPOSERs do not need to submit
 supporting documentation with their proposals. However, the CITY may request supporting
 documentation to verify that the benefits are provided equally as specified on the Equal Benefits
 Ordinance Affidavit.

 PROPOSERS seeking additional information regarding the requirements of the Equal Benefits
 Ordinance may visit the Bureau of Contract Administration’s web site at http://bca.lacity.org.

    7.10        CONTRACTOR RESPONSIBILITY
                ORDINANCE
 Each franchise AGREEMENT is hereby deemed a "contract" for purposes of the City's
 Responsible Contractor Program, Los Angeles Administrative Code Section 10.40, et seq., and
 each franchisee shall comply with all requirements of a "Contractor" thereunder.

 All PROPOSERs shall complete and return, with their proposal, the Responsibility
 Questionnaire included in Attachment A. Failure to return the completed Questionnaire may
 result in a PROPOSER being deemed non-responsive.




                                                 91


                                                                                           Exhibit 2
                                                                                               2-99
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 125 of 196 Page ID
                                   #:274
    7.11        SLAVERY DISCLOSURE ORDINANCE
 Unless otherwise exempt, in accordance with the provisions of the Slavery Disclosure
 Ordinance, any CONTRACT awarded pursuant to this RFB/RFP/RFQ will be subject to the
 Slavery Disclosure Ordinance, Section 10.41 of the Los Angeles Administrative Code.

 All PROPOSERS shall complete and upload, the Slavery Disclosure Ordinance Affidavit (one
 (1) page) available on the CITY’s Business Assistance Virtual Network (BAVN) residing at
 www.labavn.org prior to award of a CITY CONTRACT.

 PROPOSERS seeking additional information regarding the requirements of the Slavery
 Disclosure Ordinance may visit the Bureau of Contract Administration’s web site at
 http://bca.lacity.org.

    7.12        MUNICIPAL LOBBYING ORDINANCE
 Any PROPOSERs for a CONTRACT, as those terms are defined under the Contractor
 Responsibility Program provided for in Los Angeles Administrative Code Section 10.40.1, shall
 submit with its PROPOSAL a certification form prescribed by the CITY Ethics Commission,
 that the PROPOSER acknowledges and agrees to comply with the disclosure requirements and
 prohibitions established in the Los Angeles Municipal Lobbying Ordinance if the bidder
 qualifies as a lobbying entity under the Ordinance. The exemptions contained in Los Angeles
 Administrative Code Section 10.40.4 shall not apply to this subsection. The Municipal Lobbying
 Ordinance and Bidder Certification CEC Form 50 can be found in Attachment H.

    7.13        CHILD SUPPORT ORDINANCE
 The CITY has adopted an ordinance requiring that all CONTRACTORs and
 SUBCONTRACTORs performing work for the CITY comply with all reporting requirements
 and wage and earning assignments relative to legally mandated child support.

 As a result, every CONTRACT that is let, awarded, or entered into with or on behalf of the
 CITY shall contain the following provision:

 “This Contract is subject to Section 10.10, Article 1, Chapter 1, and Division 10 of the Los
 Angeles Administrative Code, as amended from time to time. Pursuant to this Ordinance,
 Contractor certifies that it will (1) fully comply with all State and Federal employment reporting
 requirements for Contractor employees applicable to Child Support Assignment Orders; (2) that
 the principal owner (s) of Contractor are in compliance with any Wage and Earnings Assignment
 Orders and Notices of Assignment applicable to them personally; (3) fully comply with all
 lawfully served Wage and Earnings Assignment Orders and Notices of Assignment in
 accordance with California Family Code Section 5230, et seq.; and (4) maintain such compliance
 throughout the term of this CONTRACT. Pursuant to Section 10.10b of the Los Angeles
 Administrative Code, failure of Contractor to comply with all applicable reporting requirements
 or to implement lawfully served Wage and Earnings Assignment Orders and Notices of
 Assignment or the failure of any principal owner(s) of Contractor to comply with any Wage and
 Earnings Assignment Orders and Notices of Assignment applicable to them personally shall
 constitute a default by the Contractor under the terms of this Contract, subjecting this Contract to

                                                  92


                                                                                             Exhibit 2
                                                                                                2-100
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 126 of 196 Page ID
                                                 #:275
 termination where such failure shall continue for more than ninety (90) days after notice of such
 failure to Contractor by CITY.

 Any subcontract entered into by Contractor, to the extent allowed hereunder, shall include a like
 provision for work to be performed under this AGREEMENT. Failure of Contractor to obtain
 compliance of its SUBCONTRACTORs shall constitute default by Contractor under this
 AGREEMENT, subjecting this AGREEMENT to termination where such default shall continue
 for more than ninety (90) days after notice of such default to Contractor by the CITY.

 Contractor shall comply with the Child Support Compliance Act of 1998 of the State of
 California Employment Development Department. Contractor assures that to the best of its
 knowledge it is fully complying with the earnings assignment orders of all employees, and is
 providing the names of all new employees to the New Hire Registry maintained by the
 Employment Development Department as set forth in subdivision (1) of the Public Contract
 Code 7110.

     7.14       AMERICANS WITH DISABILITIES ACT
 The CONTRACTOR hereby certifies that it will comply with the Americans with Disabilities
 Act 42 U.S.C. Section 12101 et seq. and its implementing regulations. The CONTRACTOR will
 provide reasonable accommodations to allow qualified individuals with disabilities to have
 access to and to participate in its programs, services and activities in accordance with the
 provisions of the Americans with Disabilities Act. The CONTRACTOR will not discriminate
 against persons with disabilities nor against persons due to their relationship to or association
 with a person with a disability. Any subcontract entered into by CONTRACTOR, relating to the
 AGREEMENT, to the extent allowed hereunder, shall be subject to the provisions of this
 paragraph.

     7.15       CONFLICT OF INTEREST
 Names of entities associated with the PROPOSER who may have a conflict of interest with any
 activity of this project should be included in the proposal. Provide details and reasons.
 PROPOSERs are subject to disqualification on the basis of conflict of interest as determined by
 the CITY.

     7.16       FIRST SOURCE HIRING ORDINANCE
 Unless approved for an exemption, Contractors under contracts primarily for the furnishing of
 services to or for the CITY, the value of which is in excess of $25,000 with a term of at least
 three (3) months, and certain recipients of CITY Loans or Grants, shall comply with the
 provisions of Los Angeles Administrative Code Articles 10.44 et seq., First Source Hiring
 Ordinance (FSHO). PROPOSERs shall refer to Attachment K, “First Source Hiring Ordinance”
 for further information regarding the requirements of the Ordinance.

 All PROPOSERs shall complete and upload the First Source Hiring Ordinance Affidavit (one (1)
 page) available on the City of Los Angeles’ Business Assistance Virtual Network (LABAVN) at
 www.LABAVN.org prior to award of a CITY CONTRACT. The First Source Hiring Ordinance


                                                 93


                                                                                           Exhibit 2
                                                                                              2-101
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 127 of 196 Page ID
                                                  #:276
 Affidavit shall be valid for a period of twelve months from the date it is first uploaded onto the
 CITY’s LABAVN.

 PROPOSERs seeking additional information regarding the requirement of the First Source
 Hiring Ordinance (FSHO) may visit the Bureau of Contract Administration’s web site at
 http://bca.lacity.org.

     7.17       CONTRACT BIDDER CAMPAIGN
                CONTRIBUTION AND FUNDRAISING
                RESTRICTIONS
 Persons who submit a response to this solicitation (PROPOSERs) are subject to Charter section
 470(c)(12) and related ordinances. As a result, PROPOSERs may not make campaign
 contributions to and or engage in fundraising for certain elected CITY officials or candidates for
 elected CITY office from the time they submit the response until either the AGREEMENT is
 approved or, for successful PROPOSERs, 12 months after the AGREEMENT is signed. The
 PROPOSER’s principals and SUBCONTRACTORs performing $100,000 or more in work on
 the CONTRACT, as well as the principals of those SUBCONTRACTORs, are also subject to the
 same limitations on campaign contributions and fundraising.

 PROPOSERs shall submit CEC Form 55 to the awarding authority at the same time the response
 is submitted. The form requires PROPOSERs to identify their principals, their
 SUBCONTRACTORs performing $100,000 or more in work on the CONTRACT, and the
 principals of those SUBCONTRACTORs. PROPOSERs shall also notify their principals and
 SUBCONTRACTORs in writing of the restrictions and include the notice in contracts with
 SUBCONTRACTORs. Responses submitted without a completed CEC Form 55 shall be deemed
 nonresponsive. PROPOSERs who fail to comply with CITY law may be subject to penalties,
 termination of CONTRACT, and debarment. Additional information regarding these restrictions
 and requirements may be obtained from the CITY Ethics Commission at (213) 978-1960 or
 ethics.lacity.org.

 The Bidder Certification CEC Form 55 can be found in Attachment L.

     7.18       CONTRACTOR PERFORMANCE
                EVALUATION ORDINANCE
 At the end of this AGREEMENT, the CITY will conduct an evaluation of the CONTRACTOR’s
 performance. The CITY may also conduct evaluations of the CONTRACTOR’S performance
 during the term of the AGREEMENT. As required by Section 10.39.2 of the Los Angeles
 Administrative Code, evaluations will be based on a number of criteria, including the quality of
 the work product or service performed, the timeliness of performance, financial issues, and the
 expertise of personnel that the CONTRACTOR assigns to the AGREEMENT. A Contractor who
 receives a “Marginal” or “Unsatisfactory” rating will be provided with a copy of the final CITY
 evaluation and allowed fourteen (14) CALENDAR DAYs to respond. The CITY will use the
 final CITY evaluation, and any response from the CONTRACTOR, to evaluate proposals and to
 conduct reference checks when awarding other service contracts.



                                                 94


                                                                                           Exhibit 2
                                                                                              2-102
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 128 of 196 Page ID
                                   #:277
    7.19        LOCAL BUSINESS PREFERENCE PROGRAM
 PROPOSERs who submit a response to this solicitation will be evaluated in accordance with
 Article 21 to Division 10, Chapter 1 of the Los Angeles Administrative Code (Ordinance No.
 181910) establishing a Local Business Preference Program for the CITY’s procurement of
 goods, equipment and services, including construction, when the CONTRACT involves an
 expenditure in excess of $150,000.

 The CITY shall grant an eight percent Local Business Preference to Local Businesses for
 CONTRACTs involving consideration in excess of $150,000. The CITY shall also provide a
 preference of up to five percent, to a Proposal submitted by a business that does not qualify as a
 Local Business, but that identifies a qualifying local SUBCONTRACTOR to perform work
 under the CONTRACT, provided the local SUBCONTRACTOR satisfies the criteria
 enumerated in Sections 10.47.2 and 10.47.7 of the Los Angeles Administrative Code, Chapter 1,
 Article 21.

 The Local Business Preference Program, Ordinance No. 181910, can be found in Attachment M.

    7.20        IRAN CONTRACTING ACT OF 2010
 In accordance with California Public Contract Code Sections 2200-2208, all bidders submitting
 proposals for, entering into, or renewing contracts with the City of Los Angeles for goods and
 services estimated at $1,000,000 or more are required to complete, sign, and submit the Iran
 Contracting Act of 2010 Compliance Affidavit, Attachment N.




                                                 95


                                                                                            Exhibit 2
                                                                                               2-103
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 129 of 196 Page ID
                                   #:278
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                                                                            Exhibit 2
                                                                               2-104
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 130 of 196 Page ID
                                   #:279




                             EXHIBIT 3
 Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 131 of 196 Page ID
                                    #:280
DEPARTMENT OF PUBLIC WORKS


BUREAU OF SANITATION
BUREAU OF CONTRACT ADMINISTRATION
JOINT BOARD REPORT NO 1
September 26, 2016

CD: ALL

AUTHORITY TO AWARD CONTRACTS FOR THE ZERO WASTE LA EXCLUSIVE
FRANCHISE SYSTEM FOR COMMERCIAL AND MULTIFAMILY SOLID WASTE
COLLECTION AND HANDLING – BUREAU OF SANITATION (LASAN)

RECOMMENDATIONS

  1. Approve and forward this report with transmittals to the Mayor and City Council (Council)
     with the request that the Board of Public Works (Board) be authorized to execute a Personal
     Services Contract for exclusive Franchise System for commercial and multifamily solid waste
     collection and handling with:
             Large Zones:
             Arakelian Enterprises, Inc. (dba Athens Services aka Athens)
             Consolidated Disposal Service, LLC (dba Republic Services or Republic)
             Universal Waste Systems, Inc. (aka UWS)
             USA Waste of California, Inc. (dba Waste Management aka WM)

            Small Zones:
            CalMet Services, Inc., (aka CalMet)
            NASA Services, Inc. (aka NASA)
            Ware Disposal, Inc. (aka Ware)

  2. Upon the Mayor’s and Council’s authorization, the President or two members of the Board
     will execute the contract.

  3. Return the executed contract to the Bureau of Sanitation (LASAN) for further processing. For
     pick up, contact Dan Meyers of Solid Resources Commercial Franchise Division (SRCFD) at
     213-485-3774 or Quonita Anderson of LASAN at 213-485-4246.

  4. Recommend that the City Council find it is in the City’s best interest to award one of the
     exclusive franchise contracts for commercial and multifamily solid waste collection and
     handling to Republic, an Arizona based company, for the reasons outlined in the report below.

  5. Request the City Attorney, in collaboration with LASAN, to draft an Ordinance creating a
     special fund for the Zero Waste LA revenues, excluding AB 939 fees.




                                                                                      Exhibit 3
                                                                                           3-1
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 132 of 196 Page ID
                                   #:281
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 2 of 43

 TRANSMITTALS

    1. Request for Proposals (RFP) for Citywide Exclusive Franchise System for Municipal Solid
        Waste Collection and Handling.
    2. Description and map of the Franchise Zones.
    3. Copy of the Ordinance authorizing the Commercial and Multifamily Franchise Hauling
    System (Ordinance #182986).
    4. Copy of the exclusive franchise contract with Athens.
    5. Copy of the exclusive franchise contract with Republic.
    6. Copy of the exclusive franchise contract with Universal Waste Systems.
    7. Copy of the exclusive franchise contract with Waste Management.
    8. Copy of the exclusive franchise contract with Cal Met Services.
    9. Copy of the exclusive franchise contract with NASA.
    10. Copy of the exclusive franchise contract with Ware Disposal.
    11. Action by the Board of Public Works on July 10, 2015, finding all proposers responsive to the
    City’s Business Inclusion Plan.
    12. Copy of the e-mail transmittal from Recology, dated March 25, 2015, withdrawing from the
    RFP process.
    13. Copy of the UPW letter dated July 26, 2016, withdrawing from the RFP process.

 DISCUSSION

 During the last six years, LASAN has embarked on an extensive process to bring the City’s solid
 resources collection, hauling, recycling and disposal to a new level by implementing an exclusive
 franchise system for the commercial sector. The exclusive franchise system brings improvements to
 the environment, meets Mayor Eric Garcetti’s sustainability goals, allows the City to meet additional
 mandates by the state of California, and brings clarity and answers to questions about what solid
 resources materials are collected in the City and how they are managed. Franchise holders are
 required to collectively reduce disposal of solid waste by 1,000,000 tons per year by 2025. The
 contracts presented for consideration include in excess of $200 million in investment in recycling and
 materials handling infrastructure. The contracts provide predictable, reasonable customer rates and
 have extensive customer service and performance requirements with liquidated damages for failure to
 provide excellent service. In order to accomplish the transition of customers into the new system, a
 six month transition period is needed between contract execution and full franchise implementation,
 to allow for customer education, notification, planning, and equipment purchases in support of the
 system. LASAN looks forward to implementing the Exclusive Franchise system in mid-2017.
 Solid Resources System in the City of Los Angeles and Regulatory Environment

 Current Solid Resources Management System

 The City has both the right and the responsibility to manage its solid resources collection and
 handling system. State Public Resources Code (PRC) section 40050, et seq., explicitly states that
 solid waste handling services are an issue of local concern. The City has the sole discretion to
 contract, license, and/or permit private haulers, and may award franchise agreements including, but
 not limited to, frequency of collection, means of collection and transportation, level of services,



                                                                                              Exhibit 3
                                                                                                   3-2
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 133 of 196 Page ID
                                   #:282
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 3 of 43

 charges and fees, and nature, location and extent of providing solid waste handling services (PRC
 section 40059).
 LASAN, as the agency that provides recycling and solid waste management services to over 750,000
 customers, as well as management of haulers under the current permitting system, is charged with
 implementation of the new Franchise System.
 The Exclusive Commercial and Multifamily Solid Waste Franchise Hauling System Ordinance No.
 182986 (Transmittal No. 3) provides some guidelines for the Franchise System, including:

       All customers are required to have recycling and solid waste services.
       The City will have eleven (11) Franchise zones, of which three (3) are designated as single
        zones, in which they may not be bundled together with others in the franchise awards.
       All materials collected under the Franchise System must be delivered to facilities certified by
        the City.
       Franchise haulers are required to meet clean fuel requirements.
 Solid resource collection, hauling, recycling, and disposal in the City of Los Angeles (City) are
 currently managed by both LASAN and permitted private waste haulers. Single family homes,
 multifamily properties with four (4) units or less, and some larger buildings with five (5) or more
 units are serviced by LASAN. Private waste haulers collect from all multifamily and commercial
 establishments not collected by LASAN under a permit system. Currently, there are approximately
 144 private haulers collecting from multifamily and commercial sites, but only 31 private haulers
 collect from regular commercial accounts. The fifteen (15) top private haulers control 99% of the
 businesses, serving 64,500 of a total of 65,000 unique service addresses, see Table 1 below. In
 contrast, the City of San Jose has only 8,000 service accounts in its exclusive commercial franchise.
 Other cities in Los Angeles County, such as Palmdale, Santa Clarita, and Santa Monica, have
 approximately 5,000, 6,000, and 7,000 business accounts respectively.
 Table 1 – Hauler Market Share by Reported Accounts

                              Percent of Accounts in
  Hauler Name                                            Cumulative Percentage
                              the City
  Athens                                         25.7%                           25.7%
  Republic                                       19.5%                           45.2%
  Waste Management                               14.3%                           59.5%
  NASA                                           13.6%                           73.1%
  Recology                                       11.6%                           84.7%
  UWS                                             9.0%                           93.7%
  UPW                                             2.2%                           95.9%
  AAA Rubbish                                     1.1%                           97.0%
  SoCal Disposal                                  0.9%                           97.9%
  EDCO                                            0.4%                           98.3%
  Waste Resources                                 0.3%                           98.6%
  Calmet                                          0.3%                           98.8%
  American Reclamation                            0.2%                           99.0%



                                                                                              Exhibit 3
                                                                                                   3-3
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 134 of 196 Page ID
                                   #:283
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 4 of 43

                               Percent of Accounts in
  Hauler Name                                             Cumulative Percentage
                               the City
  BayWest                                          0.2%                           99.2%
  SoCal Waste                                      0.1%                           99.4%
  Southland Disposal                               0.1%                           99.5%
  Patriot                                          0.1%                           99.6%
  CWS                                              0.1%                           99.6%
  SVT                                              0.1%                           99.7%
  Waste & Recycling Svcs                 Less than 0.1%                           99.7%
  Valley Vista                           Less than 0.1%                           99.8%
  WARE                                   Less than 0.1%                           99.8%
  City Rent A Bin                        Less than 0.1%                           99.8%
  Anderson Rubbish                       Less than 0.1%                           99.9%
  CR&R                                   Less than 0.1%                           99.9%
  Quality Waste                          Less than 0.1%                           99.9%
  Melva                                  Less than 0.1%                          100.0%
  Active Recycling                       Less than 0.1%                          100.0%
  Lannen                                 Less than 0.1%                          100.0%
  Minuteman                              Less than 0.1%                          100.0%
  Direct Disposal                        Less than 0.1%                          100.0%


 Although the existing waste hauler permit system and the AB 939 Compliance Fee have been an
 effective tool used by LASAN in establishing significant recycling programs, the current solid waste
 hauling system limits the City’s ability to address many of the current challenges it faces. These
 challenges include compliance with new state mandates, City diversion goals, and the environmental
 and health impacts of waste hauling. The current permit system does not have requirements for the
 flow of materials into the market, nor tracking for recyclables
 The Sustainable City pLAn issued by Mayor Eric Garcetti includes the vision of Los Angeles
 becoming the first big city in the U.S. to achieve zero waste, and recycle and reuse most of its waste
 locally. The pLAn target measurements include landfill diversion of 90% by 2025, and 95% landfill
 diversion by 2035, by productively reusing a majority of our waste within LA County by 2035. This
 vision will require the expansion and development of infrastructure to handle solid resources, as well
 as policies of requiring waste diversion and extended producer responsibility.
 Due to the existing permit structure, some waste haulers are not required by the state to operate clean
 alternative fuel vehicles, thereby negatively impacting local air quality. In addition, multiple haulers
 operating in a given area translate to more refuse trucks on the road, traffic impacts, and more
 localized emissions. Price and customer service vary widely depending on the size of the business
 and current private waste hauler. The current permit system also does not monitor compliance by
 private waste haulers with state laws regarding employee health and safety requirements for their
 employees collecting and processing commercial waste.




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Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 135 of 196 Page ID
                                   #:284
BUREAU OF SANITATION
BUREAU OF CONTRACT ADMINISTRATION
JOINT BOARD REPORT NO 1
September 26, 2016
Page 5 of 43

Changes in Regulations over Solid Resources Management in California

The California Integrated Waste Management Act of 1989 (AB 939) was adopted by the state to
regulate solid waste management in California. AB 939 established an integrated waste management
hierarchy to guide the California Integrated Waste Management Board (now CalRecycle) and local
agencies to implement, in order of priority: (1) source reduction, (2) recycling and composting, and
(3) environmentally safe transformation and land disposal of refuse. AB 939 mandated cities and
counties to divert 25 percent by January 1, 1995 and 50 percent by January 1, 2000 of all solid waste
from landfill through source reduction, recycling, composting and transformation activities. The City
has surpassed this requirement, with a 76.4% diversion rate as of 2013.
In 2006, the Legislature passed the California Global Warming Solutions Act of 2006 (AB 32), which
created a comprehensive, multi-year program to reduce greenhouse gas (GHG) emissions in
California. AB 32 required the California Air Resources Board (ARB) to develop a Scoping Plan that
describes the approach California will take to reduce GHGs to achieve the goal of reducing emissions
to 1990 levels by 2020. Mandatory Commercial Recycling was one of the measures adopted in
the AB 32 Scoping Plan by the ARB to increase commercial waste diversion as a method to reduce
GHG emissions. To achieve the measure’s objective, an additional 2 to 3 million tons of materials
annually would need to be recycled from the commercial sector by the year 2020 and beyond.
On October 5, 2011, AB 341 was signed, requiring not less than 75% of solid waste generated in
California be source reduced, recycled, or composted by the year 2020. On and after July 1, 2012,
AB 341 also requires a business that generates more than four cubic yards of commercial solid waste
per week or a multifamily residential dwelling of five units or more to arrange for recycling services.
CalRecycle is the state agency charged with developing the plan to bring the entire state to 75%
waste diversion from landfills by 2020.
LASAN provides recycling services for all of our residential customers, and administers a voluntary
program for privately served multifamily complexes. The City’s current system does not monitor
compliance by commercial businesses, as the permits do not require specific recycling or composting
programs, and businesses may choose permitted private haulers that do not offer any recycling
services.
In October 2014, AB 1826 Chesbro (Chapter 727, Statutes of 2014) was signed, requiring businesses
to recycle their organic waste on and after April 1, 2016, depending on the amount of waste they
generate per week. Organic waste, also referred to as organics, means food waste, green waste,
landscape and pruning waste, nonhazardous wood waste, and food-soiled paper waste that is mixed in
with food waste. Organics are recyclable through composting and mulching, and through anaerobic
digestion, which can produce renewable energy.
AB 1826 phases in the mandatory recycling of commercial organics over time, requiring businesses
that generate four cubic yards or more of commercial solid waste per week to arrange for organic
waste recycling services by January 1, 2019. If statewide disposal of organic waste in 2020 is not
reduced by 50 percent below the 2014 baseline disposal level the organic recycling requirements on
businesses will expand to cover businesses that generate two cubic yards or more of commercial solid
waste per week. The City’s current system does not allow for the implementation of AB 1826 to
commercial businesses, and does not track or monitor the diversion results.




                                                                                              Exhibit 3
                                                                                                   3-5
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 136 of 196 Page ID
                                   #:285
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 6 of 43

 Actions Taken by the City of Los Angeles for the Development of the Zero Waste LA Exclusive
 Franchise System (Franchise System)

 In November 2010, a motion (Huizar and Koretz) was introduced in City Council directing LASAN
 to examine whether an exclusive commercial and multifamily franchise system would assist the City
 in meeting its Zero Waste and environmental goals. Development of the Franchise System required
 extensive stakeholder outreach and opportunities for public comment. LASAN staff conducted
 twenty-eight (28) public workshops and multiple meetings with industry groups including private
 waste haulers, studios, hospitals, non-profit organizations, and business associations.
 Under state law (Public Resources Code section 49520), local governments must give at least a five-
 year notice to the solid waste haulers operating in their jurisdiction of changes in how a city provides
 services. In July 2006, LASAN issued a seven year notice to private waste haulers regarding solid
 waste handling for all multifamily establishments, excluding multifamily establishments collected by
 the City. On December 16, 2011, after approval by the Mayor and City Council, LASAN issued a
 five-year notice to permitted haulers regarding solid waste handling for all commercial
 establishments.
 On November 14, 2012, the Mayor and City Council adopted the actions (Council File No. 10-1797)
 instructing LASAN to develop an exclusive franchise system to modify the existing permitted hauler
 system for the collection of solid resources from multifamily and commercial establishments.
 LASAN was also instructed to prepare an Environmental Impact Report (EIR), and a Franchise
 Implementation Plan on the proposed project.
 In January 2013, LASAN sent an information request to existing permitted haulers, soliciting input
 on the development of the form and structure of the proposed project. The responses to the
 information request were considered in the development of the proposed project and its alternatives,
 which are described in the Franchise Implementation Plan. Multiple meetings were held including
 discussions by the City Council’s joint Energy and Environment and the Ad Hoc on Waste Reduction
 and Recycling Committees on February 20, 2013 and March 20, 2013. LASAN also conducted an
 Open House on April 4, 2013 to accept comments on the proposed franchise zone boundaries. The
 City established a total of eleven (11) Franchise Zones, (Transmittal No. 2), considering the
 following factors:

        Zones sized with a range of 1,000 to 13,000 accounts,
        Key geographic features such as rivers, mountains,
        Major roadways,
        Prior patterns of service for collection firms,
        Proximity to unloading facilities (processing, transfer, disposal), and
        A research survey conducted from several cities and counties.

 Three (3) of the Franchise Zones were designated as “small” in order to create opportunities for
 smaller collection companies to compete for Franchise contracts. It should be noted that a proposer
 awarded any one of the “small” Franchise Zones may not be awarded any of the other ten (10)
 Franchise Zones.




                                                                                                Exhibit 3
                                                                                                     3-6
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 137 of 196 Page ID
                                   #:286
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 7 of 43

 In April, 2013, the Mayor and the City Council approved the Franchise Implementation Plan,
 including the program goals used to develop the proposed project. Key guidelines include the
 following:

         Blue Bin recycling at every customer site, and a phase in of Organics recycling over time;
         No more than 49% of service may be performed by a single company;
         Include a capped cost of living increase in contracts;
         Require contingency plans to provide uninterrupted service;
         Require extensive, ongoing public education;
         Address special needs of Hospitals and other medical facilities;
         Provide an alternative process for Studios.
 In April, 2014, the Mayor and the City Council certified the Final Environmental Impact Report and
 adopted the ordinance authorizing the Zero Waste LA Franchise System, which was signed by the
 Mayor on April 15, 2014 (Council File: 10-1797-S15). The proposed exclusive franchise system was
 found to be the environmentally preferable alternative.
 On June 11, 2014, the Board authorized LASAN to distribute a Request for Proposals (Transmittal
 No. 1) and to negotiate Personal Service Contracts with solid waste haulers for the Franchise System.
 On June 12, 2014, the RFP was released by the Board of Public Works and 15 proposals were
 received by the due date of October 29, 2014. Companies submitting proposals included the
 following:
 Table 2 – Proposals Received

                                  Proposals Received
     1         AAA Rubbish Inc
     2         Athens Services, Inc
     3         CalMet Services, Inc
     4         Consolidated Disposal Service, LLC DBA Republic Services
     5         CR&R
     6         NASA Services, Inc
     7         Pacific Coast Waste, LLC DBA Pacific Coast Waste
     8         Recology
     9         SVT Services, Inc
     10        United Pacific Waste
     11        Universal Waste Systems, Inc
     12        USA Waste of California, Inc. DBA Waste Management
     13        Ware Disposal, Inc
     14        Waste Connections of California, Inc, DBA Green Team of Los
               Angeles (GTLA)
     15        Waste Resources Los Angeles, Inc


 In February 2015, the Mayor and the City Council approved LASAN’s Franchise System staffing
 plan, to add City resources over a period in anticipation of the implementation of the Franchise


                                                                                               Exhibit 3
                                                                                                    3-7
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 138 of 196 Page ID
                                   #:287
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 8 of 43

 System. All resources have been allocated to the program, with managers and key staff hired, and
 will be ready for implementation in mid-2017.
 On July 10, 2015, the Board of Public Works deemed all fifteen private waste haulers responsive to
 the Business Inclusion Program requirements for the Franchise System.
 Zero Waste LA Franchise System Staffing Plan

 In recognition of the need to have sufficient resources to undertake the entire renovation process for
 the City’s solid resource management system, in February 2015, the Mayor and City Council
 approved a staffing plan for the Franchise System. The staffing plan included the following key
 features:
     1. Three phases of adding new authorities, completed in fiscal year 2016-17;
     2. Staff for the new system, including new regular authorities for the Franchise System, as well
         as current positions being dedicated to the new system; and
     3. The ability to add staffing through contract or as-needed for the ‘surge’ period when the
         program first rolls out to customers.

 LASAN created a new Solid Resources Commercial Franchise Division to administer and manage
 the new Franchise system and its contracted waste hauling companies. This Division, as well as
 those Divisions providing support, are charged with the following responsibilities:
     1. Management, administration, finance, and contract oversight (15 staff);
     2. Certification process and system for all facilities handling or receiving materials under the
        Franchise system (10 staff);
     3. Field inspection to manage customer issues and provide support on City ordinance
        requirements (unit of 32 full time staff);
     4. Customer Care Center needs (2 full time supervisors and 16 full time Customer Information
        Representatives;
     5. Information Technology needs (5 staff); and
     6. Zero Waste and Landfill Diversion (7 staff)

 Franchise System staff continued to be hired as City personnel processes allow. LASAN will have
 sufficient staff on hand to manage the transition period beginning with notification in mid 2017.

 Zero Waste LA Franchise System Request for Proposals (Franchise RFP) process

 Key Elements of the Franchise RFP

 The Franchise RFP had the following primary objectives:
    1. Higher diversion (at least 65% disposal reduction in each zone) through 100% blue bin
       recycling at customer sites, and increasing organics management programs;
    2. Fair and equitable customer service rates through predictable, capped increases and published
       rates for solid resources and extra services;
    3. Reduced street and air quality impacts through clean fuel vehicles and efficient routing;
    4. Superior customer service through specific requirements and procedures with monitoring and
       enforcement by LASAN;



                                                                                              Exhibit 3
                                                                                                   3-8
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 139 of 196 Page ID
                                   #:288
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 9 of 43

    5. Improved health and safety for solid waste workers through certification of all facilities
       accepting solid resources through the Franchise System;
    6. Long term competition by awarding multiple contracts and varying sized zones; and
    7. Reliable system infrastructure through expanded and new development.

 The Franchise RFP provided the opportunity for waste collection companies to submit proposals for
 initial ten-year contracts with an additional two optional five-year extensions. Each waste hauling
 company holding a franchise contract would become the exclusive provider of Solid Waste,
 Commingled Recyclables, and Organics collection and handling services for privately served
 commercial and multifamily customers in one or more of the Franchise Zones defined by the City.
 The franchise service model is intended to mirror LASAN’s curbside service model, to the extent
 possible, for consistency of messaging and education, and ease of use by City residents and
 businesses such as: Blue bin for recyclables, green bin for yard waste and organics, and black bin for
 residual waste. Bulky item collection will be provided universally citywide by LASAN to all
 residential sectors including single family, multifamily, condominiums, townhouses and high-rise
 residential towers.
 The following waste categories are exempt from the Franchise System: Medical Waste, Hazardous
 Waste, Electronic Waste, Radioactive Waste, Pharmaceutical Waste, Construction and Demolition
 Debris (C&D), and specialty waste such as biosolids or fats, oils and grease (FOG). Waste generated
 at on-location filming is excluded. Also, recyclables that are sorted and either sold or donated are not
 included in the Franchise System.
 As priority customers, hospitals and their special requirements were specifically included in both the
 RFP and resulting contracts. Due to the unique nature of the use of their facilities, major studios
 defined per Ordinance are allowed to contract with any of the Exclusive Franchise haulers, as long as
 they meet the programmatic requirements of the Franchise System.
 The Table 3 and Map 1 below shows each zone’s number of service accounts, based on self-reported
 information from current permitted haulers.
 Table 3 – Accounts per Franchise Zone

            Franchise Zone                        Total Service Accounts
                   West Valley (WV)                         7,795
              Northeast Valley (NEV)                        6,940
              Southeast Valley (SEV)                        7,731
             West Los Angeles (WLA)                         9,320
                   North Central (NC)                       9,151
                       Northeast (NE)                       6,106
             South Los Angeles (SLA)                        9,880
                         Harbor (HB)                        3,393
                     Downtown (DT)                          1,771
               East Downtown (EDT)                          1,013
                       Southeast (SE)                       1,817
                                                           64,917


                                                                                                Exhibit 3
                                                                                                     3-9
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 140 of 196 Page ID
                                   #:289
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 10 of 43

 Map 1 - Franchise Zone’s Geographical Area and the Number of Service Accounts.




                                                                                  Exhibit 3
                                                                                      3-10
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 141 of 196 Page ID
                                   #:290
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 11 of 43


 To maximize efficiency, the City allowed proposers to submit proposals for multiple zones as a
 single group, called a bundle. The City created three (3) bundles for this purpose. The proposers were
 also allowed to also develop one (1) bundle as well. Therefore, each proposer could propose on any
 or all of the eleven (11) individual zones, and up to four (4) bundles.
 As there are eleven (11) zones, there could have been as many as eleven (11) contracts
 recommended. No single proposer would be awarded more than 49% of all customers. This will
 ensure that there are sufficient resources available in the case where redundancy is needed, backup in
 case of service interruptions, options in case of emergency, opportunities for smaller, local waste
 haulers, meeting the City’s Business Inclusion Program (BIP), and fostering the availability of long-
 term competition.

 Evaluation Process

 The objective of the evaluation process is to award Franchise Agreements to qualified proposers that
 best demonstrate the ability to effectively and efficiently achieve the City’s customer service,
 diversion, and service delivery objectives, as defined in the RFP, while also providing fair and
 equitable customer rates.

 The evaluation process was conducted by five (5) Evaluation Teams. Each team was responsible for a
 single Franchise RFP scoring category: qualifications, customer service plan, diversion plan and
 innovative ideas, service plan, and cost proposal. The Evaluation Teams were comprised of four (4)
 or more team members, from both LASAN and consultant teams, having expertise in each evaluation
 category, and a team leader. Each Evaluation Team reported their finding and scores to the
 Evaluation Committee that reviewed findings and scores for completeness. The Evaluation
 Committee was responsible for combining individual Team scores into a final proposer score.

 Roles and Responsibilities of the Evaluation Team Members

 Each team member fulfilled a prescribed role in order for the evaluation process to run smoothly and
 efficiently.
 Protecting each proposer’s proprietary and confidential information was an important objective of the
 selection process. Every Evaluation Team Member signed a Confidentiality Agreement to ensure that
 all information furnished by the proposers would not be disclosed, copied, reproduced or distributed.
 The following was the evaluation protocol:

       Evaluation sessions were restricted to Evaluation Team Members and subject matter experts.
        They were closed to the public and City staff who were not supporting the Evaluation Team.
       The evaluators did not discuss the contents of the submitted proposals, procurement activities
        or evaluation findings with anyone outside of the Evaluation Team.
       There was no communication between the evaluators and the proposer organizations from the
        date of the RFP release through the evaluation process with the exception of contact as
        necessary to complete evaluation activities as approved by the Evaluation Committee.
       Evaluators did not communicate the scoring outcomes or content of proposals, and did not
        disclose the status of any proposal.



                                                                                              Exhibit 3
                                                                                                  3-11
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 142 of 196 Page ID
                                   #:291
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 12 of 43


 The RFP was scored using relative weights for criteria within each scoring category as follows:
 Table 4 – Franchise RFP Scoring Weights

 RFP Category                             Points
 1. Qualifications                          10
 2. Customer Service/Transition Plan        25
 3. Service Plan                            20
 4. Diversion Plan/Innovation               25
 5. Cost and Franchise Fee                  20
 Total                                      100


 Each Evaluation Team reviewed and scored separate sections of the proposals using the evaluation
 methodology set forth in the evaluation manual. Each Evaluation Team Member individually scored
 each criterion within a category on a scale of whole scores from 1 to 5. Each Evaluation Team had a
 leader who facilitated the process of arriving at a consensus-based score for each criterion within the
 category.
 Evaluation Findings

 All fifteen (15) proposals received in response to the RFP were reviewed for completeness. The
 Board of Public Works found all proposals were in compliance with the BIP requirements and
 deemed to be responsive (Transmittal No. 11). A short summary of each proposer follows:
 Athens Services
 Athens is a family owned business in the County of Los Angeles. Athens serves more than 200,000
 commercial and residential customers with a fleet of more than 300 collection, hauling, and container
 vehicles in Riverside and Los Angeles Counties. Within the City, Athens is the largest service
 provider with a customer base of 26 percent. Athens owns and operates three material processing
 facilities, four collection yards, two container storage facilities, and an organics compost facility.
 Republic Services
 Republic provides solid resources services to 13 million customers nationwide and in Puerto Rico.
 Republic owns or operates 334 hauling companies, 194 transfer stations, 191 active solid waste
 landfills, 74 recycling facilities, and 69 landfill gas and renewable energy projects. Within the City,
 Republic is one of the largest service providers with a customer base of 20 percent. Republic holds
 long-term exclusive solid waste collection contracts with 40 municipalities in Los Angeles, Orange,
 and San Bernardino counties. Republic employs approximately 33,000 professionals nationwide and
 nearly 1,000 professionals throughout Los Angeles County.




                                                                                               Exhibit 3
                                                                                                   3-12
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 143 of 196 Page ID
                                   #:292
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 13 of 43

 Waste Management
 WM is a Delaware corporation and a wholly-owned subsidiary of Waste Management, Inc. Within
 the City, WM is one of the largest service providers with a customer base of nearly 15 percent and is
 one of the City’s multifamily recycling collection service contractors. WM services many city
 franchises throughout the state and has experience servicing businesses special needs. WM has a
 significant amount of experience in hauler transition.
 NASA Services, Inc
 NASA is a family owned business which has been operating in Los Angeles for over 50 years. NASA
 is a current franchise hauler for the cities of Pico Rivera and La Cañada. NASA serves 14 percent of
 the accounts in the City, with 90 employees and 65 collection trucks in Los Angeles and Orange
 Counties. NASA is also one of the City’s multifamily recycling collection service contractors with
 about 3,000 customers.
 Recology Los Angeles
 Recology, a wholly-owned subsidiary of Recology, Inc, is incorporated in California, and is
 headquartered in San Francisco. Recology serves over 778,000 commercial, multi-family, and
 residential customers in 118 communities across California, Nevada, Oregon, and Washington. At the
 time of its proposal, Recology had recently purchased a local hauling company (Crown Disposal), its
 transfer station and material recovery facility (Community Recycling), and its composting facility
 (Lamont Composting).
 Universal Waste Systems
 UWS has been a family-owned waste hauling and processing business for 28 years. UWS collects
 from 9 percent of the accounts in the City. UWS is one of the City’s multifamily recycling collection
 service contractors. UWS currently operates 150 collection vehicles and six (6) new compressed
 natural gas (CNG) powered vehicles are ready to be deployed.
 United Pacific Waste
 UPW is a family-owned and operated California Corporation since 2001. UPW management has over
 90 years of combined experience in the solid waste and recycling industry. UPW reported that they
 serviced more than 2,000 municipal and private customers in the Los Angeles area, including 700 in
 the City. UPW is the franchise hauler for Hunting Park and has provided services for the cities of El
 Monte and West Hollywood.
 Ware Disposal
 Ware is a California Corporation, based in Santa Ana, and has served Southern California since its
 establishment in 1968. Ware provides service to more than 20,000 residential and commercial
 accounts, using over 100 collection trucks. Ware has two exclusive franchises that service Laguna
 Woods and the unincorporated areas of Orange County. Ware hauls from more than 25 school
 districts in Los Angeles, Orange, and San Bernardino counties.




                                                                                             Exhibit 3
                                                                                                 3-13
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 144 of 196 Page ID
                                   #:293
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 14 of 43

 CalMet Services, Inc.
 CalMet is a family-operated, privately held corporation headquartered in Paramount, California.
 CalMet has an experienced management team operating franchises in Downey, Paramount, Cerritos,
 Lomita, and unincorporated Los Angeles County. It currently owns Paramount Resource Recycling
 Materials Recovery Facility and is a sister company to Tierra Verde Industries in Orange County.
 CalMet has proposed to construct a new material processing facility capable of processing 2,450 tons
 per day.
 CR&R, Inc
 CR&R was established more than 50 years ago, currently serving over 50,000 commercial and
 multifamily customers. To handle solid resources, CR&R proposed the use of a number of disposal
 and processing facilities including CLARTS, the Culver City Transfer Station, Full Circle Recycling,
 the Downey Area Recycling and Transfer Facility, and CR&R owned Lakeview Compost Facility
 and CRT Material Recovery Facility. CR&R is in the process of constructing an anaerobic digester to
 handle organics.
 Waste Connections
 Waste Connections is a wholly owned subsidiary of Waste Connections, Inc., a publicly traded
 company on the New York Stock Exchange. WCN is the third largest provider of municipal solid
 waste services in the United States with over two million residential, commercial, and industrial
 customers in 31 states. WCN has 6,500 employees and manages 148 solid waste collection
 operations, 67 transfer stations, 35 recycling operations, and 6 composting operations. WCN owns
 the Chiquita Canyon Landfill and is partnering with Southern California Disposal & Recycling,
 Potential Industries, UWS, and Community Recycling & Resource Recovery to handle solid waste
 from the City of Los Angeles.
 AAA Rubbish, Inc
 AAA is a family owned and operated hauler with eighteen (18) employees headquartered in Bell
 Gardens, California. AAA operates twelve (12) full-size collection trucks, two (2) small trucks, and
 three (3) company vehicles. AAA currently serves 1,482 business customers in the Greater Los
 Angeles area including 846 in the City.
 Pacific Coast Waste
 Pacific Coast Waste Services, LLC, is a California-based, Local and Minority Business Enterprise. In
 the past, PCW had provided services for the City of Compton, City of Inglewood, L.A. Unified
 School District, and the City of Los Angeles. Pacific Coast Waste was the franchise hauler for the
 City of Compton from 2007 to 2012, and was awarded a 12-year extension in 2013, but did not
 perform the services. Pacific Coast Waste sold its franchise and at the time of its proposal was not
 operating a waste hauling business.
 Waste Resources Los Angeles
 Waste Resources Los Angeles, Inc. (WRLA), is a wholly owned subsidiary of Waste Resources, Inc.,
 a Los Angeles based waste management firm founded in 2002. The management team is from



                                                                                            Exhibit 3
                                                                                                3-14
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 145 of 196 Page ID
                                   #:294
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 15 of 43

 Western Waste Industries which had merged with USA Waste, which later changed its name to
 Waste Management. As of 2013, WRLA is the franchise hauler for the cities of Gardena and
 Lynwood.
 SVT Services
 SVT Services, Inc. (SVT) is based in Tustin, California. SVT staff has over 17 years of combined
 waste hauling experience in the Los Angeles area, although SVT is fairly new. SVT has set up
 successful recycling programs at Downtown buildings such as Wells Fargo Center, AON Building,
 Union Bank Plaza, and the Washington Building.
 Proposed Zone Unit Cost Comparison
 In their proposed zones, Athens and Ware consistently had the lowest costs. NASA Services, UPW
 and Waste Management also had low costs, although slightly higher than Athens and Ware. AAA,
 Republic, and Pacific Coast Waste had the next lowest costs, but their cost was approximately twice
 that of the lowest cost proposers. CalMet, CR&R, UWS, Waste Connections and WRLA had costs
 more than twice the lowest cost proposals. Recology Los Angeles and SVT had costs of three times
 or greater than the lowest cost proposals.
 The Evaluation Committee conducted follow-up interviews with each proposer to clarify the findings,
 questions and concerns raised by the Evaluation Team members. The Evaluation Committee verified
 the preliminary scores of specific sections to create final scores for each proposer, resolved any
 scoring disagreements, ranked all proposals by zone, and presented the findings to the Steering
 Committee.

 Goals of the Negotiation Process
 The fundamental goals of the contract negotiation process are to reach consensus on contract terms
 while ensuring acceptable results for both parties. During the negotiations, all parties agreed to the
 following code of conduct:

       Confidentiality;
       Negotiations did not imply that the Proposer had secured the contract;
       Maintenance of an ethical approach and conduct was required at all times;
       Interpersonal differences were to be resolved away from the negotiation room;
       All participants were to retain an open mind at all times;
       Seek long term results; and
       Ensure that essential terms had been mutually agreed to when proposing to add to a contract.

 The Lead Negotiators were responsible for ensuring that the objectives and goals of the negotiation
 were met. Team members were responsible for developing contract language from the agreed upon
 negotiated terms. Technical experts provided technical input and insight during negotiations.
 All negotiation meetings took place over a series of sessions with the assigned representatives of the
 selected proposers. The Negotiation Teams reaffirmed the negotiation objectives as related to the
 topics of discussion and terms, understood the negotiation approach, discussed anticipated issues and
 approach to overcome such issues, and met weekly to review agreed upon terms, discuss outstanding



                                                                                              Exhibit 3
                                                                                                  3-15
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 146 of 196 Page ID
                                   #:295
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 16 of 43

 issues, develop positions, develop strategies to reach agreement, and provide guidance to the
 development of contract terms.
 Each proposer demonstrated its abilities to meet the City’s requirements for:

        A high level of customer service;
        Smooth and seamless transition from incumbent hauler(s);
        Updating collection vehicles and equipment to meet state and South Coast Air Quality
         Management District (SCAQMD) regulations;
        The use of state-of-the-art technology for the collection vehicles, equipment, and facilities,
         including the Call Centers;
        Compatible technology to interface with the City’s Customer Care Center;
        Achieving waste disposal reduction in order to meet the City’s Zero Waste goal by 2025, and
         state requirements for mandatory commercial recycling;
        Providing solid resources collection and handling services satisfactorily at commercially
         reasonable, negotiated rates; and
        All other terms and conditions of the contract.

 Wherever applicable, proposers were encouraged to invest in capital improvements and to use
 facilities within the City to create and sustain more local job opportunities.

 Final Scores and Zone Awards
 Initial Shortlisting
 Each of the proposals was evaluated by each of the five independent evaluation teams assigned to one
 of the five criteria indicated in the Franchise RFP. The scores assigned by each of the teams were
 aggregated and summed for each of the companies yielding a total final score. The companies were
 ranked according to their final score in either the large zones and/or the small zones (see Tables 5 and
 6, and Chart 1 and 2). In accordance with Section 4.1.1 of the RFP, the City reserves discretion as to
 which zones the City chooses to negotiate with each proposer.
 The Council-approved Implementation Plan contains clear provisions on the award of franchise
 zones:

        No one Franchisee shall be awarded more than 49% of the franchise market share.
        No one Franchisee shall be awarded both a large zone and a small zone.
        No one Franchisee shall be awarded more than small zone.
 In consideration of these provisions, LASAN used the companies overall ranking, their operational
 and organizational capacity, their financial wherewithal, and their geographical strengths as
 determined by the LASAN team, to short-list a group of companies, in both the large and small zones
 categories, to participate in the first round of the negotiations. Four companies (Athens, Republic
 Waste Management, and Recology) were invited to negotiate on two of the eight large zones as the
 initial pairings. Three companies (NASA, UWS, UPW) were invited to negotiate on one of the three
 small zones.




                                                                                                Exhibit 3
                                                                                                    3-16
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 147 of 196 Page ID
                                   #:296
  BUREAU OF SANITATION
  BUREAU OF CONTRACT ADMINISTRATION
  JOINT BOARD REPORT NO 1
  September 26, 2016
  Page 17 of 43

  Table 5 – Average Overall Score, Proposers on Large Zone




                                                                                                             Recology




                                                                                                                                               Republic
                                                          CalMet




                                                                                                                                                          Athens
                                                                   CR&R




                                                                                                                             NASA
                                                                          Ware
                                               WCN




                                                                                 UPW

                                                                                               UWS




                                                                                                                                        WM
                                     WR
   Evaluation Criteria
   Qualifications                     5.1          6.2     6.9      6.8    6.1    6.3           7.6           7.9         7.4         8.4       7.7        8.8
   Customer Service                   4.9          6.9     8.5      6.2    4.2   12.7          13.9          23.2        11.2        19.7      20.2       24.8
   Service Plan                       7.7          8.4   12.5      12.3   10.4    8.4          13.9          14.2        12.1        19.4      18.5       17.4
   Diversion Plan                     6.2     18.6         9.8     15.1    4.7    6.7          23.4          22.5        24.4        14.2      21.8       21.4
   Cost and Fee Proposal              6.2          1.5     6.6      4.0   20.0   17.3           6.6           0.0        18.1        16.3      12.0       19.8
   Total Score                       30.1     41.6       44.3      44.4   45.4   51.4          65.4          67.8        73.2        78.0      80.2       92.2



  Chart 1

                                        Average Overall Score
                                      Proposers on Large Zones
   100.0
    90.0
    80.0
    70.0
    60.0
    50.0
    40.0
    30.0
    20.0
    10.0
     0.0
                      WCN




                                            CR&R




                                                                   UPW


                                                                           UWS
                                                         Ware
                 WR




                            CalMet




                                                                                    Recology


                                                                                                      NASA


                                                                                                                        WM


                                                                                                                                    Republic


                                                                                                                                               Athens




                                                                                                                                                Exhibit 3
                                                                                                                                                    3-17
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 148 of 196 Page ID
                                   #:297
BUREAU OF SANITATION
BUREAU OF CONTRACT ADMINISTRATION
JOINT BOARD REPORT NO 1
September 26, 2016
Page 18 of 43

Table 6 – Average Overall Score, Proposers on Small Zones




                                                                             CalMet




                                                                                                                         NASA
                                                                                             Ware
                                                                  WCN




                                                                                                     UPW

                                                                                                            UWS
                                                   PCW

                                                           AAA
                               SVT

                                      WR
 Evaluation Criteria
 Qualifications                1.7    5.1          3.8    4.4     6.2        6.9             6.1     6.3    7.6          7.4
 Customer Service              0.4    4.9          4.5    6.1     6.9        8.5             4.2    12.7   13.9         11.2
 Service Plan                  5.2    7.7          5.4    8.2     8.4       12.5         10.4        8.4   13.9         12.1
 Diversion Plan                8.5    6.2          3.6    6.9    18.6        9.8             4.7     6.7   23.4         24.4
 Cost and Fee Proposal         0.0    6.2         13.5   13.5     1.5        6.6         20.0       17.3    6.6         18.1
 Total Score                  15.8   30.1         30.8   39.1    41.6       44.3         45.4       51.4   65.4         73.2

Chart 2

                                 Average Overall Score
                               Proposers on Small Zones
 100.0
  90.0
  80.0
  70.0
  60.0
  50.0
  40.0
  30.0
  20.0
  10.0
   0.0
                                                         WCN




                                                                                                     UPW



                                                                                                                  UWS
                SVT



                         WR



                               PCW




                                                                   CalMet



                                                                                      Ware




                                                                                                                                NASA
                                            AAA




Negotiation Process and Zones

During the negotiation process, initial zone assignments were selected so that LASAN could
negotiate specifically to cost proposal and service requirements. An extensive negotiation process
that was specific to the initial zone assignments continued through March, 2016. During the
negotiation process, Recology and LASAN could not come to terms on some key aspects of the
contract. As a result, Recology withdrew from negotiations on March 24, 2016 (Transmittal No. 12).

With the withdrawal of Recology from the process, two large zones were now available to award.
Following the rankings of the firms that proposed on large zones, LASAN offered NASA the
opportunity to move from the Downtown Zone, which was the subject of negotiations up to that date,
to the Northeast Zone. NASA declined and chose to stay in the Downtown Zone. Therefore,
LASAN offered the Northeast Zone to UWS, the next highest ranked proposer in the large zones.
UWS accepted the move from the Southeast Zone to the Northeast Zone. This created a vacancy in
the small zone awards. LASAN moved to the next firm in ranking for the small zones, and invited


                                                                                                                                       Exhibit 3
                                                                                                                                           3-18
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 149 of 196 Page ID
                                   #:298
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 19 of 43

 Ware Disposal to begin negotiations. LASAN offered the second vacant large zone to Athens, the
 highest ranked proposer.

 Negotiations continued until July 2016. In July it was determined that negotiations would not
 continue with UPW, and UPW withdrew from the negotiation process on July 26, 2016 (Transmittal
 No. 13). With the withdrawal of UPW from the negotiation process, LASAN returned to the ranking
 of the firms that submitted proposals on the small zones, and CalMet as the next highest ranked
 proposer was invited to negotiate on a potential award of the East Downtown Zone.

 Zero Waste LA Zone Awards

 LASAN recommends the franchise zone awards to the firms as shown in Tables 7 and 8. Franchise
 RFP evaluation scoring for the large and small zones was the greatest factor in award of franchise
 zones.
 All recommended proposers have agreed to the LASAN-approved terms and conditions such as level
 of customer service, use of City-certified facilities and equipment, use of technology, reporting
 requirements to the City and other regulatory agencies, maximum unit cost at required level of
 service, and diversion targets to meet City’s Zero Waste goal. The location, current availability, and
 timeliness of completion of new infrastructure were also factors in zone assignments. This new
 infrastructure is necessary to meet the City’s long term diversion goals

 Table 7 - Recommended Large Zone Award

 Ranking1         Proposer      Recommended Large Zone Award                  Number of Accounts
 1               Athens         West LA, North Central, and Harbor            21,864
 2               Republic       Northeast Valley and South LA                 16,820
 3               WM             West Valley and Southeast Valley              15,526
 4               UWS            Northeast                                     6,106
 1
     – With the withdrawal of Recology and NASA electing to stay in the Downtown Zone
 Table 8 – Recommended Small Zone Award

 Ranking2         Proposer      Recommended Small Zone Award                  Number of Accounts
 1               NASA           Downtown                                      1,771
 2               Ware           Southeast                                     1,817
 3               CalMet         East Downtown                                 1,013
 2
     – With the withdrawal UPW and UWS recommended for a large zone




                                                                                                   Exhibit 3
                                                                                                       3-19
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 150 of 196 Page ID
                                   #:299
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 20 of 43

 Map 2 – Recommended Franchise Zone(s) Awards




                                                                   Exhibit 3
                                                                       3-20
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 151 of 196 Page ID
                                   #:300
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 21 of 43

 City Policy – Headquarters in Arizona
 Republic’s local main office is located in the City, however, its corporate headquarters is located in
 Arizona. Republic has had a long presence in the City and currently collects solid waste from over
 twenty percent of the customers transitioning into the franchise system. Republic has a long history
 of contracting with the City and currently contracts for solid resource services. Presently, Republic
 operates seven solid resources facilities in Los Angeles County, and employs nearly 2,500 people in
 Southern California, of which over 1,000 are employed within Los Angeles County, with 145
 residing in the City. Republic’s experience, expertise, and resources are important to the success of
 the Franchise System. Republic’s existing and proposed resources, made available through the
 franchise contracts, allowed staff to negotiate low rates that are sustainable through the term of the
 contract. Limiting infrastructure resources would limit competition and increase demand on other
 facilities, which could have a negative impact on processing and disposal fees and ultimately rates to
 the Zero Waste LA customers. For the foregoing reasons, there would be significant tangible and
 intangible additional costs to the City and its citizens were the City to refrain from entering into a
 contract with Republic.
 Zero Waste LA Exclusive Franchise System Key Contract Elements and Program Goals

 The initial term of these contracts is ten (10) years with an additional two (2) optional renewals for
 five (5) years each at the City’s sole discretion. Each Contractor shall provide collection, transfer,
 recycling, processing and disposal services for municipal solid waste, commingled recyclables, and
 organics from commercial and multifamily customers in Franchise Zone(s).

 Franchise System Timeline
 As shown in Chart 3, LASAN anticipates starting Franchise System transition in January 2017,
 immediately after contract execution. The first steps in the transition process begin with the
 Franchisee procuring all the necessary vehicles, bins and equipment, and to start the necessary
 infrastructure improvements. As there are limited vendors for procurement items such as trucks and
 bins the lead time for these items can be as long as six months. Beginning in January 2017 LASAN
 will coordinate the orderly transition of the 65,000 customers with the Franchisees and existing waste
 haulers. In January 2017 LASAN will also begin testing the integration of LASAN’s and the
 Franchisees’ customer service systems. The initial planning, coordination and testing will take
 approximately six months. In July 2017 the Franchisees will begin the outreach, training and
 transition of customers into the Franchise System. Transition of all customers into the Franchise
 System will take approximately six months and will be completed by January 2018.




                                                                                              Exhibit 3
                                                                                                  3-21
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 152 of 196 Page ID
                                   #:301
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 22 of 43

 Chart 3 – Franchise System Development and Implementation Schedule
                                                                                  2010   2011   2012   2013   2014   2015   2016   2017   2018
                                       Task
 Council motion (CF# 10-1797) to explore the benefits of commercial franchise
 Council approved 5-year notice to haulers
 LASAN report requesting authority to develop an exclusive franchise system
 Council instructed Sanitation to develop Exclusive Franchise Program
 Council approved Franchise Implementation Plan (FIP)
 Prepare EIR and Ordinance
 City Council Approved EIR and Ordinance
 Mayor Signed Franchise Ordinance
 Board of Public Work Approves Release of Franchise RFP
 LASAN Receives 15 Proposals
 LASAN Evaluates Proposals
 LASAN Negotiation and Contract Development
 Board Approval of Contracts
 Council Approval of Contracts
 Execution of Contracts
 Outreach and Education/Program Implementation
 Prepare EIR and Ordinance
 Franchisee Begins Procurement (Trucks and Bins) and Infrastructure
 Transition Coordination
 Information Technology System Testing
 Service Abandoned and Unserviced Accounts
 City Notice to Customers
 Franchisee Begins Servicing and Transitioning Customers (Franchise Fees Begin)
 Franchisee Outreach, Training and Account Setup
 All Customers Transitioned (Start of Service)


 Franchise System Goal - Meet the City’s Zero Waste goals by establishing the maximum
 disposal for each zone, and implementing waste diversion programs that are consistent with the
 Solid Waste Integrated Resource Plan Guiding Principles. Meet and exceed California
 requirements for waste diversion and mandatory commercial and multifamily recycling

 Franchisees will be required to provide recycling (Blue Bin) service to all customers. This service is
 unlimited at the same frequency of solid waste (Black Bin) collection, with additional frequency at a
 very low rate. The Contractor will continue source-separated Organics (Green Bin) service to
 customers that are already being provided this service, and will offer Organics service to all
 customers. Negotiated pricing for Organics service does not exceed the maximum rates for Black
 Bin service. All Customers shall receive an on-site Waste Assessment prior to service under the
 Franchise System, with additional waste assessments required every two years to assist customers in
 right-sizing their service and improving recycling and organics collection.
 To assist Customers in reuse and food rescue, the Contractor is required to utilize and fund reuse
 organizations, provide information to their customers on their use, and report to LASAN on their
 success in moving usable materials back into productive use. Outreach and Education will be
 developed by LASAN, and the Contractor is required to educate residents and customers in the
 correct use of Blue and Green Bins, the benefits of reuse and food recovery, and other sustainability
 messaging.
 Contractors are required to reduce the tonnage of solid waste disposed in their awarded Zone(s). In
 the first term (10 years) of the contract, approximately 65 percent of the materials collected must be
 moved from primarily Black Bin collection to recovery (Blue Bin or Green Bin). A baseline will be
 established during the first full year of service, with varying timelines for reaching the required
 disposal reduction. This disposal reduction, if not met, will result in liquidated damages as they are


                                                                                                                                   Exhibit 3
                                                                                                                                       3-22
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 153 of 196 Page ID
                                   #:302
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 23 of 43

 measured during the contract term. The Contractor is required to perform multiple sampling and
 characterization of materials and provide extensive reporting to validate that disposal reduction
 (diversion) is taking place.
 Franchise System Goal - Ensure reliable system infrastructure to provide uninterrupted service
 to City customers.

 The Franchise System will provide uninterrupted service to City customers by ensuring reliable
 system infrastructure through its Franchise contracts. The Contractors are required to have individual
 facility plans. The Contractors shall develop the facilities as detailed in the Facility Development
 Plan as per the Contract. The Contractor shall ensure that the newly developed facilities have the
 improvements and processing capacity to meet the demands of the Zone(s) awarded. Failure to
 develop new processing facilities in accordance with the Facility Development Plan may result in
 termination by default of the Contract.
 Their specific infrastructural improvements of the recommended Contractors are briefly described
 below:
 Athens
 Much of the solid resources collected from Athens’ recommended zones, located in the central part of
 the City, will be transported east to its existing and proposed infrastructure. Athens will invest in
 infrastructure development for the Franchise System. It has already invested in the expansion of its
 Sun Valley Material Recovery and Transfer Station. Additional improvements to this facility will
 include modifying the baler and processing line, installing a solar power system, and building an
 additional push wall. In its City of Industry Material Recovery Facility, Athens will upgrade the
 facility by installing an organics pre-processing system and adding a new building and other
 equipment over its recycling network. Athens has committed by contract to invest an additional $10
 million in infrastructure to manage solid resources from the Harbor Zone.
 Republic
 Republic has infrastructure near the City to service the South LA and Northeast Valley Zones.
 Republic will upgrade an existing composting facility in Chino that is co-owned by Agromin. The
 current windrow composting system operated at the facility will be converted to an aerated static pile
 system with additional screens. Republic will also modify its American Waste Transfer Station by
 enclosing the building to comply with the City’s facility certification requirements.
 WM
 WM will construct a new enclosed transfer and processing facility in Sun Valley, adjacient to its
 recommended zones, that is designed to receive and process 2,000 tons per day (tpd) of solid waste,
 receive and transfer 1,000 tpd of recyclables, and receive and pre-process 1,000 tpd of organics. At
 its Lancaster site, WM will construct a 2,000 tpd organics processing facility with dry anaerobic
 digestion and aerated static pile composting systems. The existing Mission Road transfer station in
 Los Angeles will be improved by expanding its receiving area and enclosing its organics receiving
 area. In Wilmington, additional sorting equipment will be installed to the existing material processing
 facility.



                                                                                               Exhibit 3
                                                                                                   3-23
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 154 of 196 Page ID
                                   #:303
BUREAU OF SANITATION
BUREAU OF CONTRACT ADMINISTRATION
JOINT BOARD REPORT NO 1
September 26, 2016
Page 24 of 43

UWS
UWS will utilize new infrastructure just south of its recommended zone. UWS will develop its Santa
Fe Springs Material Recovery Facility in two phases: Phase I (750 tpd) and Phase II (1,500 tpd). Its
24th Street Transfer Station in Los Angeles will be upgraded into a larger transfer facility with a 1,000
tpd processing capacity.
CalMet
CalMet will construct a new Royal Material Recovery Facility in Paramount next to its collection
yard and existing transfer station. The new facility will be capable of processing 2,450 tpd.
Ware
Ware owns and operates the Madison Resource Recovery Facility in Santa Ana. Ware will improve
this existing facility to accept and process organic waste.
The Franchise System will also provide additional organics infrastructure through new or expanded
private partnerships. Athens has partnered with Anaergia, Inc. for the development of a bioenergy
facility in Rialto that utilizes digestion technology to produce renewable energy from organics. The
Rialto facility is expected to be operational in 2019. Republic has also collaborated with Anaergia,
Inc. to build the Anaheim Sustainability Center, a state-of-the-art facility that will convert organics
into renewable energy through the process of anaerobic digestion. This facility is anticipated to be
completed in 2018. Both facility development projects will be entirely funded by Anaergia, Inc. with
Athens and Republic supplying organics as feedstock to the digestion process.
Franchise System Goal - Create a consistent, clearly defined system with predictable and
reasonable rates and contingency plans to ensure reliable service.

One of the goals of the Franchise System is a fair and equitable rate structure, with predictable rates.
LASAN staff utilized private sector experts in the field of solid waste rate development, rate
verification and modeling to assist in negotiating fair rates with all proposers. These experts utilized
experience, industry standards and information provided by the proposers to develop rate models.
These models took into account the requirements of the contract including clean fuel vehicles,
education and outreach, staffing, infrastructure, and landfill reduction.
LASAN staff researched rates in other cities throughout the state, including current rates for solid
waste and recyclables collection, both combined and individually. Many of the cities researched had
separate rates for solid waste and recycling, which for comparison were combined into a single rate.
In total, over one hundred California cities with franchise agreements were reviewed. Statistics for
those rates are shown below in Table 9. In the Franchise System, the monthly rate for a 3 cubic yard
solid waste bin, with unlimited recycling, collected once per week, is capped at $216.72 per month,
which is 15 percent lower than the average of the cities researched. Over one-third of all the cities
researched have rates that are within +/-10 percent of the proposed Franchise System maximum rate.




                                                                                                Exhibit 3
                                                                                                    3-24
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 155 of 196 Page ID
                                   #:304
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 25 of 43

 Table 9 – Rate Comparison

                                  Monthly Rate for Solid Waste and Recycling
                                3 cubic yard bin collected once per week (1-3-1)
  Minimum                                                                    $69.09
  Maximum                                                                 $1,198.88
  Median                                                                    $206.80
  Mean (Average)                                                            $257.24
  City of Los Angeles                                                       $216.72



                   Sample Rates of Commercial Exclusive Franchises in California
                                    Solid Waste and Recycling
                           3 cubic yard bin collected once per week (1-3-1)


                                                                                               $1,142
        $1,200

        $1,000

           $800

           $600                                                                         $462
                                                                             $401
           $400                        $213 $216 $216 $221 $237
                   $152 $161 $175 $201
           $200

            $-




                    San Fernando       West Hollywood   Rosemead          Anaheim
                    Huntington Beach   Los Angeles      Fullerton         Simi Valley
                    San Dimas          San Jose         Oakland*          San Francisco

        * - Rate for Oakland does not include collection of commingled recyclables
 LASAN negotiated fair and equitable rates for all customers. Maximum rate caps citywide will
 ensure equity so that all of the City’s business, institutional, and multifamily customers to receive the
 same services for a predictable rate. A citywide rate structure does not mean a one-size-fits-all
 approach. Customers will have a suite of solid waste and recycling options to choose from that
 promotes diversion and can be customized to fit their needs and/or desires. The rate schedules have
 been negotiated to help encourage additional diversion of material from landfills. The Contractors are
 required to include recycling services in their standard rates.



                                                                                                        Exhibit 3
                                                                                                            3-25
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 156 of 196 Page ID
                                   #:305
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 26 of 43

 To save money and divert more material from landfills, customers may request a larger recycling or
 green bin and/or more frequent recycling, green waste, or organics service, and the unit cost of that
 service is priced lower than comparable service for solid waste. This will provide a powerful
 incentive for driving additional material away from landfills and toward more beneficial uses. The
 rates were also structured to address the City’s phased approach to organic recycling.
 The Contractors can only bill customers for services up to the maximum rates as per the contract. The
 Contractors will bill all customers, except customers with temporary service such as roll-offs, one
 month in advance on a monthly basis. The Contractors shall be solely responsible for collecting bill
 payments from customers and services shall be performed on the basis of payment rendered. If a
 customer goes out of business, the Contractors shall be solely responsible for collecting that debt.
 Another objective was predictable rate increases to customers. To this end, an annual compensation
 adjustment shall be made considering readily available cost indices. Costs in the Contract shall be
 used as the basis for adjusting Contractor compensation (plus additional financial information that
 may be requested by the City). These indices will be the same for all contracts, allowing rates to
 move consistently throughout the term of the contract. The total annual compensation adjustment
 shall not exceed five (5) percent. Over the last five years this compensation adjustment has averaged
 just over 2 percent annually.
 Organics infrastructure, additional hauling, pre-processing, and processing will be required due to the
 special requirements of organics, especially food waste. These costs will become significant in years
 three and four of the contract, and will continue through the end of the contract. To account for these
 costs, there will be a three (3) percent increase in all rates for each of these years in addition to any
 annual rate increase. The contracts also allow for increases due to changes in law or regulations that
 result in an increased fee or assessment. In addition, the contracts contain a potential rate adjustment
 every 60 months of the contract, capped at 3%, to allow for unforeseen circumstances. These
 increases will be in addition to the calculated Consumer Price Index increase within the 5 percent
 cap.
 LASAN has established a list of Extra Services included in each contract, which each Contractor
 shall offer their customers within the accompanying rates. Extra Services shall be increased annually
 in accordance with the formula specified for an Annual Compensation Adjustment.
 Franchise Fee
 The Contractors will pay, on a quarterly basis, a negotiated Franchise Fee to the City based on a
 percentage of the gross receipts billed to all customers. The payment is due on or before 30 days
 following the end of each calendar quarter.
 AB 939 Compliance Fee
 The AB 939 Compliance Fee will remain the same. The Contractors shall remit to the City the AB
 939 Compliance Fee equal to ten (10) percent of gross solid waste receipts in accordance with
 Section 66.32 of the Los Angeles Municipal Code. The payment is due on or before 30 days
 following the end of each calendar quarter.




                                                                                                 Exhibit 3
                                                                                                     3-26
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 157 of 196 Page ID
                                   #:306
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 27 of 43

 Franchise System Goal - Provide the highest level of Customer Service through communication
 and delivery of services
 The City’s LASAN Customer Care Center and Dispatch Center, which operates 24/7, will be the first
 point of contact for customers initiating service requests, complaints, and inquiries either through
 phone, internet/website, or mobile/smart-phone application; except for billing inquiries, which may
 go directly to the Contractors’ billing department. Each Contractor shall maintain a fully staffed call
 center operating Monday through Friday from 7:00 AM through 6:00 PM, and Saturday from
 8:00 AM through 12:00 PM. During these regular business operating hours, customers shall be able
 to resolve all billing-related requests and inquiries. The Contractors shall be capable of handling
 customer inquiries and initiating service requests 24 hours per day, 7 days per week, to receive,
 respond and resolve all customer inquiries and service complaints.
 The Contractors’ customer support performance will be monitored and the Contractors must have
 sufficient technology in place to support the performance metrics specified in the Contract. The City
 will ensure that customer service standards are met. The City may, at its sole discretion, investigate
 all unresolved disputes between the Contractors and a Customer. At the end of the investigation, the
 City will determine the resolution of such disputes.
 The Contractors shall provide sufficient staffing to meet and execute all requirements of this Contract
 including the transition period. All Contractors’ and subcontractors’ staff assigned to hospitals must
 comply with hospital medical screening and testing, integrity of the hospital waste stream from pick
 up to ultimate disposal, and Protected Health Information requirements.
 The Contractors shall participate in the City’s Solid Resources program outreach activities, including
 but not limited to: public appearances in support of the City's Recycling Program, use of the City’s
 recycling theme, colors, and logos on collection vehicles and containers, distribution of promotional
 literature, participation in special events, special educational presentations, and similar activities.
 The Contractors shall utilize the state-of-the-art technology available to meet the Contract
 requirements stated under customer service, outreach and education, field operations, solid resources
 collection, as well as all other elements of the Contract. The Contractors shall assist in maintaining
 LASAN’s franchise customer database. This information must be able to interface with and cross-
 link to the City’s account database software and technology.

 Franchise System Goal - Improve the City’s air quality by requiring late model low emission
 clean fuel vehicles
 Collection vehicles must be clean fueled, using CNG or liquefied natural gas, and less than 8 years
 old at the start of the contract and less than 10 years old throughout the duration of the first term of
 the contract. Separate vehicles will be used for each commodity (Solid Waste, Commingled
 Recyclables, and Organics). When the program is fully implemented, the small zones will require
 about 44 total vehicles, excluding spares. The large zones may require as many as 340 total vehicles,
 excluding spares. While some of the proposers already have some CNG vehicles, most of them will
 need to be newly purchased. All will need to be replaced by the end of the initial 10 years of the
 contract. This will require a significant capital investment for the first 10 years of the project.
 In addition, all collection vehicles, including tractor trailers that carry roll-off Containers, shall be in
 compliance with the SCAQMD Fleet Rule 1193. All solid resources collection vehicles shall be


                                                                                                   Exhibit 3
                                                                                                       3-27
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 158 of 196 Page ID
                                   #:307
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 28 of 43

 equipped with on-board technology (software and hardware) capable of monitoring and recording
 data, vehicle dynamics monitoring, lift monitoring, photo and video, and engine performance
 monitoring systems. On-board technology shall capture at minimum, fuel consumption, idle time,
 unsafe driving practices, safety inspections, vehicle maintenance, engine emissions, and container
 lifts. This data shall be communicated from the truck in real-time and maintained by the haulers. The
 data must be accessible transferred to the City in an acceptable format and in real-time. Contractor’s
 collection vehicles and equipment shall be maintained in compliance with the manufacturer's
 specifications, and all applicable laws and regulations.
 Franchise System Goal - Improve health and safety for solid waste workers under City contract
 provisions
 All facilities intended for use by the Contractor in operations pertaining to this Contract shall undergo
 the City’s facility certification process and maintain the certification in good standing while they are
 utilized under the Franchise System.
 The Contractors are required to have a written contingency plan, describing the steps that the
 Contractors shall take to avoid interruptions in collection, disposal and processing services. At all
 times, the Contractors and their employees shall operate and maintain all collection vehicles and
 equipment in compliance with all applicable laws. The Contractors shall maintain all necessary
 licenses and registrations, and shall timely pay all fees and taxes, on all vehicles and equipment, as
 required under applicable laws.
 The Contractors shall provide routine safety training to its employees, in compliance with OSHA, all
 applicable laws and its safety and training plan. The safety and training plan would include but not be
 limited to: general safety, alcohol and drug-free workplace, fire safety, driver training, accident
 prevention, personal protective equipment, solid resource collection safety, Illness and Injury
 Prevention Program, workplace free from sexual harassment, and workplace free from violence.
 The Contractors shall use only City-Certified Facilities with sufficient capacity to process or dispose
 of all solid resources collected under the Contracts. The Contractors shall ensure that the City’s
 facility certification requirements are met by the facilities utilized, whether or not the facility is
 located within the City boundaries. The facility plan shall include secondary or back up facilities to
 be utilized in the event a facility is unable to accept material. Residual waste from Certified Facilities
 shall be disposed of by the Contractor or the processing facility Subcontractor at a City-Certified
 Facility selected by the Contractor or its Subcontractor.
 The facility certification process will include an inspection to enforce compliance with current laws
 and regulations, as well as enforce City compliance provisions. Violations will be enforced through
 liquidated damages and other means. All facilities used by the Contractors shall be in compliance
 with the regulations of dust, odor, litter, noise, and other issues arising from the operation of the
 facilities. The facility compliance requirements should help prevent health and safety hazards and
 nuisance to nearby communities. The operation of facilities used for the transfer and processing of
 solid waste and organics creates some environmental burdens that require full enclosure to address
 them. Certified Facilities are subject to compliance with recordkeeping, reporting requirements, and
 maintenance of compliance records. The Certified Facilities must undergo audit and inspection to
 ensure compliance with the terms and conditions of the Franchise agreement and adequate protection
 of workers, public health, and the environment.



                                                                                                 Exhibit 3
                                                                                                     3-28
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 159 of 196 Page ID
                                   #:308
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 29 of 43

 PROPOSED TERM OF AGREEMENT AND COST CEILING

 The proposed contract term will be for ten (10) years, with two (2) 5-year renewal option(s). There
 are no cost ceilings associated with these contracts.

 BUSINESS INCLUSION PROGRAM
 The City recognized that the potential subcontracting opportunities and the associated level of
 participation would vary depending on the franchise zone(s) awarded. Due to the numerous proposal
 response option resulting from the eleven (11) zones Proposers submitted a Schedule A, List of
 Potential MBE/WBE/SBE/EBE/DVBE/OBE Subcontractors, that was inclusive of all subcontractors
 for all zones for which the Proposer submitted a proposal. Following contract negotiations, the
 shortlisted Proposers prepared a final Schedule A for the contract for which they are recommended to
 be awarded. The final Schedule A includes the list of subcontractors and their pledged subcontractor
 participation dollar values.
 On July 10, 2015, the Board of Public Works found all proposers responsive to the City’s Business
 Inclusion Plan. At the time of distribution of the RFP for these services, the City established
 anticipated participation levels for this contract of 8% MBE, 5% WBE, 5% SBE, 1% EBE, and 1%
 DVBE. The following Contractors and their participation levels are as follow:
 Athens Services has pledged participation levels of 2.51% MBE, 0.05% WBE, 0.08% SBE, 0.07%
 EBE, 0% DVBE, and 7.79% OBE.
 NASA has pledged participation levels of 0.41% MBE, 1.63% WBE, 1.82% SBE, 0.19% EBE, 0%
 DVBE, and 1.38% OBE.
 Republic Services has pledged participation levels of 1.08% MBE, 0.32% WBE, 1.96% SBE, 1.96%
 EBE, 0% DVBE, and 11.06% OBE.
 Waste Management has pledged participation levels of 2.98% MBE, 2.23% WBE, 0% SBE, 0%
 EBE, 0% DVBE, and 8.81% OBE.
 Universal Waste Systems has pledged participation levels of 0.88% MBE, 0.17% WBE, 1.45% SBE,
 1.45% EBE, 0% DVBE, and 4.71% OBE.
 Ware Disposal has pledged participation levels of 0.53% MBE, 0% WBE, 0.11% SBE, 0.11% EBE,
 0.11% DVBE, and 0% OBE.
 CalMet has pledged participation levels of 0.29% MBE, 0% WBE, 0% SBE, 0% EBE, 0% DVBE,
 and 7.27% OBE (See Tables below).
 Gender/Ethnicity Codes:

 AA = African American                                HA = Hispanic American

 SAA = Subcontinent Asian American                    APA = Asian Pacific American

 C = Caucasian                                        NA = Native American

 M = Male                                             F = Female



                                                                                            Exhibit 3
                                                                                                3-29
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 160 of 196 Page ID
                                   #:309
   BUREAU OF SANITATION
   BUREAU OF CONTRACT ADMINISTRATION
   JOINT BOARD REPORT NO 1
   September 26, 2016
   Page 30 of 43

   Athens:

                                                                % OF
                                  MBE/WBE/SBE/     GENDER/               SUBCONTRACT
        SUBCONTRACTOR                                         CONTRACT
                                  EBE/DVBE/OBE    ETHNICITY                AMOUNT
                                                               AMOUNT
    Aslan Consulting LLC              MBE           F/AA        0.02%          $250,000

    Container Management              MBE           F/HA        0.06%          $568,182
    Group, LLC/ CDSRVS,
    LLC

    JI Gandara Transport Inc.         MBE           M/HA        2.40%        $24,688,661

    Schafer Consulting            MBE, SBE, EBE     F/APA       0.02%          $250,000

    Consensus Inc.                    WBE            F/C        0.05%          $500,000

    Three Squares International     WBE, SBE         F/C         0%             $50,000
    Inc/ One-Drop Interactive

    Isidore Electronics             SBE, EBE          -         0.05%          $496,000
    Recycling

    AEP/Arts Earth Partnership        OBE             -         0.02%          $200,000

    Anaergia Services LLC             OBE             -         1.17%        $12,065,972

    AXIOM Translations, LLC           OBE             -         0.02%          $240,000

    Chiquita Canyon Landfill/         OBE             -         4.10%        $42,162,870
    Waste Connections

    Consolidated Fabricators          OBE             -         1.22%        $12,500,000
    Corp

    Discovery Cube Los Angeles        OBE             -         0.01%           $52,000

    Green Halo                        OBE             -         0.01%           $60,000

    Global Green                      OBE             -         0.02%          $200,000

    I:Collect AG/SOEX Group           OBE             -          0%             $25,000

    JJ Keller & Associates            OBE             -         0.05%          $489,600

    LA Shares                         OBE             -         0.03%          $324,839

    Mario’s Trucking                  OBE             -         1.02%        $10,454,366

    Plastics Solutions Inc./          OBE             -         0.01%          $150,000
    EcoSafe Zero Waste

    reDiscover Center                 OBE             -         0.02%          $250,000

    Soft-Pak                          OBE             -         0.08%          $785,000




                                                                              Exhibit 3
                                                                                  3-30
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 161 of 196 Page ID
                                   #:310
   BUREAU OF SANITATION
   BUREAU OF CONTRACT ADMINISTRATION
   JOINT BOARD REPORT NO 1
   September 26, 2016
   Page 31 of 43

                                                                  % OF
                                     MBE/WBE/SBE/    GENDER/               SUBCONTRACT
       SUBCONTRACTOR                                            CONTRACT
                                     EBE/DVBE/OBE   ETHNICITY                AMOUNT
                                                                 AMOUNT
    Sustainable Works                    OBE            -         0.01%           $100,000

    Total MBE Participation                                       2.51%        $25,756,843

    Total WBE Participation                                       0.05%           $550,000

    Total SBE Participation                                       0.08%           $796,000

    Total EBE Participation                                       0.07%           $746,000

    Total DVBE Participation                                       0%                   $0

    Total OBE Participation                                       7.79%        $80,059,647

    Total MBE/WBE/SBE/EBE/DVBE/OBE Subcontractor Firm            10.40%       $106,862,490
    Participation

    Base Estimated Contract Amount                                           $1,027,792,030




   NASA:

                                                                  % OF
                                 MBE/WBE/SBE/        GENDER/               SUBCONTRACT
       SUBCONTRACTOR                                            CONTRACT
                                 EBE/DVBE/OBE       ETHNICITY                AMOUNT
                                                                 AMOUNT
    Clean-up America                    MBE           M/AA         0%                   $0

    Container Management                MBE           F/HA        0.41%           $765,345
    Group, LLC

    Go2Zero Strategies                WBE, SBE         F/C        1.62%         $3,000,000

    Kambrian Corporation         WBE, SBE, EBE        F/APA       0.01%            $10,000

    Isidore Electronics                SBE, EBE         -         0.05%           $100,000
    Recycling

    S. Groner Associates, Inc.         SBE, EBE         -         0.14%           $250,000

    Adapt Consulting Inc. dba            OBE            -         0.05%            $99,998
    Adapt Ad Specialty

    Consolidated Fabricators             OBE            -         0.05%           $100,000
    Corp.

    Distributors Unlimited               OBE            -         0.27%           $500,000

    Fleetmind Solutions, LLC             OBE            -         0.26%           $481,092

    Impact Eco Vision                    OBE            -         0.05%           $100,000




                                                                                Exhibit 3
                                                                                    3-31
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 162 of 196 Page ID
                                   #:311
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 32 of 43

                                                                        % OF
                               MBE/WBE/SBE/         GENDER/                      SUBCONTRACT
     SUBCONTRACTOR                                                    CONTRACT
                               EBE/DVBE/OBE        ETHNICITY                       AMOUNT
                                                                       AMOUNT
  Environmental Inc.

  Kuba & Associates, Inc.           OBE                    -             0%                     $0

  MHI Global (Impact                OBE                    -            0.01%              $20,000
  Learning Solutions)

  Schafer Systems                   OBE                    -            0.52%             $961,625
  International, Inc.

  The Printing Connection           OBE                    -            0.02%              $30,305

  The V Group                       OBE                    -            0.05%             $100,000

  True Truck, LLC                   OBE                    -            0.03%              $58,200

  Wastequip Manufacturing,          OBE                    -            0.05%             $100,000
  LLC

  Total MBE Participation                                               0.41%             $765,345

  Total WBE Participation                                               1.63%            $3,010,000

  Total SBE Participation                                               1.82%            $3,360,000

  Total EBE Participation                                               0.19%             $360,000

  Total DVBE Participation                                               0%                     $0

  Total OBE Participation                                               1.38%            $2,551,220

  Total    MBE/WBE/SBE/EBE/DVBE/OBE        Subcontractor       Firm     3.61%            $6,676,565
  Participation

  Base Estimated Contract Amount                                                       $185,000,000

 Explanation for “$0” Dollar Value of Subcontract:
 Kuba & Associates, Inc. – It was determined that most of the proposed activities were not required.
 Clean-up America, Inc. – Construction material is not a part of the contract, therefore services are
 not needed.




                                                                                            Exhibit 3
                                                                                                3-32
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 163 of 196 Page ID
                                   #:312
   BUREAU OF SANITATION
   BUREAU OF CONTRACT ADMINISTRATION
   JOINT BOARD REPORT NO 1
   September 26, 2016
   Page 33 of 43

   Republic Services:

                                                              % OF
                                MBE/WBE/SBE/     GENDER/               SUBCONTRACT
       SUBCONTRACTOR                                        CONTRACT
                                EBE/DVBE/OBE    ETHNICITY                AMOUNT
                                                             AMOUNT
    DYJP, Inc. Cabo Transport       MBE           M/HA        0.50%         $4,500,000
    & Services

    Container Management            MBE            N/A        0.43%         $3,900,000
    Group, LLC

    Titan Disposal                  MBE           M/AA        0.15%         $1,350,000

    Mariposa Eco Consulting     WBE, SBE, EBE      F/C        0.13%         $1,195,000

    Paragon Language Services       WBE            F/C        0.01%          $100,000

    Pinnacle Petroleum              WBE            F/C        0.18%         $1,600,000

    AAA Rubbish, Inc.               SBE             -          0%                  $0

    A-Mehr, Inc.                  SBE, EBE          -         0.05%          $450,000

    City Terrance Recycling,      SBE, EBE          -         1.71%        $15,422,650
    LLC

    Compliance Plus               SBE, EBE          -         0.03%          $250,000

    Isidore Electronics           SBE, EBE          -         0.04%          $350,000
    Recycling

    Agromin                         OBE             -         1.44%        $13,000,000

    AIMCS Consulting                OBE             -         0.01%           $50,000

    Anaergia Services, LLC          OBE             -         0.01%          $100,000

    Camland, Inc.                   OBE             -          0%                  $0

    Cemex                           OBE             -          0%                  $0

    Chiquita Canyon Landfill        OBE             -         0.01%          $100,000

    Consolidated Fabricators        OBE             -         0.36%         $3,270,836

    Diversified Energy Supply       OBE             -          0%                  $0

    Ecology Auto Parts              OBE             -         0.83%         $7,500,000

    Environmental Solutions         OBE             -         4.33%        $39,000,000

    Finishing Studio                OBE             -         0.19%         $1,700,000

    Fleetmind Solutions, Inc.       OBE             -         0.17%         $1,557,500




                                                                            Exhibit 3
                                                                                3-33
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 164 of 196 Page ID
                                   #:313
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 34 of 43

                                                                          % OF
                                   MBE/WBE/SBE/       GENDER/                      SUBCONTRACT
     SUBCONTRACTOR                                                      CONTRACT
                                   EBE/DVBE/OBE      ETHNICITY                       AMOUNT
                                                                         AMOUNT
  GrandMas USA Inc                     OBE                   -            0.02%          $200,000

  Harvest Power                        OBE                   -             0%                  $0

  MEND – Meet Each Need
                                       OBE                   -             0%             $45,000
  with Dignity

  Otto Environmental
                                       OBE                   -            0.05%          $490,000
  Systems, LLC

  Pacoima Beautiful                    OBE                   -             0%             $45,000

  Sun Valley Paperstock                OBE                   -            2.62%        $23,600,000

  Sustain LA                           OBE                   -            0.00%           $20,000

  Universal Waste Systems,
                                       OBE                   -             0%                  $0
  Inc.

  Wastequip Mfg. Co. LLC               OBE                   -            0.99%         $8,900,000

  Total MBE Participation                                                 1.08%         $9,750,000

  Total WBE Participation                                                 0.32%         $2,895,000

  Total SBE Participation                                                 1.96%        $17,667,650

  Total EBE Participation                                                 1.96%        $17,667,650

  Total DVBE Participation                                                 0%                  $0

  Total OBE Participation                                                11.06%        $99,578,336

  Total    MBE/WBE/SBE/EBE/DVBE/OBE          Subcontractor       Firm    14.30%       $128,695,986
  Participation

  Base Estimated Contract Amount                                                      $900,274,218

 Explanation for “$0” Dollar Value of Subcontract:
 Camland, Inc – Camland was originally listed to haul organics to Harvest Power based on 3 zone
 award. With only 2 zones award, Harvest Power will not be utilized, therefore, no transportation
 from Camland is needed.
 AAA Rubbish – AAA was listed for 3 zone award. Northeast Valley and SLA zones are not feasible
 for service from AAA yard.
 Universal Waste Systems, Inc. – Not needed for assigned franchise zones.
 Cemex, Inc. – Cemex was listed as an engineered fuels subcontractor for residuals from Harvest
 Power. Harvest Power will not be utilized for current zone award.
 Harvest Power – Harvest Power was listed as a possible AD facility for 3 zone award. Harvest
 Power facility will not be permitted or used with final zone award.
 Diversified Energy – Diversified Energy’s fueling system is not compatible with Republic's fueling
 capabilities.


                                                                                           Exhibit 3
                                                                                               3-34
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 165 of 196 Page ID
                                   #:314
   BUREAU OF SANITATION
   BUREAU OF CONTRACT ADMINISTRATION
   JOINT BOARD REPORT NO 1
   September 26, 2016
   Page 35 of 43




   Waste Management:

                                                                % OF
                                   MBE/WBE/SBE/    GENDER/               SUBCONTRACT
       SUBCONTRACTOR                                          CONTRACT
                                   EBE/DVBE/OBE   ETHNICITY                AMOUNT
                                                               AMOUNT
    J.I. Gandara Transport, Inc.       MBE          M/HA        2.98%        $31,600,000

    ASLAN Consulting                   WBE          F/AA         0%                  $0

    Pinnacle Petroleum, Inc.           WBE           F/C        2.23%        $23,700,000

    American Language
                                       OBE            -         0.00%            $1,000
    Services

    AMREP                              OBE            -         3.27%        $34,700,000

    Axiom Translation                  OBE            -          0%                  $0

    BIS Computer Solutions             OBE            -          0%                  $0

    C.L.A.R.T.S                        OBE            -          0%                  $0

    C+C Public Relations &
                                       OBE            -          0%                  $0
    Social Marketing

    Cascadia Consulting Group          OBE            -         0.05%          $500,000

    Chemistry PR                       OBE            -          0%                  $0

    Community Build                    OBE            -          0%                  $0

    CONFAB                             OBE            -         0.67%         $7,100,000

    Doppstadt West USA                 OBE            -          0%                  $0

    Drew Sones Consulting
                                       OBE            -          0%                  $0
    Services

    Global Business Solutions          OBE            -          0%                  $0

    ICON Information
                                       OBE            -          0%                  $0
    Consultants

    ID Industries                      OBE            -         0.74%         $7,900,000

    Immigrant Charitable
                                       OBE            -          0%                  $0
    Foundation

    IW Group, Inc.                     OBE            -          0%                  $0




                                                                              Exhibit 3
                                                                                  3-35
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 166 of 196 Page ID
                                   #:315
  BUREAU OF SANITATION
  BUREAU OF CONTRACT ADMINISTRATION
  JOINT BOARD REPORT NO 1
  September 26, 2016
  Page 36 of 43

                                                                           % OF
                                    MBE/WBE/SBE/       GENDER/                      SUBCONTRACT
      SUBCONTRACTOR                                                      CONTRACT
                                    EBE/DVBE/OBE      ETHNICITY                       AMOUNT
                                                                          AMOUNT
   Los Angeles Beautification
                                        OBE                   -            0.02%           $250,000
   Team

   Pacoima Beautiful                    OBE                   -            0.02%           $250,000

   Paragon Language Service             OBE                   -            0.00%             $1,000

   Potential Industries Inc.            OBE                   -            0.03%           $350,000

   Rush Truck Centers                   OBE                   -            0.41%         $4,300,000

   Santiago Hernandez
                                        OBE                   -            2.23%        $23,700,000
   Trucking

   TEC La Mirada                        OBE                   -             0%                   $0

   The PM Group                         OBE                   -             0%                   $0

   Urban Design Center                  OBE                   -             0%                   $0

   Urban Strategy Group                 OBE                   -             0%                   $0

   Wastequip Toter                      OBE                   -            0.02%           $250,000

   Zero Waste Energy                    OBE                   -            1.34%        $14,200,000

   Total MBE Participation                                                 2.98%        $31,600,000

   Total WBE Participation                                                 2.23%        $23,700,000

   Total SBE Participation                                                  0%                   $0

   Total EBE Participation                                                  0%                   $0

   Total DVBE Participation                                                 0%                   $0

   Total OBE Participation                                                 8.81%        $93,502,000

   Total    MBE/WBE/SBE/EBE/DVBE/OBE          Subcontractor       Firm    14.02%       $148,802,000
   Participation

   Base Estimated Contract Amount                                                     $1,061,677,000

  Explanation for “$0” Dollar Value of Subcontract:
  Axiom Translation – No longer exists according to LABAVN search and call to phone number on
  file.
  C.L.A.R.T.S. – Not needed for assigned franchise zones; distance is too far from the West Valley
  and Southeast Valley.
  Drew Sones Consulting Services – Solid waste collection consulting services not needed for
  assigned franchise zones.


                                                                                            Exhibit 3
                                                                                                3-36
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 167 of 196 Page ID
                                   #:316
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 37 of 43

 C+C Public Relation & Social Marketing – Not needed for assigned franchise zones.
 IW Group, Inc. – Not needed for assigned franchise zones.
 Urban Design Center – Not needed for assigned franchise zones.
 Urban Strategy Group – Not needed for assigned franchise zones.
 Chemistry PR – Not needed for assigned franchise zones.
 The PM Group – Not needed for assigned franchise zones.
 Community Build – Not needed for assigned franchise zones.
 Immigrant Charitable Foundation – Not needed for assigned franchise zones.
 ICON Information Consultants – WM has existing capabilities that will meet the requirement of
 the contract for assigned franchise zones.
 ASLAN Consulting – WM has existing capabilities that will meet the requirement of the contract for
 assigned franchise zones.
 Global Business Solutions – WM has existing capabilities that will meet the requirement of the
 contract for assigned franchise zones.
 BIS Computer Solutions – WM has existing capabilities that will meet the requirement of the
 contract for assigned franchise zones.
 TEC La Mirada – WM has existing capabilities that will meet the requirement of the contract for
 assigned franchise zones.

 Universal Waste Systems:

                                                                  % OF
                               MBE/WBE/SBE/        GENDER/                     SUBCONTRACT
     SUBCONTRACTOR                                              CONTRACT
                               EBE/DVBE/OBE       ETHNICITY                      AMOUNT
                                                                 AMOUNT
  Container Management              MBE              F/HA          0.43%               $1,500,000
  Group

  The Robert Group                  MBE              F/AA          0.43%               $1,500,000

  Schafer Consulting                MBE              F/APA         0.01%                 $50,000

  Pinnacle Petroleum                WBE               F/C          0.17%                $600,000

  Clements Environmental          SBE, EBE             -           1.45%               $5,000,000

  Isidore Electronics             SBE, EBE             -             0%                       $0
  Recycling

  A&B Recycling and Disposal        OBE                -             0%                       $0

  Angelus Western                   OBE                -           1.45%               $5,000,000

  Chiquita Canyon Landfill          OBE                -           2.89%              $10,000,000

  Consolidated Fabricators          OBE                -           0.12%                $400,000

  Fleetmind Solutions Inc.          OBE                -           0.07%                $250,000

  Law Offices of Gideon             OBE                -           0.06%                $200,000
  Kracov




                                                                                          Exhibit 3
                                                                                              3-37
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 168 of 196 Page ID
                                   #:317
  BUREAU OF SANITATION
  BUREAU OF CONTRACT ADMINISTRATION
  JOINT BOARD REPORT NO 1
  September 26, 2016
  Page 38 of 43

                                                                           % OF
                                    MBE/WBE/SBE/       GENDER/                      SUBCONTRACT
      SUBCONTRACTOR                                                      CONTRACT
                                    EBE/DVBE/OBE      ETHNICITY                       AMOUNT
                                                                          AMOUNT
   MDM Analysis                         OBE                   -            0.06%            $200,000

   Rehrig Pacific Company               OBE                   -            0.06%            $200,000

   VigilEye Security Systems            OBE                   -             0%               $10,000

   Total MBE Participation                                                 0.88%          $3,050,000

   Total WBE Participation                                                 0.17%            $600,000

   Total SBE Participation                                                 1.45%          $5,000,000

   Total EBE Participation                                                 1.45%          $5,000,000

   Total DVBE Participation                                                 0%                    $0

   Total OBE Participation                                                 4.71%         $16,260,000

   Total    MBE/WBE/SBE/EBE/DVBE/OBE          Subcontractor       Firm     7.21%         $24,910,000
   Participation

   Base Estimated Contract Amount                                                       $345,510,000

  Explanation for “$0” Dollar Value of Subcontract:
  A&B Recycling and Disposal –UWS only proposed using this vendor for the North Central zone,
  however UWS is not being recommended for that zone, therefore A&B Recycling and Disposal
  services will not be utilized.
  Isidore Electronic Recycling – UWS has not committed any dollars from this contract to Isidore
  Recycling, because this service is not typically a service that we would pay for. UWS does plan to
  recommend Isidore as a 3rd party recycling vendor for our clients.


  Ware Disposal:

                                                                           % OF
                                    MBE/WBE/SBE/       GENDER/                      SUBCONTRACT
      SUBCONTRACTOR                                                      CONTRACT
                                    EBE/DVBE/OBE      ETHNICITY                       AMOUNT
                                                                          AMOUNT
   DYJP, Inc., dba Cabo                 MBE              M/HA              0.53%            $500,000
   Transport Services

   Daniel R Arguello            SBE, EBE, DVBE            N/A              0.11%            $100,000

   Total MBE Participation                                                 0.53%            $500,000

   Total WBE Participation                                                  0%                    $0

   Total SBE Participation                                                 0.11%            $100,000

   Total EBE Participation                                                 0.11%            $100,000




                                                                                            Exhibit 3
                                                                                                3-38
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 169 of 196 Page ID
                                   #:318
   BUREAU OF SANITATION
   BUREAU OF CONTRACT ADMINISTRATION
   JOINT BOARD REPORT NO 1
   September 26, 2016
   Page 39 of 43

                                                                            % OF
                                     MBE/WBE/SBE/       GENDER/                      SUBCONTRACT
       SUBCONTRACTOR                                                      CONTRACT
                                     EBE/DVBE/OBE      ETHNICITY                       AMOUNT
                                                                           AMOUNT
    Total DVBE Participation                                                0.11%          $100,000

    Total OBE Participation                                                  0%                  $0

    Total    MBE/WBE/SBE/EBE/DVBE/OBE          Subcontractor       Firm     0.74%          $600,000
    Participation

    Base Estimated Contract Amount                                                       $94,000,000




   CalMet:

                                                                            % OF
                                     MBE/WBE/SBE/       GENDER/                      SUBCONTRACT
       SUBCONTRACTOR                                                      CONTRACT
                                     EBE/DVBE/OBE      ETHNICITY                       AMOUNT
                                                                           AMOUNT
    Container Management                 MBE              F/HA              0.29%          $200,000
    Group, LLC

    AMREP Inc.                           OBE                   -            2.83%         $1,980,000

    Clean Energy Fuels                   OBE                   -            0.90%          $630,000

    Consolidated Fabricators                                   -
                                         OBE                                3.00%         $2,100,000
    Corp

    Fleet Mind Solutions Inc             OBE                   -            0.13%           $89,000

    LACSD                                OBE                   -             0%                  $0

    Paramount Resource                                         -
                                         OBE                                 0%                  $0
    Recycling

    PCScale Tower                        OBE                   -            0.14%          $100,000

    Rehrig Pacific Company               OBE                   -            0.13%           $90,000

    Synoptek                             OBE                   -            0.14%          $100,000

    TVI                                  OBE                   -             0%                  $0

    Zero Waste Energy                    OBE                   -             0%                  $0

    Total MBE Participation                                                 0.29%          $200,000

    Total WBE Participation                                                  0%                  $0

    Total SBE Participation                                                  0%                  $0




                                                                                          Exhibit 3
                                                                                              3-39
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 170 of 196 Page ID
                                   #:319
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 40 of 43

                                                                     % OF
                                   MBE/WBE/SBE/      GENDER/                  SUBCONTRACT
     SUBCONTRACTOR                                                 CONTRACT
                                   EBE/DVBE/OBE     ETHNICITY                   AMOUNT
                                                                    AMOUNT
  Total EBE Participation                                             0%                  $0

  Total DVBE Participation                                            0%                  $0

  Total OBE Participation                                            7.27%         $5,089,000

  Total    MBE/WBE/SBE/EBE/DVBE/OBE         Subcontractor   Firm     7.56%         $5,289,000
  Participation

  Base Estimated Contract Amount                                                  $70,000,000

 Explanation for “$0” Dollar Value of Subcontract:
 Zero Waste Energy – Organics requirements have changed since RFP, CLARTS will have a
 program.
 TVI – Organics requirements have changed since RFP, CLARTS will have a program.
 Paramount Resource Recycling – Material will be taken to CLARTS per contract instead.
 LACSD – CalMet is planning on using LACSD for the processing of commingled recyclables. It
 expect the net cost will $0.


 OTHER CITY POLICIES AND REQUIREMENTS
 Athens Services, Republic Services, NASA Services, Universal Waste Systems, Waste Management,
 Ware Disposal, and CalMet shall comply with all City requirements, including:

       Non-Discrimination/Equal Employment Practices/Affirmative Action

       Living Wage and Service Contractor Worker Retention Ordinances

       Equal Benefits Ordinance

       Business Tax Registration Certificate

       Child Support Obligations Ordinance

       Insurance and Performance Bond Requirements

       Slavery Disclosure Ordinance

       Americans with Disabilities Act

       Municipal Lobbying Ordinance

       Los Angeles Residence Information

       Contract History

       Non-Collusion Affidavit



                                                                                       Exhibit 3
                                                                                           3-40
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 171 of 196 Page ID
                                   #:320
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 41 of 43

       First Source Hiring Ordinance

       Contractor Bidder Campaign Contribution and Fundraising Restriction

       Iran Contracting Act of 2010

 NOTIFICATION OF INTENT TO CONTRACT AND CHARTER SECTION 1022
 The required Notification of Intent (NOI) to contract was filed with the City Administrative Officer
 (CAO) Clearinghouse on February 7, 2011 and a revised NOI was submitted on January 14, 2014.
 However, this contract is exempt from the Charter Section 1022 requirements as this contract will
 cost less than $25,000 in terms of City-initiated payments under the contracts. An exemption from
 Charter Section 1022 was approved by the CAO on January 14, 2014.
 CONTRACTOR RESPONSIBILITY ORDINANCE
 All contractors participating in this program are subject to compliance with the requirements
 specified in the City of Los Angeles’s Contractor Responsibility Ordinance No. 173677, [Article 14,
 Chapter 1, Division 10, L.A.C.C.]. Failure to comply with the requirements specified in this
 ordinance will render the bidder’s contract subject to termination pursuant to the conditions expressed
 therein.

 CONTRACTOR PERFORMANCE EVALUATION
 In accordance with Article 13, Chapter 1, Division 10 of the City of Los Angeles Administrative
 Code, the appropriate City personnel responsible for quality control of this personal services contract
 shall submit Contractor Performance Evaluation Reports to the Bureau of Contract Administration
 upon completion of these contract.

 LOS ANGELES RESIDENCE INFORMATION
 The headquarters of Athens Services is 14048 Valley Blvd., City of Industry, CA 91746. Athens
 Services employs 1,155 people, of which 247 reside in the City of Los Angeles.
 The main office of Republic Services is 9200 Glenoaks Blvd, Sun Valley, CA 91352. Republic
 Services employs 1,950 people, of which 145 reside in the City of Los Angeles.
 The headquarters of NASA Services is 1100 S. Maple Ave., Montebello, CA 90640. NASA
 Services employs 90 people, of which 17 reside in the City of Los Angeles.
 The headquarters of Universal Waste Systems is 9016 Norwalk Blvd., Santa Fe Springs, CA 90670.
 Universal Waste Systems employs 145 people, of which 24 reside in the City of Los Angeles.
 The headquarters of Waste Management is 1001 Fannin, Suite 4000, Houston, TX 77002. Waste
 Management employs 42,616 people, of which 232 reside in the City of Los Angeles.
 The headquarters of Ware Disposal is 1451 Manhattan Ave., Fullerton, CA 92831-5221. Ware
 Disposal employs 114 people, of which 2 reside in the City of Los Angeles.
 The headquarters of CalMet is 7202 Petterson Lane, Paramount, CA 90723. CalMet employs 149
 people, of which 12 reside in the City of Los Angeles.


                                                                                               Exhibit 3
                                                                                                   3-41
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 172 of 196 Page ID
                                   #:321
 BUREAU OF SANITATION
 BUREAU OF CONTRACT ADMINISTRATION
 JOINT BOARD REPORT NO 1
 September 26, 2016
 Page 42 of 43

 APPROVED AS TO FORM
 The proposed contracts have been approved as to form by the Office of the City Attorney.

 CONTRACT ADMINISTRATION
 Responsibility for the administration of this contract will be with the Solid Resources Commercial
 Franchise Division of LASAN.


 STATUS OF FINANCING

 There is no impact to the General Fund. All cost associated with these contract are between the
 Contractor (Franchisee) and the customer. The estimated overall value of these contracts is over $3.5
 billion for an initial contract term of ten (10) years.


 FUTURE ACTION
 Upon Approval by the Board, the Report will go to the Mayor for his approval. The Mayor may
 commission an independent analysis by the City Administrative Officer. Upon his approval, the
 Mayor will refer the Reports to the City Council for its consideration and approval. The City Council
 will have authority to approve or disapprove the Report but not to amend or modify. Upon approval
 by the City Council, The President of the Board or two members will execute the agreements.




                                                                                             Exhibit 3
                                                                                                 3-42
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 173 of 196 Page ID
                                   #:322




                                                                   Exhibit 3
                                                                       3-43
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 174 of 196 Page ID
                                   #:323




                             EXHIBIT 4
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 175 of 196 Page ID
                                   #:324




                                         JOURNAL
                                    BOARD OF PUBLIC WORKS
                                   MONDAY, SEPTEMBER 26, 2016
                                            10:00 AM
                                 Edward R. Roybal BPW Session Room
                                 Room 350 City Hall
                                 200 North Spring Street
                               Los Angeles, California 90012
                      Members: Kevin James, President
                                 Heather Marie Repenning, Vice President
                                 Michael R. Davis
                                 Joel F. Jacinto
                                 Vacant

                  (Fernando Campos, Executive Officer 213-978-0261)

                 Click here for the entire agenda packet / documents

 Agenda, related board reports and attachments are available on BPW website at:
 http://bpw.lacity.org/

 BPW meetings can be listened to by dialing:
 213-621-CITY (Metro), 818-904-9450 (Valley),
 310-471-CITY (Westside), 310-547-CITY (San Pedro Area); or
 Live audio on-line at https://www.lacity.ora/citv-aovernment/elected-official-offices/citv-
 council/council-and-committee-meetinas?laCategory=1817

 As a covered entity under Title II of the Americans with Disabilities Act, the City of Los
 Angeles does not discriminate on the basis of disability and, upon request, will provide
 reasonable accommodation to ensure equal access to its programs, services and
 activities. Assistive listening devices are available at the meeting; upon advance notice,
 other accommodations, such as sign language interpretation, and translation services can
 be provided. Contact the Executive Officer's office at 213-978-0262. TDD available at
 213-978-2310.

 Written material supporting agenda items can be reviewed prior to each Board meeting at
 the public counter, 200 North Spring Street Room 355, between the hours of 8:00 a.m.
 and 4:00 p.m.




                                                                                 Exhibit 4
                                                                                      4-1
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 176 of 196 Page ID
                                   #:325



 PUBLIC INPUT AT BOARD MEETINGS:

 An opportunity for the public to address the Board on public interest items will be provided
 for up to two (2) minutes per person for a cumulative total of twenty (20) minutes.
 Testimony shall be limited in content to matters which are within the subject matter
 jurisdiction of the Board. The Board may not take any action on matters discussed during
 the public comment period.

 The Board will also provide an opportunity for the public to address the Board on agenda
 items before or during consideration of the item for up to two (2) minutes per person for a
 cumulative total of up to ten (10) minutes.

 Members of the public who wish to speak under public comments or on any item are
 required to complete a speaker card for each item they wish to address, and present the
 completed card(s) to the Executive Officer prior to the time the item is announced by the
 Chair. Speaker cards are available at the back of the Board Hearing Room. Failure to
 submit the speaker card in a timely manner may preclude a member of the public from
 speaking during the subject comment period.

 VOTING AND DISPOSITION OF ITEMS - Items require a majority vote of the entire
 membership of the Board (3 votes) for approval.

 Any member of the Board may move to "reconsider" any vote on any item on the agenda,
 except to adjourn, suspend the Rules, or where an intervening event has deprived the
 Board of jurisdiction, providing that said member originally voted on the prevailing side of
 the item. The motion to "reconsider" shall only be in order once during the meeting, and
 once during the next regular meeting. The member requesting reconsideration shall
 identify for all members present the Agenda number, meeting date and subject matter
 previously voted upon. A motion to reconsider is not debatable and shall require an
 affirmative vote of three members of the Board.

 The Board rules provide that all items adopted by the Board will not be distributed or
 presented to the Mayor, or other designated office, until the adjournment of the regular
 Board meeting following the date of the Board action. A motion to send an item
 "forthwith", if adopted by three (3) votes, suspends these rules and requires the Board
 Secretariat to forward the matter to the Mayor, or other office, without delay.




 PUBLIC COMMENTS: Board will hear public testimony on non-agenda items under the

                                                                                  Exhibit 4
                                                                                       4-2
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 177 of 196 Page ID
                                   #:326



 Board's Jurisdiction

            DISPOSITION: RECEIVED

 NEIGHBORHOOD COUNCIL COMMENTS

            Discussion with Neighborhood Council representatives on Neighborhood
            Council Resolutions or Community Impact Statements filed with the City Clerk
            which relate to any agenda item listed or being considered on this agenda for
            the Board of Public Works (LAAC 22.819, Ordinance 184243).

            DISPOSITION: NO COMMENTARY

 APPROVAL OF THE MINUTES FROM

            WEDNESDAY, SEPTEMBER 7, 2016 APPROVED

 COMMENDATORY RESOLUTIONS, INTRODUCTIONS AND PRESENTATIONS

                                      AGENDA ITEMS

 BUREAU OF STREET LIGHTING

 BPW-2016-0272                                (1)

 CD all     BID REJECTION AND RE-ADVERTISEMENT - STREET LIGHTING POLE
            PAINTING PROJECT UNIT VI

            Recommending the Board:

              1. Reject all bids submitted for this project and re-advertise for bids to be
                 received on November 16, 2016; and

              2. Forward a copy of this report to the affected Council District Offices.

            (W.O. L1599174)
            DISPOSITION: REPORT ADOPTED, FORTHWITH



           MOVED: JOEL JACINTO
           SECONDED: HEATHER MARIE REPENNING
           AYES: DAVIS, JACINTO, JAMES, REPENNING (4);

 JOINT REPORT(S)

 BPW-2016-0274                               (2)
 BOS + BCA


                                                                                   Exhibit 4
                                                                                        4-3
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 178 of 196 Page ID
                                   #:327



 CD all   Recommending the Board:

          1. Approve and forward this report with transmittals to the Mayor and City
          Council (Council) with the request that the Board of Public Works (Board) be
          authorized to execute a Personal Services Contract for the Zero Waste
          Exclusive Franchise System for commercial and multifamily solid waste
          collection and handling with the following seven firms:

               Large Zones:
               1) Arakelian Enterprises, Inc. (dba Athens Services aka Athens)
               2) Consolidated Disposal Service, LLC (dba Republic Services or
               Republic)
               3) Universal Waste Systems, Inc. (aka UWS)
               4) USA Waste of California, Inc. (dba Waste Management aka WM)

               Small Zones:
               5) CalMet Services, Inc., (aka CalMet)
               6) NASA Services, Inc. (aka NASA)
               7) Ware Disposal, Inc. (aka Ware)

          2. Upon the Mayor's and Council's authorization, the President or two
          members of the Board will execute the contract;

          3. Return the executed contract to the Bureau of Sanitation (LASAN) for
          further processing. For pick up, contact Dan Meyers of Solid Resources
          Commercial Franchise Division (SRCFD) at 213-485-3774 or Quonita
          Anderson of LASAN at 213-485-4246;

          4. Recommend that the City Council find it is in the City^s best interest to
          award one of the exclusive franchise contracts for commercial and multifamily
          solid waste collection and handling to Republic, an Arizona based company,
          for the reasons outlined in the report; and

          5. Request the City Attorney, in collaboration with LASAN, to draft an
          Ordinance creating a special fund for the Zero Waste LA revenues, excluding
          AB 939 fees.

          (ref: JT#1 BOS BCA 07-10-2015, Ordinance 182986)

          DISPOSITION: REPORT ADOPTED - REFERRED TO MAYOR AND
          COUNCIL, FORTHWITH



          MOVED: KEVIN JAMES
          SECONDED: HEATHER MARIE REPENNING

                                                                             Exhibit 4
                                                                                  4-4
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 179 of 196 Page ID
                                   #:328



          AYES: DAVIS, JACINTO, JAMES, REPENNING (4);

 ADMINISTRATIVE ITEM(S)

 BPW-2016-0273                              (3)

          Specifications submitted for Board adoption and authorization to advertise for
          the Invitation of Bids:

          CD 15
              For the Century Boulevard Extension - Grape Street to Alameda Street
                   Work Order No.: E1907358
                   Federal Project No.: STPL-5006 (810)
                   Estimate: $14,954,482
                   Bid Receipt Date: Wednesday, November 9, 2016

          DISPOSITION: ADOPTED, FORTHWITH



          MOVED: KEVIN JAMES
          SECONDED: HEATHER MARIE REPENNING
          AYES: DAVIS, JACINTO, JAMES, REPENNING (4);

                              BPW - September 26, 2016

                                      ***   END




                                                                              Exhibit 4
                                                                                   4-5
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 180 of 196 Page ID
                                   #:329




                             EXHIBIT 5
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 181 of 196 Page ID
                                   #:330




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                                       TRANSMITTAL
      TO                                                              1 DATh          cotmcu. fl£   mo
      The Council
                                                                          11/03/16
      FROM                                                                            COUMCJL District
      The Mayor


              Seven Franchise Agreements for Commercial and Multi-family Solid Waste
             Collection and Handling with Arakelian Enterprises. Inc. dba Athens Services;
       Consolidated Disposal Services, LLC dba Republic Services; Universal Waste Systems,
       Inc.; USA Waste of California, Inc. dba Waste Management; CalMet Services, Inc.; NASA
                                Services, Inc.; and Ware Disposal, Inc.


                           Approved and tpmsmrtted for your conslderallon.
                          See the City ff/\i aistrative Officer report altached

                                                                  (Ana Guerrero)

                                                MAYORS
      MASWKPOSlTOCaat

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Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 182 of 196 Page ID
                                   #:331


                                            Report From
                           OFFICE OF THE CITY ADMINISTRATIVE OFFICER
                                   Analysis of Proposed Contract
                                                     ($25,000 or Greater and Longer than Three Months)

 To: The Mayor                                                  Date: 11-02-16              C.D. No.   CAO File No.: 0150-10818-0000
                                                                                              ALL
 Contracting Department/Bureau: Public Works/Sanitation                                    Contact: Dan Meyers, (213) 485-3686
Reference: Transmittal from the Board of Public Works dated September 26, 2016; referred for report on September 27,
2016.
Purpose of Contract: To provide solid waste collection and handling for commercial and multi-family properties.
Type of Contract: ( X ) New contract ( ) Amendment      Contract Term Dates: 10 years with two five-year renewal
_________________________________ '____________ options for a total potential term of 20 years.___________
Contract/Amendment Amount: $701.6 million in franchise revenues to the City over a 20-year term
Proposed amount $701.6 million + Prior award(s) $0 = Total $701,6 million
Source of funds: N/A
Name of Contractor: See Report.
Address: See Report._________
                                                          Yes    No     N/A*    8. Contractor has complied with:                  Yes         No    N/A*
1.   Council has approved the purpose                      X                     a. Equal Employmt. Oppty./Affirm. Action           X
                                                                                                                 **
2.   Appropriated funds are available                                    X       b.         Good Faith Effort Outreach              X
3.   Charter Section 1022 findings completed                             X       c. Equal Benefits Ordinance                       X
4.   Proposals have been requested                         X                     d,         Contractor Responsibility Ordinance X
5.   Risk Management review completed                      X                     e.         Slavery Disclosure Ordinance_          X
6. Standard Provisions for City Contracts included         X                     f. Bidder Certification CEC Form 50               X
                                                                                                         **
7. Workforce that resides in the City: See Report                               *N/A = not applicable       Contracts over $100,000


The Mayor requested that this Office review the proposed franchise agreements. We have performed
our review and this Office is not providing a recommendation on the disposition of these agreements.
According to the City Attorney, consistent with Los Angeles Administrative Code Section 10.5, the
City Council can approve or reject any or all of the proposed agreements, but cannot modify the
provisions within the proposed agreements.

Should the Council decide to approve all seven agreements, the following actions are recommended:
       1. Authorize the Board of Public Works, on behalf of the Bureau of Sanitation, to execute a
          personal services contract for the City’s Exclusive Franchise System for Commercial and Multi­
          family Solid Waste Collection and Handling with the following seven private waste haulers:
                1.    Arakelian Enterprises, Inc. dba Athens Services;
                2.    Consolidated Disposal Services, LLC dba Republic Services;
                3.    Universal Waste Systems, Inc.;
                4.    USA Waste of California, Inc. dba Waste Management;
                5.    CalMet Services, Inc.;
                6.    NASA Services, Inc.; and
                7.    Ware Disposal, Inc.;
       2. Exempt Consolidated Disposal Services, LLC dba Republic Services, which is headquartered
          in Arizona, from the City’s restriction on contracting with businesses based in Arizona (C.F. 10-
          0002-S36);




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            l^fli               pm
                          Analyst         06170038                      Assistant CAO
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CAO 661 Rev. 5/2007




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Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 183 of 196 Page ID
                                   #:332


                                                                                        CAO File No.        Page
                                                                             0150 10818-0000
                                                                                    -                         2


    3. Instruct the City Attorney with assistance from the Bureau of Sanitation to draft an Ordinance
       to create a special fund for the receipt of community benefits revenues and related community
       benefit expenditures; and,
    4. Instruct the Bureau of Sanitation to deposit all franchise payments and liquidated damages into
       the General Fund.

Should the Council decide to reject any or all of the proposed agreements, it is recommended that the
Council implement the above-mentioned recommendations 1 through 4 for the approved agreements
and return the rejected agreements to the Board of Public Works for further processing.

COMMENTS

In accordance with Executive Directive No. 3, the Board of Public Works (Board), on behalf of the
Bureau of Sanitation (Bureau) requests authority to execute personal services contract with the
following seven waste haulers:

 Company                                  Address                      % Workforce that        Franchise Zone(s)
                                                                       Resides in City
 Arakelian Enterprises, Inc. dba Athens   1408 Valley Blvd.            21.4% (247 out of       West Los Angeles
 Services (Athens)                        City of Industry, CA 91746   1,155 employees)        North Central
                                                                                               Harbor
 Consolidated Disposal Services, LLC      9200 Glenoaks Blvd.          7.4% (145 out of        South Los Angeles
 dba Republic Services (Republic)         Sun Valley, CA 91352         1,950 employees)        Northeast Valley
 Universal Waste Systems, Inc. (UWS)      9016 Norwalk Blvd.           16.6% (24 out of 145    Northeast
                                          Santa Fe Springs, CA 90670   employees)_______
 USA Waste of California, Inc. dba        1001 Fannin, Suite 4000      0.5% (232 out of        West Valley
 Waste Management (WM)______              Houston, TX 77002            42,616 employees)       Southeast Valley
 CalMet Services, Inc. (CalMet)           7202 Petterson Lane          8.1% (12 out of 149     East Downtown
                                          Paramount, CA 90723          employees)______
 NASA Services, Inc. (NASA)               1100 South Maple Ave.        18.9% (17 out of 90     Downtown
                                          Montebello, CA 90640         employees)______
 Ware Disposal, Inc. (Ware)               1451 Manhattan Ave.          1.8% (2 out of 114      Southeast
                                          Fullerton, CA 92831          employees)_____


The term of each agreement is 10-years with two five-year renewal options for a total potential term of
20-years and the City has no financial obligations under these agreements.

Background

The Bureau currently provides solid waste collection for single family homes, multi-family properties
with four units or less, and some larger buildings with five or more units. The remaining multi-family
properties and commercial properties are serviced by private waste haulers under a permit system.
Currently, there are approximately 144 private haulers operating under this permit system with the top
15 haulers controlling 99 percent of the market.

On November 14, 2012, the Mayor and Council (C.F. 10-1797) approved the creation of an Exclusive
Franchise System (one hauler per franchise area) for solid waste collection from commercial and
multi-family properties. The Franchise System provides the City with the opportunity to exert more
control over the activities of these private haulers and to receive payment in consideration for the
exclusive franchise right and privilege to provide solid waste handling services within the City. The
Council also instructed the Bureau to prepare an implementation plan that included a timeline, staffing
requirements, and a transition plan for the new Franchise System. The Bureau conducted extensive



                                                                                                           Exhibit 5
                                                                                                                5-3
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 184 of 196 Page ID
                                   #:333


                                                                            CAO File No.   Page
                                                                   0150 10818-0000
                                                                        -                   3

 community outreach and solicited input and feedback from key stakeholders to develop the Franchise
 Implementation Plan, which was approved by Council (C.F. 10-1797-S15) on April 24, 2013. Some of
 the key elements of the new Franchise System are as follows:

        All customers are required to have recycling and solid waste services;
        The City will have 11 Franchise zones with three zones designated as single zones which
        may not be bundled together with others in the franchise award;
        Consistent with South Coast Air Quality Management District Rule 1193, franchise haulers
        are required to meet clean fuel requirements;
        Consistent with State law, franchise haulers will be required to implement an organics
        recycling program;
        No more than 49 percent of the services will be awarded to a single hauler;
        Cost of living increases will be capped for all contracts;
        Franchise haulers are required to develop contingency plans to ensure uninterrupted services;
        Extensive, ongoing public education will be conducted;
        Special needs of hospitals and other medical facilities will be addressed; and,
        An alternative process for studios will be provided.

In April 2014, the Mayor and Council (C.F. 10-1797-S16) certified the Final Environmental Impact
Report and adopted the Ordinance creating the Exclusive Franchise System. Subsequently, in
February 2015, the Mayor and Council (C.F. 14-1422) approved the Franchise Staffing Plan, which
includes 112 full-time and as-needed positions to be phased in over a three year period. These
positions will develop the infrastructure, policies, systems, and procedures to support the Franchise
System as well as develop and participate in the contractor selection process, manage the franchise
contracts, facilitate the transition from the current open market system to the Exclusive Franchise
System, and enforce the policies of the Franchise System.

Contractor Selection Process

On June 11, 2014, the Board authorized the Bureau to distribute a Request for Proposals (RFP) and
to negotiate personal service contracts with solid waste haulers for the Franchise System. By October
29, 2014, the Bureau received 15 proposals. Five evaluation teams were assembled to independently
review and score each proposal on the following five RFP scoring categories:

                       RFP Scoring Category                        Points
                       Qualifications                                 10
                       Customer Service/Transition Plan               25
                       Service Plan                                   20
                       Diversion Plan/Innovation Ideas               25
                       Cost and Franchise Payment                    20
                       Total                                         100

Each evaluation team included four or more members comprised of subject matter experts from the
Bureau and consultant teams. All 15 proposals were deemed responsive to the RFP and the Bureau
negotiated contracts with the highest scoring proposals. On September 26, 2016, the Board
approved the Bureau’s recommendations for contract award.




                                                                                           Exhibit 5
                                                                                                5-4
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 185 of 196 Page ID
                                   #:334


                                                                              CAO File No.    Page
                                                                     0150 10818-0000
                                                                          -                    4


 The City has adopted a policy that restricts City departments, to the extent permissible and consistent
with the City’s interests, from contracting with businesses based in or with headquarters in Arizona
 (C.F. 10-0002-S36). One of the firms, Republic, which is being recommended for contract award for
two of the large franchise zones (South Los Angeles and Northeast Valley) is headquartered in
Arizona. The Council will be required to make a policy decision on whether to enforce this policy or
grant an exemption to Republic. The seven franchise agreements were negotiated and developed to
meet the City’s overall diversion targets taking into consideration each hauler’s commitment to
building new infrastructure and facility improvements as well as each hauler’s proposed plans to meet
specific diversion targets. As such, if the exemption is not granted, the Bureau would be required to
re-award the zones, which would require them to re-examine the overall capacity for recycling,
organics, and locations of hauling yards for all the franchise agreements. The Board would also be
required to reapprove the agreements. This would delay the contract award for all the franchise
zones. In addition, eliminating Republic from consideration would reduce the pool of candidates in the
competitive bid process. Therefore, if the Council approves the agreements, we are recommending
that the Council exempt Republic as it is in the City’s best interest to increase the number of haulers
servicing the City and prevent any one hauler from controlling a significant share of the market.

Terms of the Agreements

The services provided under the Franchise System were designed to mirror the Bureau’s existing
residential curbside collection program such as the use of the Black Bin for residual waste, Blue Bin
for recyclables, and the Green Bin for yard waste. The Bureau will continue to provide bulky item
collection for all residential properties within the City, which includes single family, multi-family,
condominiums, townhouses, and high rise residential towers. Provided below are some key
provisions included in the franchise agreements:

      State of California and County of Los Angeles customers have the option to receive services
      through the Franchise System, but are not required to participate;
      Studios may contract with any franchise hauler regardless of franchise zone;
      Hospitals are given priority customer status due to their special needs and requirements;
      All customers will receive a base package of services that include one 96-gallon Black Bin and
      one 96-gallon Blue Bin to be serviced once a week. Green bin services are optional at this
      point (but will be required at a later time to meet diversion goals) and are at an additional cost;
      All missed collections will be collected by 10:00 AM the following day;
      All collection routes and schedules need to be approved by the City. All routes must minimize
      vehicle miles traveled, ensure public safety, and meet the customer’s needs;
      Haulers will develop, implement, and maintain an Injury and Illness Prevention Plan (IIPP) and
      provide its workers with protection from safety hazards arising from operations. Haulers will
      also provide safety training to its employees and comply with all California State Occupational
      Safety and Health Administration (CalOSHA) regulations;
      Haulers will develop contingency plans and provide uninterrupted services to the extent
      possible during an emergency event such as a natural disaster or labor unrest;
      Vehicles must be clean fuel vehicles equipped with on-board technology with Global Position
      System (GPS);
      Haulers must provide customers with containers that meet City specifications and provide new
      or replacement containers within two days after notification from City or customer. Haulers are
      also required to maintain all containers, which includes removing graffiti, providing one annual
      steam cleaning, and repairing or replacing damaged containers at no expense to the customer;



                                                                                             Exhibit 5
                                                                                                  5-5
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 186 of 196 Page ID
                                   #:335


                                                                               CAO File No.   Page
                                                                      0150 10818-0000
                                                                           -                    5


        Haulers must provide a call center to handle customer inquiries and initiate service requests 24
        hours per day and seven days a week. The haulers must also provide a walk-in customer
        service center in each respective franchise zone. Each of these facilities must be able to
        accommodate multilingual customers;
        Haulers are responsible for billing customers and prohibited from passing on the franchise
        payments and Assembly Bill (AB) 939 fees to the customer;
        Haulers will conduct outreach to educate customers on rate schedules, customer rights and
        responsibilities, and information about recycling programs;
        Haulers will offer customers organics recycling programs;
        Haulers will provide funding or in-kind services to reuse organizations;
        Haulers will meet City approved diversion goals as set forth in Appendix A of the agreements;
        The City will certify all facilities utilized by the haulers;
        Haulers are required to provide tonnage and waste characterization reports to the City; and
        Haulers will be required to improve existing facilities or build new facilities to meet the City’s
        Zero Waste Goals.

Customer Rates

As mentioned previously, the minimum package of services for all customers includes one 96-gallon
Black Bin and one 96-gallon Blue Bin to be serviced once per week. The rate for this minimum level
of service in all the agreements shall not exceed $90.90 per month. However, the average current
customer service level is the three cubic yard bin serviced once per week, which has a maximum rate
of $216.72 per month. Additional services such as additional capacity and bins, food waste and
Green Bin services, and increased collection frequency are available at an additional capped cost to
customers. A complete list of services and maximum charges are included in Appendix C. It should
be noted that the agreements also include the following adjustments to the maximum rate:

    • Annual adjustments, effective January 1, 2018, using a weighted price index. This adjustment
      shall not be less than zero percent or greater than five percent.
    • Adjustments for changes in applicable federal, state, or local laws and regulations governing
      the contractor’s delivery of services or imposition of new or increased government
      requirements. This does not include changes to federal or state or local minimum wage laws,
      changes in federal or state income tax laws, changes in fuel costs, changes in market price
      indices for sales of recyclable materials, or changes in any labor costs. This adjustment will
      be requested by the contractor on an annual basis and there is no cap on the adjustment
      percentage.
    • Two three-percent increases on January 1, 2019 and January 1, 2020 to cover the costs of
      implementing an organics recycling program. In October 2014, Governor Brown signed AB
      1826 requiring businesses that generate eight cubic yards of organic waste per week to
      recycle their organic waste on and after April 1, 2016. Furthermore, on January 1, 2019, AB
      1826 requires businesses that generate four cubic yards or more of commercial solid waste
      per week to arrange for organic waste recycling services. Contractors are required to meet
      specific diversion goals and those goals cannot be achieved without implementing an
      effective organics program.
    • Sixty months after contract execution and every 60 months thereafter, the contractor may
      request that the Bureau Director review the need for an adjustment, not to exceed three
      percent.




                                                                                              Exhibit 5
                                                                                                   5-6
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 187 of 196 Page ID
                                   #:336


                                                                              CAO File No.    Page
                                                                     0150 10818-0000
                                                                          -                    6



 At this time, it is difficult to estimate the impact to existing customer rates as the rates included in
 Appendix C are maximum rates the haulers may set and haulers may elect to charge lower rates. In
 addition, some customers are currently not receiving Blue Bin services and will be required to receive
 this service under the franchise agreements and some customers may request for additional capacity,
 additional service frequency, or organics services.
AB 939 Compliance Fee Revenues
Under the terms of the franchise agreements, the haulers will continue to remit to the City the AB 939
fees, which are 10 percent of gross receipts from Black Bin services. The receipts are deposited into
the Citywide Recycling Trust Fund (CRTF) to support the costs to develop, implement, and administer
recycling programs for industrial, commercial, and multi-family properties within the City. The existing
staff and resources supporting the Franchise System are funded by the CRTF. However, the CRTF
is projected to have a structural deficit by 2018-19.
The CRTF was created in 2002 and during the first seven years, revenues exceeded expenditures as
the Bureau was developing and implementing its recycling programs. This created a healthy reserve
within the fund but once these programs were fully implemented, expenditures began to exceed
revenues. The CRTF is still carrying a modest reserve, which will be required to address a projected
six percent reduction in AB 939 fee revenues from increased diversion of Black Bin materials and
annual salary increases for labor costs over the next five years. In addition, the City’s Solid Waste
Integrated Resources Plan (SWIRP) requires the City to conduct large scale media and outreach to
promote recycling programs and to construct a commercial organics processing facility (currently
estimated cost is $35.6 million) at the Central Los Angeles Recycling and Transfer Station (CLARTS)
to meets the City’s Zero Waste goal by 2025. The implementation of the new Franchise System will
reduce CRTF’s most significant expenditure, which are the annual costs for providing recycling
services to multi-family properties as these services will be provided by the franchise haulers.
However, these savings are offset by the costs to administer the Franchise System.

Franchise Payments
 Franchise payments were developed in contract negotiations and are determined as a percentage of
 gross receipts associated with the contractors providing services under the agreements. Specifically,
the franchise payments to be remitted to the City are 10.5 percent of gross receipts from base
 services for the eight large franchise zones and 4.32 percent of gross receipts from base services for
the three small franchise zones. For all additional services above the base, the franchise payment is
 10 percent of gross receipts. It is estimated that the franchise agreements will generate approximately
$701.6 million in franchise payments over the 20-year term of the agreements. These projections
were calculated by taking the existing customer service levels (as reported by the haulers) multiplied
by the maximum charges for equivalent service levels as outlined in the franchise agreements. The
projections also assume annual Consumer Price Index (CPI) adjustments and reduced revenues from
the increased diversion of Black Bin materials. Only $15.6 million in revenues are projected for the
first year of the agreements to reflect the transition of customer accounts from the old permit system
to the new Franchise System. For the remaining term of the agreements, average annual revenues
are projected at $36.1 million per year. It should be emphasized that these are estimates based on
available information such as existing customer service levels and maximum rates that haulers can
charge and customers may elect for additional services or reduced levels of services and haulers
may set lower rates. An Attachment has been provided to show the Bureau’s annual projected
franchise payments.



                                                                                             Exhibit 5
                                                                                                  5-7
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 188 of 196 Page ID
                                   #:337


                                                                              CAO File No.   Page
                                                                     0150 10818-0000
                                                                          -                    7



 In addition to the $36.1 million in annual franchise payments, there are also additional revenues from
 liquidated damages and funding for community benefits, such as, supporting environmental
community events. At this time, it is difficult to estimate the amount of revenue from liquidated
damages and the agreements contain provisions to allow haulers an opportunity to correct potential
violations before fines are assessed. In addition, the City recognizes that certain franchise zones
face greater challenges in meeting diversion requirements and the agreements allow haulers to
submit mitigating information prior to the assessment of liquidated damages. The City’s hope is that
there are no liquidated damages. For community benefits, the agreements require haulers to remit to
the City on July 1st of every year, $1,000 per 100 accounts serviced. This would generate $649,170
in annual revenues based on 64,917 service accounts as reported in the Board report dated
September 26, 2016. However, these funds would be restricted for community benefits, which are
not clearly defined within the agreements.

In the Board’s report dated September 26, 2016, the Bureau is recommending that a special fund be
created for the deposit of all franchise payments, which also includes all liquidated damages and
funding for community benefits. This new special fund would be administered by the Bureau to
support the costs of administering the Franchise System. The special fund would restrict the uses of
the franchise payments to the purposes defined in the Ordinance, which are unspecified in the
Bureau’s report.

Similar to the majority of other franchise fee revenue sources, we are recommending that the
franchise payments be deposited into the General Fund instead of a special fund. Franchise fees
represent consideration for the use of the City’s right-of-way, much of which is supported by the
General Fund. Depositing these revenues into the General Fund would provide the Mayor and
Council with greater flexibility to program these unrestricted funds through the City’s annual budget
process. As an example, franchise revenues could be allocated to repair and maintain critical City
infrastructure, such as streets and roadways, that are heavily impacted by waste hauling operations.
If additional funding is required to support the costs to administer the Franchise System, the Mayor
and Council could also allocate funding to the Bureau for this purpose through the City’s annual
budget process.

Initiative Ordinance for Non-Exclusive Franchise System

On October 12, 2016, the City Clerk approved the petition draft for an Initiative Ordinance for a Non­
Exclusive Franchise System for Solid Waste Collection for circulation and collection of signatures of
registered voters. The Initiative Ordinance is proposing to amend the Los Angeles Municipal Code
(LAMC) to change the current Exclusive Franchise System to a Non-Exclusive Franchise System.
The proposed ordinance would repeal certain City restrictions on removal and transportation of solid
waste and would repeal the City’s requirement that owners of commercial and multi-family buildings
subscribe to and show proof of solid waste collection services. The proposed ordinance would repeal
certain City rules requiring commercial establishments to retain collection services for recyclables.
The proposed ordinance would also repeal certain City restrictions regarding the operation of solid
waste disposal facilities. Lastly, the proposed ordinance would eliminate several current requirements
in standard franchise agreements, including the requirements that a franchisee pay a living wage,
supply trash containers for recyclables and organics, deliver recyclables and organics to certified City
disposal facilities, and enter into labor peace agreements limiting work stoppages.




                                                                                             Exhibit 5
                                                                                                  5-8
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 189 of 196 Page ID
                                   #:338


                                                                               CAO File No.   Page
                                                                      0150 10818-0000
                                                                           -                    8


 In accordance with Charter Section 450, the City Council may consider and adopt any proposed
 ordinance that was submitted by petition and filed with the City Clerk. According to Charter Section
 451(b), the petition must collect 61,487 signatures of registered voters within the City, which reflects
 15 percent of the total votes cast for all candidates for the Office of the Mayor at the last election at
 which the Mayor was elected. These signatures must be collected within 120 days prior to the filing
 of the completed petition. Once the required signatures are obtained and the City Clerk has certified
 the petition, the proposed ordinance is presented to the Council for consideration and the Council has
 20 days to take an action on the item. The Council can adopt the ordinance, call a special election, or
 submit the proposed ordinance to a vote at the next regular City election.

FISCAL IMPACT STATEMENT

The franchise agreements are projected to generate approximately $701.6 million in franchise
revenues during the 20-year term of the agreements. If the Council approves the agreements, this
report recommends that these revenues and liquidated damages be deposited into the General Fund
and funding be appropriated through the City’s annual budget process, which is subject to Mayor and
Council approval. This report also recommends that a special fund be created for the expenditure
and receipt of community benefit revenues. The recommendations in this report are consistent with
the City’s Financial Policies as it relates to the use of new unrestricted revenues to support existing
programs prior to funding new programs and the use of franchise revenues to diversify the City’s
revenue base to shelter the City from short-time fluctuations in any one revenue source.

MAS:WKP:06170038

Attachment




                                                                                              Exhibit 5
                                                                                                   5-9
                                 Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 190 of 196 Page ID
                                                                    #:339
                                                                                                                                                                                                                                                                            ATTACHMENT

                                                                                                                         Projected Franchise Revenues
                                                                                                                         From 2017-18 Through 2036-37




             Year                       1          2              3           4             5           6            7            8           g           10          11           12          13          14           15          16          17          18         19          20      TOTAL
          Fiscal Year                  17-18     18-19         19-20         20-21        21-22        22-23        23-24        24-25     25-26         26-27*    27-28       28-29        29-30       30-31          31-32     32-33         33-34     34-35      35-36       36-37
Base (in millions)                 $    15.65   $ 35.78       $ 35.78    $    36.09   $ 36.41      $    35.70   $    34.98   $    34.26   $ 33.52    $ 32.75      8 33.40     $ 34.07      $ 34.75     $ 35.44     $    36.15   $ 36.87    $    37.61   $ 38.36    $ 39.13     $ 39.91
                            1
Minus Black Bin Decrease                n.a        n.a        $   (1.38) $    (1.38) $     (1.38) $     (1,38) $     (1.37) $     d-37) $     (1-37) $            $           $            $           $           $            $          $            $          $           $
CPI Adjustment1
              2                         n.a        n.a        $   (0.03) $    (0,03) $     (0.03) $ (0.03) $         (0.03) $ (0.03) $ (0.03)        A            $           A$           A           $           $            $          $            $          $           $
New Revenue                             n.a        n.a        $   34.37 $     34.68 $      35.00 $ 34.29 $           33.59 $ 32.86 $ 32.11 $ 32.75                $   33.40        34.07   $ 34.75     $   35.44   $ 36.15      $ 36.87    $ 37.61      $ 38.36    $ 39.13     $ 39.91
CPI Increase3                           n.a        n.a        $   0,69   $     0,69   $     0,70   $     0,69         0.67   $     0.66   $   0.64   $     0,65   $    0.67   $     0,68   $   0,69    $    0.71   $     0.72   $   0.74   $     0,75   $   0,77   $    0.78   $    0.80
Yr 3 & 4 Increase4 * 6                  n.a       n.a         $  1,03    $  1.04      $            $            $            $            $          $            $           $            $           $           A            $          A            A          A           A
                           Total $ 15.65        $ 35.78       $ 36.09    $ 36.41      $ 35.70      $ 34.98      $ 34.26      $ 33.52      $ 32.75    $    33.40   $   34.07   $    34.75   $   35.44   $ 36.15     $ 36.87      $ 37.61    $    38.36   $ 39.13    $   39.91   $ 40.71     $ 701.58




1 $1,375,357 steady revenue decrease due to an increase in diversion and decrease in solid waste (Black Bin) between FY19-20 through FY 25-26.
2 Applying a projected 2% annual CPI adjustment to revenue decrease.
3 Applying a projected 2% annual CPI increase per FY.
4 Applying a 3% increase for FY 19-20 and FY 20-21 as per contract.
6 Starting FY 26-27 onward, no anticipated decreases in revenue due to increases in diversion.
6 Projections do not include growth in materials generated.




                                                                                                                                                                                                                                                                                        Exhibit 5
                                                                                                                                                                                                                                                                                            5-10
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 191 of 196 Page ID
                                   #:340




                             EXHIBIT 6
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 192 of 196 Page ID
                                   #:341




                                                                 File No. 10-1797-S17.10-1797-S16
      CALIFORNIA ENVIRONMENTAL QUALITY ACT (CEQA) ADDENDUM and ENERGY AND
      ENVIRONMENT COMMITTEE REPORT relative to a request for authority to award contracts
      for the Zero Waste LA Exclusive Franchise System for commercial and multifamily solid waste
      collection and handling.

      Recommendations for Council action:

        1. CONSIDER the CEQA Addendum with the certified Program Environmental Impact
           Report (EIR) and FIND that the previously certified EIR (Council file No. 10-1797-S16)
           remains relevant.

        2. FIND that the activities approved by the contract awards are within the scope of the project
           covered by the certified Program EIR, that the activities would not have effects the certified
           EIR did not examine, and that no new environmental document is required.

        3. AUTHORIZE the Board of Public Works (BPW), on behalf of the Bureau of Sanitation
           (BOS), to execute a personal services contract for the City’s Exclusive Franchise System
           for commercial and multifamily solid waste collection and handling with:

           Arakelian Enterprises, Inc. (dba Athens Services aka Athens)
           Consolidated Disposal Services, LLC (dba Republic Services or Republic)
           Universal Waste Systems, Inc. (aka UWS)
           USA Waste of California, Inc. (dba Waste Management aka WM)
           CalMet Services, Inc. (aka CalMet)
           NASA Services, Inc. (aka NASA)
           Ware Disposal, Inc. (aka Ware)

        4. FIND it is in the City’s best interest to award one of the exclusive franchise contracts for
           commercial and multifamily solid waste collection and handling to Republic, an Arizona-
           based company, for the reasons outlined in the BOS report dated September 26, 2016,
           attached to the Council file.

        5. REQUEST the BPW not to execute the contracts until January 31,2017.

        6. REQUEST the BOS to report to the Energy and Environment Committee in 30 days on:

             a. Additional subcontracting opportunities that may be expected in the current contracts.

             b. Progress made to expand outreach to potential subcontractors that can be added
                after the franchise awards are executed. Outreach should be to all types of
                businesses including, but not limited to, Women Business Enterprise, Minority
                Business Enterprise, Emerging Business Enterprise, Disabled Veterans Business
                Enterprise, Small Business Enterprise, and all other business enterprises, with added
                focus on sub-contractors with little or no previous government procurement
                experience.

        7. REQUEST the BOS to seek amendments after the contracts are executed, to incorporate




                                                                                                   Exhibit 6
                                                                                                        6-1
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 193 of 196 Page ID
                                   #:342



           additional subcontracting and outreach goals, so that meeting these goals are material
           requirements of the contracts, to the extent permitted by law.

        8. NOTE and FILE the City Administrative Officer (CAO) reports dated November 2, 2016
           and November 7, 2016 and the BOS report dated November 28,2016.

     Fiscal Impact Statement: The BOS reports that there is no impact to the General Fund. All
     costs associated with these contracts are between the Contractor (Franchisee) and the customer.
     The estimated overall value of these contracts is over $3.5 billion for an initial contract term of ten
     years.

     Community Impact Statement: None submitted.

                                TIME LIMIT FILE - DECEMBER 12, 2016

                         (LAST DAY FOR COUNCIL ACTION - DECEMBER 9, 2016)

     Summary:

     On December 7, 2016, the Energy and Environment Committee considered reports from the
     City Administrative Officer, the Board of Public Works, and the BOS relative to a request for
     authority to award contracts for the Zero Waste LA Exclusive Franchise System for commercial
     and multifamily solid waste collection and handling. The reports, attached to the Council file,
     provide background information and details on the proposed contracts. On November 2, 2016,
     the Committee considered the matter for discussion purposes only, and a report and powerpoint
     presentation on the components of the Program was provided by the BOS. After providing an
     opportunity for public comment, the Committee continued the matter and instructed the BOS to
     report back on a number of questions related to the Program and the RFP process. A report
     relative to the Committee’s inquiries was submitted on November 28, 2016. In addition, the
     Committee requested the BOS and the BPW to work with interested parties on methods and
     approaches to address participation rates associated with women and minority businesses. That
     component is part of Council file No. 16-1235.

     During the discussion of this item on December 7, 2016, representatives from the BOS and
     the City Attorney provided an overview of the Bureau's request and responded to related
     questions from the Committee members. After providing an opportunity for public comment, the
     Committee recommended that Council approve the recommendations detailed above. This
     matter is now submitted to Council for its consideration.


     Respectfully Submitted,

     ENERGY AND ENVIRONMENT COMMITTEE

      MEMBER      VOTE
      MARTINEZ;   YES
      BLUMENFIELD: YES




                                                                                                      Exhibit 6
                                                                                                           6-2
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 194 of 196 Page ID
                                   #:343




      10-1797-S17_rpt_ee_12-7-16




                                   -NOT OFFICIAL UNTIL COUNCIL ACTS




                                                                      Exhibit 6
                                                                           6-3
Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 195 of 196 Page ID
                                   #:344




                             EXHIBIT 7
     Case 2:18-cv-03681-SVW-E Document 21-5 Filed 07/23/18 Page 196 of 196 Page ID
                                        #:345
  HOLLY L. WOLCOTT                            City of Los Angeles                        OFFICE OF THE
       CITY CLERK                                    CALIFORNIA                           CITY CLERK
        ______
 SHANNON D. HOPPES                                                            Council and Public Services Division
    EXECUTIVE OFFICER                                                               200 N. SPRING STREET, ROOM 395
                                                                                        LOS ANGELES, CA 90012
                                                                                 GENERAL INFORMATION - (213) 978-1133
                                                                                           FAX: (213) 978-1040
                                                                                                 ______
When making inquiries relative to                   ERIC GARCETTI
                                                                                          BRIAN E. WALTERS
this matter, please refer to the                        MAYOR
                                                                                             DIVISION CHIEF
Council File No.: 10-1797-S17
                                                                                            CLERK.LACITY.ORG




              OFFICIAL ACTION OF THE LOS ANGELES CITY COUNCIL
December 13, 2016


Council File No.:                   10-1797-S17

Council Meeting Date:               December 09, 2016

Agenda Item No.:                    8
Agenda Description:                 CALIFORNIA ENVIRONMENTAL QUALITY ACT ADDENDUM, and
                                    ENERGY AND ENVIRONMENT COMMITTEE REPORT relative to a
                                    request for authority to award contracts for the Zero Waste LA Exclusive
                                    Franchise System for commercial and multifamily solid waste collection and
                                    handling.



Council Action:                     ENERGY AND ENVIRONMENT COMMITTEE REPORT - ADOPTED




Council Vote:                       YES       BOB BLUMENFIELD
                                    YES       MIKE BONIN
                                    YES       JOE BUSCAINO
                                    YES       GILBERT A. CEDILLO
                                    YES       MITCHELL ENGLANDER
                                    YES       MARQUEECE HARRIS-DAWSON
                                    YES       JOSE HUIZAR
                                    YES       PAUL KORETZ
                                    ABSENT    PAUL KREKORIAN
                                    YES       NURY MARTINEZ
                                    YES       MITCH O'FARRELL
                                    YES       CURREN D. PRICE
                                    YES       DAVID RYU
                                    YES       HERB WESSON




HOLLY L. WOLCOTT
CITY CLERK

                         AN EQUAL EMPLOYMENT OPPORTUNITY - AFFIRMATIVE ACTION EMPLOYER

                                                                                                  Exhibit 7
                                                                                                       7-1
